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  15                            UNITED STATES DISTRICT COURT
  16                          SOUTHERN DISTRICT OF CALIFORNIA
  17 DARRYL DUNSMORE, ANDREE                              Case No. 3:20-cv-00406-AJB-DDL
     ANDRADE, ERNEST ARCHULETA,
  18 JAMES CLARK, ANTHONY EDWARDS,                        DECLARATION OF GAY
     LISA LANDERS, REANNA LEVY,                           CROSTHWAIT GRUNFELD IN
  19 JOSUE LOPEZ, CHRISTOPHER                             SUPPORT OF PLAINTIFFS’
     NELSON, CHRISTOPHER NORWOOD,                         MOTIONS FOR PRELIMINARY
  20 JESSE OLIVARES, GUSTAVO                              INJUNCTION AND
     SEPULVEDA, MICHAEL TAYLOR, and                       PROVISIONAL CLASS
  21 LAURA ZOERNER, on behalf of                          CERTIFICATION
     themselves and all others similarly situated,
  22               Plaintiffs,                            Judge:      Hon. Anthony J. Battaglia
                                                          Magistrate: Hon. David D. Leshner
  23        v.
     SAN DIEGO COUNTY SHERIFF’S                           Date: June 29, 2023
  24 DEPARTMENT, COUNTY OF SAN                            Time: 2:00 p.m.
     DIEGO, SAN DIEGO COUNTY                              Crtrm: 4A
  25 PROBATION DEPARTMENT, and DOES
     1 to 20, inclusive,                                  Trial Date: None Set
  26
                   Defendants.                            [REDACTED]
  27
  28
       [4259279.3]                                                 Case No. 3:20-cv-00406-AJB-DDL
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   1         I, Gay Crosthwait Grunfeld, declare:
   2         1.    I am an attorney duly admitted to practice before this Court. I am a
   3 partner in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for
   4 Plaintiffs. I have personal knowledge of the facts set forth herein, and if called as a
   5 witness, I could competently so testify. I make this declaration in support of
   6 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
   7         2.    Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’
   8 proposed Order Granting Plaintiffs’ Motions for Preliminary Injunction and
   9 Provisional Class Certification.
  10 I.      Defendant San Diego County Sheriff’s Department Has Repeatedly Been
             Informed of ADA Violations in San Diego County Jails.
  11
  12         3.    In my capacity as Plaintiffs’ counsel in the long running Americans
  13 with Disabilities Act (“ADA”) lawsuit against the California Department of
  14 Corrections and Rehabilitation (“CDCR”) entitled Armstrong v. Newsom (N.D. Cal.
  15 No. 4:94-cv-02307-CW), I have been monitoring CDCR’s compliance with the
  16 Armstrong County Jail Plan since its inception in 2012. Under that remedial plan,
  17 CDCR is required to inform counties on a daily basis of the disability needs of
  18 people with disabilities who are incarcerated in county jails by CDCR. CDCR is
  19 also required to respond to letters from my law firm regarding the accommodation
  20 needs of CDCR parolees with disabilities who are incarcerated at county jails.
  21         4.    On a regular basis, I receive copies of emails from CDCR to San Diego
  22 County Jail personnel, informing them of the disability needs of recently
  23 incarcerated people, including those who have hearing and mobility disabilities.
  24 These and similar emails serve as notice to Defendants of the ADA needs of persons
  25 incarcerated in their jails.
  26         5.    For example, on June 13, 2019, December 24, 2022, and February 28,
  27 2023, CDCR wrote emails to Sheriff’s Department personnel, copying me, notifying
  28 them of individuals in their custody who have been evaluated by medical staff in
     [4259279.3]                              2                Case No. 3:20-cv-00406-AJB-DDL
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   1 CDCR and determined to be deaf or hard-of-hearing. An email dated June 13, 2019
   2 describes an individual who is deaf and also unable to speak. The email indicates
   3 that this individual requires a sign language interpreter to communicate.
   4         6.     Similarly, on January 13, 2023 and February 3, 2023,, CDCR wrote
   5 emails to Sheriff’s Department personnel, copying me, notifying them of individuals
   6 in their custody who have been evaluated by medical staff in CDCR and determined
   7 to have a mobility disability that requires them to use a wheelchair. The February 3,
   8 2023 email describes an individual who “requires wheelchair and wheelchair
   9 accessible housing at all times.”
  10         7.     From time to time, attorneys under my supervision visit San Diego
  11 County Jail (the “Jail”) to interview our clients in the Armstrong case, incarcerated
  12 people with disabilities, when they are incarcerated there on alleged parole
  13 violations or on out-to-court status. We also write letters to CDCR describing issues
  14 faced by our Armstrong clients with disabilities in the Jail, and we provide copies of
  15 these letters to Sheriff’s Department and County personnel.
  16         8.     Attached hereto as Exhibit B are true and correct copies of letters
  17 without their enclosures dated February 23, 2018, July 11, 2018, September 3, 2019,
  18 and July 28, 2021, from attorneys under my supervision to CDCR and copying
  19 Sheriff’s Department and County personnel, notifying CDCR, the County, and the
  20 Sheriff’s Department of individuals housed in the Jail who have been denied
  21 accommodations for their disabilities. For example, the letter dated July 11, 2018,
  22 describes an individual who “uses a wheelchair and … arrived at the jail in a
  23 wheelchair but it was taken by jail staff on arrival,” causing him to fall twice, as
  24 well as an individual who uses a wheelchair but was not housed in a wheelchair
  25 accessible cell. See id. at B-24. The letter dated September 3, 2019, reports that
  26 Ernest Archuleta (now a Plaintiff in this case) fell and injured himself while
  27 walking down the stairs to his housing unit, which lacked a shower chair and toilet
  28 grab bars. The letter dated July 28, 2021, reports that James Clark (now a Plaintiff
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   1 in this case) had been denied a cane and was “struggl[ing] to get in and out of bed,
   2 and is at risk of falling.” Id. at B-35.
   3          9.    The Jail’s significant ADA violations became even more clear to me
   4 when I learned of a deaf signer named Josue Lopez (now a Plaintiff in this case).
   5 Mr. Lopez was confined to the Jail for approximately 19 months and consistently
   6 denied sign language interpretation for medical appointments in the Jail, as well as
   7 for interactions with Jail staff. Although a sign language interpreter was present for
   8 his initial mental health appointment, Mr. Lopez was handcuffed to a bar during the
   9 interaction, so he was not able to use both his hands to effectively communicate.
  10 Our firm assisted Mr. Lopez in filing a grievance over, inter alia, the Jail’s denials
  11 of sign language interpretation, a true and correct copy of which is attached hereto
  12 as Exhibit C. I have never seen a response to this April 28, 2021 grievance.
  13          10.   In addition, I learned of Plaintiff Darryl Dunsmore’s pending lawsuit
  14 for, inter alia, denial of accommodations for his mobility disability, while
  15 incarcerated at the Jail. I filed a notice of appearance in this case on December 13,
  16 2021.
  17 II.      Discovery Provided Pursuant to Judge Leshner’s Order for Expedited
              Discovery of the Jail’s Current ADA Policies and Practices Confirms
  18          That the County Is Woefully Deficient in Its Compliance With the ADA
              and Related Statutes
  19
  20          11.   Since my appearance in this case, my colleagues and I have reached out
  21 to Defendants’ counsel repeatedly to work with Defendants toward ADA
  22 compliance at the Jail, without resorting to motion practice. For example, attached
  23 hereto as Exhibit D are true and correct copies of letters dated March 15, 2022 from
  24 my partner Van Swearingen and April 4, 2023 from me to Defendant’s counsel.
  25 Defendants’ counsel have not agreed to Plaintiffs’ proposals.
  26          12.   On May 2, 2022, Plaintiffs filed Motions for Preliminary Injunction
  27 and Provisional Class Certification (“2022 PI Motion”), which included a
  28 declaration from our ADA expert Syroun Sanossian, as well as declarations from
     [4259279.3]                            4                Case No. 3:20-cv-00406-AJB-DDL
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   1 eleven incarcerated people describing failures to provide effective communication
   2 and accommodate mobility disabilities.
   3         13.    In the order denying the 2022 PI Motion, the Court suggested that
   4 further discovery would be helpful. On December 14, 2022, we moved for
   5 expedited discovery on ADA issues.
   6         14.    On January 17, 2023, Judge Leshner issued an order permitting
   7 expedited ADA discovery with respect to the County’s approach to mobility and
   8 hearing disabilities at two of its facilities, Central Jail, located at 1173 Front Street,
   9 San Diego, California, and Rock Mountain Detention Facility, located at 446 Alta
  10 Road, San Diego, California. See Dkt. No. 258. The Court’s order included
  11 requests for production of documents that the Court approved and that Defendants
  12 were required to respond to by February 27, 2023.
  13         15.    On February 10, 2023, as authorized by the Court’s order, a colleague
  14 and I and Plaintiffs’ experts, Syroun Sanossian and Io Seng Ng of SZS Consulting,
  15 inspected the Rock Mountain facility. The facility is unoccupied and incomplete,
  16 lacking a kitchen, sinks, and other features for operation. During the course of the
  17 approximately eight hours I spent on site, I saw only one construction worker. I
  18 heard no sounds nor saw any signs of active construction work. We were
  19 accompanied during our tour by Defendants’ counsel, Susan Coleman; Defendants’
  20 expert, Paul Joelson; and Defendants’ Building Superintendent, Scott Bennett.
  21         16.    On February 27, 2023, Defendants produced documents, Bates stamped
  22 SD-00081 through SD-000431. Included in those documents were copies of
  23 policies and procedures that purport to address people with disabilities in the Jail.
  24 These documents are available on the County website or through Public Record Act
  25 requests, but only in redacted form. I have been informed and believe that the
  26 documents called “policies and procedures” apply throughout Defendants’ system,
  27 whereas the documents called “green sheets” apply only to a particular jail facility.
  28 Defendants later produced a few additional documents, Bates stamped SD000432-
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   1 000470, in response to the ADA document requests.
   2                 17.   Attached hereto as Exhibit E is a true and correct copy of Defendants’
   3 Detention Services Bureau Manual of Policies and Procedures Section I.22 (“Lower
   4 Bunk / Lower Tier Assignment”).
   5                 18.   Attached hereto as Exhibit F is a true and correct copy of Defendants’
   6 Detention Services Bureau Manual of Policies and Procedures Section M.39
   7 (“Disabled Incarcerated Persons”).
   8                 19.   Attached hereto as Exhibit G is a true and correct copy of Defendants’
   9 Detention Services Bureau Manual of Policies and Procedures Section M.39.C.1
  10 (San Diego Central Jail Green Sheet regarding “Disabled Inmates – Usage of Lower
  11 Bunks Lower Tier”).
  12                 20.   Attached hereto as Exhibit H is a true and correct copy of Defendants’
  13 Detention Services Bureau Manual of Policies and Procedures Section P.11
  14 (“Incarcerated Persons Who Are Deaf or Hard of Hearing”).
  15                 21.   Attached hereto as Exhibit I is a true and correct copy of Defendants’
  16 Detention Services Bureau Manual of Policies and Procedures Section P.11.C.1
  17 (San Diego Central Jail Green Sheet regarding “Incarcerated Persons Who Are Deaf
  18 or Hard of Hearing”).
  19                 22.   Attached hereto as Exhibit J is a true and correct copy of Defendants’
  20 Medical Services Division Operations Manual Section MSD.F.1.2 (“Lower
  21 Bunk/Lower Tier”).
  22                 23.   Attached hereto as Exhibit K is a true and correct copy of Defendants’
  23 Medical Services Division Operations Manual Section MSD.P.7 (“Prostheses,
  24 Orthoses, and Other Aids to Impairment”).
  25                 24.   Attached hereto as Exhibit L is a true and correct copy of Defendants’
  26 Medical Services Division Nursing Guidelines Section NSG.C.12 (“COVID-19
  27 Interim Emergency Classification Matrix for Medical and Psychiatric Housing”).
  28                 25.   On March 13, 2023, as authorized by the Court’s order, a colleague and
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   1 I and Plaintiffs’ experts, Syroun Sanossian and Io Seng Ng of SZS Consulting,
   2 inspected Defendants’ Central Jail facility. The facility is occupied and has been
   3 designated as San Diego’s facility to house all male incarcerated people with
   4 wheelchairs. We were accompanied during our tour by Defendants’ counsel, Susan
   5 Coleman; Defendants’ expert, Paul Joelson; Defendants’ Building Superintendent,
   6 Scott Bennett; and Defendants’ person-most-knowledgeable for ADA issues,
   7 Captain Kyle Bibel, the Commander of Central Jail.
   8                 26.   On March 14, 2023, Plaintiffs took the depositions of Sergeant
   9 Matthew Jensen and Lieutenant Derek Williamson, both assigned to the Detention
  10 Support Division of the Sheriff’s Department. Attached hereto as Exhibit M is a
  11 true and correct copy of excerpts from the deposition of Sergeant Jensen, who was
  12 designated as Defendants’ Rule 30(b)(6) witness on Rock Mountain.
  13                 27.   On March 15, 2023, Plaintiffs took the deposition of Captain Kyle
  14 Bibel, the commander of Central Jail. Attached hereto as Exhibit N is a true and
  15 correct copy of excerpts of the deposition of Captain Bibel, who was designated as
  16 Defendants’ Rule 30(b)(6) witness on Central Jail with respect to current policies,
  17 procedures, and practices regarding the accessibility of facilities, housing, programs,
  18 services, activities, effective communication, reasonable accommodations, and
  19 assistive devices for incarcerated persons with disabilities.
  20                 28.   In his deposition, Captain Bibel referenced a presentation he had given
  21 on ADA issues at the Jail. Exhibit O is a true and correct copy of that presentation,
  22 which was given on July 8, 2022 to the San Diego County Committee for Persons
  23 with Disabilities. This video is not able to be filed electronically and is the subject
  24 of Plaintiffs’ Application for Leave to Allow Non-Electronic Filing of Exhibits,
  25 filed concurrently with Plaintiffs’ Motions.
  26 III.            Defendants Are Failing to Comply with the ADA as Demonstrated by
                     Numerous Documents.
  27
  28                 29.   Attached hereto as Exhibit P is a true and correct copy of the Santa
       [4259279.3]                                     7                  Case No. 3:20-cv-00406-AJB-DDL
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   1 Clara County Mobility Disability Remedial Plan, which was entered into by consent
   2 decree on November 6, 2018.
   3        30.      Attached hereto as Exhibit Q is a true and correct copy of the
   4 Remedial Plan for the Orange County Jail Regarding the Treatment of People with
   5 Disabilities, Restrictive Housing, and the Treatment of People who Identify as
   6 Lesbian, Gay, Bisexual, Transexual, Queer or Intersex (LGBTQI), dated
   7 November 21, 2019.
   8        31.      Attached hereto as Exhibit R is a true and correct copy of the Santa
   9 Barbara County Jail Remedial Plan, dated July 17, 2020.
  10        32.      Attached hereto as Exhibit S is a true and correct copy of an excerpt
  11 from the California Board of State and Community Corrections’ June 8, 2022 report
  12 on the 2020-2022 Biennial Inspection of San Diego County Type II Jail Facilities.
  13 Among the items of noncompliance with Title 24 minimum standards identified in
  14 the report is the Jail’s continued use of triple bunks, which, the BSCC explained
  15 “are not supported by the current infrastructure” of the Jail. See id. at S-273. The
  16 inspections found that:
  17        “Double occupancy cells and dormitories in the facilities listed above
            are equipped with triple bunks. On the dates of inspection, many of
  18        these cells were occupied by three inmates. The square footage of floor
            space along with fixtures to include toilets, washbasins, and showers
  19        does not support the number of occupants.”
  20 Id. at S-272.
  21        33.      Attached hereto as Exhibit T is a true and correct copy of the
  22 Injunction in Armstrong v. Newsom, dated January 18, 2007, requiring the provision
  23 of sign language interpreters at each prison designated to house prisoners whose
  24 hearing disabilities impact their placement.
  25        34.      Attached hereto as Exhibit U is a true and correct copy of excerpts
  26 from the medical records of Cristian Esquivel, 22749556, who has been currently
  27 incarcerated in the Jail since November 29, 2022. Mr. Esquivel is deaf and
  28 communicates through a sign language interpreter.
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   1         35.   Attached hereto as Exhibit V is a true and correct copy of the
   2 declaration of Plaintiff Darryl Dunsmore (without exhibits), filed in support of
   3 Plaintiffs’ 2022 PI Motion.
   4         36.   Attached hereto as Exhibit W is a true and correct copy of the
   5 declaration of Plaintiff Ernest Archuleta (without exhibits), filed in support of
   6 Plaintiffs’ 2022 PI Motion.
   7         37.   Attached hereto as Exhibit X is a true and correct copy of the
   8 declaration of Plaintiff Josue Lopez, filed in support of Plaintiffs’ 2022 PI Motion.
   9         38.   Attached hereto as Exhibit Y is a true and correct copy of the
  10 declaration of Plaintiff Christopher Nelson (without exhibits), filed in support of
  11 Plaintiffs’ 2022 PI Motion.
  12         39.   Attached hereto as Exhibit Z is a true and correct copy of redacted
  13 disability rosters showing where ADA individuals are housed in the Jail. The first
  14 roster was produced by Defendants with redactions in response to Plaintiffs’
  15 Requests for Production of Documents, Set One, on February 27, 2023. An updated
  16 redacted roster was produced in an email from Defendants’ counsel Elizabeth Pappy
  17 to my colleague Eric Monek Anderson on March 10, 2023.
  18         40.   Attached hereto as Exhibit AA is a true and correct copy of a March 4,
  19 2023 article in the San Diego Union-Tribune. The article states that San Diego
  20 County settled a lawsuit brought by Frankie Greer for $7.5 million. Mr. Greer, who
  21 has a medically diagnosed seizure disorder, suffered a serious brain injury when he
  22 fell out of the top bunk in the Jail while experiencing a seizure.
  23         41.   Attached hereto as Exhibit BB is a true and correct copy of the San
  24 Diego County Civil Grand Jury report “San Diego County Detention Facilities:
  25 Inspection Report and Inmate Mental Health,” dated May 28, 2019. The Grand Jury
  26 notes that “Rock Mountain, also at Otay Mesa, is projected to open soon, but the
  27 completion date continues to be delayed. The Sheriff’s plan is for Rock Mountain
  28 to replace South Bay Detention Facility.” See id. at BB-440.
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   1        42.    Attached hereto as Exhibit CC is a true and correct copy of the U.S.
   2 Department of Justice Bureau of Justice Statistics report “Survey of Prison Inmates,
   3 2016: Disabilities Reported by Prisoners,” dated March 2021.
   4        43.    Attached hereto as Exhibit DD is a true and correct copy of an excerpt
   5 of the San Diego County Sheriff’s Department’s response to a California Public
   6 Records Act Request submitted by my law firm, which we received on May 10,
   7 2021. In response to Request 2 for “writings related to your county’s Sheriff’s
   8 Department’s ADA transition plan(s), required by 28 C.F.R. § 35.150(d),” the
   9 Sheriff’s Department responded: “The Sheriff’s Department does not have any
  10 documents responsive to this request for a transition plan.” See id. at DD-461.
  11 IV.    Class Counsel Meet the Requirements of Rule 23(a)(4), (g)(1), and (g)(4).
  12        44.    The attorneys from three private law firms working on this case on
  13 behalf of the named plaintiffs and the putative subclass bring to bear an
  14 extraordinary amount of experience and expertise in the rights of incarcerated
  15 persons, the ADA, and class action litigation.
  16        A.     Rosen Bien Galvan & Grunfeld LLP
  17        45.    From its formation in 1990, Rosen Bien Galvan & Grunfeld LLP
  18 (“RBGG”) has been a nationally recognized leader in civil rights, employment,
  19 consumer, and antitrust class action litigation. The firm has specialized in large
  20 class action lawsuits seeking to improve conditions in correctional systems. The
  21 firm was co-counsel in Plata v. Brown, 563 U.S. 493 (2011), the landmark case that
  22 required population reduction in California’s overcrowded prison system. The firm
  23 is currently lead or co-lead class counsel in the following class actions: Coleman v.
  24 Newsom (E.D. Cal. No. 2:90-CV-00520-KJM-DB), an Eighth Amendment and
  25 ADA class action lawsuit against CDCR on behalf of a class of more than 25,000
  26 incarcerated people with serious mental illness; Armstrong v. Newsom (N.D. Cal.
  27 No. C 94-2307 CW), an ADA Rehabilitation Act and due process class action
  28 against CDCR on behalf of more than 10,000 incarcerated people and parolees with
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   1 mobility, hearing, vision, learning, kidney, and developmental disabilities;
   2 Hernandez v. County of Monterey (N.D. Cal. No. 5:13-cv-2354-BLF-NMC), a class
   3 action on behalf of all persons incarcerated in the Monterey County Jail and a
   4 certified subclass of all qualified individuals with a disability who are incarcerated
   5 in the Monterey County Jail; Hedrick v. Grant (E.D. Cal. No. 2:76-CV-00162-GEB-
   6 EFB), a class action on behalf of all persons incarcerated at the Yuba County Jail;
   7 Cole v. County of Santa Clara (N.D. Cal. No. 5:16-cv-06594-LHK), a class action
   8 on behalf of all persons with mobility disabilities incarcerated at the Santa Clara
   9 County Jail; Babu v. County of Alameda (N.D. Cal. No. 5:18-cv-07677-NC), a class
  10 action on behalf of all adults and a subclass of all qualified individuals with a
  11 psychiatric disability who are incarcerated in the Santa Rita Jail; and the putative
  12 class action Stiner v. Brookdale Senior Living, Inc. (N.D. Cal. No. 4:17-cv-03962-
  13 HSG (LB)), seeking relief under the ADA and other statutes on behalf of senior
  14 citizens living in assisted living facilities.
  15                 46.   Best Lawyers in America placed RBGG in the first tier nationally in
  16 Appellate Practice, and for San Francisco in Commercial Litigation, Employment
  17 Law-Individuals, and Civil Rights for 2022. All of the firm’s partners are AV-rated
  18 by Martindale-Hubbell and have been named SuperLawyers or SuperLawyers
  19 Rising Stars. Seven of the firm’s senior counsel or associates were named Rising
  20 Stars by SuperLawyers in 2022.
  21                 47.   I am the managing partner of RBGG. I graduated from Columbia Law
  22 School in 1984 as a Harlan Fiske Stone Scholar and Articles Editor of the Columbia
  23 Law Review, after which I clerked for the Honorable Jack B. Weinstein of the
  24 United States District Court for the Eastern District of New York. I became a
  25 member of the State Bar of California in 1985. I am also admitted to the Southern,
  26 Eastern, and Northern Districts of California; the Ninth Circuit Court of Appeals;
  27 and the Supreme Court of the United States.
  28                 48.   In addition to my role as one of the lead counsel in Armstrong and
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   1 Hedrick, described supra at ¶ 45, I have been appointed class counsel in a number of
   2 cases, including Ramirez et al. v. Ghilotti Bros., Inc. (N.D. Cal. No. 3:12-cv-04590-
   3 CRB), a class action on behalf of workers denied pay for all hours worked and meal
   4 and rest breaks; L.H. v. Brown (E.D. Cal. No. CIV. S-06-2042 LKK/GGH), a due
   5 process and ADA class action on behalf of juvenile parolees; Smith v. Shorenstein
   6 Hays-Nederlander Theatres LLC (San Francisco Superior Court Case No. CGC-16-
   7 554905), a class action on behalf of security guards denied minimum wage and
   8 overtime; Quinby v. ULTA, Salon, Cosmetics & Fragrance, Inc. (N.D. Cal. Case
   9 No. C-15-4099-WHO), a misclassification class action; and Moore v. Department of
  10 State Hospitals (Los Angeles Superior Court Case No. 19STCV16858), a class
  11 action on behalf of patients civilly committed to the Department of State Hospitals
  12 (“DSH”) who performed work for DSH and whom DSH paid less than minimum
  13 wage. I have repeatedly been named to the Daily Journal’s Top 100 Lawyers in
  14 California, including in 2022, and I have received CLAY Awards and other
  15 recognition for my work.
  16         49.   My partner and co-lead counsel Van Swearingen graduated from the
  17 University of California, Berkeley School of Law in 2008 as Executive Editor of the
  18 California Law Review. He was admitted to the California Bar in 2008. He
  19 received CLAY Awards in 2016 and 2022, and was named one of Lawdragon’s 500
  20 Leading Plaintiff Employment and Civil Rights Lawyers for 2020-2021.
  21         50.   In addition to Mr. Swearingen and me, the RBGG team includes three
  22 associates, each of whom has broad legal experience and expertise in the litigation
  23 of class action lawsuits. RBGG has the capacity thoroughly and vigorously to
  24 prosecute the claims in this case and properly represent the plaintiff class and
  25 intends to commit all necessary resources to do so.
  26         B.    Law Office of Aaron J. Fischer
  27         51.   The Law Office of Aaron J. Fischer engages in class action and other
  28 complex litigation regarding public entity systems. The firm’s areas of practice
     [4259279.3]                               12               Case No. 3:20-cv-00406-AJB-DDL
         DECLARATION OF GAY CROSTHWAIT GRUNFELD IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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   1 include disability rights, civil and constitutional rights, and complex investigations
   2 and systems counseling. The firm is willing and able to devote the resources
   3 necessary to litigate this case.
   4         52.   Aaron Fischer is the principal at the Law Office of Aaron J. Fischer.
   5 He graduated from Columbia Law School and clerked for the Honorable Jack B.
   6 Weinstein of the United States District Court for the Eastern District of New York,
   7 and for the Honorable Kimba M. Wood of the United States District Court for the
   8 Southern District of New York. He became a member of the State Bar of California
   9 in 2006. He is admitted the Southern, Central, Eastern, and Northern Districts of
  10 California, and the Ninth Circuit and Eleventh Circuit Courts of Appeals. He
  11 previously served as Litigation Counsel for Disability Rights California, where he
  12 worked on and litigated several complex criminal system- and disability-related
  13 matters. Prior to joining Disability Rights California, he was an attorney at RBGG.
  14 In 2014, he received the Jack Berman Award of Achievement for Distinguished
  15 Service to the Profession and the Public from the California State Bar Association
  16 (now the California Lawyers Association). He has repeatedly been named a
  17 Northern California Rising Star by SuperLawyers.
  18         53.   Mr. Fischer is currently lead class counsel representing approximately
  19 800 people incarcerated in Santa Barbara County Jail, in Murray v. County of Santa
  20 Barbara (C.D. Cal. No. 2:17-cv-08805-GW-JPR), a case challenging systemic
  21 deficiencies as to mental health and medical care, conditions of confinement
  22 (including solitary confinement), environmental health and safety conditions, and
  23 the treatment of people with disabilities. The class was certified, and a
  24 comprehensive settlement was approved by the court in 2021; remedial plan
  25 implementation and monitoring are ongoing. Mr. Fischer is also co-lead class
  26 counsel representing more than 3,000 people incarcerated in Sacramento County
  27 Jail, in Mays v. County of Sacramento (E.D. Cal. No. Case 2:18-cv-02081-TLN-
  28 KJN), a case challenging systemic deficiencies in the provision of mental health and
     [4259279.3]                             13                 Case No. 3:20-cv-00406-AJB-DDL
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   1 medical care, conditions of confinement, and the treatment of people with
   2 disabilities. The class was certified, and a comprehensive settlement was approved
   3 by the court in 2020; remedial plan implementation and monitoring are ongoing.
   4 Other cases in which Mr. Fischer has served on the class counsel team include:
   5 Coleman v. Newsom and Armstrong v. Newsom, both described supra at ¶ 45;
   6 Valdivia v. Brown (E.D. Cal. No. S-94-671 LKK/GGH), on behalf of parolees
   7 regarding their constitutional due process rights in parole revocation proceedings;
   8 Hecker v. Brown (E.D. Cal. No. 2:05-cv-2441 LKK JFM P), on behalf of
   9 incarcerated people with a mental health disability; Hernandez v. County of
  10 Monterey, described supra at ¶ 45; and Johnson v. County of Los Angeles (C.D. Cal.
  11 No. 2:08-cv-03515-DDP-SH), on behalf of people with mobility disabilities
  12 incarcerated in the Los Angeles County Jail system seeking improved accessibility,
  13 reasonable accommodations, and equitable treatment.
  14         C.    DLA Piper
  15         54.   DLA Piper LLP (US) (“DLA Piper”) is a global law firm with lawyers
  16 located in more than 40 countries throughout the Americas, Europe, the Middle
  17 East, Africa, and Asia. DLA Piper’s clients range from multinational, Global 1000,
  18 and Fortune 500 enterprises, to emerging companies, to individuals. They include
  19 more than half of the Fortune 250 and nearly half of the FTSE 350 or their
  20 subsidiaries. DLA Piper has repeatedly been recognized for its dedication to pro
  21 bono work. Most recently, DLA Piper received the 2022 John Minor Wisdom
  22 Public Service and Professionalism Award from the American Bar Association
  23 Litigation Section’s Access to Justice Committee.
  24         55.   DLA Piper features one of the premier class action practices in the
  25 United States, having handled class action lawsuits in virtually every U.S. juris-
  26 diction. Well over 100 lawyers at the firm litigate class action lawsuits, of virtually
  27 every variety. DLA Piper’s class action group is regularly recognized by respected
  28 legal industry websites and publications. As one example, DLA Piper was recently
     [4259279.3]                              14               Case No. 3:20-cv-00406-AJB-DDL
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   1 named a Powerhouse firm for class action litigation by BTI Consulting Group.
   2        56.    Christopher Young graduated from the University of California,
   3 Berkeley School of Law in 1992, and was admitted to the California Bar in 1992.
   4 He has been practicing with DLA Piper and its predecessor firms in San Diego for
   5 30 years, since 1992. He was an associate with Gray Cary Ames & Frye and Gray
   6 Cary Ware & Freidenrich from 1992 to 2000, and a partner with Gray Cary
   7 Ware & Freidenrich from 2000 to 2005, when that firm merged to form DLA Piper.
   8 He has been a partner with DLA Piper since 2005. He is licensed to practice law in
   9 the State of California and is admitted to all California state courts; the Southern,
  10 Central, Eastern, and Northern Districts of California; and the Ninth Circuit Court of
  11 Appeals. Mr. Young has been repeatedly recognized for his accomplishments by
  12 respected legal industry publications. Each year since 2020, Chambers USA listed
  13 him in Band One, as one of the three top-ranked litigation attorneys in San Diego,
  14 commenting that he regularly takes on significant class actions and is noted for his
  15 proficiency in product liability matters. Mr. Young was also named “Lawyer of
  16 the Year” by The Best Lawyers in America in the category of Class Actions and
  17 Mass Tort Defense Litigation for San Diego for both 2020 and 2023.
  18        57.    Mr. Young has devoted the bulk of his practice to class action litigation
  19 for the past 30 years. He has acted as lead counsel in dozens of class actions in
  20 courts throughout California and the United States. He has litigated class actions
  21 involving putative classes ranging from several hundred to 14 million individuals,
  22 and ranging from local to nationwide in scope. Of particular relevance here,
  23 Mr. Young recently served as co-lead counsel with RBGG in Sabata et al. v.
  24 Nebraska Department of Correctional Services et al. (D. Neb. No. 4:17-cv-3107-
  25 RFR-MDN). Mr. Young worked to prosecute the Sabata case for several years, and
  26 along with my law firm, received the Good Apple Award from Nebraska Appleseed
  27 for his work on that case. See https://webcache.googleusercontent.com/search
  28 ?q=cache:-GK7otoZIMwJ:https://neappleseed.org/blog/37216+&cd=2&hl=en&ct
     [4259279.3]                         15                Case No. 3:20-cv-00406-AJB-DDL
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   1 =clnk&gl=us. That litigation centered around conditions for incarcerated persons in
   2 the Nebraska state prison system and involved many issues similar to those raised
   3 by this action.
   4                 58.   In addition to Mr. Young, the DLA Piper team working on the instant
   5 matter includes six associate attorneys, all of whom have broad legal experience and
   6 expertise in the litigation of class action lawsuits. DLA Piper is willing and able to
   7 devote the necessary resources to the representation of the plaintiff class in this
   8 matter through the conclusion of the litigation.
   9                 I declare under penalty of perjury under the laws of the United States of
  10 America that the foregoing is true and correct, and that this declaration is executed
  11 at San Francisco, California this 24th day of April, 2023.
  12
  13                                                     /s/ Gay Crosthwait Grunfeld
                                                         Gay Crosthwait Grunfeld
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   8                            UNITED STATES DISTRICT COURT
   9                          SOUTHERN DISTRICT OF CALIFORNIA
  10 DARRYL DUNSMORE, ANDREE                              Case No. 3:20-cv-00406-AJB-DDL
     ANDRADE, ERNEST ARCHULETA,
  11 JAMES CLARK, ANTHONY EDWARDS,                        ORDER GRANTING
     LISA LANDERS, REANNA LEVY,                           PLAINTIFFS’ MOTIONS FOR
  12 JOSUE LOPEZ, CHRISTOPHER                             PRELIMINARY INJUNCTION
     NELSON, CHRISTOPHER NORWOOD,                         AND PROVISIONAL CLASS
  13 JESSE OLIVARES, GUSTAVO                              CERTIFICATION
     SEPULVEDA, MICHAEL TAYLOR, and
  14 LAURA ZOERNER, on behalf of                          Judge:      Hon. Anthony J. Battaglia
     themselves and all others similarly situated,        Magistrate: Hon. David D. Leshner
  15               Plaintiffs,                            Trial Date: None Set
  16        v.
     SAN DIEGO COUNTY SHERIFF’S
  17 DEPARTMENT, COUNTY OF SAN
     DIEGO, SAN DIEGO COUNTY
  18 PROBATION DEPARTMENT, and DOES
     1 to 20, inclusive,
  19
                   Defendants.
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       [4254029.5]                                                  Case No. 3:20-cv-00406-AJB-DDL
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   1                 On April 25, 2023, Plaintiffs filed Motions for Preliminary Injunction and
   2 Provisional Class Certification (“the Motions”) seeking to stop Defendants’ policies
   3 and practices of (1) depriving incarcerated people with disabilities of effective
   4 communication through sign language interpretation; and (2) housing incarcerated
   5 people with mobility disabilities in inaccessible locations, where they cannot safely
   6 access sleeping, toileting, and showering facilities, in violation of the Americans
   7 with Disabilities Act (“ADA”), the Rehabilitation Act, and California Government
   8 Code Section 11135. The Motions came before the Court for hearing. The Court,
   9 having considered the parties’ pleadings, the arguments of counsel, and the entire
  10 record, GRANTS Plaintiffs’ Motions and makes the following findings:
  11                 In March 2020, Plaintiff Darryl Dunsmore filed this action pro se, alleging
  12 that Defendants violated the ADA at the San Diego County Jail (“the Jail”) by
  13 denying him access to an accessible shower and his medical appliances, among
  14 other things. Dkt. 1 at p. 4.
  15                 In February 2022, Dunsmore was joined by additional plaintiffs and, now
  16 represented by counsel, filed a class action complaint alleging that Defendants
  17 violate the ADA and other statutes in multiple respects, including by failing to
  18 provide effective communication or safe and accessible facilities to people with
  19 disabilities. Dkt. 81 at ¶¶ 222-50; see also Dkt. 231 at ¶¶ 240-74.
  20                 In December 2022, Plaintiffs filed a motion for expedited discovery on ADA
  21 issues arising under their Third Claim for Relief. See Dkt. 243. After the Court
  22 granted that motion in part, Defendants produced documents and witnesses for
  23 deposition under Federal Rule of Civil Procedure 30(b)(6). In February and
  24 March 2023, pursuant to the Court’s expedited discovery order, Plaintiffs and their
  25 expert inspected two of the Jail’s seven facilities: the Central Jail and the under-
  26 construction and unoccupied Rock Mountain Detention Facility.
  27
  28
       [4254029.5]                                     1                Case No. 3:20-cv-00406-AJB-DDL
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   1 I.              Plaintiffs Are Entitled to a Preliminary Injunction
   2                 A.     Disability Discrimination Law
   3                 The ADA prohibits public entities, including Defendants, from denying “a
   4 qualified individual with a disability … the benefits of the services, programs, or
   5 activities of [the] public entity” because of the individual’s disability and from
   6 discriminating against people based on their disabilities. 42 U.S.C. § 12132.
   7 Similarly, the Rehabilitation Act requires all state and local governments receiving
   8 federal funds, including Defendants, to reasonably accommodate incarcerated
   9 people with disabilities in their facilities, programs, activities, and services. 29
  10 U.S.C. § 794. California Government Code Section 11135 similarly prohibits
  11 Defendants from denying “full and equal access to the benefits of … any program or
  12 activity that … is funded directly by the state[] or receives any financial assistance
  13 from the state” to any person on the basis of disability. In particular, Section 11135
  14 explicitly requires compliance with Title II of the ADA—at a minimum—such that
  15 a violation of the ADA necessarily constitutes a violation of Section 11135. Cal.
  16 Gov’t Code § 11135(b).
  17                 Under federal and state law, detention facilities such as the Jail must:
  18                 •      “ensure that qualified inmates or detainees with disabilities shall not,
  19                        because a facility is inaccessible to or unusable by individuals with
  20                        disabilities, be excluded from participation in, or be denied the benefits
  21                        of, the services, programs, or activities of a public entity, or be
  22                        subjected to discrimination by any public entity,” 28 C.F.R.
  23                        § 35.152(b)(1);
  24                 •      “implement reasonable policies, including physical modification to
  25                        additional cells in accordance with the 2010 [accessibility] Standards,
  26                        so as to ensure that each inmate with a disability is housed in a cell with
  27                        the accessible elements necessary to afford the inmate access to safe,
  28                        appropriate housing,” id. § 35.152(b)(3);
       [4254029.5]                                       2               Case No. 3:20-cv-00406-AJB-DDL
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   1         •      ensure that communications with people with disabilities are
   2                “effective,” including by providing “auxiliary aids and services,”
   3                including sign language interpretation, id. § 35.160(a)(1), (b)(1); and,
   4         •      when providing auxiliary aids and services to facilitate effective
   5                communication, “give primary consideration to the requests of
   6                individuals with disabilities,” id. § 35.160(b)(2).
   7         The ADA defines “a qualified individual with a disability” as a person who
   8 has a “physical or mental impairment that substantially limits one or more major life
   9 activities,” including, but not limited to, “caring for oneself, performing manual
  10 tasks, seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking,
  11 breathing, learning, reading, concentrating, thinking, communicating, and working.”
  12 42 U.S.C. § 12102(1)(A), (2)(A). Any “qualified individual with a disability” under
  13 the ADA is considered an “individual with a disability” for purposes of the
  14 provision of services under the Rehabilitation Act. 29 U.S.C. § 705(20). Plaintiffs
  15 Dunsmore, Andrade, Archuleta, Clark, Landers, Lopez, and Nelson are qualified
  16 individuals with disabilities as defined in the ADA and Rehabilitation Act, as they
  17 have disabilities that substantially limit one or more major life activities.
  18         The programs, services, and activities that Defendants provide to incarcerated
  19 people include, but are not limited to, sleeping; showering; toileting; safety and
  20 security; the Jail’s administrative, disciplinary, and classification proceedings; and
  21 medical, mental health, and dental services. These programs, services, and activities
  22 are covered by the ADA, the Rehabilitation Act, and state law. See Pa. Dep’t of
  23 Corr. v. Yeskey, 524 U.S. 206, 210 (1998); Armstrong v. Schwarzenegger, 622 F.3d
  24 1058, 1068 (9th Cir. 2010) (“use of toileting and bathing facilities” is a “benefit”
  25 under ADA).
  26         B.     Findings of Fact
  27         Defendants’ ADA compliance is deficient. Defendants fail to ensure effective
  28 communication for people with hearing disabilities, in particular, by failing to
     [4254029.5]                               3                 Case No. 3:20-cv-00406-AJB-DDL
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   1 provide sign language interpretation to people incarcerated at the Jail. Defendants
   2 do not have any written policy requiring that people with hearing disabilities be
   3 evaluated to determine their primary method of communication. As a result, Jail
   4 staff are not informed of the effective way to communicate with an individual with a
   5 hearing disability. Defendants do not distinguish between people who are
   6 completely deaf and those who are hard of hearing. They do not track whether
   7 people need sign language, hearing aids, written notes, pocket talkers, or other
   8 methods to communicate. Instead, they have one catchall phrase: “hearing
   9 deficit/deaf.”
  10         Defendants do not have any written policy requiring sign language
  11 interpretation to be provided to people who communicate via sign language, nor is
  12 there a written policy identifying a person or unit within the Sheriffs’ Department
  13 responsible for obtaining sign language interpretation. As a result, deaf people who
  14 communicate via sign language are denied effective communication even for critical
  15 encounters with Jail staff and contractors, including at booking, medical and mental
  16 health appointments, and meetings and hearings implicating their due process rights,
  17 such as disciplinary and classification proceedings. Plaintiffs have provided
  18 evidence documenting the harm of Defendants’ conduct—including a declaration
  19 from a deaf incarcerated person whose tooth was removed without his
  20 understanding of what was happening, and therefore without his informed consent,
  21 and who was unable to communicate effectively with mental health clinicians while
  22 suicidal. Defendants’ failure to provide sign language interpretation places deaf
  23 signers for whom sign language is their primary means of communication at
  24 ongoing and serious risk of harm and even death.
  25         Defendants have denied incarcerated people with mobility disabilities access
  26 to safe facilities to complete basic activities of daily life, such as sleeping, toileting,
  27 and showering. Documents produced by the Jail purporting to show all incarcerated
  28 people with mobility disabilities reveal that Defendants lack sufficient accessible
     [4254029.5]                                4                Case No. 3:20-cv-00406-AJB-DDL
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   1 housing. Defendants house more people with mobility disabilities at Central Jail
   2 than there are so-called “accessible” spaces. Defendants do not in fact have a single
   3 accessible cell, toilet, or shower suitable for use by people with serious mobility
   4 disabilities at Central Jail. Defendants house people with mobility disabilities in
   5 unsafe bed spaces, including the middle and top bunks of a three-tiered bunkbed.
   6 Even when people with disabilities are housed in the bottom of a triple bunk, that
   7 bed is below the height of a wheelchair seat, which makes transferring down to that
   8 low bed dangerous. Many toilets lack grab bars entirely, and even those toilets that
   9 nominally contain grab bars (at Central Jail) lack sufficient space for people in
  10 wheelchairs to transfer on and off of the toilet. The grab bars used are also
  11 inadequate. The showers throughout the Jail lack fixed shower seats and have
  12 inadequate grab bars. In addition, the showers are too narrow for a person to safely
  13 maneuver in or lack a level entry into the shower. Nor do Defendants have any
  14 written plan to remedy these issues.
  15         Multiple incarcerated people with mobility disabilities report that they have
  16 been transferred out of Central Jail (including being forcibly removed from
  17 wheelchairs) or denied transfers to Central Jail, the only allegedly “accessible”
  18 housing for incarcerated people identified as male, and instead are housed in other
  19 Jail facilities, which lack any shower chairs or grab bars in the shower or toilet. As
  20 a result, incarcerated people have fallen and injured themselves when trying to
  21 complete fundamental life activities such as climbing in and out of bed, toileting, or
  22 showering.
  23         All people with mobility disabilities in the Jail are at risk of serious injury as a
  24 result of Defendants’ lack of safe, accessible housing. Defendants claim that they
  25 will place people with mobility disabilities at Rock Mountain Detention Facility and
  26 that it will be fully accessible. However, that facility is a currently under
  27 construction. Renovations have been underway for years, with no deadline for
  28 completion. And an inspection by Plaintiffs’ experts revealed that Rock Mountain
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   1 contains no ADA-compliant, safe housing for people with mobility disabilities.
   2 Even if Defendants conduct renovations of Rock Mountain that satisfy state and
   3 federal disability law, that alone will not solve the problem. That facility is not
   4 intended for booking and will not provide sufficient safe housing for all
   5 classifications of incarcerated people with mobility disabilities.
   6         C.    Conclusions of Law
   7         Defendants’ failures in policy and practice, as outlined above and detailed in
   8 Plaintiffs’ Motion, violate the ADA, the Rehabilitation Act, and California
   9 Government Code Section 11135 because they discriminate against incarcerated
  10 people with disabilities, deny them meaningful access to programs, services, and
  11 activities, and injure them, both in their dignity and through actual or likely physical
  12 harm.
  13         Defendants fail to reasonably accommodate and have discriminated against
  14 the above-named Plaintiffs and the Incarcerated People with Disabilities Subclass in
  15 at least two ways. First, Defendants fail to provide sign language interpretation to
  16 people with hearing disabilities, and thereby deny those people effective
  17 communication. See Hernandez v. Cty. of Monterey, 110 F. Supp. 3d 929, 960
  18 (N.D. Cal. 2015) (granting preliminary injunction to require sign language
  19 interpretation in jail); Armstrong v. Brown, 939 F. Supp. 2d 1012, 1015-22 (N.D.
  20 Cal. 2013); Duffy v. Riveland, 98 F.3d 447, 455-56 (9th Cir. 1996); Pierce v. Dist. of
  21 Columbia, 128 F. Supp. 3d 250, 272 (D.D.C. 2015) (Jackson, J.). On their face,
  22 Defendants’ policies are insufficient because they do not require sign language
  23 interpretation at any time, including during critical encounters such as booking,
  24 medical and mental health interactions, classification, or disciplinary proceedings.
  25 Moreover, Defendants fail to evaluate, document, or track incarcerated people with
  26 disabilities’ primary method of communication. Defendants do not determine
  27 whether an individual requires sign language interpretation, as opposed to
  28 communicating via written notes or with hearing aids or pocket talkers.
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   1 Incarcerated people with hearing disabilities are suffering irreparable harm because
   2 of Defendants’ failure to accommodate them, including but not limited to being
   3 denied effective communication with mental health clinicians while experiencing
   4 suicidal ideation, and being subjected to medical procedures without their informed
   5 consent.
   6         Second, Defendants fail to accommodate Plaintiffs and incarcerated people
   7 with mobility disabilities by housing them in inaccessible and unsafe locations,
   8 where they cannot safely access sleeping, toileting, and showering facilities. The
   9 Jail, including the Central Jail facility built in 1998, must comply with applicable
  10 standards, including those articulated by the Department of Justice. See 28 C.F.R.
  11 § 35.152(b)(3); Kirola v. City & Cty. of San Francisco, 860 F.3d 1164, 1176-77 (9th
  12 Cir. 2017). Federal regulations make clear that the Jail is required to make
  13 “physical modification[s] … in accordance with the 2010 [accessibility] Standards”
  14 to “ensure that each inmate with a disability is housed in a cell with the accessible
  15 elements necessary to afford the inmate access to safe, appropriate housing.” 28
  16 C.F.R. § 35.152(b)(3). Housing for incarcerated people with mobility disabilities
  17 must include grab bars in the toilet, ADAS §§ 604.5, 609.3; grab bars in the shower,
  18 id. §§ 608.3, 609.3; a shower seat, id. § 608.4; and sufficient space to maneuver
  19 from a wheelchair safely into a bed. Yet the Jail lacks sufficient accessible housing
  20 for people with mobility disabilities—including showers with adequate grab bars
  21 and shower chairs, toilets with adequate grab bars, and bunks with sufficient space
  22 and at an appropriate height for people with mobility disabilities to safely transition
  23 from wheelchair to bed. Nor do Defendants have any transition plan, with the
  24 detailed requirements described in 28 C.F.R. § 35.150(d), to remedy the lack of
  25 accessible housing. Defendants’ own documents confirm that people with mobility
  26 disabilities are housed inaccessibly, including by assignment to top- and middle- tier
  27 bunkbeds. Moreover, Defendants have, on multiple occasions, transferred people
  28 with mobility disabilities out of Central Jail and instead have housed them at other
     [4254029.5]                                 7                 Case No. 3:20-cv-00406-AJB-DDL
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   1 Jail facilities where showers and toilets lack any grab bars or shower chairs, making
   2 them even more dangerous than those at Central Jail. As a result, incarcerated
   3 people with disabilities have suffered harm, including falling while getting in and
   4 out of bed, transferring to and from the toilet, and in the shower.
   5         As a result of Defendants’ failures to provide reasonable accommodation as
   6 described above, Plaintiffs and incarcerated people with disabilities are irreparably
   7 harmed. See Silver Sage Partners, Ltd. v. City of Desert Hot Springs, 251 F.3d 814,
   8 827 (9th Cir. 2001) (“We have held that where a defendant has violated a civil rights
   9 statute, we will presume that the plaintiff has suffered irreparable injury from the
  10 fact of the defendant’s violation.”). Incarcerated people with hearing disabilities
  11 have been denied effective communication with mental health clinicians while
  12 experiencing suicidal ideation and been subjected to medical procedures without
  13 their informed consent. These and other harms are likely to occur when deaf
  14 individuals who use sign language as their primary means of communication are
  15 denied sign language interpretation during medical, mental health, and other
  16 important encounters. Incarcerated people with mobility disabilities have fallen
  17 getting in and out of bed, transferring to and from the toilet, and in the shower.
  18 These and other serious injuries are likely to occur when people with mobility
  19 disabilities are denied access to safe and accessible beds, showers, and toilets.
  20         In light of the physical injuries and irreparable harm outlined above, the
  21 balance of equities tips toward the Plaintiffs. Defendants have identified no
  22 interests that outweigh the harm and deprivation established by Plaintiffs in their
  23 Motions, including being subjected to invasive medical procedures without
  24 informed consent; denial of effective communication with nurses and mental health
  25 clinicians, even in the midst of suicidal thoughts; and physical injuries resulting
  26 from falls while trying to complete basic hygiene tasks. “[F]aced with such a
  27 conflict between financial concerns and preventable human suffering, [courts] have
  28 little difficulty concluding that the balance of hardships tips decidedly in plaintiffs’
     [4254029.5]                                 8                  Case No. 3:20-cv-00406-AJB-DDL
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   1 favor.” Harris v. Bd. of Supervisors, L.A. Cty., 366 F.3d 754, 766 (9th Cir. 2004)
   2 (quoting Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983)). In addition, the
   3 public interest would be served by remedying Defendants’ violations of disability
   4 discrimination law. Hernandez, 110 F. Supp. 3d at 958; Enyart v. Nat’l Conf. of Bar
   5 Examiners, Inc., 630 F.3d 1153, 1167 (9th Cir. 2011) (public has an “interest in
   6 enforcement of the ADA and in elimination of discrimination on the basis of
   7 disability”). Protecting incarcerated people from physical injury and the denial of
   8 equal access through effective communication to Jail services such as medical and
   9 mental health care is in the public interest.
  10         As described in the declaration of Plaintiffs’ accessibility expert, some of
  11 Defendants’ most egregious ADA and statutory violations can be promptly and
  12 effectively remedied. Defendants can convert or replace their triple bunk beds with
  13 double bunk beds to make them safer to access; install adequate grab bars near
  14 toilets; install adequate grab bars and chairs in showers; or take other steps at a
  15 relatively low cost and in the near future. Defendants can also reassign people with
  16 mobility disabilities to bottom bunks in double bunk beds on lower tiers.
  17 Defendants can create a plan for renovations and revise any existing plans for
  18 ongoing renovations at their facilities. Defendants can also revise their deficient
  19 policies to ensure no person with a serious mobility disability is placed in middle
  20 and upper bunks.
  21         In addition, Defendants can obtain an effective sign language interpretation
  22 contract or hire an interpreter and train their staff on obtaining sign language
  23 interpretation. Defendants can revise their policy P.11 to require sign language
  24 interpretation during critical medical and mental health encounters and at
  25 classification and disciplinary hearings.
  26 II.     Rule 23 Factors Are Met
  27         Plaintiffs have moved to provisionally certify an Incarcerated People with
  28 Disabilities Subclass. See Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036
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   1 (9th Cir. 2012). The Incarcerated People with Disabilities Subclass is defined as all
   2 qualified individuals with a disability, as that term is defined in 42 U.S.C. § 12102,
   3 29 U.S.C. § 705(9)(B), and California Government Code § 12926(j) and (m), and
   4 who are now, or will be in the future, incarcerated in the Jail.
   5         The Court finds that the Subclass is so numerous that joinder of all members
   6 is impracticable. The Subclass consists of thousands of current and future
   7 individuals with disabilities incarcerated at the Jail. Fed. R. Civ. P. 23(a)(1). See
   8 Bureau of Justice Statistics, Disabilities Reported by Prisoners, https://bjs.ojp.gov
   9 /content/pub/pdf/drpspi16st.pdf.
  10         There are questions of law and fact common to the Subclass. Fed. R. Civ. P.
  11 23(a)(2). For purposes of preliminary relief, questions of law and fact common to
  12 the Subclass include: (1) Do Defendants, through their disability-related policies
  13 and practices or lack thereof, deny qualified people with hearing disabilities access
  14 to programs, services, and activities at the Jail, through failure to provide sign
  15 language interpretation? (2) Do Defendants, through their disability-related policies
  16 and practices or lack thereof, deny qualified people with mobility disabilities access
  17 to programs, services, and activities at the Jail, such as safe sleeping, toileting, and
  18 showering facilities?
  19         The proposed class representatives have claims sufficiently typical of the
  20 class and subclass they seek to represent. Fed. R. Civ. P. 23(a)(3). The claims and
  21 defenses of Plaintiffs Dunsmore, Andrade, Archuleta, Clark, Landers, Lopez, and
  22 Nelson (collectively “the putative subclass representatives”) are typical of the claims
  23 and defenses of the Subclass. All of the putative subclass representative either have
  24 been or are currently incarcerated in the Jail. They suffer the same injuries under
  25 the ADA, Rehabilitation Act, and California Government Code Section 11135 as the
  26 Subclass. The putative subclass representatives and the members of the Subclass
  27 are all subject to the same policies, procedures, and practices of Defendants that
  28 deny them access to Jail programs, services, and activities and discriminate against
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   1 them because of their disabilities.
   2           The putative subclass representatives will fairly and adequately protect the
   3 interests of the class. Fed. R. Civ. P. 23(a)(4). The putative subclass representa-
   4 tives, who seek only preliminary injunctive relief at this stage, have no conflict with
   5 the subclass they seek to represent and are knowledgeable and involved in the
   6 lawsuit. Plaintiffs’ counsel—Gay Grunfeld and Van Swearingen of Rosen Bien
   7 Galvan & Grunfeld LLP, Aaron Fischer of Law Office of Aaron J. Fischer, and
   8 Christopher Young of DLA Piper LLP—have sufficient experience litigating
   9 complex actions, including in cases related to conditions of confinement in jails and
  10 prisons, and will be adequate representatives of the subclass.
  11           Defendants’ discriminatory actions and omissions apply generally to the
  12 Subclass, so that preliminary injunctive relief is appropriate respecting the Subclass
  13 as a whole. Fed. R. Civ. P. 23(b)(2).
  14           In order to remedy the ongoing harm to Plaintiffs and the Incarcerated People
  15 with Disabilities Subclass, to ensure that Defendants meet their obligations under
  16 the ADA, Rehabilitation Act, and California Government Code Section 11135, and
  17 based on the entire record in this action, the Court hereby ORDERS the following
  18 relief:
  19           1.    Within thirty days of this Order, Defendants shall develop and submit
  20 to the Court and to Plaintiffs a plan to remedy the above violations of state and
  21 federal law, which shall include, at a minimum, the following elements:
  22                 a.     For incarcerated people with hearing disabilities:
  23                        i.    Defendants must provide sign language interpretation for
  24 all incarcerated people with hearing disabilities who use sign language interpretation
  25 as their primary means of communication for all medical and mental health
  26 encounters, booking, classification proceedings, and disciplinary proceedings.
  27                        ii.   During booking, Defendants must evaluate every person to
  28 determine whether they have a hearing or speaking disability and, if so, what each
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   1 person’s primary method of communication includes, e.g., sign language, written
   2 notes, hearing aids, or pocket talkers. In determining a person’s primary method of
   3 communication, Defendants must give deference to the preference of the
   4 incarcerated person. Defendants must then document that method of
   5 communication and require that their staff and contractors use that method when
   6 interacting with the incarcerated person during all medical and mental health
   7 encounters, booking, classification proceedings, and disciplinary proceedings.
   8                b.    For incarcerated people with mobility disabilities:
   9                      i.     Defendants must stop placing incarcerated people with
  10 mobility disabilities in inaccessible housing, including: any bed in a triple bunk,
  11 any top bed in a double bunk, toilets without 2010 ADAS-compliant grab bars, or
  12 showers without 2010 ADAS-compliant grab bars and shower chairs. Defendants’
  13 plan to remedy the lack of accessible housing for people with mobility disability
  14 should identify each element in each housing unit that they propose renovating and
  15 any other changes they propose, as well as the maximum number of incarcerated
  16 people with disabilities that can be safely housed in each unit. This portion of
  17 Defendants’ plan should also include staged deadlines for completion of
  18 renovations, with at least some accessible housing becoming available as soon as
  19 possible and no later than 90 days from the date of this Order. All renovations and
  20 changes required to make accessible housing available to all incarcerated people
  21 with mobility disabilities shall be completed within one year of the date of this
  22 Order.
  23                      ii.    Defendants’ plan must include accessible and safe housing
  24 for people with mobility disabilities throughout their incarceration, including
  25 accessible housing that is available immediately upon booking.
  26                      iii.   Defendants’ plan must require that during booking, and at
  27 the request of any incarcerated person, Defendants will evaluate every person to
  28 determine whether they have a mobility disability and, if so, what accommodations
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   1 each person requires. Defendants must then document those accommodations and
   2 ensure that the incarcerated person is housed accessibly with their accommodations.
   3         2.    Within fifteen days of Plaintiffs’ receipt of Defendants’ proposed plan,
   4 Plaintiffs shall file objections (if any) to the proposed plan with the Court. The
   5 Court thereafter shall enter an Order adopting the plan, as revised (if at all) by the
   6 Court, in consideration of Plaintiffs’ objections.
   7         3.    After the Court issues the Order adopting the plan, Plaintiffs will, upon
   8 reasonable notice, be entitled to monitor Defendants’ compliance with this Order
   9 and the Order adopting the plan. Plaintiffs shall be allowed to inspect with ADA
  10 experts any renovations completed by Defendants at the Jail, with one week’s
  11 notice, to ascertain whether Defendants have adequately modified their housing for
  12 people with mobility disabilities.
  13         4.    After the Court issues the Order adopting the plan, Plaintiffs shall be
  14 allowed access to records documenting that sign language interpretation is being
  15 employed for incarcerated people with hearing disabilities.
  16         5.    Within thirty days of this Order, and for the twelve months following
  17 this Court’s Order adopting Defendants’ plan, Defendants must, on a monthly basis,
  18 provide daily housing rosters from the preceding month to the Court and Plaintiffs,
  19 reflecting the disability needs of every person incarcerated at the Jail with a mobility
  20 or hearing disability, including information sufficient to describe their mobility
  21 disability (if any), hearing disability (if any), effective communication needs (if
  22 any), housing unit, bed assignment (top, middle, or lower bunk), and whether the
  23 person’s cell or housing unit has 2010 ADAS-compliant toilet grab bars, shower
  24 grab bars, and shower seat.
  25         6.    These remedies are all consistent with the Prison Litigation Reform
  26 Act’s requirement that the Court’s orders be narrowly drawn, extend no further than
  27 necessary to correct the violation of a federal right, and be the least intrusive means
  28 necessary to correct the violation. See 18 U.S.C. § 3626(a)(1)(A). Anything short
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   1 of these remedies will not put an end to Defendants’ ongoing violations of the rights
   2 of Plaintiffs.
   3                 7.      The Court provisionally certifies the Subclass and appoints the putative
   4 subclass representatives as provisional class representatives for the Subclass. The
   5 Court appoints Plaintiffs’ counsel—Gay Grunfeld and Van Swearingen of Rosen
   6 Bien Galvan & Grunfeld LLP, Aaron Fischer of Law Office of Aaron J. Fischer, and
   7 Christopher Young of DLA Piper LLP—as provisional class counsel. Fed. R. Civ.
   8 P. 23(g)(1) and (4).
   9                 8.      This Order shall apply to Defendants, their agents, contractors,
  10 employees, successors in office, and all persons with knowledge of it. No person
  11 who has noticed of this injunction shall fail to comply with it, nor shall any person
  12 subvert the injunction by any sham, indirection, or other artifice.
  13                 9.      The bond requirement is waived.
  14                 10.     The Court shall retain jurisdiction to enforce the terms of this Order.
  15                 IT IS SO ORDERED.
  16
  17 DATED: ____________, 2023
                                                        Honorable Anthony J. Battaglia
  18
                                                        United States District Judge
  19
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  22
  23
  24
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  28
       [4254029.5]                                      14                Case No. 3:20-cv-00406-AJB-DDL
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                     EXHIBIT B
                             [REDACTED]
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                                          February 23, 2018

 VIA ELECTRONIC MAIL ONLY
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                                                                        SUBJECT TO
                                                                     PROTECTIVE ORDER
 Russa Boyd
 Nicholas Meyer
 CDCR Office of Legal Affairs
 P.O. Box 942883
 Sacramento, CA 94283
 Russa.Boyd@cdcr.ca.gov
 Nicholas.Meyer@cdcr.ca.gov

               Re:   Armstrong v. Brown: Plaintiffs’ Report re Class Member Interviews at San
                     Diego County Jails (Q1 2018)
                     Our File No. 0581-09

 Dear All:

        This letter reports on Plaintiffs’ January 29, 2018 class member interviews at the
 San Diego County Jails. On that date, I interviewed four class members housed at the
 San Diego Central Jail (“Central Jail”) and three class members housed at the George F.
 Bailey Detention Facility (“Bailey Detention Facility”). On February 1, 2018, I sent a
 Paragraph 5 Request to CDCR Office of Legal Affairs regarding three of the class
 members whom I interviewed. See Exhibit A. I received a response to that letter from
 CDCR on February 22, 2018. See Exhibit B.

        My interviews with class members and review of available records revealed the
 following issues.

               //

               //



 [3227898.1]
                                                                                              Ex. B-18
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 I.            Denials of Accommodations at the San Diego County Jails

               A.    Inadequate Bathroom Facilities for Disabled Individuals

        Several class members housed at the Central Jail reported that the bathrooms in
 their housing areas lacked adequate accessibility features, such as grab bars in the
 showers and near the toilets, to ensure their safety in the bathrooms.
         , who is paraplegic and DPW (a full-time wheelchair user), reported that there
 were no grab bars for his use in the shower area of his housing unit.

        Several class members also reported that there is only one shower chair available
 for use in Units 7/A and B, which at the time of my visit, housed multiple individuals
 with serious mobility impairments including two individuals who were using
 wheelchairs. San Diego County should ensure that it has adequate restroom and shower
 accommodations to meet the needs of all individuals with mobility impairments.

               B.    Unsafe Custody Escort Practices for Individuals with Mobility
                     Impairments

        Class member                              , who is DNM (mobility impaired) and
 uses a cane, reported that when he is transported to court, he is chained at the waist with a
 large group of other individuals. As a result, he is unable to use his cane for stability as
 he requires. He reported that he has tripped several times and nearly fallen during these
 group escorts.

        San Diego County should ensure that its escort practices are safe for individuals
 with mobility impairments and that individuals who require assistive devices are able to
 use those devices while being escorted by deputies.

               C.    Denial of Shoes as a Disability Accommodation

        Class member                           , reported that he had been denied access to
 orthopedic shoes upon his arrival to the Jail. He requires specialty shoes for stability and
 to minimize his risk of falling due to post-stroke muscular weakness on his left side.
 Plaintiffs have advocated for              regarding this issue several times prior to my
 February 1, 2018 advocacy letter on his behalf, most recently in February 2016, and he
 has submitted multiple 2275-CJs on this issue, most recently in July 2016. He has
 received the shoes as a reasonable accommodation following advocacy on several
 occasions in the past. Although San Diego’s response to my February 1 letter stated that
 his doctor had deemed the shoes not medically indicated at this time pending receipt of


 [3227898.1]
                                                                                   Ex. B-19
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 “outside records,” it is concerning that          has been repeatedly (and apparently
 currently) denied an accommodation that the Jail has found warranted on several prior
 occasions.

        San Diego County must have initial screening and medical evaluation procedures
 sufficient to identify and provide previously-granted accommodations without
 intervention from Plaintiffs’ counsel.

 II.           Division of Adult Parole Operations (“DAPO”) Issues

               A.    Parole and Release Planning Concerns

     Several class members reported significant difficulties in the community due to
 DAPO’s failure to provide necessary services while on parole.

                                     , is DPV (vision impaired) and received mental health
 care at the EOP level of care while in CDCR. Despite his significant physical and
 psychological disabilities, Mr. Martinez reported that his parole agent had not responded
 to requests for assistance with finding housing after his release from the San Diego
 County Jail. He expects to be released on June 23, 2018. He reported that he has reached
 out to a program called HealthRight 360, which is also listed on the directory of STOP
 subcontractors that CDCR provided to us, but had not received any response as of the
 time of my interview with him. Please provide information regarding plans for
             continuation on parole following his release from the Jail, including about
 plans to ensure his safe housing, whether at HealthRight 360 or another accessible
 program.

         Please also ensure that               receives assistance in completing any
 necessary applications for benefits prior to his release. He reported that his SSI
 application had not been fully processed prior to his release from CDCR or prior to his
 re-incarceration at the Jail and that he would need assistance to complete the process due
 to his vision disability.

                                      , is DPM (mobility impaired). He paroled from
 CDCR on October 8, 2017, and expects to be homeless after his anticipated release from
 San Diego County Jail in early March. He reported that his incarceration in the Jail was
 directly related to his homelessness, as it arose from a parole violation that occurred
 because he does not have a stable and accessible place to consistently charge his ankle
 monitor. Although he reported that he has received several parole violations related to
 this same issue, it does not appear that efforts have been made to find a suitable program


 [3227898.1]
                                                                                  Ex. B-20
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 or other housing arrangements for him that would help prevent future such violations.
 Please provide information regarding plans for                 ’ continuation on parole
 following his release from the Jail, including about plans to ensure his safe housing.

                                     , is DNM (mobility impaired), has an upper mobility
 impairment, and is also blind in one eye, although not classified by CDCR as DPV.
 Similarly to                , he paroled to homelessness, which he reported was in part due
 to CDCR’s failure to ensure that his benefits applications were completed before his
 release. He has had multiple parole violations related to his continued homelessness and
 inability to consistently charge his ankle monitor. He reported that he has not received
 any housing assistance from DAPO. He would like to participate in educational
 programs as well as programs to address his substance abuse issues, but expects to parole
 from the Jail to homelessness and is not aware of any arrangements for placement in any
 such programs. Please provide information regarding plans for
 continuation on parole following his release from the Jail, including about plans to ensure
 his safe housing and to facilitate access to suitable programs.


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 [3227898.1]
                                                                                  Ex. B-21
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       I appreciate the cooperation and courtesy of jail staff during my visit. We look
 forward to your response to this report.


                                                          Sincerely,

                                                          ROSEN BIEN
                                                          GALVAN & GRUNFELD LLP

                                                          /s/ Krista Stone-Manista

                                                    By: Krista Stone-Manista

 KSM:ncw
 Enclosures (Exhibit A-B)
 cc:
   Ed Swanson                  Laurene Payne
   Patricia Lee                Ceasar Aguilar
   Tamiya Davis                Rita Lowe
   Joanne Chen                 CCHCS Accountability
   Alma Underwood              Desiree Collum
   Davies Sasere               Anastasia Bartle
   Amenthia Tisdale            Lynda Robinson
   Sharon Garske               Ngoc Vo
   Bryan Kao                   Trennie Rios
   Erick Rhoan                 Erin Anderson
   Danielle O’Bannon           OLA Armstrong
   Janet Chen                  Lois Welch
   John Carbone                Matt Espenshade
   Pam Cantelmi                Corene Kendrick
   Steve Blum                  Rita Lomio
   Bruce Beland                Prison Law Office
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   Vincent Cullen              Sanford Toyen, San Diego County Sheriff Legal Advisor
   Donald Meier                Nancy Booth, San Diego County Sheriff’s Office
   Judy Burleson               Liza Macatula, San Diego County Sheriff’s Office
   Kelli Abernathy




 [3227898.1]
                                                                                       Ex. B-22
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                                             July 11, 2018

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               Armstrong v. Brown: Plaintiffs’ Report re Class Member Interviews at San
               Diego County Jails
               Our File No. 0581-09


 Dear All:

        This letter reports on Plaintiffs’ June 28, 2018 class member interviews at the
 San Diego County Central Jail. On that date, I interviewed six class members housed at
 the San Diego Central Jail (“Central Jail”).

        My interviews with class members and review of available records revealed the
 following issues.

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 [3276806.1]
                                                                                              Ex. B-23
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 I.            Failure to Provide Accommodations

               1.

                       reported that his condition had changed since he was listed as DNM
 in prison a few years ago. He stated that he now requires a wheelchair following his hip
 replacement and ongoing problems related to his surgery. He reported that one leg is
 shorter than the other and he is very unsteady. He stated that he uses a wheelchair and
 that he arrived at the jail in a wheelchair but it was taken by jail staff on arrival. He was
 reportedly told that, because the wheelchair had a pole for an IV attachment, he could not
 use it in jail. He was not given an alternative wheelchair. Instead, staff provided him
 with a walker. He stated that it is difficult for him to get around with the walker, he has
 great difficulty walking, he is unsteady, and he is in fear of falling. He reported that he
 has fallen twice since his hip replacement.

                    also reported that he requires glasses to read, fill out forms, and see
 the TV. He was told that the jail would not provide him with glasses.

        Staff should evaluate              for a wheelchair and glasses and provide
 required accommodations. CDCR should determine whether additional information
 should be included in DECS to reflect his reported change in DPP status and required
 accommodations including his need for a wheelchair and glasses.

               2. Mr. Clark, AG3655 (DLT)

        Mr. Clark reported that he does not have his required orthopedic shoes. DECS
 confirms that he requires shoes. The shoes he has in jail are slip on sandals and they
 reportedly slide off his feet making him unsteady and placing him at risk of falling. Mr.
 Clark should be evaluated for orthopedic shoes.

        He stated that he did not want to complain about his situation because he does not
 want to be difficult nor retaliated against.

               3.

                    reported that he was not housed in a wheelchair accessible cell at the
 jail, despite having a wheelchair as a result of his prosthetic leg. He stated that he is not
 able to wear his leg all day so, when he is not wearing his leg, he is in a wheelchair. He


 [3276806.1]
                                                                                     Ex. B-24
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 stated that, because he is not in a wheelchair accessible cell, space is tight with his
 wheelchair in his cell. As a wheelchair user,              should be housed in a wheelchair
 accessible cell.

               4.

                 reported that he does not have his required accommodations including leg
 brace, back brace, glasses or compression stockings. He stated that the jail will allow
 him to have those items, but they refuse to provide them stating they are not covered by
 medical services at the jail. His glasses, compression stockings, and orthopedic shoes are
 listed in DECS. CDCR should ensure these accommodations are provided.

                  reported that he is being accommodated on a low bunk and low tier.
 However, he stated that the bunk is so low that he has trouble getting out of bed. He
 reported that his cellie is helping him get up and that he sometimes gives him food in
 exchange for his help.             did not want to complain about this arrangement, did not
 he want to get his cellie in trouble or be required to move. Nevertheless, he should not
 have to provide food in exchange for assistance getting out of bed as a result of his
 disability. He should be seen by medical staff to determine whether there is an
 accommodation, such as a walker or grab bars, that could assist him in his current
 placement.

                 reported that he is diabetic and that his evening snacks, which he stated
 are necessary to keep his blood sugar levels stable, have not been provided on multiple
 occasions. He reported that the inmate medical assistant was assisting him with this
 problem. Please ensure that            receives all required meals/snacks.

         Lastly,        reports that he is hearing voices and he requires psych meds. He
 stated that he has completed sick call requests but, despite that, has not received any
 medication.           should be seen be the psych department and evaluated for
 medication.

 II.           Delays in Providing Accommodations

               1.

                     reported that his prosthetic leg was taken from him when he arrived at
 the jail and it took one month to get his leg back. He stated that he was first told he may


 [3276806.1]
                                                                                   Ex. B-25
Case 3:20-cv-00406-AJB-DDL          Document 281-2    Filed 04/25/23     PageID.8634      Page
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 not have his leg because it is metal and can be used as a weapon. He stated that he was
 given crutches to use instead, which were also metal.

               2. Mr. Clark, AG3655 (DLT)

         Mr. Clark reported that he met with his notice agent after arrival and, following
 that visit where he reported he needed a cane, it took one week for him to receive a cane.

        The required accommodations should have been provided by jail staff without the
 reported delays.

 III.          Transition to Community Problems

       Multiple class members reported problems on parole because staff failed to
 consider and accommodate their disabilities.

               1.

                reported that his prior agent accommodated his disability for years and
 helped him comply with is parole requirements. He reported that his problems started
 when he was assigned a new agent. According to                    , he does not really
 understand what he has done wrong or why he is in custody. He stated that he did not
 understand the new agent or the strict new rules imposed by the agent. As a result of his
 disability, he had difficulty remembering these rules and knowing what to do.
           is identified as DD1 but stated that he suffered significant head trauma while in
 custody previously when he fell off a top bunk. It appeared that                  requires
 prompting and accommodations such as multiple reminders to understand and follow
 rules. He reported that his new parole agent did not provide those accommodations. He
 may require a higher level of DDP code.

               2.

                     reported that while on parole he did not believe that parole staff were
 accommodating his mental health needs and that they did not understand how his mental
 health issues impacted his ability to comply with parole requirements.


               //


 [3276806.1]
                                                                                   Ex. B-26
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               3.

                  reported that the director of his STOP housing, Debbie Freedman, failed
 to accommodate the disability and mental health needs of multiple people living in his
 home. He stated that she kicked him out of the STOP program with no notice and
 nowhere to go. He reported that she did this to multiple people and he stated that there
 were many complaints against her and her program. He stated that his mental health
 deteriorated and he quickly returned to custody after being kicked out of his housing and
 forced in to homelessness. He does not dispute that she is permitted to kick him out, he
 stated that he had a disagreement with her over the way she talked to people in the house,
 but he claims that he should have been given notice, time to pack his things, and
 assistance finding somewhere else to go. CDCR should investigate                allegation
 that the STOP program he was placed in is failing to accommodate disabilities including
 mental health needs and is “kicking out” parolees with no notice, forcing people in to
 homelessness.

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 [3276806.1]
                                                                                 Ex. B-27
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 Nicholas Meyer
 July 11, 2018
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        Thank you for the courtesy and professionalism of CDCR staffing during these
 interviews. Please contact me if you have any questions regarding this report.


                                                         Sincerely,

                                                         ROSEN BIEN
                                                         GALVAN & GRUNFELD LLP

                                                         /s/ Penny Godbold

                                                       Penny Godbold
                                                   By: Of Counsel

 PMG:ncw
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   Joanne Chen          Joseph Williams        Matt Espenshade
   Patricia Ferguson    Alma Underwood         Cathy Jefferson
   Tamiya Davis         Davies Sasere          Steven Faris
   Erin Anderson        Amenthia Tisdale       Desiree Collum
   Sharon Garske        Rachelle Velasquez     Anastasia Bartle
   Erick Rhoan          John Carbone           Lynda Robinson
   Annakarina Fennell   OLA Armstrong          Ngoc Vo
   Jay Russell          Rita Lomio             Dawn Malone-Stevens
   Adriano Hrvatin      Margot Mendelson       William Pettingill, County Counsel Office
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   Steven Blum          Camille Woods
   Bruce Beland         Molly Petchenick
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   Donald Meier         Samantha Chastain
   Kelli Abernathy
   Laurene Payne
   Ceasar Aguila




 [3276806.1]
                                                                                    Ex. B-28
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                                         September 3, 2019

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               Re:   Armstrong v. Newsom: Plaintiffs’ Report on Notice Agent “Ride-Along”
                     and Class Member Interviews at San Diego County Jails (Q3 2019)
                     Our File No. 0581-09

 Dear Russa and Nicholas:

        On August 26, 2019, I accompanied Nicholas Meyer, John Carbone, Parole
 Administrator II, and Unit Supervisor Frank York in observation of Notice Agent
 Mercedes Lucero, PAI, as she completed service of the Notice of Rights/Notice of
 Charges (“NOR”) for one Armstrong class member who was out to court in San Diego
 County’s Central Jail (“the Jail”),                              I also conducted
 interviews of            and four additional Armstrong class members at the Jail. The
 following are my observations from the tour.

 I.            Observation of Notice Serves

        Agent Lucero’s presentation to              during the notice serve was somewhat
 confusing. She never explained to him the distinction between a parole violation and
 being out to court, or explained that some of the language in the forms she was going
 over with him—in Section II of the Form 2271, for example—would be irrelevant to him,
 given that he was not on parole. This was particularly problematic for            , who
 apparently is EOP and has a TABE score of 1.7, and therefore requires effective


 [3429319.3]
                                                                                             Ex. B-29
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 Page 2


 communication. At one point during the serve, when Agent Lucero mentioned the
 “notice of charges,”            became visibly unnerved, and asked if he had more
 charges. Agent Lucero told him that he did not, but she did not explain to him clearly
 that the forms are usually used for individuals in the jail for parole violations, and that
 because he was out to court, this language did not apply to him.

        Agent Lucero had              read Section II out loud, but she did not ask him to
 confirm his understanding of it, by explaining it in his own words. Given his TABE
 score, she should have done so.

 II.           Denial of Disability Accommodations in Jail

                    reported that although the Jail allowed him to have his wheelchair and
 cane, he was not allowed to have his walker, CPAP machine, back brace, or knee brace,
 even though all of those are DME he requires, according to DECS. He also said that he
 was denied the pain medication he takes in CDCR, Gabapentin, and that the ibuprofen the
 Jail provided him was not sufficient to manage his pain.               housing unit at the
 Jail did not have an ADA accessible shower bench or chair, and his cell’s toilet does not
 have grab bars.

          Ernest Archuleta, F38052, DPM, reported that the Jail allowed him to have
 either a wheelchair or cane, but not both. He chose a wheelchair, but would like to also
 have crutches so he can strengthen his leg muscles. Very problematically, on his last
 visit, jail staff required him to walk upstairs to the visiting area, despite the “no stairs”
 restriction in DECS. On the way back down to his housing unit, Mr. Archuleta fell and
 badly injured himself. Mr. Archuleta’s housing unit also does not have a shower bench
 or chair, and Mr. Archuleta has had to shower in his wheelchair. The toilet in his cell
 does not have grab bars.

                                        , has not had access to his orthotic shoes in the
 Jail, even though he required them in CDCR per DECS.

        Also, although other documents note that               is DPV, and indeed he is
 blind in his left eye, the June 28, 2019 notification to San Diego County did not include
 his DPV code. This is problematic, as the County did not have the necessary information
 to accommodate all of his disabilities.

                                           , requires incontinence supplies, per DECS.
 Although the Jail does provide him with supplies, they only give him supplies two times
 daily, during pill calls, and the supplies are not sufficient. He has had to resort to
 washing out used supplies to re-use. The Jail should provide him with extra supplies.

 [3429319.3]
                                                                                      Ex. B-30
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 III.          Discrimination While on Parole

         The documents produced by Russa Boyd on August 28, 2019 regarding
           current parole revocation term indicate that                parole violations
 resulting in his revocation included failing to charge his GPS device and absconding
 parole supervision. According to                , he had only recently moved into his sober
 living house (indeed the 1502-B PCD confirms that he only signed his conditions of
 parole two days prior to his alleged absconding incident), and was not familiar with
 the area.             had recently been incarcerated, and went from the sober living house
 to a store where his electric wheelchair had been in storage to retrieve his wheelchair.
 After obtaining it, he got lost trying to return to the housing placement, and he then
 realized that his wheelchair was running out of battery. He made two attempts to charge
 the wheelchair, but it did not hold a charge, and he therefore had to spend the night on the
 streets. He did not have his property on his person, and therefore did not have the contact
 information for the housing placement, and likely did not have the charger for his GPS
 unit.

        In the morning, he went to a medical supply store to swap the non-functional
 electronic wheelchair for a non-electric chair. According to the documents you provided,
 he reported to the parole office on the subsequent day. He was arrested there.

         We are very concerned that DAPO chose to pursue revocation of
 parole given that his failures to return to his housing placement and charge his GPS
 device were at least in part due to his difficulty obtaining a functional wheelchair, his
 very recent release from jail, and his placement in a transitional housing location with
 which he was not familiar. DAPO should have considered a less severe sanction given
 the circumstances, especially since, according to his CDCR 1244, he had no prior
 violations on parole.

         Similarly, we have concerns regarding the current parole revocation for
         , given the documents you produced and my interview with him. The documents
 indicate that Mr. Mosby was released from custody on July 30, 2019, after a 7 day flash
 incarceration. He was transient and was instructed to report to his parole office the
 following week.                 , a wheelchair user, reported to me that it is extremely
 difficult to get to the parole office from where he stays when transient, in “The Mesa”—
 he has to take a bus to a trolley to another bus to another trolley, and the journey takes
 him close to four hours. He has asked his parole agent to see him in the field, a request
 that is noted in the documents you provided, but the agent has refused, because DAPO
 policy requires homeless and transient individuals to report to the office weekly. On the



 [3429319.3]
                                                                                   Ex. B-31
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 date he was supposed to report,               was apparently in the hospital receiving IV
 drug treatment for a UTI.

        The Form 1500 notes that DAPO has “encouraged”                    to “utilize the
 paratransit service when regular bus and light rail services do not meet his transportation
 needs,” but this is not a reasonable suggestion for a homeless person—how would
         arrange for a paratransit pick up? The ten-page paratransit application for San
 Diego County begins with a request for the applicant’s home and mailing addresses.
         has neither. See
 https://www.rideonmts.com/resource/1560349979000/MTSApplicationPDFs/MTS
 ApplicationPDFs/docs/PartA-EnglishRegular-PrintMay2019.pdf.
         Given the circumstances, DAPO should consider having                 agent
 arrange to meet with him at a public place closer to where he stays. Requiring him to
 travel four hours by public transportation weekly is not a reasonable accommodation of
 his disability. Alternatively, DAPO should consider transferring               parole to
 the Hemet, California area, where his family lives, and where he apparently has family
 support to assist him in obtaining an apartment.

        Moreover,                 reported that he asked his parole agent and the unit
 supervisor for a Form 1824 and Form 1858 to request accommodations regarding the
 transportation issues discussed above, and to complain about his parole agent’s refusal to
 discuss an accommodation with him. Apparently, the supervisor told                    that the
 office did not have a Form 1858, and very problematically, told him that he could not file
 an 1824 until after first filling out a Form 22 inmate request. This is incorrect
 information, and a violation of the ARP. See ARP Parole Field Operations, “Processing
 of 1824’s” (“A parolee with a disability may request an accommodation to access CDCR
 authorized programs, services, and activities, or grieve alleged discrimination through the
 use of the [] Form 1824. DAPO staff shall ensure the 1824 is readily available to all
 parolees”). Please add this allegation to the non-compliance accountability log, and
 investigate it.

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 [3429319.3]
                                                                                     Ex. B-32
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 Russa Boyd
 September 3, 2019
 Page 5


        I appreciate the cooperation and courtesy of Notice Agent Lucero and the other
 participants on the tour. Please investigate the issues identified herein and provide
 Plaintiffs with the results of your investigation.

                                                          Sincerely,

                                                          ROSEN BIEN
                                                          GALVAN & GRUNFELD LLP

                                                          /s/ Jenny S. Yelin

                                                   By: Jenny S. Yelin
 JSY:aa
  cc: Ed Swanson                Laurene Payne             Lois Welch
           Alexander Powell     Ceasar Aguila             Steven Faris
           Patricia Ferguson    CCHCS Accountability      Alma Underwood
           Tamiya Davis         Cindy Flores              Amenthia Tisdale
           Amber Lopez          Joseph Williams           Rachelle Velasquez
           Erin Anderson        Cathy Jefferson           Robert Wahl
           OLA Armstrong        Vincent Cullen            John Carbone
           Sharon Garske        Desiree Collum            Asvi Phuong
           Joanna B. Hood       Lynda Robinson            Rita Lomio
           Annakarina Fennell   Barb Pires                Margot Mendelson
           Damon McClain        Ngoc Vo                   Tommy Nosewicz
           Bruce Beland         Samantha Chastain         Camille Woods
           Robert Gaultney      Olga Dobrynina            Juliette Mueller
           Saundra Alvarez      Dawn Malone-Stevens       Shira Tevah
           Tabitha Bradford     Bryan McCloughan          Prison Law Office
           John Dovey           Alexandrea Tonis          Sanford Toyen, Sheriff’s Office
           Donald Meier         Gently Armedo             William Pettingill, County Counsel
           Robin Hart           Matt Espenshade




 [3429319.3]
                                                                                     Ex. B-33
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                                           July 28, 2021

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               Re:   Armstrong v. Newsom Request Under Paragraph 5 of the April 11, 2012
                     Order: James Harold Clark, AG3655 (DPM)
                     Our File No. 0581-09

 Dear Counsel:

        Plaintiffs write pursuant to Paragraph 5 of the Armstrong Court’s April 11, 2012
 Order, as implemented by the June 21, 2012 County Jail Plan for Addressing Armstrong
 Class Members Housed in County Jails, as Ordered by the Federal District Court (the
 “County Jail Plan”), which requires a mechanism for “promptly addressing concerns
 raised by Plaintiffs’ counsel regarding individual class members housed in county jails.”

        Below is a Paragraph 5 Request for an Armstrong class member housed by CDCR
 at San Diego County Jail: James Harold Clark, AG3655 (DPM)

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 [3766612.1]
                                                                                             Ex. B-34
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 Nicholas Meyer
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        Class Member Name         James Harold Clark
                 CDCR No.         AG3655
                County Jail       San Diego County – Central Jail
        CDCR E-Notification       July 9, 2021
              Description of      Mr. Clark is designated as having a DPM mobility code,
                  Disability      and the CDCR prescribed him a walker, cane, therapeutic
                                  shoes with orthotics, foot orthoses, wrist support brace,
                                  compression stockings and eyeglasses. Mr. Clark receives
                                  mental health care in the CDCR at the CCCMS level of
                                  care. His housing restrictions include ground floor, no
                                  stairs, bottom bunk, and special cuffing.
                         Need for Mr. Clark reports that he is being denied access at the Jail
                    Accommodation to the assistive devices prescribed to him by the CDCR,
                                  which he needs to be able to ambulate safely and with less
                                  pain. Mr. Clark reports that he needs a cane and without
                                  this device he struggles to get in and out of bed, and is at
                                  risk of falling. Mr. Clark also reports that he is denied
                                  access to a walker, which he needs to travel greater
                                  distances at the Jail, including accessing the ADA shower
                                  facilities and when he must pick up his own food. Mr.
                                  Clark reports that during a recent previous stay at the Jail,
                                  he was denied access to a walker but provided a wheelchair
                                  to use around the Jail. Mr. Clark reports that he is only
                                  provided a loaner wheelchair when he is transported to
                                  court, and it is removed when he is returned to the Jail.

                                      Please provide Mr. Clark with a cane, and either a
                                      walker or wheelchair that he can keep with him and use
                                      to ambulate the Jail safely. Please also evaluate Mr.
                                      Clark for eyeglasses due to failing eyesight that is
                                      preventing him from reading and seeing at distances.


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 [3766612.1]
                                                                                       Ex. B-35
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 Nicholas Meyer
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 Page 3


       Pursuant to the Armstrong County Jail Plan, please investigate these issues and
 provide a response to us within 15 working days.

                                                        Sincerely,
                                                        ROSEN BIEN
                                                        GALVAN & GRUNFELD LLP
                                                        /s/ Penny Godbold
                                                    By: Penny Godbold
                                                        Of Counsel
 PMG:ncw
 cc: Alexander Powell        Tammy Foss                Jay Powell
     Patricia Ferguson       John Dovey                Gently Armedo
     Gannon Johnson          Robin Hart                Vimal Singh
     Amber Lopez             CCHCS Accountability      Joshua (Jay) Leon Guerrero
     Robin Stringer          Joseph Williams           Lacey Watson
     OLA Armstrong           Amy Padilla               Lois Welch
     Chor Thao               Jason Anderson            Steven Faris
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     Trace Maiorino          Lynda Robinson            Amenthia Tisdale
     Anthony Tartaglio       Barb Pires                Rachelle Velasquez
     Namrata Kotwani         Courtney Andrade          Robert Wahl
     Andrea Moon             Miguel Solis              John Carbone
     Sean Lodholz            Olga Dobrynina            Asvi Phuong
     Bruce Beland            Dawn Malone-Stevens       Prison Law Office
     Robert Gaultney         Alexandrea Tonis          Michael Baranic, Sheriff’s Office Legal
     Saundra Alvarez         Jimmy Ly                  Will Brown, Sheriff’s Office
     Tabitha Bradford




 [3766612.1]
                                                                                    Ex. B-36
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                    EXHIBIT C
                                                                        Ex. C-37
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                                               San Diego County
                                               SHERIFF'S DEPARTMENT
                                               INMATE GRIEVANCE/APPEAL OF DISCIPLINE
                                               QUEJA/APELACION DE LA DISCIPLINA DE PRESO
       SDCJ
         ÍGBDF                                    E EMRF               E LCDRF                      LI SBDF             E VDF              E FAC8

  From:      Lora?, dO           (                                                    1176 3 109                           /1/1/0 ¿3/)02
  De:       Name (Last, First, Middle)                                               Booking Number                        Housing Unit
            Nombre (Apellido, Primero, Segundo)                                      Número de ficha                        Unidad de alojamiento

  Grievance is about:              [VJail Procedures      Jail Conditions                   Medical                3 PREA         ' ther               (ov\A‘‘10)15
  La queja es acerca:                Procedimientos de Condiciones de                     Médico                                    Otro
                                     la Cárcel         la Cárcel
  Date and Time of Incident / Fecha y hora de/incidente:                     öc-k-Gef zo\ci                         Pfe. 5 etni
  Describe the reason for your grievance in your own words. Please be specific. (Use additional sheets if necessary)
  Describe la razón de su queja en sus propias palabras. Por favor sea especifico. (Use hojas adicionales si es necesario)

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  If one of the following two conditions is alleged by the inmate, this grievance must be answered within 4 days:
        III The inmate's health or safety is unfairly impacted by a condition of confinement
        3 A condition of confinement has prevented the inmate's effective communication/participation in a legal hearing.
 121     This submission is not a grievance:
         n it     is an appeal of discipline—JIMS Incident #                   JIMS Appeal Hearing #
         LI    It ¡sa complaint against staff—JIMS Incident #                  (Refer to Detentions P&P Section N.1)
         11 It is an inmate request—respond in writing below. (No entry in JIMS, copy of response to booking jacket)
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                                                      www.rbgg.com
                                                      Van Swearingen
                                                      Email: vswearingen@rbgg.com



                                           March 15, 2022


 VIA ELECTRONIC MAIL ONLY
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 Ronald Lenert
 Matthew O’Sullivan
 Office of the County Counsel
 County of San Diego
 1600 Pacific Highway, Room 355
 San Diego, CA 92101-2437
 Fernando.Kish@sdcounty.ca.gov
 Ronald.Lenert@sdcounty.ca.gov
 Matthew.O’Sullivan@sdcounty.ca.gov

               Re:   Dunsmore v. San Diego County Sheriff’s Department, et al.
                     S.D. Cal. Case No. 3:20-CV-00406-AJB-WVG
                     Our File No. 1730-1

 Dear Messrs. Kish, Lenert, and O’Sullivan:

         As you have now seen in our class action complaint on behalf of Daryl Dunsmore
 and seven other individuals, we allege that the County of San Diego and the San Diego
 County Sheriff’s Department violate the civil rights of people incarcerated at the San
 Diego County Jail by failing to provide reasonable accommodations to prisoners with
 disabilities, failing to operate an adequate mental health, medical, and dental care system,
 failing to ensure adequate safety and security for people in custody, subjecting
 individuals to unsanitary and inhumane conditions of confinement, and denying people
 access to legal counsel and the courts. The County, the Sheriff’s Department, and the
 Probation Department further violate the rights of people with mental health and other
 disabilities and/or people who are Black and/or Latinx, through policies and practices that
 illegally and wrongly result in the over-incarceration of these groups. The conditions in
 the Jail cause very real harm to the more than 4,000 people regularly incarcerated in the
 Jail.
       We greatly appreciated the opportunity to meet in person with Mr. Kish and Mr.
 O’Sullivan on March 10, 2022. From that conversation, we observed two important


 [3875815.3]
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 objectives that the parties share – first, to proactively address serious problems within the
 County’s carceral system, and second, to focus resources on practical solutions, including
 by narrowing the issues in dispute and avoiding costly, protracted litigation as much as
 possible.
        The other defendants named in this action – each of which provide services
 subject to contract with the County – are also responsible and liable for certain aspects of
 the unlawful and unconstitutional systemic deficiencies set forth above and in our
 complaint. However, the County is ultimately responsible for all policies, practices, and
 conditions that illegally harm Plaintiffs and the putative class and subclass. See
 Armstrong v. Schwarzenegger, 622 F.3d 1058, 1074 (9th Cir. 2010) (state prison
 defendants cannot shirk their obligations to plaintiffs under federal law by contracting
 with a third party). We are therefore sending the following proposal to you prior to
 sharing it with other defendants.

        Plaintiffs’ counsel have extensive experience litigating class action cases
 addressing unlawful and unconstitutional conditions of confinement in jails and prisons.
 These experiences demonstrate that there are meaningful opportunities for the parties in
 such cases to proceed in ways that are most cost-effective and solutions-oriented while
 protecting the rights and interests of all parties.
         To be clear, Plaintiffs’ intention is to seek and secure an adequate and durable
 remedy – in the form of injunctive relief – for the legal and constitutional violations set
 forth in the complaint, with meaningful federal court oversight of implementation. In
 similar cases, this has been achieved through court orders and/or court-approved
 settlements.
        We provide below a two-pronged proposal, with an eye towards the shared goals
 we discussed, addressing (1) class certification and (2) neutral, mutually agreed-upon
 expert assessments. The proposal would require a mutual good faith effort towards an
 expeditious and efficient resolution of this matter. If the County is amenable to such a
 proposal, we suggest that we together share it with the other defendants. Coordination
 across all parties will undoubtedly result in greater efficiencies and cost-savings.
    I.         Class Certification
         In every significant jail system class action case filed in California’s federal courts
 in recent years, class certification has been granted. The appropriateness of class
 certification in a matter such as this one is beyond reasonable dispute, as made clear by
 the Ninth Circuit in Parsons v. Ryan, 754 F.3d 657, 681 (9th Cir. 2014). That case, now
 cited by numerous federal courts in California, makes clear that class certification is
 appropriate where, as here, plaintiffs seek to challenge systemic policies and practices
 that allegedly expose incarcerated people to a substantial risk of harm. See, e.g.,


 [3875815.3]
                                                                                     Ex. D-42
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 Hernandez v. Cnty. of Monterey, 305 F.R.D. 132 (N.D. Cal. 2015); Gray v. Cnty. of
 Riverside, No. EDCV 13-00444-VAP, 2014 WL 5304915 (C.D. Cal. Sept. 2, 2014);
 Jewett v. California Forensic Med. Grp., Inc., No. 213CV0882MCEACP, 2017 WL
 931886 (E.D. Cal. Mar. 9, 2017), report and recommendation adopted sub nom. Jewett v.
 California Forensic Med. Grp., Inc., 2017 WL 1356054 (E.D. Cal. Apr. 5, 2017).
         More recently, California counties have avoided costly and time-consuming
 discovery and motion practice on class certification either by stipulating to class
 certification, see, e.g., Mays v. County of Sacramento, E.D. Cal. Case No. 2:18-cv-02081-
 TLN-KJN (Joint Motion for Class Certification granted 12/28/18); Babu v. County of
 Alameda, N.D. Cal. Case No. 5:18-cv-07677-NC (Joint Motion for Class Certification
 granted 1/21/20), or by submitting a statement of non-opposition to certification, see, e.g.,
 Murray v. County of Santa Barbara, C.D. Cal. Case No 2:17-cv-08805-GW-JPR
 (Unopposed Motion for Class Certification granted 5/31/18).
        In each of these cases, the County realized substantial cost-savings on a procedural
 matter that was not in reasonable dispute.
         Class certification brings an additional benefit for the County, protecting it from
 additional suits for systemwide injunctive relief. Resolution of a case of this sort through
 a class proceeding facilitates efficiency and finality both in terms of adjudication of
 complex legal issues and any resulting legal remedies. With the extensive attention that
 the San Diego County Jail has received, including from the State Auditor, in the media,
 from non-profit and governmental organizations like Disability Rights California the
 United States Department of Justice, and through numerous individual lawsuits, the
 County faces substantial risk of additional legal proceedings. There is substantial value
 to all parties to narrow and resolve the matters raised in the Dunsmore case through a
 single, class-wide adjudicatory process.
        As part of the this proposal, we ask that the County agree to class certification in
 the form of a stipulated order that would be filed with the Court no later than April 29,
 2022. Counsel for Plaintiffs will be working on a motion for class certification during the
 pendency of this proposal. In the event that the County does not agree in principle with
 this proposal by April 1, 2022, Plaintiffs’ counsel will accelerate their work on this
 motion.
  II.          Retention of Neutral Mutually Agreeable Experts
        Given the parties’ shared goals, we propose the use of neutral, mutually agreed-
 upon subject matter experts to assist the parties in the identification of systemic issues
 and effective remedies that are tailored to San Diego County’s system.
       A case like this one entails substantial fact discovery and expert input. A
 coordinated, streamlined process for information-sharing and expert involvement will put


 [3875815.3]
                                                                                   Ex. D-43
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 the parties in the best position to identify and implement adequate solutions to the
 problems raised, with the parties realizing cost-savings and efficiencies wherever
 feasible.
         For these and other reasons, several California counties have used, or are using,
 neutral experts in this sort of process, including (for example) Sacramento, Santa Clara,
 Santa Barbara, Monterey, Fresno, Riverside, San Bernardino, and Alameda. Where the
 parties have engaged in good faith negotiations, the outcome has been the achievement of
 – or significant progress towards – constitutional and legal compliance.
         The most successful procedure, in our experience, is for the County to retain
 mutually agreed-upon experts with subject matter expertise on the relevant case issues,
 which in this case will include: (a) mental health care and suicide prevention, (b) medical
 care, (c) dental care, (d) eye care, (e) environmental sanitation, health, and safety
 conditions, (f) custodial operations, (g) compliance with the Americans with Disabilities
 Act (“ADA”), and (h) county carceral and alternatives-to-incarceration practices
 impacting people with mental health or other disabilities and/or people who are Black
 and/or Latinx.
       Through this process, the County (and other defendants, as appropriate) would
 work with us and these experts on the following terms:
                By June 1, 2022, the County will retain mutually agreeable experts for the
                 purpose of preparing reports and recommendations regarding the above
                 subject matters. Plaintiffs’ counsel will provide recommendations as to
                 available experts for the parties to discuss and will consider your proposed
                 experts.
                The experts will have access to all people incarcerated at the Jail, records,
                 and staff as needed to prepare their reports and recommendations.
                Within 100 days of the appointment of the experts, they would issue reports
                 proposing recommendations and remediation for conditions found to be
                 below the minimum federal and state standards.
                The expert reports and recommendations will be public and admissible in
                 any litigation that may occur, including in the event that (a) the parties
                 negotiate a class-wide remedial plan and settlement, or (b) negotiations are
                 not successful in whole or in part.

        Assuming the parties are able to proceed in good faith with negotiations for a
 class-wide settlement, these neutral expert reports and recommendations would provide a
 distinctively useful guide to negotiations and the drafting of a remedial plan, to be filed
 with the federal court, that satisfies constitutional and legal requirements.


 [3875815.3]
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        The expert reports and recommendations may assist in narrowing certain issues –
 where the mutually agreed-upon experts appropriately find that a systemic component is
 working well and is constitutionally or statutorily adequate, such an issue need not be the
 subject of litigation or a remedial plan – and will identify discrete issues that require
 remedial steps in this County.
         Assuming the parties successfully negotiate a resolution through this structured
 process, it must ultimately result in a class settlement agreement filed with and approved
 by the court and over which the court retains continuing jurisdiction. The agreement
 would require that the County, where necessary to comply with state and federal law,
 revise policies and procedures, implement remedial plans, institute a system for quality
 assurance, and permit external monitoring of implementation and compliance.
 Furthermore, the County would agree not to oppose payment of reasonable attorneys’
 fees on the same terms as if Plaintiffs’ counsel had fully litigated the case through a trial
 resulting in injunctive relief orders. The reasonableness of attorneys’ fees would of
 course be a subject of negotiation and if necessary, dispute resolution processes.
 III.          Addressing Critical Issues
         As discussed during our recent conversation, in a case of this nature and scope, it
 will be necessary to address certain issues on an expedited basis. There are issues in this
 case that require prompt attention. Specifically, there are systemic issues putting our
 clients and putative class members at extraordinary risk of serious harm right now; such
 issues cannot wait. Likewise, there are certain remedial actions that, if implemented in
 the near term, would lay a meaningful foundation for addressing other issues in the case
 in an efficient, cost-effective, and results-oriented way.
        We will provide further detail on the critical issues that we consider essential for
 the County and other defendants to address without delay. The County’s position on the
 proposal in this correspondence will assist in our presenting those issues and a procedure
 for addressing them.
         We request that the County consider our proposals regarding (1) class certification
 and (2) the use of neutral, mutually agreeable subject matter experts, and provide us with
 its position as soon as possible, and no later than April 1, 2022. Agreeing to these
 proposals will not only save the County substantial resources and attorneys’ fees, but also
 support a streamlined framework for identifying and resolving deficiencies at the Jail.
 Doing so will benefit incarcerated people, those who work at the Jail, and the County as a
 whole. If the County declines our proposals, we will accelerate our efforts to move for
 class certification as well as ask the Court for early discovery including the opportunity to
 inspect the Jail with our own experts.




 [3875815.3]
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        We are of course available to meet and confer about these proposals. Thank you
 for your attention, courtesy, and continued efforts.

                                                       Sincerely,
                                                       ROSEN BIEN
                                                       GALVAN & GRUNFELD LLP
                                                  By: Van Swearingen

                                                       LAW OFFICE OF AARON J.
                                                       FISCHER
                                                  By: Aaron J. Fischer

                                                       DLA PIPER LLP US
                                                  By: Christopher M. Young

                                                       ACLU FOUNDATION OF SAN
                                                       DIEGO & IMPERIAL
                                                       COUNTIES
                                                  By: Bardis Vakili




 [3875815.3]
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                                            April 4, 2023


 VIA ELECTRONIC MAIL ONLY

 Elizabeth M. Pappy
 Burke, Williams & Sorensen, LLP
 60 South Market Street, Suite 1000
 San Jose, CA 95113-2336
 epappy@bwslaw.com

               Re:   Dunsmore et al. v. San Diego County Sheriff’s Department et al.,
                     S.D. Cal. No. 3:20-cv-00406-AJB-DDL
                     ADA Preliminary Injunction and Early Neutral Evaluation
                     Our File No. 1730-01

 Dear Beth:

        This letter seeks to respond to your representation to the Court during yesterday’s
 informal discovery conference that you were unaware of Plaintiffs’ intent to file a
 preliminary injunction motion under the Americans with Disabilities Act (“ADA”) and
 related federal and state disability discrimination law.

         Contrary to your representation, Defendants have been on notice of Plaintiffs’
 intent to move again for a preliminary injunction since we moved for expedited ADA
 discovery on December 14, 2022. That motion stated that Plaintiffs were seeking
 discovery “in anticipation of a renewed motion for preliminary injunctive relief.”
 Dkt 243-1 at 1. Moreover, in our March 20, 2023 letter we stated: “we are preparing a
 motion for preliminary injunction.” Your email of the same date acknowledged that
 Plaintiffs’ “stated reason” for document requests was “emergency or need for an
 injunction.”

        Since the Court granted the motion for expedited discovery in January, we have
 repeatedly met and conferred with you about the scope of our discovery requests, the
 dates for the inspections and person-most-knowledgeable depositions, and the inadequacy
 of your response to our request for production of documents and PMK designations. We
 have now spent four full days with you and your co-counsel, inspecting two jails and


 [4264751.1]
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 Elizabeth M. Pappy
 April 4, 2023
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 taking three depositions. During all of these interactions, we have repeatedly stressed the
 need for prompt and thorough discovery in support of our view that the County is failing
 to comply with the ADA and related statutes and must immediately take action to end the
 harm to our clients. At no time during these interactions did you or your co-counsel
 acknowledge any ADA failings or offer to enter into negotiations to address our concerns
 with the County’s ADA compliance.

        Regarding the possibility of an early neutral evaluation on ADA issues, Plaintiffs
 have repeatedly attempted to engage and work with you towards ADA compliance. For
 example, we reached out to Defendants over a year ago about possible neutral expert
 evaluations. At that time, we proposed that Defendants “retain mutually agreed-upon
 experts with subject matter expertise on the relevant case issues,” including “compliance
 with the Americans with Disabilities Act.” V. Swearingen Letter to F. Kish et al.
 (Mar. 15, 2022) at 4. We tried again in a meeting with Susan Coleman on April 21,
 2022. Defendants failed to provide any substantive response, essentially rejecting our
 proposal. We were rebuffed again shortly before the August 11, 2022 hearing on our
 motion for preliminary injunction. In December 2022, we again encouraged Defendants
 to use mutually agreed-upon neutral experts with ADA subject matter expertise
 (Dkt. 249); again Defendants rejected our proposal.

        We understand that Defendants have retained Paul Joelson and potentially others
 to evaluate their compliance with the ADA. However, we have received no information
 regarding Defendants’ position on ADA compliance. You instructed Defendants’ Rule
 30(b)(6) witnesses not to answer questions about your experts’ work, and you withheld
 all expert analysis from production, citing the work-product and attorney-client
 privileges.

        Based on the serious and urgent nature of ADA violations established by
 discovery to date, Plaintiffs will be seeking a preliminary injunction focused on two of
 the most egregious areas of the County’s noncompliance: Defendants’ failure to provide
 in-person sign language interpretation to deaf incarcerated people, and their lack of safe
 and accessible housing for people with mobility disabilities.

        In order to avoid litigation on these important issues, please let us know no later
 than April 10, 2023 if Defendants will agree to an ENE process that includes the
 simultaneous mutual exchange of expert reports, the filing of a joint statement identifying
 points of agreement to be included in a remedial plan and any points of disagreement, and
 the development of a plan to timely remedy, at minimum, all points of agreement that
 will result in a stipulated order to be submitted to the Court with Court oversight of the
 process.



 [4264751.1]
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 Elizabeth M. Pappy
 April 4, 2023
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        Please do not hesitate to call me if you have questions about our proposal or the
 scope of the County’s ongoing failures to comply with the ADA and related statutes.

               As always, we appreciate your courtesy and cooperation in this matter.

                                                               Very truly yours,
                                                               ROSEN BIEN
                                                               GALVAN & GRUNFELD LLP
                                                               /s/ Gay Crosthwait Grunfeld
                                                         By: Gay Crosthwait Grunfeld
 GCG:cg
 cc: Susan Coleman
     Co-counsel




 [4264751.1]
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San Diego County Sheriff’s Department Detention Services Bureau – Manual of Policies and Procedures


     DATE:                     MAY 9, 2022
     NUMBER:                   I.22
     SUBJECT:                  LOWER BUNK / LOWER TIER ASSIGNMENT
     RELATED SECTIONS:         I.21; M.9; M.39

PURPOSE:

To establish minimum standards for the assignment and review of incarcerated persons to lower bunk
and/or lower tier housing.

POLICY:

Lower bunk and/or lower tier recommendations are determined by detention facility health staff due to
physical impairments or mobility issues caused by a disability, medical condition or drug/alcohol
withdrawal. Sworn staff will review and resolve any discrepancies in housing/bunk assignments due to
the lower bunk and/or lower tier restriction.

PROCEDURE

I.       LOWER BUNK/LOWER TIER HOUSING ASSIGNMENT

         A.   Sheriff's health staff will ensure incarcerated persons with physical impairments or
              mobility issues are accommodated for their safety and appropriate bed assignment.

              1.      The recommendation for a lower bunk and/or lower tier will be determined by
                      health staff and entered into the medical instructions.

              2.      The health staff's order for lower bunk and/or lower tier housing is considered
                      a housing restriction to minimize the risk of injury to the incarcerated person.

              3.      Incarcerated persons without an instruction for lower bunk and/or lower tier
                      may submit a Sick Call Request (J-212) form to request this type of bed
                      assignment. A medical evaluation is required to determine the need to
                      establish or reinstate an instruction for lower bunk and/or lower tier.

         B.   If the health staff recommendation for a lower bunk and/or lower tier housing
              restriction is established during the intake process, Jail Population Management Unit
              (JPMU) deputies will notate such housing restriction on the incarcerated person's face
              card. If the restriction is determined after the incarcerated person has been housed,
              health staff will notify the housing deputies of the restriction.

              1.      Housing deputies will be responsible for assigning these incarcerated persons
                      in the Jail Information Management System (JIMS) to either a lower bunk
                      ("LOWER BUNK"), lower tier ("LOWER TIER") or a lower bunk on the
                      lower tier ("LOWER BUNK/LOWER TIER").

              2.      The bottom bunk on double-bunks and the bottom and middle bunks on triple-
                      bunks will satisfy the lower bunk restriction.

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    C.    At the beginning of each shift, the watch commander or designee will review the
          "LOWER BUNK / LOWER TIER DISCREPANCIES" report in JIMS.

          1.     The watch commander or designee shall direct housing deputies to resolve
                 any discrepancies.

          2.     Bunk and/or housing moves may be required to accommodate incarcerated
                 persons with a lower bunk and/or lower tier designation.

          3.     In the event the number of incarcerated persons requiring a lower bunk and/or
                 lower tier placement is greater than the beds available, JPMU deputies will be
                 notified.

          4.     Housing deputies will log the report review and reconciliation in the JIMS
                 Area Activity Log utilizing the "LOW BUNK/TIER REVIEW" drop-down.
                 Any discrepancies that remain unresolved due to an incarcerated person not
                 being present in the housing area (e.g., court, medical appointment, etc.) will
                 be noted in the "Notes" section of the log entry and the watch commander
                 shall be notified.

    D.    Incarcerated persons shall accept bunk assignments as directed by staff. Incarcerated
          persons are not entitled to bunk location of choice and shall be subject to disciplinary
          action in accordance with Detention Services Bureau Policies and Procedures section
          O.1 for refusing a bunk assignment, including any lower bunk and/or lower tier
          restriction.




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San Diego County Sheriff’s Department Detention Services Bureau – Manual of Policies and Procedures

 DATE:                          MAY 27, 2022
 NUMBER:                        M.39
 SUBJECT:                       DISABLED INCARCERATED PERSONS
 RELATED SECTIONS:              C.1, M.9, CCR TITLE 15, SEC, 1057, CA Penal Code 2656,
                                Americans with Disabilities Act


PURPOSE

To establish uniform procedures to identify, evaluate and house disabled incarcerated persons in the
safest manner possible while ensuring the accommodation of major life activities.

POLICY

The department recognizes disabled incarcerated persons are entitled to the same rights, privileges, and
services as other incarcerated persons of the same classification level per the Americans with
Disabilities Act (ADA). An incarcerated person is covered by the ADA when the incarcerated person
has a permanent, temporary, or intermittent condition that impacts a major life activity.

Qualified incarcerated persons with disabilities shall not be excluded from participation in, denied the
benefits of, or subjected to discrimination in any detention facility's services, programs, work
assignments or activities, based on a disability. Each incarcerated person identified as having a disability
must be reasonably accommodated through some means.

ADA DEFINITIONS

DISABILITY - An individual has a disability if there is a physical or mental impairment that
substantially limits one or more major life activities. The ADA also recognizes individual s with a
record of impairment, or individual s regarded as having an impairment, as meeting the definition of
disabled. Generally, such individual s will not require special accommodations.

PHYSICAL IMPAIRMENT - Includes any physiological disorder or condition, cosmetic disfigurement,
or anatomical loss affecting one or more of the following body systems: neurological, musculoskeletal,
special sense organs, respiratory including speech organs, cardiovascular, reproductive, digestive,
genitourinary, hemic and lymphatic, skin and endocrine.

MENTAL IMPAIRMENT - Includes any mental or psychological disorder, such as mental retardation,
organic brain syndrome, emotional or mental illness, and specific learning disabilities.

MAJOR LIFE ACTIVITIES - Includes but not limited to such functions as caring for oneself, reading,
communicating, performing manual tasks, walking, seeing, hearing, speaking, and thinking.

CARING FOR ONESELF - Personal care such as toileting, dressing, bathing and feeding.

COGNITIVE DISABILITY - A broad term to describe conditions affecting types of mental tasks such
as problem solving, reading comprehension, attention, and/or remembering. A cognitive disability is not
the same as a mental disorder.

M.39 DISABLED INCARCERATED PERSONS
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MENTAL DISABILITY - An individual who has a past medical record of, or is regarded as, having one
or more mental disorders as defined in the American Psychiatric Association's Diagnostic Manual.

BLIND - An individual whose visual acuity in their best eye has an acuity of 20/200 or worse and/or if
their peripheral vision is less than 20 degrees.

DEAF - An individual who cannot readily understand spoken language through hearing alone and who
may have a speech defect that renders them unintelligible to most normal hearing people.

REASONABLE ACCOMMODATION - Any modification or adjustment that is effective in enabling an
individual to perform the major life activities. Any change in the facility, policies, procedures, or the
manner in which tasks are completed that enables a qualified individual with a disability to participate in
and receive the same benefits from a program or service. Reasonable accommodation does not require
fundamental alteration of the nature of a program or activity.

PROCEDURE

I.     IDENTIFICATION AND SCREENING

       A.      The identification of an incarcerated person with a disability generally will occur during
               the receiving screening process. However, the identification of an incarcerated person
               with a disability can occur at any point during an individual's incarceration (e.g., Jail
               Population Management Unit (JPMU) interview, outside agency, by the advisement of a
               family member, etc.).

       B.      Sheriff's health staff will evaluate and determine if an incarcerated person qualifies as
               'disabled.'

       C.      All incarcerated persons who have been screened and determined to be disabled will be
               housed in a facility with the appropriate accommodations. Based on their disability, each
               incarcerated person covered under the ADA must be reasonably accommodated through
               some means, such as but not limited to modified housing for wheelchair access, grab bars
               in bathrooms, shower chairs, closed captioning on the television, interpreter services,
               telecommunications device for the deaf, assistive listening devices, magnification
               devices, large, printed materials, and braille materials. Health screening staff shall enter
               health instructions into the incarcerated person's health record. The shift charge nurse or
               designee will inform JPMU of the health instructions. They will also inform the Reentry
               Services Division (RSD) Manager or their designee via email with the names of those
               incarcerated persons who have an identified need for accommodations for adaptive or
               programming services.

       D.      A health recommendation (e.g., “lower bunk,” “lower tier”) shall be initiated and entered
               into the incarcerated person's health record upon determination that the recommended
               instructions are necessary for the safety and/or welfare of a disabled incarcerated person.

       E.      If sworn staff is unable to accommodate the aforementioned housing recommendations,
               health staff shall be notified.

       F.  Re-evaluation of functional performance will be conducted by the registered
           nurses/designee once a month for those incarcerated persons identified as having a
M.39 DISABLED INCARCERATED PERSONS
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              temporary medical disability. A possible reassignment of housing unit and/or facility
              may be recommended.


II.    ACCOMMODATIONS

       Incarcerated persons requiring ADA accommodations will be assisted in receiving access to the
       following by either the Medical Services Division (MSD) or RSD staff:

       A.     Medical services

       B.     Psychiatric services

       C.     Adaptive services to assist in participation in programs or services

       D.     Adaptive services to report to health and/or sworn staff if they have been sexually
              assaulted.

III.   REQUEST FOR ACCOMMODATIONS

       A.     A request for reasonable accommodation may be initiated by the incarcerated person,
              their family members, or an outside agency.

       B.     A request for an assessment of accommodations will be forwarded to the MSD ADA case
              manager for review. Assessments can be completed by either a registered nurse or by a
              physician. The findings and disposition will be documented in the incarcerated person's
              health record.

       C.     Requests will be acted upon within 72 hours

IV.    ADA GRIEVANCE PROCEDURE

       Grievances will be handled according to Detention Services Bureau Policies and Procedures
       section N.1 and forwarded to a MSD supervisor or designee. All ADA related grievances will be
       forwarded to the MSD ADA case manager for processing.




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SDSD Detention Services Bureau—San Diego Central Jail Green Sheet

 DATE:                                October 1, 2020
 NUMBER:                              M.39.C.1
 SUBJECT:                             Disabled Inmates - Usage of Lower Bunks Lower Tier



PROCEDURE

During the second stage medical screening, the San Diego Central Jail (SDCJ) Medical Staff will
note in the Jail Information Management System (JIMS) when an inmate has a medical condition
necessitating assignment of a lower bunk or a restriction to the lower tier of the module.

At the beginning of each shift, the Housing Deputies will review the "LOWER BUNK" and
"LOWER BUNK/LOWER TIER" lists. Housing Deputies should make all attempts to resolve the
discrepancies prior to the end of shift. Once the list has been reviewed/resolved, an appropriate log
entry will be made into JIMS under the "Lower Bunk/Tier Review" drop down. If the list is unable
to be resolved during the shift, the reason for the list remaining unresolved will be noted in the
"Notes" section of the log entry (e.g. no lower bunks available, inmate at court).

In the event an inmate refuses his lower bunk/lower tier designation, the inmate must fill out and
sign a J223 (Medical Refusal Form). The signed J223 will be forwarded to SDCJ Medical Staff. The
deputy handling the refusal will note in the inmate’s history under “Interview with Jail Staff” the
reason for the refusal and that a J223 Form was filled out by the inmate and forwarded to SDCJ
Medical.




LOWER BUNK/LOWER TIER                                                         Page 1 of 1SD 000306
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San Diego County Sheriff’s Department Detention Services Bureau – Manual of Policies and Procedures

     DATE:                       MAY 4, 2022
     NUMBER:                     P.11
     SUBJECT:                    INCARCERATED PERSONS WHO ARE DEAF OR HARD OF
                                 HEARING
     RELATED SECTIONS:
     IN COMPLIANCE WITH: AMERICANS WITH DISABILITIES ACT OF 1990
PURPOSE

To provide assistance to incarcerated persons who have hearing impairments in accordance with the
requirements of the Americans with Disabilities Act.

PROCEDURE

Each detention facility shall have their telephonic communication system equipped to provide access for
incarcerated persons with varying degrees of hearing impairments. Equipment shall be provided to
communicate on the public phone system and also the visiting phone.

I.       ASSISTING INCARCERATED PERSONS WITH COMMUNICATION ON TELEPHONIC
         COMMUNICATION SYSTEMS

         A.     In each facility, a Telecommunications Device for the Deaf (T.D.D.) shall be made
                available to severely hearing impaired incarcerated persons to be utilized while making
                outside phone calls.

         B.     Each facility shall issue a green sheet on the location and procedures for the use of the
                T.D.D.

         C.     Each facility shall be equipped with “Hearing Aid Compatible” phones to allow
                incarcerated persons with personal hearing aids to effectively utilize the phone.

         D.     All facilities' incarcerated person phones, including the social visiting phones, shall have
                the hearing enhancement device feature. These devices shall enhance the ability to hear
                by the activation of an amplification switch that has three settings: Normal, Loud and
                Louder. A decal or engraving with the universal symbol for the hearing impaired shall be
                visible on all phones designated for incarcerated persons.

II.      IDENTIFICATION OF HEARING IMPAIRED INCARCERATED PERSONS

         The administrative lieutenant and the Supervising Correctional Counselor or designee at each
         facility shall identify all incarcerated persons with serious hearing impairments. This
         information is available in the Jail Information Management System (JIMS) via the Inmates with
         active Medical Instructions: Hearing Deficit/Deaf JIMS Web Report. These incarcerated persons
         shall be allowed to use the T.D.D.’s. or other communication systems that have hearing
         amplification devices.




P.11 INCARCERATED PERSONS WHO ARE DEAF                                                           Page 1 of 2
OR HARD OF HEARING
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III.   OBTAINING SIGN LANGUAGE INTERPRETING ASSISTANCE

       The County of San Diego has contract providers for interpreting services in place for any
       County-affiliated agency. For non-emergency interpreting service requests, you will find a list
       of approved service providers at:
       https://insiteext.sdcounty.ca.gov/csg/pc/Lists/dpc_cw/Allitemsg.aspx.

       For emergency interpreting services (such as an arrest or interview), call (619) 398-2488. Press
       "5" to obtain the After Hours Emergency Line.




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SDSD Detention Services Bureau—San Diego Central Jail Green Sheet

 DATE:                                February 21, 2023
 NUMBER:                              P.11.C.1
 SUBJECT:                             INCARCERATED PERSONS WHO ARE DEAF OR
                                      HARD OF HEARING
PROCEDURE

San Diego Central Jail (SDCJ) will be equipped with two different types of telecommunication devices
to assist incarcerated persons who are deaf or hard of hearing. The two types of devices available are:

    1.) Telecommunication Device for the Deaf (T.D.D.)

    2.) Video Relay Service (V.R.S.) provided by Purple Communications


Any incarcerated persons who have been identified as being deaf or hard of hearing, regardless of
classification, will be allowed to use the T.D.D. and the V.R.S. devices to remain in compliance with
State Senate Bill 1008 – The Keep Families Connected Act.

   1) The T.D.D. at SDCJ is located on the 6th Floor in the Mental Health Clinician's Interview Room.

   2) The V.R.S. device is located on the 2nd Floor inside of Booking Window #8. The V.R.S. is
      hardwired and connects with an American Sign Language interpreter

   3) Incarcerated persons brought from the housing floors to use the V.R.S. will be logged out to
      V.R.S. (Video Relay Service) in the Operation Status Board drop-down in the Jail Information
      Management System (JIMS).




HEARING IMPAIRED INMATES                                                                SDPage
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SAN DIEGO COUNTY SHERIFF'S DEPARTMENT                                                       Operations Manual
MEDICAL SERVICES DIVISION
SUBJECT:                 LOWER BUNK/ LOWER TIER                                     DATE:          11/4/2022
CATEGORY:                MEDICAL & PSYCHIATRIC SERVICES                             NUMBER:        MSD.F.1.2
DISSEMINATION:           MEDICAL SERVICES DIVISION                                  PAGE:          1

RELATED SECTIONS:        DSB 1.22; DSB 0.1
IN COMPLIANCE WITH:      CCR, TITLE 15, SECTION 1208 &1210; NCCHC J -F-01

PURPOSE

To ensure that patients with medical problems will be housed in the bunk and/or tier appropriate to the
need assessed by health staff.

To clarify criteria for lower bunk and/or lower tier when entering patient flags in the health record.

To emphasize that a qualified health provider's order for lower bunk and/or lower tier housing is
recommended to minimize the risk of injury to patient meeting criteria.

To ensure patient's with physical impairments or mobility issues be accommodated for their safety and
appropriate bed assignment.


PROCEDURE

   1.   Criteria for placement as follows:
            A. Patients having physical disabilities or limitations but ambulating without the use of
                crutches, walker or wheelchair, may be housed on an upper tier.
            B. Patients requiring a cane for ambulation will be assessed on a case by case basis by
                 health staff to determine their ability to safely use the stairs.
            C. Patients with the following conditions must be placed in a lower bunk and on the lower
                tier:
                      1. Seizures
                      2. Active alcohol withdrawal treatment. (*time limited)
                      3. Active heroin withdrawal treatment. (*time limited)
                      4. Pregnancy
                      5. Status post caesarian-section

  II.   Notification and Documentation:
           A. Adding patient flag in the health record should include the following:
                    1. Enter reason for recommending lower bunk/lower tier in the comment field.
                    2. Add expiration date as needed for time limited conditions.
            B. Notify the corresponding housing deputies of the restriction.

 Ill.   Compliance and monitoring:
          A. Sworn staff will routinely monitor compliance of bed assignments.
          B. Inmates shall accept bunk assignments as directed by staff and shall be subject to
              disciplinary action for refusing a bunk assignment (see DSB 1.22 and DSB 0.1).




                                                                                                 SD 000316
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SAN DIEGO COUNTY SHERIFF'S DEPARTMENT                                                              Operations Manual
MEDICAL SERVICES DIVISION
SUBJECT:                    LOWER BUNK/ LOWER TIER                                         DATE:        11/4/2022
CATEGORY:                   MEDICAL & PSYCHIATRIC SERVICES                                 NUMBER:      MSD.F.1.2
DISSEMINATION:              MEDICAL SERVICES DIVISION                                      PAGE:        2

RELATED SECTIONS:           DSB 1.22; DSB 0.1
IN COMPLIANCE WITH:         CCR, TITLE 15, SECTION 1208 &1210; NCCHC J -F-01




Reviewed: 8/18/03, 8/9/04, 8/12/05, 7/31/06, 7/30/07, 7/10/08, 8/13/09, 1/10/22, 11/4/22
Revised:   7/01, 4/8/11, 12/21/11, 6/15/16, 11/2/2020, 12/09/2020




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SAN DIEGO COUNTY SHERIFF'S DEPARTMENT
                                                                                      Operations Manual
MEDICAL SERVICES DIVISION

SUBJECT:               PROSTHESES, ORTHOSES AND OTHER AIDS                        DATE:      11/4/2022
                       TO IMPAIRMENT
CATEGORY:              MEDICAL & PSYCHIATRIC SERVICES                             NUMBER:    MSD.P.7
DISSEMINATION:         MEDICAL SERVICES DIVISION                                  PAGE:      1

RELATED SECTIONS:      MSD P&P: S.3
IN COMPLIANCE WITH:    CCR Title 15, Section 1206, 1215, NCCHC J -F-01



PURPOSE
To provide guidelines when a patient presents to booking with their personal prosthesis, orthotic or
other aids to impairment. To provide guidelines when a patient requests or a provider considers the
ordering of a prosthesis, orthotic or other aids to impairment. To provide guidelines for the housing of
patients with clinically indicated prosthetic appliance. To provide guidelines in the event a patient has
violated this policy. To define care abilities for those who are medically impaired.
Definitions:
    • Prostheses are devices to replace missing body parts such as limbs, teeth, eyes, or heart
        valves.
    • Orthoses are mechanical devices, such as braces, foot inserts, or hand splints, used to support
        or supplement weakened or abnormal joints or limbs.
    • Aids to impairment include, but are not limited to eyeglasses, hearing aids, canes, crutches, and
        wheelchairs.

POLICY
Patients shall be allowed to keep/wear prescribed prosthesis, orthotic or aids to impairment unless it
has been determined that it poses a risk to safety or security. Prostheses, orthoses or aids to
impairment may be provided to patients upon request and if medically indicated. If a patient has
previously violated the policy and was non-compliant with the use of a prosthesis, orthotic or an aid
to impairment, clinical indication for the appliance will be re-evaluated.


PROCEDURE
   I.   An Appliance and Prostheses Authorization form is to be completed by a provider to request for a
        patient's appliance in TechCare. Patients may submit a Sick Call Request (J212) to request
        evaluation for prosthesis or replacement.
            A. Providers completing and submitting a prosthesis request will include the following
                information:
                    1. The end dates whenever possible and appropriate.
                    2. The follow-up appointment for reassessment of need for the appliance.
             B. Referrals for appliances may require a review by the Sheriffs Chief Medical Officer, and
                approval by the Medical Services Administrator.
 II.    The removal of an appliance may occur if:
            A. There is a safety and security concern/violation.
             B. The patient is found to be non-compliant with prescribed regimen.
 III.   In the event an appliance is removed:
IV.     The appliance should be placed immediately in the patient's property.




               PROSTHESES, ORTHOSES AND OTHER AIDS TO IMPAIRMENT

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SAN DIEGO COUNTY SHERIFF'S DEPARTMENT
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MEDICAL SERVICES DIVISION

SUBJECT:                    PROSTHESES, ORTHOSES AND OTHER AIDS                                 DATE:            11/4/2022
                            TO IMPAIRMENT
CATEGORY:                   MEDICAL & PSYCHIATRIC SERVICES                                      NUMBER:          MSD.P.7
DISSEMINATION:              MEDICAL SERVICES DIVISION                                           PAGE:            2

RELATED SECTIONS:           MSD P&P: 5.3
IN COMPLIANCE WITH:         CCR Title 15, Section 1206, 1215, NCCHC J-F-01

              B. The medical services staff must be notified, and a note will be made in the patients
                   the medical record.
 IV.       Appealing the removal of an appliance:
              A. The patient may appeal such removal by writing an Inmate Request/Grievance, stating
                  the need.
              B. This written appeal request will be routed to the appeal's officer in the detention facility
                  via the watch commander's office who will decide whether or not the appeal may be
                  granted.
 V.        Housing Recommendations:
              A. Appropriate accommodation for patients with prosthesis, orthotic or aid to impairment will
                  be provided as indicated.



Implemented:        10/90
Reviewed:           9/17/96, 9/19/97, 9/18/98, 8/11/99, 7/31/00, 8/18/03, 8/9/04, 8/12/05, 7/31/06, 7/31/07, 07/09/08, 2/24/11,
                     2/27/13, 9/6/19, 11/4/22
Revised:            3/17/92, 10/20/92, 6/4/93, 4/1/94, 5/24/95, 1/29/96, 8/10/01, 9/18/02, 1/24/05, 7/28/09, 2/14/12, 2/24/14,
                    3/30/17, 1/6/22




                  PROSTHESES, ORTHOSES AND OTHER AIDS TO IMPAIRMENT


                                                                                                                SD 000342
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                     EXHIBIT L
                                                                        Ex. L-70
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 SAN       DIEGO         COUNTY           SHERIFF'S        DEPARTMENT
                                                                                      NURSING GUIDELINES
 MEDICAL SERVICES DIVISION


 SUBJECT:                    COVID-19 INTERIM EMERGENCY                         NUMBER:           NSG.C.12
                             CLASSIFICATION MATRIX FOR MEDICAL &
                             PSYCHIATRIC HOUSING
 DATE:                       07/21/2021                                         PAGE:             1




This guideline will serve as temporary document in response to the necessary movement of
patients requiring quarantine during COVID- 19 pandemic.
         DESCRIPTION             SDCJ     VDF      LCDRF GBDF         EMRF    FAC 8     SBDF
                                                                              *Facility
                                                                              Closed
 Medical Acuity & Capability          High*     High*     High*     High*      Medium*     N/A         Low**
                                                                                  *
 Gender Population                     Men       Men      Women      Men        Men        NIA          Men
                                                Women
 Nursing Hours                          24       24         24        24         12        N/A           10

 MDSC                                  YES       YES       YES       YES       2x/week      N/A       Weekly
                                      (Daily)   (Daily)   (Daily)   (Daily)
 Handicapped                           YES                 YES                  YES.         -           -
 Work programs                           -        -        YES         -        YES          _           -
 Isolation - Respiratory               YES       YES       YES       YES         -           -           -
 Intake Services                       YES       YES       YES        -          _           -           -
 Crutch, Cane, Cast, Sling             YES       YES       YES       YES        YES         N/A         YES

 MOB                                   YES       YES       YES       YES          -          -           -
 Acute/ Unstable Medical Conditions

   Asthma                              YES       YES       YES       YES         YES        N/A       Stable
   Diabetic                            YES       YES       YES       YES         YES        N/A          YES
                                                                               (NIDDM)                 (NIDDM)
   HIV                                 YES       YES       YES       YES         YES        N/A       YES
   HIN                                 YES       YES       YES       YES       YES          N/A       YES
   Seizure                             YES       YES       YES       YES         YES        N/A         Stable
   Withdrawal (Heroin ¡Alcohol)        YES       YES       YES       NO        NO           N/A       NO
   Draining Wounds                     YES       YES       YES       YES         YES        N/A          YES
 Specialty Clinics

    OB / Planned Parenthood             -         -        YES        -          -          N/A          -
    Dental Services                    YES       YES       YES       YES        YES         N/A          -
    Methadone                          YES       YES       YES        -          -          N/A          -
    Dialysis                           YES        -         -         -          -          N/A          -
 Psychiatric Services

                 CLASSIFICATION MATRIX FOR MEDICAL & PSYCHIATRIC HOUSING



                                                                                             SD 000331
                                                                                             Ex. L-71
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 DATE:                     07/21/2021                                               PAGE:              2

    PSU                                YES          -         YES          -          -          N/A           -
    Outpatient Mental Health           YES         YES        YES         YES        YES         N/A           -
 Services
    Mental Health Clinician            YES         YES        YES         YES        YES         N/A          YES
    Penal Commits                      YES         YES        YES         YES         _          N/A           -
 (1026,1370,2970)
    PSA                                YES         YES        YES         YES       YES w/                     ..
                                                                                     QMHP
                                                                                      appt.
                                                                                        1        N/A
                                                                                   week post
                                                                                    transfer _



 InstructIons

    Medical Diets, Food Allergies      YES         YES        YES         YES        YES         N/A          YES
    Lower Bunk/Lower Tier              YES         YES        YES         YES        YES         N/A          YES
 TID Medications                       YES         YES        YES         YES        YES         N/A           -
 Narcotic Medications                  YES         YES        YES         YES         -          N/A           -


*Fligh: Some capacity to manage high risk and complex acute and chronic medical/psychiatric conditions with
24hour nurse staffing.

"Medium: FuIl capacity to manage uncomplicated acute and stable chronic medical/psychiatric conditions with
12-hour nurse staffing.

***Low: Limited capacity to manage uncomplicated acute and stable medical/psychiatric conditions with 8 to
10hour nurse staffing.

* See facility green sheet for detailed ADA accommodation capacity.


PURPOSE

To establish guidelines for medical screening of inmates transferring to other facilities at the request of
JPMU.

To ensure continuity of care for an inmate's existing medica! conditions.




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                                                                                                  SD 000332
                                                                                                   Ex. L-72
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 MEDICAL SERVICES DIVISION


SUBJECT:                 COVID-19 INTERIM EMERGENCY                               NUMBER:         NSG.C.12
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PRE-SCREENING TRANSFER

 I.     For inmates transferring to SDCJ, LCDRF, VDF or GBDF, a pre-screening transfer is not
        necessary except for the following conditions:
          A. Patients currently housed in MOB, safety cell, enhanced observation housing unit and/or
              isolation cells are not to be transferred without prior coordination between JPMU and
              facility medica! staff.
           B. Patients with transfer restrictions noted in JIMS INSTRUCTION i.e. dialysis, special
              meds, special cases and/or inmate on programs only available at the current facility. C.
               Patients with scheduled outpatient clinic appointments.
 II.    For inmates transferring to SBDF and EMRF, a pre-screening transfer is to be completed
        based on the above matrix as follows:
          A. SBDF transfers will be pre-screened by the medical staff of the sending facility. if cleared
              for transfer, designate "Cleared for SBDF" in the JIMS medical instruction.
           B. EMRF transfers will be pre-screened by EMRF medical staff. If cleared for transfer,
              designate "Cleared for EMRF" in the JIMS medica! instruction.


 III.   Pre-screening transfer procedure:
          A. JPMU will send SBDF and EMRF potential transfer list to the above-referenced
              designated staff for review between 2000-0000 hours.
           B. Facility designated staff will return the potential transfer list to JPMU with individual
              transfer determination based on medical matrix by 0500 hours.


COMPLETED TRANSFER REVIEW

 l.     A final transfer list will be available in JIMS Scheduling Report for each facility for medication
        administration and medical record transfer.
 II.    A record review is to be completed by the receiving facility within 12 hours of transfer.
 III.   Completed record review is to be documented by the receiving facility in JIMS along with the
        necessary changes caused by the transfer.


DEFINITIONS OF STABLE CONDITIONS

 I.     Asthma
           A. Patient knowledgeable of disease processes, triggering events, and methods of self -
              treatment.
           B. Demonstrated self-treatment and self-carry of personal medications for given condition.
           C. No documented history of respiratory distress or nebulizer treatment/therapy during
              current incarceration.
              CLASS1FICATION MATRIX FOR MEDICAL & PSYCHIATRIC HOUSING



                                                                                                SD 000333
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 II.     HTN
           A. Blood pressure (BP) is maintained with current treatment and is not labile
            B. No chest pains in the last 6 months.
           C. BP measurement of 150/90 or below for three consecutive encounters.
            D. Asymptomatic
            E. Recommend individual assessment if patient has comorbidities (e.g. diabetes or chronic
                kidney disease).
 III.    Outpatient Mental Health Services
        Exclusionary factors to being transferred to EMRF include, but will not be limited to the following:
           A. Inmates with a History of PSA and/or history of inmate safety program (ISP) placement
               will be assessed on a case by case basis. Initial pre-screening evaluation for appropriate
               transfer to EMRF will be performed by a Qualified Mental Health Provider (QMHP). If
                QMHP determines inmate is appropriate for transfer, inmate will be transferred based on
                QHMP's determination. Once transferred, inmate is to be evaluated by a Qualified
                Mental Health Provider (QMHP) within 7 days.



 IV.       Diabetics:
              A. Oral medications (biguanides, sulfonylureas, etc.); no insulin support.


              B. Recommend individual assessment if patient has comorbidities. Serum glucose needed
                 for evaluation.
 V.        Seizure
              A. Completion of any form of withdrawal protocol/SNP (if applicable).
              B. Medication Compliant
              C. No seizure within the last three months.
 VI.       Specialty Clinic Appointments
              A. Inmates with specialty clinic appointments may be housed in SBDF and EMRF and, so
                  long as the appointments do not require special preparations. NOTE: Does not include
                 those patients needing to be NPO.




Implemented:     3/17/2020
Reviewed:        ui/
Revised:       11/20/2020,07/21/2021


                   CLASSIFICATION MATRIX FOR MEDICAL & PSYCHIATRIC HOUSING



                                                                                               SD 000334
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   ·1· · · · · · · · · UNITED STATES DISTRICT COURT

   ·2· · · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

   ·3
   · · ·DARRYL DUNSMORE, ANDREE ANDRADE,
   ·4· ·ERNEST ARCHULETA, JAMES CLARK,
   · · ·ANTHONY EDWARDS, LISA LANDERS,
   ·5· ·REANNA LEVY, JOSUE LOPEZ,· · · ·Case No.:
   · · ·CHRISTOPHER NELSON, CHRISTOPHER 3:20-cv-00406-AJB-DDL
   ·6· ·NORWOOD, JESSE OLIVARES, GUSTAVO
   · · ·SEPULVEDA, MICHAEL TAYLOR, and
   ·7· ·LAURA ZOERNER, on behalf of
   · · ·themselves and all others
   ·8· ·similarly situated,

   ·9· · · · · · · · · · · ·Plaintiffs,

   10· · · · · · ·vs.

   11· ·SAN DIEGO COUNTY SHERIFF'S
   · · ·DEPARTMENT, COUNTY OF SAN DIEGO,
   12· ·SAN DIEGO COUNTY PROBATION
   · · ·DEPARTMENT, and DOES 1 to
   13· ·inclusive,

   14· · · · · · · · · · · ·Defendants.
   · · ·_______________________________________________________________
   15

   16

   17· · · · · · · · · · · · ·DEPOSITION OF

   18· · · · · · · · · · ·SERGEANT MATTHEW JENSEN

   19· · · · · · · · · · · SAN DIEGO, CALIFORNIA

   20· · · · · · · · · · · · ·MARCH 14, 2023

   21

   22

   23

   24· · REPORTED BY:
   · · · A. DESIREE TIPPER, CSR NO. 13806
   25· · JOB NO: 10116488


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   ·1· · · ·A· · You click on the individual's name and you can
   ·2· ·access the instructions from the individual's profile in
   ·3· ·the JIMS system.
   ·4· · · ·Q· · What else is in their JIMS profile?
   ·5· · · · · · MS. PAPPY:· I'm going to object.· I'm going to
   ·6· ·instruct him not to answer.
   ·7· · · · · · I'm giving you some leeway about this because it
   ·8· ·relates to hard-of-hearing individuals and getting -- I'm
   ·9· ·hoping we're going to get to their access to Purple, but
   10· ·what else is in JIMS is not relevant to this deposition
   11· ·as a PMK on Purple and Rock Mountain policies.
   12· ·BY MR. ANDERSON:
   13· · · ·Q· · So this instructions hazard -- it says that they
   14· ·are deaf or hard of hearing?
   15· · · ·A· · It just labels deaf, hard-of-hearing on the
   16· ·hazard.
   17· · · ·Q· · Does it say whether they use the VRS?
   18· · · ·A· · No.
   19· · · ·Q· · Does it say whether they use the TTY?
   20· · · ·A· · No.· It just says "deaf" or "hard-of-hearing" on
   21· ·there.
   22· · · ·Q· · Will it have a notification if they use a
   23· ·hearing aid?
   24· · · ·A· · No.· Not as far as their hazards go.· If they're
   25· ·hard of hearing, and then that's labeled on there, then


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   ·1· ·that would be on there.
   ·2· · · ·Q· · So it just says "deaf" or "hard-of-hearing"?
   ·3· · · ·A· · Yeah, that's correct.
   ·4· · · ·Q· · For a person does it say "deaf and hard of
   ·5· ·hearing" or does it say just "deaf"?
   ·6· · · ·A· · I can't remember off the top of my head which
   ·7· ·one, but I do remember seeing "deaf" or
   ·8· ·"hard-of-hearing."· You only see it every so often.
   ·9· ·There's not many people that come in with the hazard on
   10· ·there from my experience within the jails.
   11· · · ·Q· · Are all people with that hazard housed at
   12· ·Central?
   13· · · ·A· · Not necessarily.
   14· · · ·Q· · So how does -- a staff person goes to JIMS to
   15· ·determine -- and if they see "deaf" or "hard-of-hearing,"
   16· ·that person can use the VRS?
   17· · · ·A· · That person can use VRS, yes.
   18· · · ·Q· · How does the deputy know if that person knows
   19· ·sign language or not?
   20· · · ·A· · The -- they'll go talk to the individual.
   21· ·Usually if -- since I don't know sign language, you would
   22· ·just write on paper, you know, "sign language?" or "Do
   23· ·you need to use the Purple or TTY?"
   24· · · · · · And then the person would let you know.
   25· · · ·Q· · Are those notes kept?


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   ·1· · · ·A· · No.· It's like a communication between -- it's
   ·2· ·like a sticky note that's written back and forth between
   ·3· ·myself and the individuals there.
   ·4· · · ·Q· · How many people at the jail right now use VRS?
   ·5· · · ·A· · I don't know that number off the top of my head.
   ·6· · · ·Q· · I think you mentioned a little bit, but how does
   ·7· ·the VRS technology work?
   ·8· · · ·A· · So it's a screen.· You log into the Purple
   ·9· ·account from your account and the individual types in the
   10· ·phone number that they're calling, and the VRS pops up
   11· ·with their individual -- so long as their phone or their
   12· ·computer, whatever they use it on, and then they just
   13· ·talk to each other via sign language through the screen
   14· ·and the camera.
   15· · · ·Q· · So people use it for social phone calls?
   16· · · ·A· · Yes, correct.
   17· · · ·Q· · What about attorney calls?
   18· · · ·A· · If they need it for an attorney call, they can
   19· ·use it for an attorney call.· It's whoever they need to
   20· ·communicate with on there.
   21· · · ·Q· · Do they communicate with medical staff at the
   22· ·jail?
   23· · · ·A· · Not the VRS system.· Because they're in person.
   24· · · ·Q· · What about outside medical, if a person has an
   25· ·appointment with a specialist?


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   ·1· · · ·A· · They -- usually if it's something specialized
   ·2· ·like that, they'll get taken to a specialty appointment.
   ·3· · · ·Q· · Usually, but not always?
   ·4· · · ·A· · If they have something specially -- like in what
   ·5· ·sense?· Like something that we can't provide?
   ·6· · · ·Q· · A video visit with a specialist?
   ·7· · · ·A· · If they want a video visit with a specialist,
   ·8· ·they can.· I mean, it's open to whoever has a VRS system.
   ·9· · · ·Q· · So people use the VRS to call out?
   10· · · ·A· · Correct.
   11· · · ·Q· · For communications in the jail, they don't use
   12· ·it?
   13· · · ·A· · No, not in the jail.
   14· · · ·Q· · Not -- okay.· So not with a deputy?
   15· · · ·A· · No.
   16· · · ·Q· · Typically you would write notes to communicate
   17· ·with the person?
   18· · · ·A· · Right.· We would just ask what they need and
   19· ·write it on paper.
   20· · · ·Q· · Same for medical staff?· Is that how they
   21· ·communicate with the person?
   22· · · ·A· · Generally they'll write answers and questions on
   23· ·there.
   24· · · ·Q· · Are there deaf people who don't know how to use
   25· ·sign language in the jail?


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   ·1· · · ·A· · I'm not sure.
   ·2· · · ·Q· · So in practice when a person -- how does a
   ·3· ·person request to use VRS?
   ·4· · · ·A· · They'll just stop a deputy in the module and ask
   ·5· ·to use the VRS.
   ·6· · · ·Q· · When they're out of their cell?
   ·7· · · ·A· · Out of their cell, in their cell.· It doesn't
   ·8· ·matter what time of day or wherever they're at.
   ·9· · · ·Q· · If a person is deaf and can't speak, how do they
   10· ·ask a deputy?
   11· · · ·A· · They'll write it on paper.
   12· · · ·Q· · And what -- does the deputy have to provide the
   13· ·VRS at that point?
   14· · · ·A· · We'll bring them when we have time.· So we make
   15· ·sure that they get on the phone, but if you're in the
   16· ·middle of security or safety check, then you have to make
   17· ·sure that everyone else in the module is safe, and
   18· ·there's no maintenance issues, no medical emergencies.
   19· · · · · · And then when they have time to, they'll escort
   20· ·the individual out to the phone.
   21· · · ·Q· · Is that written down somewhere?
   22· · · ·A· · For removing them?
   23· · · ·Q· · The practice of "you can wait" to take the
   24· ·person?
   25· · · ·A· · It's not necessarily written to wait, but you


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   ·1· ·right now.· And what they're going to consist of, it's
   ·2· ·all going to depend on when the facility opens, what
   ·3· ·layout the facility goes, who is housed there, just a ton
   ·4· ·of factors.· It's not operational yet.· So there's no
   ·5· ·green sheets on it yet.
   ·6· · · ·Q· · You said they're in progress.· By in "progress,"
   ·7· ·you mean they're being talked about?
   ·8· · · ·A· · They're being talked about because there's
   ·9· ·nowhere to go with it yet because the facility is not
   10· ·operational.
   11· · · ·Q· · Are there written drafts?
   12· · · ·A· · It's in the process of getting worked on because
   13· ·it's not operational.· So there's nothing to go off of.
   14· · · ·Q· · Yes or no, are there written drafts?
   15· · · ·A· · As far as I know, no, not written drafts for
   16· ·Rock Mountain just because it's not operational yet.
   17· · · ·Q· · Do you know when Rock Mountain will be
   18· ·operational?
   19· · · ·A· · I do not know.
   20· · · ·Q· · Toward end of this year?
   21· · · ·A· · I have no idea.· I wish I did, though.
   22· · · ·Q· · Who would know?
   23· · · ·A· · For Rock --
   24· · · ·Q· · Sorry.· Who would know when Rock Mountain is
   25· ·going to open?


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   ·1· · · ·A· · Construction crew, County of San Diego.· I don't
   ·2· ·know on that one.· I mean, it's -- it's been in the works
   ·3· ·since 2016.
   ·4· · · ·Q· · I'd like to introduce another exhibit.· This
   ·5· ·will be 7.
   ·6· · · · · · (Exhibit 7 marked for identification.)
   ·7· ·BY MR. ANDERSON:
   ·8· · · ·Q· · Sergeant Jensen, I can represent this is a
   ·9· ·declaration that the county sheriff's department filed in
   10· ·this case by M. McArdle.· Do you know who M. McArdle is?
   11· · · ·A· · Yes.
   12· · · ·Q· · What's their role at the sheriff's department?
   13· · · ·A· · I just know that Matt is the one who does the
   14· ·tech stuff.· So anything to do with tech.
   15· · · ·Q· · Yeah.· It says on paragraph 1 he's the
   16· ·facilities superintendent.
   17· · · · · · Does that sound right?
   18· · · ·A· · If that's what he says.· I don't know his actual
   19· ·title until right now.
   20· · · ·Q· · We can go to page 3.· So paragraph 9 says -- for
   21· ·the first sentence, it says, "The intent for Rock
   22· ·Mountain is to house all types of physically disabled
   23· ·inmates at Rock Mountain rather than housing them in one
   24· ·module at each floor at Central."
   25· · · · · · Are you aware of that plan?


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   ·1· · · ·A· · I am now.
   ·2· · · ·Q· · You didn't know beforehand that Rock Mountain
   ·3· ·was going to be where all types of physically disabled
   ·4· ·inmates would be housed?
   ·5· · · ·A· · All facilities have physically disabled people
   ·6· ·in one or the other.· So I would assume that Rock
   ·7· ·Mountain wouldn't be any different than any other
   ·8· ·facility.· I didn't know this specific until now.
   ·9· · · ·Q· · Yeah, this is saying they're going to be housed
   10· ·at Rock Mountain instead of Central, right?
   11· · · ·A· · Sounds like they're just not going to house
   12· ·everybody at Central, to me.· So instead of housing them
   13· ·in one module as Central, not necessarily not at Central.
   14· · · ·Q· · Yeah, I won't ask you to interpret.· But are
   15· ·you -- are you aware of any plan to house people with
   16· ·disabilities at Rock Mountain?
   17· · · ·A· · I am now, yes.
   18· · · ·Q· · And there's no policies and procedures for Rock
   19· ·Mountain?
   20· · · ·A· · It's not operational.· So there's nothing for --
   21· ·there's no green sheets for them yet.
   22· · · ·Q· · Are any of the green sheets related to the
   23· ·housing of people with disabilities at Rock Mountain?
   24· · · ·A· · There's no green sheets for Rock Mountain yet.
   25· ·It's not operational yet.· They just have the detention


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   ·1· · · · · · · · · · REPORTER'S CERTIFICATE

   ·2

   ·3· · · · · · · · ·I, A. Desiree Tipper, a Certified Shorthand

   ·4· ·Reporter No. 13806 in the State of California, do hereby

   ·5· ·certify:

   ·6· · · · · · · · ·That the foregoing proceedings were taken

   ·7· ·before me at the time and place herein set forth; that

   ·8· ·any witnesses in the foregoing proceedings, prior to

   ·9· ·testifying, were placed under oath; that a verbatim

   10· ·record of the proceedings was made by me using machine

   11· ·shorthand which was thereafter transcribed under my

   12· ·direction; further, that the foregoing is an accurate

   13· ·transcription thereof.

   14· · · · · · · · ·I further certify that I am neither

   15· ·financially interested in the action nor a relative or

   16· ·employee of any attorney of any of the parties.

   17· · · · · · · · ·IN WITNESS WHEREOF, I have hereunto

   18· ·subscribed my name this 19th day of March, 2023.

   19

   20

   21

   22
   · · · · · · · · · ·________________________________________
   23· · · · · · · · · · · · · · · A. Desiree Tipper
   · · · · · · · · · · · · · · · · CSR No. 13806
   24

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   ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

   ·3
   · · · ·DARRYL DUNSMORE, ANDREE ANDRADE,
   ·4· · ·ERNEST ARCHULETA, JAMES CLARK,
   · · · ·ANTHONY EDWARDS, LISA LANDERS,
   ·5· · ·REANNA LEVY, JOSUE LOPEZ,
   · · · ·CHRISTOPHER NELSON, CHRISTOPHER
   ·6· · ·NORWOOD, JESSE OLIVARES, GUSTAVO
   · · · ·SEPULVEDA, MICHAEL TAYLOR, and LAURA
   ·7· · ·ZOERNER, on behalf of themselves and
   · · · ·all others similarly situated,· · · · ·CASE NO.
   ·8
   · · · · · · · · ·Plaintiffs,· · · · · · · · · 3:20-cv-00406-
   ·9· · · · · · · · · · · · · · · · · · · · · · AJB-DDL
   · · · ·vs.
   10
   · · · ·SAN DIEGO COUNTY SHERIFF'S
   11· · ·DEPARTMENT, COUNTY OF SAN DIEGO, SAN
   · · · ·DIEGO COUNTY PROBATION DEPARTMENT,
   12· · ·and DOES 1 to 20, inclusive,

   13· · · · · · · ·Defendants.
   · · · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   14

   15

   16· · · · · · · · · ·DEPOSITION OF KYLE BIBEL

   17· · · · · · · · · · San Diego, California

   18· · · · · · · · · · · · March 15, 2023

   19

   20

   21
   · · ·Reported by:
   22
   · · ·CLAIRE ANDREWS
   23
   · · ·CLR, CSR No. 13509
   24

   25· ·JOB No. 10116489


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   ·1· · · ·Q.· ·Do you recall seeing it?
   ·2· · · ·A.· ·No.
   ·3· · · ·Q.· ·When did you first learn that you were going to
   ·4· ·be designated a person most knowledgeable for this
   ·5· ·deposition?
   ·6· · · ·A.· ·Four to six weeks ago, approximately.
   ·7· · · ·Q.· ·This is Exhibit 1, which we marked yesterday.
   ·8· · · · · · MR. ANDERSON:· Do you want --
   ·9· · · · · · MS. PAPPY:· No, that's okay.
   10· ·BY MR. ANDERSON:
   11· · · ·Q.· ·Captain Bibel, this is -- the Exhibit 1 is the
   12· ·Notice of Deposition in this case.
   13· · · · · · Have you seen this before?
   14· · · ·A.· ·I don't recall.
   15· · · ·Q.· ·I'll have you turn to page 2.· It's the third
   16· ·sheet, but it's got the 2 at the bottom.
   17· · · ·A.· ·Page 2 you said?
   18· · · ·Q.· ·Yeah.
   19· · · · · · And there -- near the middle, there's the bold
   20· ·topic for examination.
   21· · · · · · Do you see that?
   22· · · · · · MS. PAPPY:· Down here.
   23· · · · · · THE WITNESS:· Okay.
   24· ·BY MR. ANDERSON:
   25· · · ·Q.· ·And that's -- under that, it says, "All current


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   ·1· ·policies, procedures, and practices regarding the
   ·2· ·accessibility of facilities, housing program services,
   ·3· ·activities, effective communication, reasonable
   ·4· ·accommodations, and assistive devices for incarcerated
   ·5· ·persons with disabilities."
   ·6· · · · · · THE REPORTER:· I'm sorry.· If you can read just
   ·7· ·a little slower next time.· I got that.
   ·8· · · · · · MR. ANDERSON:· Understood.
   ·9· · · · · · THE REPORTER:· Thank you.
   10· · · · · · MR. ANDERSON:· You got that down?
   11· · · · · · THE REPORTER:· Yeah.
   12· · · · · · MR. ANDERSON:· Okay.· Thank you.
   13· ·BY MR. ANDERSON:
   14· · · ·Q.· ·Do you see that?
   15· · · ·A.· ·I -- I see it.
   16· · · ·Q.· ·And have you read that topic before?
   17· · · ·A.· ·This specific topic?
   18· · · ·Q.· ·Yeah.
   19· · · ·A.· ·I don't recall seeing this form.
   20· · · ·Q.· ·You have been designated to testify about this
   21· ·topic as it relates to Central Jail; is that right?
   22· · · ·A.· ·Correct.
   23· · · ·Q.· ·With the exception only of the purple system
   24· ·and the new phone system?
   25· · · · · · THE REPORTER:· Of the what system?


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   ·1· · · · · · MR. ANDERSON:· The purple system.
   ·2· · · · · · THE REPORTER:· Purple system.
   ·3· · · · · · MR. ANDERSON:· And the new phone system.
   ·4· · · · · · THE WITNESS:· I know I'm the PMK for ADA
   ·5· ·specific to SDCJ --
   ·6· · · · · · THE REPORTER:· I'm sorry.· The door.                     I
   ·7· ·couldn't hear you.· Repeat that.
   ·8· · · · · · THE WITNESS:· I'm the -- I know I'm the PMK as
   ·9· ·it relates to ADA for SDCJ.
   10· ·BY MR. ANDERSON:
   11· · · ·Q.· ·So you can cover this entire topic as it
   12· ·relates to SDCJ?
   13· · · ·A.· ·To the best of my ability, yes.
   14· · · ·Q.· ·What did you do to make yourself the person
   15· ·most knowledgeable in this category?
   16· · · · · · MS. PAPPY:· How did you accidentally manage to
   17· ·do that?
   18· · · · · · THE WITNESS:· I don't know.· Other than I can
   19· ·speculate.
   20· ·BY MR. ANDERSON:
   21· · · ·Q.· ·Well, I'm sorry.· I don't mean how you were
   22· ·selected.
   23· · · · · · I mean, what did you do, once you were
   24· ·designated, what actions did you take to make yourself
   25· ·the person most knowledgeable?


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   ·1· · · ·Q.· ·Are you aware it was being used for booking
   ·2· ·interviews in February 2023?
   ·3· · · ·A.· ·I'm -- no, I'm not.
   ·4· · · ·Q.· ·So reentry services are responsible for
   ·5· ·scheduling all sign language interpretation in the jail?
   ·6· · · ·A.· ·They're our conduit to coordinating those
   ·7· ·interpreter requests.
   ·8· · · ·Q.· ·So they're the conduit.
   ·9· · · · · · So, for example, a deputy is having an
   10· ·interview with someone about potentially moving them to
   11· ·AdSeg.· What would the deputy do to -- how do they
   12· ·connect with reentry services?
   13· · · ·A.· ·Well, I think the first thing the deputy would
   14· ·do is try to effectively communicate with that person
   15· ·through other means first.· And if that was
   16· ·unsuccessful, they would attempt -- just depends on how
   17· ·important that interpreter is in that moment.· Can it
   18· ·wait?· If it can't wait, we could also -- again, in an
   19· ·emergency situation, we have our communication center
   20· ·that is specific to law enforcement that runs 24/7, and
   21· ·we have access to counseling services -- excuse me --
   22· ·interpreter services in that avenue for emergency
   23· ·situations.
   24· · · ·Q.· ·So, first -- so you said sometimes where it
   25· ·might be important to you -- you'd have to kind of make


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   ·1· ·this decision of, is it important now to do sign
   ·2· ·language interpretation, or can we wait?· Is that a fair
   ·3· ·characterization of your testimony?· I want to make sure
   ·4· ·I got it right.
   ·5· · · ·A.· ·I don't recall saying that.
   ·6· · · · · · What I recall saying is is the deputy and the
   ·7· ·inmate, the nurse and the inmate are going to do
   ·8· ·everything possible to try to effectively communicate,
   ·9· ·whether that's through handwriting, whether that's
   10· ·through another person who may happen to speak sign
   11· ·language, a cellmate.· The deputy and the nurse need to
   12· ·determine how serious this is, can this wait until our
   13· ·counselors come in so we can put this individual into
   14· ·contact with an interpreter.
   15· · · ·Q.· ·So they make that decision about how serious
   16· ·something is before getting an interpreter?
   17· · · ·A.· ·Or they call the interpreter if they're
   18· ·available.
   19· · · ·Q.· ·But the first option is generally to write
   20· ·notes, try to communicate some other way, and then
   21· ·decide if sign language interpretation is necessary?
   22· · · ·A.· ·Yeah, and just to -- to gauge on -- on how much
   23· ·communication can occur without an interpreter.· And if
   24· ·an interpreter is needed, then we'll go.· We'll find one
   25· ·and get it for the individual.


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   ·1· ·for an interview at the jail?
   ·2· · · ·A.· ·I'm sorry?
   ·3· · · ·Q.· ·So do you ever have two sign language
   ·4· ·interpreters for an interview at the jail?
   ·5· · · ·A.· ·Again, I -- I don't know.
   ·6· · · ·Q.· ·Reentry services would be the one --
   ·7· · · ·A.· ·Correct.· Yes, sir.
   ·8· · · ·Q.· ·Where do those interactions with the sign
   ·9· ·language interpreter take place?
   10· · · ·A.· ·Under which scenario?
   11· · · ·Q.· ·Let's go through a medical appointment.
   12· · · · · · If sign language interpretation is provided,
   13· ·where does that occur?
   14· · · ·A.· ·It depends on what the medical appointment is
   15· ·because we have all types of medical appointments.
   16· · · ·Q.· ·Well, how about a dental appointment?
   17· · · ·A.· ·So if it's a dental appointment, we actually
   18· ·have a dentist office on our third floor, which is where
   19· ·our -- the bulk of our medical staff work out of.
   20· · · ·Q.· ·And that's where the sign language interpreter
   21· ·would go to the third floor, be in the dental -- the
   22· ·exam room with the person and the dentist?
   23· · · ·A.· ·Potentially there.· They could go up to the
   24· ·housing floor as well, if -- if -- if needed.
   25· · · ·Q.· ·Are you aware of any time where a person was


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   ·1· ·provided sign language interpretation during a dental
   ·2· ·visit?
   ·3· · · ·A.· ·I can't think of one.
   ·4· · · ·Q.· ·Are you aware of any time where a person was
   ·5· ·provided a sign language interpreter for a visit with
   ·6· ·the doctor?
   ·7· · · ·A.· ·I can't think of one, no.
   ·8· · · ·Q.· ·Are you aware of any time where a person was
   ·9· ·provided an in-person sign language interpreter for a
   10· ·classification interview?
   11· · · ·A.· ·No, I don't recall.
   12· · · ·Q.· ·Are you aware of any time where a person was
   13· ·provided a sign language interpreter for an appointment
   14· ·with a mental health clinician?
   15· · · ·A.· ·No, I can't think of one.
   16· · · ·Q.· ·Are you aware of any times where a staff had
   17· ·been disciplined for not providing sign language
   18· ·interpretation to someone?
   19· · · ·A.· ·No.
   20· · · ·Q.· ·So this is Exhibit 6 that was marked yesterday.
   21· · · · · · MR. ANDERSON:· Do you want a copy?
   22· · · · · · MS. PAPPY:· No, that's okay.· I saw them
   23· ·yesterday.
   24· · · · · · MR. ANDERSON:· Did you want a copy?
   25· ·BY MR. ANDERSON:


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   ·1· · · ·Q.· ·So this is the detention services bureau policy
   ·2· ·and procedure entitled "Incarcerated Persons Who are
   ·3· ·Deaf or Hard of Hearing."
   ·4· · · · · · Have you seen this policy before?
   ·5· · · ·A.· ·Yes.
   ·6· · · ·Q.· ·You reviewed it as part of your preparation for
   ·7· ·this deposition?
   ·8· · · ·A.· ·Yes.
   ·9· · · ·Q.· ·And does this policy and procedure, does it --
   10· ·so detention services bureau policies and procedures,
   11· ·does that apply to just sworn staff, or does this also
   12· ·include medical staff?
   13· · · ·A.· ·Both.
   14· · · ·Q.· ·And also contractors working at the jail?
   15· · · ·A.· ·Correct.
   16· · · ·Q.· ·So anyone working at the jail, they have to
   17· ·follow these policies and procedures?
   18· · · ·A.· ·Yes.
   19· · · ·Q.· ·Let's go to the second page.
   20· · · ·A.· ·Okay.
   21· · · ·Q.· ·And that's Subsection 3 there.· It's at the
   22· ·very top titled, "Obtaining sign language interpreting
   23· ·assistance."
   24· · · · · · Have you seen this provision before?
   25· · · ·A.· ·Yes.


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   ·1· · · ·Q.· ·Does this procedure include any requirement
   ·2· ·that the jail provide in-person sign language
   ·3· ·interpretation at booking?
   ·4· · · ·A.· ·I'm sorry.· Repeat that, please.
   ·5· · · ·Q.· ·Does this include any requirement that the
   ·6· ·Central Jail provide sign language interpretation at
   ·7· ·booking?
   ·8· · · ·A.· ·No, and it wouldn't be in a white sheet.
   ·9· · · ·Q.· ·Where would it be?
   10· · · ·A.· ·So if anything specific to -- anything
   11· ·facilities specific would be in a green sheet.
   12· · · ·Q.· ·But there's no green sheet on providing sign
   13· ·language interpretation in-person is there?
   14· · · ·A.· ·If you have a green sheet, I'm -- I'm happy to
   15· ·go over it with you.· I -- I don't know.· I'd have to
   16· ·look at it with you.
   17· · · ·Q.· ·You're the expert for Central Jail; is that
   18· ·right?
   19· · · ·A.· ·Correct.
   20· · · ·Q.· ·Do you know of anyone --
   21· · · ·A.· ·I'm sorry?
   22· · · ·Q.· ·Do you know a green sheet on in-person sign
   23· ·language interpretation?
   24· · · · · · MS. PAPPY:· Objection.· Asked and answered.
   25· · · · · · MS. GRUNFELD:· It wasn't answered.


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   ·1· · · · · · MS. PAPPY:· It was answered.· And only one
   ·2· ·attorney's taking this deposition.
   ·3· ·BY MR. ANDERSON:
   ·4· · · ·Q.· ·We haven't seen a green sheet in sign language
   ·5· ·interpretation.
   ·6· · · · · · Do you know of any other place where a specific
   ·7· ·procedure on Central Jail sign language interpretation
   ·8· ·would be?
   ·9· · · ·A.· ·No.
   10· · · ·Q.· ·So this is probably it?
   11· · · ·A.· ·Well, this is the white sheet.
   12· · · ·Q.· ·Do you have any reason to believable there is
   13· ·any other policy on providing sign language
   14· ·interpretation at Central Jail?
   15· · · ·A.· ·No.
   16· · · ·Q.· ·Does it require sign language interpretation
   17· ·for any interaction with the jail?
   18· · · ·A.· ·Say that again.· I'm sorry.
   19· · · ·Q.· ·So for any particular -- I can -- so is there
   20· ·any category listed here where sign language
   21· ·interpretation is required?
   22· · · ·A.· ·No, I don't see anything in here about sign --
   23· ·specific to sign language and a requirement.
   24· · · ·Q.· ·Yeah, this is the policy here -- the
   25· ·subdivision on sign language interpreting assistance.


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   ·1· · · · · · Have you ever clicked on that link?
   ·2· · · ·A.· ·I don't recall.
   ·3· · · ·Q.· ·Have you ever called the number for
   ·4· ·interpreting services?
   ·5· · · ·A.· ·No.
   ·6· · · ·Q.· ·Do you know who that goes to?
   ·7· · · ·A.· ·No.
   ·8· · · · · · MS. PAPPY:· It's been a little more than an
   ·9· ·hour.· Why don't we take a break.· Five minutes.· Take a
   10· ·break.
   11· · · · · · MR. ANDERSON:· I'll find a stopping point soon.
   12· · · · · · MS. PAPPY:· No, now is good because I need to
   13· ·use the restroom.
   14· · · · · · MR. ANDERSON:· Okay.
   15· · · · · · MS. PAPPY:· I appreciate the courtesy.
   16· · · · · · MR. ANDERSON:· Go off the record.
   17· · · · · · (Recess.)
   18· · · · · · MR. ANDERSON:· Back on the record.
   19· ·BY MR. ANDERSON:
   20· · · ·Q.· ·The orientation video that's shown, what is in
   21· ·that video?
   22· · · ·A.· ·It's pretty all encompassing, from what the
   23· ·different color wristbands that we issue out, what do
   24· ·those mean; how to fill out or how to complete an inmate
   25· ·request; medical appointments; commissary, how they can


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   ·1· ·order things, like, on commissary.
   ·2· · · ·Q.· ·Does it include any information about access to
   ·3· ·sign language interpretation?
   ·4· · · ·A.· ·That, I don't know.
   ·5· · · ·Q.· ·When was the last time you reviewed this video?
   ·6· ·I imagine you've maybe seen portions of it all day,
   ·7· ·correct?
   ·8· · · ·A.· ·I see portions of it all day.· It's a pretty
   ·9· ·lengthy video too.· I believe it's 15, 20 minutes or so.
   10· · · ·Q.· ·Does it have any information in it about access
   11· ·to reasonable accommodations or assistive devices under
   12· ·the ADA?
   13· · · ·A.· ·I don't know how specific the video goes into
   14· ·that topic.
   15· · · ·Q.· ·Does it discuss it at all?
   16· · · ·A.· ·I don't know.· I just -- I know that there's a
   17· ·sign language -- there's an interpreter on the video.
   18· · · ·Q.· ·Is there a place where it's trapped in a
   19· ·person's file or on a jail database about the best way
   20· ·to communicate with them?
   21· · · ·A.· ·Best way to communicate with them?· I don't
   22· ·think that we have something that specific.
   23· · · ·Q.· ·For example, so if, you know, a deputy learns
   24· ·this person is deaf and they communicate via sign
   25· ·language, is that put somewhere so that the next person


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   ·1· ·knows?
   ·2· · · ·A.· ·So in our jail information management system,
   ·3· ·we have various, what we refer to as "flags," which is
   ·4· ·common markers, and anything that specific would be
   ·5· ·listed in -- in that area.
   ·6· · · ·Q.· ·How would it be listed?
   ·7· · · ·A.· ·I believe there is an actual hearing impaired
   ·8· ·marker.
   ·9· · · ·Q.· ·Is there one for sign language interpretation?
   10· · · ·A.· ·I don't believe so.
   11· · · ·Q.· ·Or to know if someone uses a hearing aid?
   12· · · ·A.· ·I don't remember how many additional flags we
   13· ·have.
   14· · · ·Q.· ·The one you remember is hearing deficit --
   15· · · ·A.· ·I believe it's called "hearing impaired."
   16· · · ·Q.· ·Hearing impaired?
   17· · · · · · Is that from a drop-down menu?
   18· · · ·A.· ·It's in a medical instruction in our -- what we
   19· ·call "JIMS," jail information management system.
   20· · · ·Q.· ·So a deputy would go and see the person is --
   21· ·says, "hearing impaired"?· That's the information they
   22· ·would have?
   23· · · ·A.· ·Correct.
   24· · · ·Q.· ·Are you aware of any entries in JIMS saying the
   25· ·person has a hearing aid?


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   ·1· · · ·A.· ·We make entries in JIMS for all types of
   ·2· ·things.
   ·3· · · ·Q.· ·Any flag about a person having a hearing aid?
   ·4· · · · · · Is that a flag -- so is a flag from a
   ·5· ·prepopulated list, or is it someone -- something that
   ·6· ·someone can enter?
   ·7· · · · · · THE REPORTER:· Are you saying a flag?
   ·8· · · · · · MR. ANDERSON:· A flag, yeah.· Sorry.· I have
   ·9· ·a --
   10· · · · · · THE REPORTER:· That's okay.
   11· · · · · · MR. ANDERSON:· -- Midwestern --
   12· · · · · · THE WITNESS:· So our flags that are specific to
   13· ·conditions that you just mentioned are entered by our
   14· ·health staff.
   15· ·BY MR. ANDERSON:
   16· · · ·Q.· ·Do you know if there is a flag for hearing aid?
   17· · · ·A.· ·No, I don't know.· I don't recall.
   18· · · ·Q.· ·What about for reads lips?
   19· · · ·A.· ·I'm not sure.
   20· · · ·Q.· ·Health staff would know?
   21· · · ·A.· ·I believe so.
   22· · · · · · THE REPORTER:· Was that a name you said?
   23· · · · · · MR. ANDERSON:· "Health staff."
   24· ·BY MR. ANDERSON:
   25· · · ·Q.· ·Have you ever seen a flag in JIMS for reads


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   ·1· ·lips?
   ·2· · · ·A.· ·No.
   ·3· · · ·Q.· ·What about for hearing aid?
   ·4· · · ·A.· ·That, I cannot remember.· I'm confident I've
   ·5· ·not seen one for read lips.· Can't remember hearing
   ·6· ·device, though.
   ·7· · · ·Q.· ·What is a mobility disability?
   ·8· · · ·A.· ·I'd have to refer to the specific definition in
   ·9· ·our policy.· That's -- that's my -- my answer.· You have
   10· ·the -- is this the policy in front of me?
   11· · · ·Q.· ·It's not.
   12· · · ·A.· ·It's in here?
   13· · · ·Q.· ·Do you know what policy that would be in?
   14· · · ·A.· ·The top of my head, I think it's referred to as
   15· ·"disabled persons."
   16· · · ·Q.· ·Is that M.39?
   17· · · ·A.· ·Could be.· M would be our medical section.
   18· · · ·Q.· ·If you can go to Exhibit 1, which is the notice
   19· ·of deposition, it also includes a definition of mobility
   20· ·disability in it.· So we can go to page 1.· Under Number
   21· ·1 there, which is the last full definition at the
   22· ·bottom, it says, "The terms 'mobility,' 'disability,'
   23· ·and 'mobility disabilities' mean any mobility
   24· ·impairment --
   25· · · · · · THE REPORTER:· Hold on.· Just a little slower.


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   ·1· ·Just start over, please.
   ·2· · · · · · MR. ANDERSON:· Any mobility impairment -- I'll
   ·3· ·start over.
   ·4· · · · · · THE REPORTER:· Yeah.
   ·5· ·BY MR. ANDERSON:
   ·6· · · ·Q.· ·"The terms, quote, 'mobility disability,' end
   ·7· ·quote, and quote, 'mobility disabilities,' end quote,
   ·8· ·mean any mobility impairment that limits one or more
   ·9· ·major life activities, including limiting the ability to
   10· ·stand, walk, climb stairs or use one's upper
   11· ·extremities."
   12· · · · · · Just in your experience working at the jail,
   13· ·how do you know when someone has a mobility disability?
   14· · · ·A.· ·In my experience, you can see it in our JIMS
   15· ·system, that medical drop-down that I mentioned.
   16· · · ·Q.· ·What does it say in the drop-down?
   17· · · ·A.· ·Hearing impaired.
   18· · · ·Q.· ·Sorry.
   19· · · · · · Specific to mobility, what would it say?
   20· · · ·A.· ·Wheelchair, intermittent wheelchair, or cane.
   21· · · ·Q.· ·Is there also an entry for ADA mobility?
   22· · · ·A.· ·I think there is.
   23· · · ·Q.· ·For walker?
   24· · · ·A.· ·I believe we have one for walker as well.
   25· · · ·Q.· ·Are there people with mobility disabilities at


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   ·1· ·Central Jail?
   ·2· · · ·A.· ·Yes.
   ·3· · · ·Q.· ·Does your policy require them to be housed in
   ·4· ·any certain location?
   ·5· · · ·A.· ·I'd have to see the policy for a question that
   ·6· ·specific.
   ·7· · · ·Q.· ·Is there a policy that you know of for --
   ·8· · · ·A.· ·Well, we have a mobility disability policy.
   ·9· · · ·Q.· ·What's the name of that policy?· I'm not sure
   10· ·I've seen it.
   11· · · ·A.· ·I think it's disabled persons policy, if we're
   12· ·talking about the same one.
   13· · · ·Q.· ·I'm just asking, I think -- I understand it's
   14· ·more broadly about disabilities.
   15· · · · · · But I'm asking about people with mobility
   16· ·disabilities.· Is there any specific policy about where
   17· ·they need to be housed?
   18· · · ·A.· ·The closest one would be our medical matrix,
   19· ·which I believe was in the discovery that was provided
   20· ·to me.
   21· · · ·Q.· ·Is that a policy that custody staff have to
   22· ·follow as well?
   23· · · · · · THE REPORTER:· "Is that a policy that" -- what?
   24· · · · · · MR. ANDERSON:· "That custody staff have to
   25· ·follow as well."


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   ·1· · · · · · THE WITNESS:· Yes.
   ·2· ·BY MR. ANDERSON:
   ·3· · · ·Q.· ·So based on that matrix, where are people with
   ·4· ·wheelchairs housed in Central Jail?
   ·5· · · ·A.· ·Wheelchairs are on the eighth floor.
   ·6· · · ·Q.· ·Only the eighth floor?
   ·7· · · ·A.· ·I think they may have potential to be on other
   ·8· ·housing floors, but my recollection is the bulk of them
   ·9· ·are on the eighth floor.
   10· · · ·Q.· ·Why is that?· Why are they on the eighth floor?
   11· · · ·A.· ·Well, I don't -- I don't know what decision
   12· ·went into -- this been for a while.· I can't tell you
   13· ·the specific reason.· I can just tell you that they are
   14· ·on -- the majority of them are on our eighth floor.
   15· · · ·Q.· ·The majority of the wheelchair users are on the
   16· ·eighth floor?
   17· · · ·A.· ·Correct.
   18· · · ·Q.· ·And you don't know why specifically?
   19· · · ·A.· ·No, but I can tell you the difference between
   20· ·eighth floor and the seventh floor, is the eighth floor
   21· ·is more dormitory-style housing, which gives us more
   22· ·ability to have lower bunks to accommodate them better.
   23· · · ·Q.· ·But there are triple bunks on the eighth floor;
   24· ·is that right?
   25· · · ·A.· ·Yes.


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   ·1· · · ·Q.· ·And most people -- so most people in
   ·2· ·wheelchairs are on the eighth floor.
   ·3· · · · · · Are they in one specific unit, one specific
   ·4· ·dorm on the eighth floor?
   ·5· · · ·A.· ·They're predominantly in 8C and 8D.
   ·6· · · ·Q.· ·Why are those two not in 8A and 8B?
   ·7· · · ·A.· ·8A and 8B is where our worker -- facility
   ·8· ·workers are housed.
   ·9· · · ·Q.· ·Can people in wheelchairs be facility workers?
   10· · · ·A.· ·I don't know whether that is part of the
   11· ·factor.· What I do know is that in order to become a
   12· ·worker, you have to have an additional health
   13· ·assessment.· And it's our healthcare staff that
   14· ·determine if they can -- in conjunction with the
   15· ·security clearance become a worker.
   16· · · ·Q.· ·Have you seen a person in a wheelchair in 8A?
   17· · · ·A.· ·No.
   18· · · ·Q.· ·What about in 8B?
   19· · · ·A.· ·No.
   20· · · ·Q.· ·And you've worked at Central Jail off and on
   21· ·but for five years at the beginning of your career,
   22· ·since then for about eight months?
   23· · · ·A.· ·Correct.
   24· · · ·Q.· ·And so I think you said that some people -- so
   25· ·most people in wheelchairs are on the eighth floor.


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   ·1· ·of assisting those in a wheelchair who need a shower and
   ·2· ·can only shower while sitting, and that is used to move
   ·3· ·in.
   ·4· · · · · · But I don't know of anything specific to the
   ·5· ·toilets though, but we do have grab bars.
   ·6· · · ·Q.· ·In all toilets?
   ·7· · · ·A.· ·Not on all toilets.
   ·8· · · ·Q.· ·Do you know how many wheelchair cells you have
   ·9· ·per classification?
   10· · · ·A.· ·No.
   11· · · ·Q.· ·The seventh floor, is that protective custody
   12· ·at Central Jail?
   13· · · ·A.· ·There is a protective custody element in one of
   14· ·our modules in the seventh floor.
   15· · · ·Q.· ·When you say, "element," I wouldn't delve too
   16· ·far.· I'm just trying to understand how people are
   17· ·dispersed throughout the facility.
   18· · · ·A.· ·Yeah.· So we have a module, I cannot recall
   19· ·which specific module on that floor that is protective
   20· ·custody, but I don't believe every single module on that
   21· ·floor is protective custody.
   22· · · ·Q.· ·Have you had any times where you have too many
   23· ·people who use wheelchairs in a given classification --
   24· ·if you have more than one person who uses a wheelchair
   25· ·in a given module; does that happen?


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   ·1· · · ·A.· ·I'm sure it has.
   ·2· · · ·Q.· ·Currently is there anyone in a wheelchair?· Are
   ·3· ·there more than -- is there more than one person in a
   ·4· ·wheelchair in a given module at Central Jail?
   ·5· · · ·A.· ·What module are you referring to?
   ·6· · · ·Q.· ·In a cell module.
   ·7· · · ·A.· ·I don't know.· I don't have current numbers in
   ·8· ·front of me.
   ·9· · · ·Q.· ·Show you Exhibit 5.
   10· · · · · · MR. ANDERSON:· And this is the confidential
   11· ·document yesterday --
   12· · · · · · MS. PAPPY:· Yeah, let's do the same thing.· If
   13· ·he says something that is confidential, but I don't
   14· ·think it's going to be.
   15· · · · · · MR. ANDERSON:· I agree.· I wanted to defer to
   16· ·you.
   17· · · · · · MS. PAPPY:· Yeah, yeah.· Thank you for that.
   18· · · · · · So, Madam Court Reporter, what we did yesterday
   19· ·was we designated the document as it's confidential and
   20· ·it needs to be segregated from the rest, but not the
   21· ·testimony, unless we tell you afterwards, after he's
   22· ·done testifying about this document.
   23· ·BY MR. ANDERSON:
   24· · · ·Q.· ·I'll represent this is a roster obviously with
   25· ·names and booking numbers redacted of people at Central


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   ·1· · · ·A.· ·Yes.
   ·2· · · ·Q.· ·And 7A is a cell module at Central Jail?
   ·3· · · ·A.· ·Correct.
   ·4· · · ·Q.· ·And, like you said, there's one cell there
   ·5· ·that's designated for people in wheelchairs?
   ·6· · · ·A.· ·Correct.
   ·7· · · ·Q.· ·So going to the ADA flags on the right column,
   ·8· ·there's the person in Cell 2 who has a wheelchair; is
   ·9· ·that right?
   10· · · ·A.· ·Yeah.
   11· · · ·Q.· ·And Cell 3?
   12· · · ·A.· ·(Nodding.)
   13· · · ·Q.· ·And Cell 4?
   14· · · ·A.· ·Correct.
   15· · · ·Q.· ·And Cell 5 and Cell 6?
   16· · · ·A.· ·Uh-huh.
   17· · · ·Q.· ·And Cell 8; is that right?
   18· · · ·A.· ·Yes.
   19· · · ·Q.· ·And Cell 10?
   20· · · · · · And 10 is the one that is designated wheelchair
   21· ·accessible?
   22· · · ·A.· ·Correct.
   23· · · ·Q.· ·So you have, by my count, six people who are
   24· ·housed -- who have wheelchairs who are housed not in the
   25· ·ADA designated cells; is that right?


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   ·1· · · ·A.· ·Correct.
   ·2· · · ·Q.· ·Do you know why that is?
   ·3· · · ·A.· ·Well, we have one cell.· We have more than one
   ·4· ·person -- only three people total can go in that cell,
   ·5· ·and only one that would require a lower bunk.
   ·6· · · ·Q.· ·So why would they not be moved to a different
   ·7· ·unit if there's a wheelchair-accessible cell open?
   ·8· · · ·A.· ·Well, we would -- we have them in a -- we would
   ·9· ·put them in a lower bunk or a lower tier.
   10· · · ·Q.· ·How often does it happen that you have more
   11· ·wheelchair users in a given module than you have a
   12· ·wheelchair bed available?
   13· · · ·A.· ·Honestly, I couldn't give you an answer.
   14· ·Our -- our population is to transitory and it -- it
   15· ·fluctuates minute by minute, day by day.· I don't know.
   16· · · ·Q.· ·Do you have any idea how long any of these
   17· ·people have been housed in these cells?
   18· · · ·A.· ·No.
   19· · · ·Q.· ·And then going down a little bit to 7D.
   20· · · ·A.· ·Yeah.
   21· · · ·Q.· ·You see -- going over to Cell 8, and then the
   22· ·far right column is a person in a wheelchair in Cell 8.
   23· · · ·A.· ·Uh-huh.
   24· · · ·Q.· ·A person in Cell 9 and a person in Cell 10.
   25· · · · · · So the people in Cell 8 and Cell 9 are not in


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   ·1· ·the wheelchair-designated cell, are they?
   ·2· · · ·A.· ·Correct.
   ·3· · · ·Q.· ·Just the person in Cell 10 is?
   ·4· · · ·A.· ·Yes.
   ·5· · · ·Q.· ·Has there been any plans to try to add more
   ·6· ·wheelchair-accessible cells?
   ·7· · · ·A.· ·Yes.
   ·8· · · ·Q.· ·What are those plans?
   ·9· · · ·A.· ·Well, I've not seen blueprints, but I know in
   10· ·discussions, we know we want to add more
   11· ·wheelchair-accessible cells.
   12· · · ·Q.· ·At Central Jail?
   13· · · ·A.· ·Yes.
   14· · · ·Q.· ·Any written plan to do that?
   15· · · ·A.· ·I don't know if one currently exists, but there
   16· ·will be one, ultimately.· I couldn't give you a time
   17· ·frame on that because I'm not part of that.
   18· · · ·Q.· ·You've had discussions about the plans, though?
   19· · · ·A.· ·Oh, yeah.· Oh, yeah.
   20· · · ·Q.· ·Do you know what specific are -- where those
   21· ·cells will be added?
   22· · · ·A.· ·No.
   23· · · ·Q.· ·Any timeline on when those will happen?
   24· · · ·A.· ·I couldn't -- I couldn't give you a timeline.
   25· · · ·Q.· ·Who is responsible for that project?


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   ·1· ·walkers, or wheelchairs can be housed on the upper tier?
   ·2· · · ·A.· ·What I can tell you is, I agree with Section A,
   ·3· ·the way it reads.
   ·4· · · ·Q.· ·Like, what do you mean, "the way it reads"?
   ·5· ·Why do you phrase it --
   ·6· · · ·A.· ·I don't understand what your question -- I -- I
   ·7· ·understand what the policy says, but I'm not too clear
   ·8· ·on what you're asking me.
   ·9· · · ·Q.· ·We can step back for a moment.
   10· · · · · · So most of the cell units at the jail, Central
   11· ·Jail, include bunks, right?
   12· · · ·A.· ·Yes.
   13· · · ·Q.· ·So on the fourth floor, is triple bunks?
   14· · · ·A.· ·Yes.
   15· · · ·Q.· ·The fifth floor, triple bunks?
   16· · · ·A.· ·Yes.
   17· · · ·Q.· ·The six floor, single bunks or double bunks?
   18· · · ·A.· ·Correct.
   19· · · ·Q.· ·Seventh floor, double bunks?
   20· · · ·A.· ·Yes.
   21· · · ·Q.· ·And then the eighth floor, triple bunks?
   22· · · ·A.· ·Yes.
   23· · · ·Q.· ·So I think you were describing earlier that
   24· ·health staff make this decision about whether a person
   25· ·should be assigned lower bunk or lower tier, right?


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   ·1· · · ·A.· ·Yes.
   ·2· · · ·Q.· ·And lower tier, that refers to how a unit has a
   ·3· ·bottom floor, and then someone goes up the steps to a
   ·4· ·second floor; is that right?
   ·5· · · ·A.· ·Yes.
   ·6· · · ·Q.· ·So this is the procedure that medical staff are
   ·7· ·applying to determine whether someone should be
   ·8· ·designated lower bunk or lower tier; is that right?
   ·9· · · ·A.· ·Yes.
   10· · · ·Q.· ·So do you see where it says, under 2,
   11· ·notification and documentation, then A1?
   12· · · · · · It says, "Enter reason for recommending lower
   13· ·bunk, lower tier in the comment field."
   14· · · · · · Do you know why it says "recommending" versus
   15· ·requiring?
   16· · · ·A.· ·So our nursing staff will be the ones
   17· ·recommending, but it's our doctors that make the
   18· ·ultimate decision.
   19· · · ·Q.· ·So a nurse will enter into JIMS -- this says,
   20· ·"Adding the patient flag in the health record."
   21· · · · · · And the nurse enters the patient flag, and a
   22· ·doctor then reviews that?
   23· · · ·A.· ·Yes.
   24· · · ·Q.· ·How do you know?· Is that in the policy?
   25· · · ·A.· ·I talk to our health staff all the time.


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   ·1· · · ·Q.· ·When it -- sorry.
   ·2· · · ·A.· ·Providers -- it's our providers, i.e., our
   ·3· ·doctors and our nurse practitioners, that make the
   ·4· ·ultimate decision as to whether someone's going to have
   ·5· ·a lower bunk or a lower tier flag added.
   ·6· · · ·Q.· ·Have you ever talked to them about the factors
   ·7· ·that they use to determine if someone should be in a
   ·8· ·lower bunk or lower tier?
   ·9· · · ·A.· ·Yes.
   10· · · ·Q.· ·What are those factors that they've told you?
   11· · · ·A.· ·Well, predominantly case by case.· Wheelchair
   12· ·would be one.· I can't -- I am unsure if wheelchair by
   13· ·itself, because we have two categories of wheelchair,
   14· ·intermittent and wheelchair.· So I don't know if -- how
   15· ·much of a factor that goes into that decision, but
   16· ·ultimately, it's our doctors.
   17· · · ·Q.· ·And so when a nurse -- is this procedure here
   18· ·referring to what nurses must do or to all health staff?
   19· · · ·A.· ·Well, it's all health staff.· No sworn staff
   20· ·member, myself included, is going to intervene on this
   21· ·policy and dictate whether somebody needs a lower bunk
   22· ·or lower tier; so it's recommended to our doctors.
   23· · · ·Q.· ·Okay.· I just don't see -- so the way I
   24· ·understand this -- and you can tell me what I'm missing
   25· ·in this procedure -- is it says, "Adding patient flag


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   ·1· ·should include the following, and then notify the
   ·2· ·corresponding housing deputies of the restriction."
   ·3· · · · · · I don't see any two-step process described
   ·4· ·there where a nurse makes a recommendation and a doctor
   ·5· ·then reviews that recommendation.
   ·6· · · · · · MS. PAPPY:· The question -- you're saying --
   ·7· ·the question is, you don't see it?
   ·8· · · · · · MR. ANDERSON:· Yeah.
   ·9· · · · · · MS. PAPPY:· Hang on.· Objection.· Vague and
   10· ·ambiguous.· The document speaks for itself.· Whether you
   11· ·see it or not is speculation.
   12· · · · · · Go ahead.· Do you need the question read back?
   13· · · · · · THE WITNESS:· I don't -- I'm happy to answer --
   14· · · · · · MS. PAPPY:· Okay.
   15· · · · · · THE WITNESS:· -- your question, if you rephrase
   16· ·it.
   17· ·BY MR. ANDERSON:
   18· · · ·Q.· ·This doesn't include any description of a
   19· ·two-step process where a nurse enters a recommendation
   20· ·and then a doctor reviews that, does it?
   21· · · · · · MS. PAPPY:· Objection.· Document speaks for
   22· ·itself.
   23· ·BY MR. ANDERSON:
   24· · · ·Q.· ·You can answer.
   25· · · ·A.· ·I don't see the word "doctor" in this document.


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   ·1· · · ·Q.· ·How do you know that when a nurse enters the
   ·2· ·restriction that a doctor reviews it?
   ·3· · · ·A.· ·Well, for one, active withdrawal of treatment.
   ·4· ·Let me give you an example of active withdrawal of
   ·5· ·treatment.· People are going to come into our custody
   ·6· ·with various stages of withdrawal.· Nurses, by default,
   ·7· ·are going to recommend lower bunk, lower tier, but that
   ·8· ·is outside the purview of their expertise, and that is
   ·9· ·why we have a doctor or nurse practitioner overseeing it
   10· ·and making the final determination on time limited
   11· ·that's going to be determined on a doctor, all of these
   12· ·decisions ultimately get made.· The final say is going
   13· ·to be on our doctors.
   14· · · ·Q.· ·Is there any deadline once the nurse makes a
   15· ·recommendation for a doctor to confirm or agree with it?
   16· · · ·A.· ·I -- I don't know of a specific deadline.
   17· · · ·Q.· ·Do you know how often -- how long it takes on
   18· ·average?
   19· · · ·A.· ·No.
   20· · · ·Q.· ·You just know that a doctor reviews every
   21· ·single recommended housing restriction put in by a
   22· ·nurse?
   23· · · ·A.· ·Yes.
   24· · · ·Q.· ·And when a doctor says "yes" or "no," does that
   25· ·create an entry in JIMS?


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   ·1· · · ·A.· ·Well, the only entry would be whether or not
   ·2· ·that lower bunk, lower tier restriction is -- goes into
   ·3· ·JIMS.
   ·4· · · ·Q.· ·So someone adds a patient flag in the health
   ·5· ·record.· Would that be the nurse?
   ·6· · · ·A.· ·Yes.
   ·7· · · ·Q.· ·And then the doctor either goes in there and
   ·8· ·deletes it or leaves it?
   ·9· · · ·A.· ·Yes, and they chart.· And that's all done
   10· ·during -- through Tech Care.
   11· · · ·Q.· ·Which is the medical records system?
   12· · · ·A.· ·Correct.
   13· · · ·Q.· ·So this says that an incarcerated person -- I
   14· ·can direct you to it rather than telling you what it
   15· ·says.· 3B, that quote, "Inmates shall accept bunk
   16· ·assignments as directed by staff," and then it goes on
   17· ·to say, "They could be subject to disciplinary action."
   18· · · · · · How often are incarcerated people disciplined
   19· ·for not accepting their bunk assignment?
   20· · · ·A.· ·Well, we write rule violation reports daily.
   21· ·Daily.· And this is -- kind of ties into that scenario I
   22· ·was talking to you about earlier is where we'll tell
   23· ·individuals where they need to house, and some don't
   24· ·want to house there.· And we have -- we have to enforce
   25· ·that to make room for the folks that truly need it.


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   ·1· · · ·Q.· ·So rule violation report would document if --
   ·2· ·to try to go back to the example you gave earlier of a
   ·3· ·person who's assigned a middle bunk in the computer, but
   ·4· ·they're sleeping somewhere else, would they be written
   ·5· ·up for that?
   ·6· · · · · · MS. PAPPY:· Objection.· Mischaracterizes his
   ·7· ·earlier testimony.
   ·8· ·BY MR. ANDERSON:
   ·9· · · ·Q.· ·You can answer.
   10· · · ·A.· ·Well, deputies have the responsibility and
   11· ·ability to enforce rules in the facility.· And the rule
   12· ·violation report is the method in which we hold inmates
   13· ·accountable for violating rules.
   14· · · ·Q.· ·Are you aware of any rule violation reports
   15· ·people have received for not moving from a bunk?
   16· · · ·A.· ·Over the course of my career, several.
   17· · · ·Q.· ·Where in this policy does it require a
   18· ·wheelchair user to be housed in a lower bunk?
   19· · · · · · MS. PAPPY:· Objection.· Document speaks for
   20· ·itself.
   21· ·BY MR. ANDERSON:
   22· · · ·Q.· ·You can answer.
   23· · · ·A.· ·Lower bunk?
   24· · · ·Q.· ·Yes.
   25· · · ·A.· ·I don't think I see the words "lower bunk" in


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   ·1· ·here.
   ·2· · · ·Q.· ·Under 1C, it says, "Patients with the following
   ·3· ·conditions must be placed in a lower bunk, in a lower
   ·4· ·tier"; is that right?
   ·5· · · ·A.· ·Yup.
   ·6· · · ·Q.· ·Wheelchair listed below there?
   ·7· · · ·A.· ·No.
   ·8· · · ·Q.· ·Crutches?
   ·9· · · ·A.· ·No.
   10· · · ·Q.· ·Cane?
   11· · · ·A.· ·No.
   12· · · ·Q.· ·Where in this policy does it require a person
   13· ·using a wheelchair to be housed on a lower tier?
   14· · · · · · MS. PAPPY:· Objection.· The document speaks for
   15· ·itself.
   16· · · · · · Go ahead.
   17· · · · · · THE WITNESS:· I don't see anything about lower
   18· ·tier in the document.
   19· · · · · · MR. ANDERSON:· Introduce this as Exhibit
   20· ·No. 11.
   21· · · · · · THE WITNESS:· I just wanted to clarify.
   22· · · · · · So to go back, you had asked about whether or
   23· ·not there's a doctor in here.· It says right here in the
   24· ·third sentence, "To emphasis that a qualified health
   25· ·provider's order for lower bunk and/or lower tier


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   ·1· · · ·A.· ·Well, just the fact that I have only a limited
   ·2· ·amount of cells versus day room.· I cannot create a day
   ·3· ·room, like replicate 8C and 8D downstairs.· I -- I don't
   ·4· ·have that ability; so that is a -- that is a limitation.
   ·5· · · ·Q.· ·And what are some things you're trying to do in
   ·6· ·the interim given that you can't convert a housing cell
   ·7· ·module to a dorm?
   ·8· · · ·A.· ·Well, the first things we did was we recognized
   ·9· ·we could definitely make some small improvements to make
   10· ·the mail and the grievances more accessible to folks
   11· ·that are in a wheelchair, which we've done.
   12· · · · · · We're also in the process of doing some
   13· ·retrofits down on the first and second floor to make
   14· ·some of those cells ADA complaint, specifically for
   15· ·wheelchairs.· And I'm sure we'll have more specific
   16· ·plans here in the near future.
   17· · · ·Q.· ·On the first and second floor, are those
   18· ·retrofits in progress now?
   19· · · ·A.· ·Yes.
   20· · · ·Q.· ·There's construction happening?
   21· · · ·A.· ·Well, I don't know if there's physically people
   22· ·in the building right now doing construction, but
   23· ·physical ordering of supplies and planning is in
   24· ·progress.
   25· · · ·Q.· ·And any plans to retrofit other units in the


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   ·1· ·mobility disabilities?
   ·2· · · ·A.· ·I'm unaware of those situations.
   ·3· · · ·Q.· ·So you were aware of some people slipping and
   ·4· ·falling.
   ·5· · · · · · How's that presented to you?
   ·6· · · ·A.· ·Well, again, it depends on the situation.· So
   ·7· ·if I received a notification for everyone that slipped
   ·8· ·and fall, I would never get off the phone.· It depends
   ·9· ·on the severity of the slip and fall.· It depends on the
   10· ·circumstances.· And really, the criteria is to what
   11· ·injury this person received will prompt the phone call
   12· ·to me.
   13· · · ·Q.· ·What information would you learn in that phone
   14· ·call?
   15· · · ·A.· ·Well, I would hope to learn what happened.                       I
   16· ·mean, whether or not the inmate is okay.
   17· · · ·Q.· ·Are you only notified about serious injuries?
   18· · · ·A.· ·I have a specific protocol that I require of my
   19· ·lieutenants on what I get notified on.· Serious injury
   20· ·is -- is one of them.
   21· · · ·Q.· ·Will they get notified of lower than serious
   22· ·injuries?
   23· · · ·A.· ·Who's "they"?
   24· · · ·Q.· ·The lieutenant.
   25· · · · · · And they choose to escalate only serious


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   ·1· · · · · · I'm just asking, so if a person in a
   ·2· ·wheelchair, they have a -- you said that people in 8C
   ·3· ·have detox or a medical condition that leads to them
   ·4· ·being placed there.
   ·5· · · · · · Is there a medical condition that would -- say
   ·6· ·all things being equal, this person is in a wheelchair,
   ·7· ·they're going to be in 8C over 5C; is that the case?
   ·8· · · ·A.· ·I don't -- it's not so simple because people
   ·9· ·are not simple and people present in a very different
   10· ·way, and a lot of factors go into determining whether or
   11· ·not they're going to be on the fifth floor or the eighth
   12· ·floor.
   13· · · · · · MR. ANDERSON:· Mark this as Exhibit 13.
   14· · · · · · (Exhibit 13 was marked for
   15· · · · · · identification.)
   16· ·BY MR. ANDERSON:
   17· · · ·Q.· ·Captain Bibel, this is a Medical Services
   18· ·Division Nursing Guideline that was produced to us in
   19· ·this litigation.· It's -- the subject is "COVID-19
   20· ·interim emergency classification matrix for medical and
   21· ·psychiatric housing."
   22· · · · · · Is this the --
   23· · · · · · THE REPORTER:· "For medical" --
   24· · · · · · MR. ANDERSON:· -- "and psychiatric housing."
   25· ·BY MR. ANDERSON:


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   ·1· · · ·Q.· ·You referred earlier to a medical matrix for
   ·2· ·housing people at Central Jail; is that right?
   ·3· · · ·A.· ·Yes.
   ·4· · · ·Q.· ·Is this the matrix you were talking about?
   ·5· · · ·A.· ·Yes.
   ·6· · · ·Q.· ·Is this only in effect because of COVID, or is
   ·7· ·this a permanent matrix?
   ·8· · · ·A.· ·It's -- this is our matrix.· I think we had to
   ·9· ·make some modifications during our three years in COVID,
   10· ·but this is our matrix.
   11· · · ·Q.· ·So there's -- there was a matrix at some point,
   12· ·and then it was modified for COVID.
   13· · · · · · And this is the current version of the matrix?
   14· · · ·A.· ·Correct.
   15· · · ·Q.· ·Going about five rows down under the
   16· ·"Description" column, there's a reference to, quote,
   17· ·"handicapped."
   18· · · · · · Do you see that?
   19· · · ·A.· ·Yes.
   20· · · ·Q.· ·What does that mean?
   21· · · ·A.· ·What does what mean?· "Handicapped"?
   22· · · ·Q.· ·Yeah.· What does -- what does that mean to you?
   23· · · ·A.· ·What is the definition of "handicapped"?
   24· · · ·Q.· ·How do you understand handicapped to affect
   25· ·where someone is housed?


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   ·1· · · ·A.· ·Yes.
   ·2· · · · · · THE REPORTER:· When it's a good time, if I
   ·3· ·could use the restroom.
   ·4· · · · · · MR. ANDERSON:· I think now is good actually.
   ·5· · · · · · Let's go off the record.
   ·6· · · · · · (Recess.)
   ·7· · · · · · MR. ANDERSON:· Let's go back on the record.
   ·8· ·BY MR. ANDERSON:
   ·9· · · ·Q.· ·Captain Bibel, does the sheriff's department
   10· ·have an ADA transition plan?
   11· · · ·A.· ·I don't know.
   12· · · ·Q.· ·Do you know what an ADA transition plan is?
   13· · · ·A.· ·Not specifically, no.
   14· · · ·Q.· ·"Yes" or "no," do you know generally what it
   15· ·means?
   16· · · ·A.· ·No.
   17· · · ·Q.· ·Does the sheriff's department have ADA specific
   18· ·staff who you work with?
   19· · · ·A.· ·ADA specific staff?
   20· · · ·Q.· ·Is there an ADA supervisor for the jail system?
   21· · · ·A.· ·In the sheriff's department?
   22· · · ·Q.· ·Yeah.
   23· · · ·A.· ·Let me back up.· What -- what do you mean
   24· ·staff?· Like --
   25· · · ·Q.· ·Is there a person with the title "ADA


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   ·1· ·supervisor" that you interacted with?
   ·2· · · ·A.· ·No.
   ·3· · · ·Q.· ·If you have a question about the ADA, do you go
   ·4· ·to medical staff, or is there any ADA department at the
   ·5· ·sheriff's department that you go to?
   ·6· · · ·A.· ·If I had a question about ADA, I would consult
   ·7· ·our health staff.
   ·8· · · ·Q.· ·Are you aware of any ADA department within the
   ·9· ·sheriff's department?
   10· · · ·A.· ·Not currently, no.
   11· · · ·Q.· ·So for people who are in the trustee program,
   12· ·they had, it looks like, vending machines, is that
   13· ·right, in their housing unit?
   14· · · ·A.· ·Yes.
   15· · · ·Q.· ·And one of them had a pool table; is that
   16· ·right?
   17· · · ·A.· ·Yes.
   18· · · ·Q.· ·Do people who are trustees get paid for being
   19· ·trustees?
   20· · · ·A.· ·Yes.
   21· · · ·Q.· ·How much?
   22· · · · · · MS. PAPPY:· Wait.· Hold on.
   23· · · · · · I'm going to object.· I'm going to instruct not
   24· ·to answer.
   25· · · · · · What does this have to do with mobility --


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   ·1· · · · · · · · · ·REPORTER'S CERTIFICATION
   ·2
   ·3· · · · I, Claire Andrews, CLR, a Certified Shorthand
   ·4· ·Reporter in and for the State of California, do hereby
   ·5· ·certify:
   ·6
   ·7· · · · That the foregoing witness was by me duly sworn;
   ·8· ·that the deposition was then taken before me at the time
   ·9· ·and place herein set forth; that the testimony and
   10· ·proceedings were reported stenographically by me and
   11· ·later transcribed into typewriting under my direction;
   12· ·that the foregoing is a true record of the testimony and
   13· ·proceedings taken at that time.
   14
   15· · · · IN WITNESS WHEREOF, I have subscribed my name this
   16· ·22nd day of March, 2023.
   17
   18
   19· · · · · · · · · · · · ·_______________________________
   20· · · · · · · · · · · · ·Claire Andrews, CLR,
   21· · · · · · · · · · · · ·CSR No. 13509
   22
   23
   24
   25


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                      Santa Clara County Mobility Disability Remedial Plan

     I.       TERMINOLOGY AND DEFINITIONS
                                                                                                  is
     The terms and definitions set forlh in the Consent Decrce, to which this RemedialPlan
                                                                                           the
     attached and into which this Rcmedial Plan is incorporated by refetence, also control
     terms and definitions set forth in this Remedial Plan'

     II.      INTAKE PROCESS
              A.    In a reasonably confidential setting, the County shall inquire during intake              500
                    whether an inmate has a Mobility Disability using an agreed-upon
                    screening tool.

              B.    The intake screening shali be conducied by a licensed registered nurse ot, at             501
                    the County's discretion, a Medical Provider'

               C.    During the intake screening, the County shall begin the verif,tcation proccss
                     of whether an inmate has a Mobility Disability, as outlined in Seotion III,
                     .+.
                     tr.

                     i.        The inmate self-reports a Mobility Disability;                                 502

                     2.        The inmate's Healthlink or ADA Tracking System record contains
                               documentation of a Mobility Disability; or

                     3.        The screening tool indicates that the inmate nright havc a Mobility
                               DisabilitY.

               D.    If the intake process outlined in Section II.C, above, indicates that an
                     inrnate mighi have a Mobility Disability, the County shall utilize the
                     agreed-upon screening tool to determine what type of reasonable                          s03
                     mldifications are necessaly and available (e.g., changes to housing, lower
                     bunk/lower tier) and shall provide such reasonablc modifications while the
                     inmate awaits verification pursuant to Section III'

               E.    Issuance and Relention of Mobility Devices at Intake

                      L        The County will issuc a Standard Mobility Device promptly, but in
                           .   any case no latcr than the timelines contained in Section IV, to any
                               inmatc who is deterrnined to possibly need a Mobility Device                   504
                               pursuant to Section ILD, subject to later verification pursuant to
                               Section III, unless a Captain or Watch Commander determines and
                               documents based on a Safety-security Assessment, that an inmate's
                               possession of a Mobility Device constitutes an immediate risk of

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                       bodily harm to inmates or staff, or threatens the security of the
                       facility. If providing an alternative Mobility Device would mitigate
                       the risk, the Captain or Watch Commander shall direct that the
                       inmate be provided with the designated altemative.

                 2.    The County acknowledgcs its obligations to comply with California                 505
                       Penal Code section2656 pertaining to retention of orthopedio and
                       prosthetic appliances.

                 3.    Subject to Sections II.E.1 & ll.E.2, inmates will be permitted to keep
                       their Personal Mobility Device(s) during the intake process until the
                       county issues a standard or Generic (if available) Mobility Device,
                       unless a captain or watch commander determines and documcnts,
                       based on a Safety-Sccurity Assessment, that the Mobility Dcvice                   506
                       constitutes an immediate risk of bodily harm to inmates or staff, or
                       threatens the security of the facility. If providing an alternative
                       Mobility Device would mitigate the risk, the Captain or Watch
                       Commander shall direct that the inmate be provided with the
                        designated alternative.

           F     If an inmate arrives at the Jail with a Personal Mobility Device that is
                 exchanged for a County-owned Mobility Device, the County shall store the
                 Personal Mobility Device at the Jail at no cost to the inmate for return upon           507
                 release andlor transfer from the Jail to another facility. Altematively, the
                 inmate may alrange for pick-up of the Mobility Device. The County will
                 not store a Personal Mobility Device for more than ninety (90) days after an
                 inmate has been released or transferred.

           G     The County shall advise inmates of the results of the intake screening and
                 notify the inmate of the right to request a physical examination by a
                 Medical Provider to the extent the inrnate disagrees with the results and/or            s08
                 reasonable modifications provided. The County shall further notify inmates
                 of the right to request use of a Personal Mobility Device consistent with
                 Section IV below.

           H.    The results of the intake screening shall be documented and promptly                    s09
                 inputted into the County's ADA Tracking System.

           I     As part of the intake process, all inmates shall be informed of the process
                 by which they can request a reasonable modification while in custody,
                                                                                                          s10
                 including the types of issues that can be reviewed by the county Jails'
                 ADA Unit on an expedited basis.


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     III.   VERIFICATION OF AN II[I\{ATE'S MOBILITY DISABILITY AND NEEI)
            FOR REASONABLE MODIFICATIONS

            A.   The County's policy is to issue County owned Mobility Devices in all
                 instances unless: (a) an inmate's Personal Mobility Device is the only                   511
                 reasonable modification for the inmate's Mobility Disability; or (b) the
                 nature of the inmate's Personal Mobility Device would pose particular
                 difficulty and/or harm to the inmate to remove, and/or removal is otherwise
                 unnecessary due to tlie origin or nature of the device (i.e., a hospital-issued
                 sling or brace).

            B.   An inmatc may makc a rcquest to the ADA Unit to be able to continue to
                 use his/her Personal Mobility Device. The ADA Unit and/or Medical                        512
                 Provider (where necessar,v) will evaluate the request based on an
                 individualized assessment as outlined in Sections III.D and IILE.

            C.   An inmate's Personal Mobility Devicc may be retained by the County for a
                 short period of time sufficient to inspect the device for bontraband. IIr most           513
                 cases thc inspection should occur promptly, but in rare cases the inspection
                 may takc longer, in which case it shall be completed within 14 days.

            D.   ADA Unit's ResPonsibilities

                 1.     The County's ADA Unit shall review whether an inmate has a
                        Mobility Disability and/or what reasonable modification(s) are
                        necessary for the inmate within 7 calendar days under the following
                        circurnstances:                                                                   5t4

                        a.      An inmate is designated during the intake screening as
                                possibly having a Mobility Disability and/or the need for a
                                reasonable modifi cation;

                        b.      An inmate makes a request to the ADA Unit, including
                                                                                                          515
                                through an ADA Request or ADA-related grievance as
                                outlined in Section XIII, for evaluation of a Mobility
                                Disability and/or the need for a reasonable modification; or

                         c.     The inmate is referred by staff to the ADA Unit for evaluation             516
                                of a Mobility Disability and/or the need for a reasonable
                                modification.

                  2      The ADA Unit shall document a Mobility Disability and/or what
                                                                                                          517
                         reasonable modification(s) are necessary in the ADA Tracking
                         System.

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                       a.     If the ADA Unit determines that an inmate requires a
                                                                                                         518
                              Mobility Device, the County shall issue it consistent with
                              Section IV.D.1, and the ADA Unit will issue to the inmate
                              appropriate documentation authorizing possession of a
                              Mobility Device.

                       b      If the ADA Unit determines that an inmate requires a
                              leasonable modification related to their housing assignment
                              (e.g., ADA Accessible cell, grab bars, dining areas, showers,              5t9
                              path of travel, lower bunk, lower tier and/or a housing
                              reassignment in order to access work, educational or other
                              programs), the inmate shall receive the reasonable
                              modification within 24 hours.

                J      If the ADA Unit determines that an inmate's Mobility Disability
                                                                                                         s20
                      requires evaluation from a Medical Provider, the ADA Unit shall
                      offer an inmate a reasonable rnodification on a temporary basis
                      pending a medical appointment, which shall occur within 30 days.

                4.     The Parties agree that not all Mobility Disabilities and/or reasonable
                       modifications will require an appointrnent with a Medical Provider
                       to verify the Mobility Disability and/or the need for a reasonable                521
                       modification. Further, an inmate's Mobility Disability and/or need
                       for a reasonable modification could change over time and will be
                       addressed based on an inmate's current status.

          E.    MedicalProvider'sResponsibilities

                 1     If the ADA Unit refers an inmate for evaluation pursuant to Section
                       III.D.3, or if an inmate or Medical Provider first identifies a Mobility
                       Disability at a medical encounter where the Medical Provider is able              522
                       to assess the Mobility Disability, the Medical Provider shall verify
                       whether the inmate has a Mobility Disability and/or determine what
                       reasonable modification(s) are necessary for the inmate unless such a
                       determination requires a specialist-medical appointment.

                       a.     If the Medical Provider determines that an inmate requires a
                              Mobility Device, the County shall issue it consistent with                 523
                              Section IV,D.1, and the County will issue to the inmate
                              appropriate documentation authorizing possession of a
                              Mobility Device

                       b.     If the Medical Provider deterinines that an inmate requires a              524
                              reasonable modification related to their housing assignment

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                                (e.g., ADA Accessible cell, grab bars, dining aleas, showers,
                                path of travel, lower bunk, lower tier and/or a housing
                                reassignment in order to access work, educational or other
                                programs), the inmate shall rcccive the reasonable
                                modification within 24 hours.

                         c.     The Courrty shall document the Medical Provider's                          525
                                deterrnination in the ADA Tracking system and refer the
                                inmate to the ADA Unit for follow-up.

                         d.     If the Medical Provider determines that an ittmate requires a
                                specialist-medical appointment, the Medical Provi der shal I
                                promptly request that appointment, and shall consult with the
                                ADA Unit in order to provide a reasonable modification, such              526
                                as a Mobility Device and/or a housing change in accordance
                                with Sections III.E.1 .a and III.E. i .b on a temporary basis
                                pending the outcome of the specialist-medical appointment.

                2.       If an inmate or Medical Provider first identifies a Mobility Disability
                         at a medical or mental health appointment where the Medical
                         Provider cannot assess the Mobility Disability (e,g,, because the
                         appointment is not conducted by the appropriate Medical Providcr                 527
                         and/or is scheduled for a different purpose), the Medical Provider
                         shall refer the inrnate to thc ADA Unit, and the County shall
                         document the referal in the ADA Tracking System. The ADA Unit
                         shall then conduct a review consistent with Section III.

                5        Medical Providers evaluating an inmate's Mobility Disability andlor
                         the need for a reasonable nrodification(s) may detcrmine at an in-
                         person evaluation that the inmate does not have a Mobility Disability
                                                                                                           528
                          andlor the inmate docs not require a reasonable modification. If
                         such a determination is made, the County shall document the
                         rationale for the Medical Provider's finding in the ADA Tracking
                         system.

     ry   ISSUANCE, RETENTION, MAINTENANCE, AND DENIAL OF
          MOBTLITY DEVTCE(S)

          A      The County's policies and procedures for the ordering, retention,
                                                                                                           529
                 maintenance, and denial/confiscation of Mobility Devices shall be reviewed
                 and amended or drafted, as necessary to be consistent with this Remcdial
                 Plan.

          B.     Supply and Maintenance of Standard Mobility Devices

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                 1     The County shall maintain a reasonable supply of Standard                      530
                       wheelchairs, walkers, canes, and crutches.

                 2.    The County shall inspect its supply of Standard Mobility Devices on            531
                       a quarterly basis to ensure sufficient operational quantities are
                       available.

          C.     Motorized Mobility Det,ices

                 1.    Motorized Mobility Devices are generally not permitted in the Jails.           532

                 ')     The ADA Unit and Medical Provider(s), in coordination with the
                       Assistant Sheriff, shall determine the most appropriate ntanner to
                       accomrnodate an inmate who requires a motorized Mobility Device
                       in the exceptional circumstance where a Medical Provider or the
                       ADA Unit have determined, as outlined in Section III, that a                   533
                       motorized Mobility Device is the only reasonable rnodification that
                       would meet the needs of the inmate with a Mobility Disability.

                 J     The County shall consult with Plaintiffs' Counsel if the County
                       determines that it will accommodate the inmate in need of motorized            534
                       Mobility Device in some other manner than permitting the inmate to
                       utilize the motorizcd Mobility Dcvicc in thc Jail.

          D.     Timingfor Issuance of Mobility Devices

                 I     An inmate with a Mobility Disability in need of a Standard Mobility
                       Device shall be issued a Standard Mobility Device within four (4)              535
                       hours, absent extenuating circumstances, following the ADA Unit or
                       the Medical Provider's determination that an inmate needs a
                       Mobility Device.

                 2.    Generic or Customized Mobility Devices may take time to order or
                       design. If the required Generic Mobility Devioe is available on site,
                       it shall be issued within four (4) hours, absent extenuating
                       circumstances, following the ADA Unit or the Medical Provider's
                       determination that an inmate needs a Mobility Device. For
                       Customized Mobility Devices and Generic Mobility Devices not                    536
                       kept on site, Adult Custody Health Services shall either obtain the
                       device or, ifthe device requires a special order, place the order for
                       said device within three (3) business days of identification of need.
                       The County shall infonn the inmate of an estimated time that the
                       Generic and/or Customized Mobility Device shall be provided. The
                       County shall check on the status of the Generic or Customized

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                        Mobility Devices every 30 days and shall provide the irunate with a
                        temporary reasonable modification to the extent necessary.

          E     Maintenance of Mobility Det'ices

                1.      If an inmate's Mobility Device is operable but in need of
                                                                                                        537
                        maintenance ot repair, and the inmate notifies the ADA Unit, the
                        ADA Unit shall assess and address the maintenance or repair need
                        within seven (7) days.

                2       If an inmate's Standard Mobility Device becomes inoperable and the              538
                        inmate reports the problem to ctrstody staff, the County shall provide
                        a replacernent within twenty-four (24) hours.

                J       If an inmate advises thc ADA Unit and/or a Medicai Provicier that a
                        Generic or Customized Mobility Device is in need of maintenance,
                        repair, or replacement, the County shall coordinate maintenance'
                                                                                                        539
                        repair,.or replacement as necessary. In the interim, the ADA Unit
                        shall replace the Generic Mobility Device if such device is kept in
                        stock on site or provicie the inmate with a Stan<iard Mobility Device
                        on a temporary basis and evaluate the provision of other intcrim
                        reasonabl e modifi cation(s).

          F     S afety- S ecuri ty A s s e s s m e nts Aft er Intake


                 1.     The County shall permit an inmate to keep a Mobility Device unless
                        a Captain or Watch Commander determines and documents, based                    540
                        on a Safety-security Assessment, that a Mobility Device constitutes
                        an immediate risk of bodily harm to inmates or staff, or threatens the
                        security of the facility.

                 2.      lf the Captain or Watch Commander makes such a determination,
                         they shall document thc decision, and reasons for it, as well as the
                         date of decision, in writing, and shall promptly consult with a
                         Medical Provider and the ADA Coordinator to determine if an                    541
                         appropriate altemative reasonable modification can be provided, in
                         which case an alternative reasonable modification shall be provided.
                         The Captain, Watch Commander, Medical Provider, or ADA
                         Coordinator shall document the nature of any alternative rcasonable
                         modification(s) provided in the ADA Tracking System.




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                 -1     If the County removes an inmate's Mobility Device following a
                        Safety-Security Assessment, the County shall reevaluate the Safety-
                        Security Assessment as follows:

                        a.     The inmate must be reevaluated by the ADA Unit to
                               determine if he or she can safely possess thc Mobility Device           542
                               a minimum of every seven (7) days if the device is rcmoved
                               durlng the intake process.

                        b      The inmate must be reevaluated by the ADA Unit to                       543
                               deterrnine if he or she can safely possess the Mobility Device
                               a minimum of every fourteen (14) days if the device is
                               removed at any other time.

                        c.     For each evaluation pursuant to Section IV.F.3.a and
                               IV.F.3.b, the ADA Unit shall make a recommendation to the
                                                                                                       544
                               Captain of the facility or his or her superiors regarding
                               whether the Mobility Device should continue to be removed
                               from the inmate and shall document the rationale in the ADA
                               Tracking Systern.

                 4.     Notwithstanding the provisions above, the County acklowledges its              545
                        obligations to comply with California Penal Code section2656
                        pertaining to retention of orthopedic and prosthetic appliances.

     v    CLASSIFICATION AND HOUSING OF INMATES WITH MOBILITY.
          DISABILITIES
          A.     The County shall review its Classification Policics and Procedures and                546
                 revise, as necessary, to be consistent with this Rcmedial Plan.

          B      An inmate's need for a Mobility Device in a housing unit shall not be a
                 basis for assignment to the infirmary,.a medical unit, or a mental health             547
                 housing unit.

           C     That an inrnate has a Mobilily Disability and/or requires reasonable
                 modifications for that disability (including the provision of Mobility                 s48
                 Devices) shall not be a factor in determining an inmate's security
                 classification.                         I



           D     Inmates identified as having a Mobility Disability shall be placed in
                 housing that is consistent with their security classification and their               549
                 accessibility needs. Not all inrnates with a Mobility Disability require an
                 ADA Accessible cell or unit, but may require reasonable modifications

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                 relatcd to housing such as, but not limited to, a lower bunVlower tier
                 assignment, or access to ADA Accessible shower facilities'

           E.    This Remedial Plan recognizes that, while additional ADA Accessible
                 housing is constructed pursuant to the Construction Rernedial Plan (Section
                 XI), ADA Accessible housing may not be immediately available for every
                 inmate needing such housing consistent with their classification. As ADA              550
                 Accessible housing is completed and brought online under the Construction
                 Remedial Plan, inmates in need of ADA Accessible housing shall be
                 housed consistent with their needs. In the interim, the Parties agree that
                 inmates with Mobility Disabilities who require ADA Accessible housing
                 shall be housed as fbllows:

                 1
                        It4ale Inmates

                        a.     Inmates determined to be a Lcvel I classification shall be
                               housed in Barracks 3 at the Ehnwood Minirnum Camp unless                551
                               Barracks 3 is closed for repairs, construction, or other
                               cxtenuating circumstances, in which case these inmates shall
                               be housed in SPecial Housing.

                        b.     Inmates who use wheelchairs, and who are determined to be                552
                               Level 2,3, or 4 security lcvel inmates, shall be housed in
                               Main Jail Unit 28 and/or Elmwood Unit M3.

                        c.     Inmates who use Mobility Devices other than wheelchairs
                                                                                                       553
                               and who are determined to be Level 2,3, or 4 sccurity level
                               inmates, shall be assessed on an individualized basis and
                               housed as appropriate.

                 2      Female Inmates

                        a.     Inmates who can be appropriately housed in a dorm setting
                               based on their security level shall be housed in W2. The
                               ADA Unit will promptly conduct an individualized                         554
                               assessment to determine if additional reasonable
                               modification(s) are necessary and develop a plan to address
                               those needs.

                         b.    Inmates who require cell-style housing based on their security
                               level shall be housed in W4. The ADA Unit shall promptly
                                                                                                       555
                               conduct an individualized assessment to determine if
                                additional reasonable modifrcation(s) are necessary and
                                develop a plan to address those needs' The County shall

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                               promptly consult with Plaintiffs' Counsel regarding the
                               County's planned reasonable modifications for an inmate
                               requiring cell-style housing who, the County has determined
                               as outlined in Section 1II, requires full-time use of a
                               wheelchair.

          F     If the housing units listed in Sections V.E.1 and/or Y.E.2 are closed for
                repairs, construction, or other extenuating circumstances, the County shall
                promptly (1) notify Plaintiffs' Counsel of the closure(s), and (2) provide
                Plaintiffs' Counsel with a list of where inmates with Mobility Disabilities          556
                will be housed for the duration of the closure(s). During such closure(s),
                ths ADA Unit shall promptly conduct an individualtzed assessment to
                determine if additional reasonable modifications are necessary for the
                affected inmates with Mobility Disabilities and develop a plan to address
                those needs,

     VI   TRACKING INMATES WITH MOBILITY DISABILITIES ((6ADA
          TRACKTNG SYSTEM")

          A.    The County shall use an ADA Tracking System to document and share                    557
                internally information regarding inmates with Mobility Disabilities.

          B.    The ADA Tracking System shall identify and track all inmates with a                  558
                Mobility Disability.

          C.    The ADA Tracking System shall have the following functional capabilities:

                       Code the type of Mobility Disability and thc rcasonable
                       modifications an inmate requires for the Mobility Disability (e.g.,
                       Mobility Devices, lower bunks, ground floor housing).                         s59

                 2     Track all programs, services, and reasonable modifications offered
                       to an inmatc with a Mobility Disability throughout his/her
                       incarceration,

          D.     The County shall designate staff that shall be responsible for using the
                 ADA Tracking System. Designated Staff shall include Classification Staff,
                                                                                                      560
                 the ADA Coordinator and his or her staff, the Facility Watch Commander,
                 Division Commander, Administrative Sergeant, Program Managers, and
                 staff from Adult Custody Health Services ("Designated Staff').

          E.     Designated Staff, both during the intake and booking process and during             56t
                 clinical encounters, shall be responsible for adding or modifying


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                 information regarding the nature of an inmate 's Mobility Disability and
                 nccessary reasonable modifications for that Mobility Disability.

           F     Designated staff shall be able and expected to view information in the                   562
                 system to ensure that the County provides reasonable modifications to
                 inmates with Mobility Disabilities.

           G     Designated Staff shall also be responsible for updating thc system with
                                                                                                          563
                 information regarding the reasonable modifications provided during the
                 inmate's incarceration and any subsequent returns to custody.

           H.    Housing nnit, education, and plogram office staff shall be provided with a
                 report listing all inmates with a Mobility Disability in the relevant unit or
                 progfam, as well as those inmates' needing reasonable rnodifications for a
                 Mobility Disability. The report shall be updated and providcd in written
                                                                                                          564
                 fonn to such staff at least once per week. Additionally, information from
                 the report shall be communicated in writing to staff whenever an inmate
                 with a Mobility Disability is assigned to the unit or program.

           I.    All Designated Staff shall be trained to properly use the ADA Tracking                   565
                 System. The training shall occur on site over the course of six months after
                 irnplement ation begins.

           J     The County shall develop and maintain appropriate policies outliriing who                s66
                 ean access and modify information in the ADA Tracking System'

     VII. PROGRAMS AND SERVICES
           A     The County's policies and procedures pertaining to programs and services                 567
                 shall be reviewed and amended or drafted, as necessary, to be consistent
                 with this Remedial Plan.

           B.    The County shall ensure that an inmate with a Mobility Disability has equal
                 access to all inmate progralns and services fbr which an inmate would be
                 eligible but for that IUoiility Disability-including, but not limited to
                 educational, vocational, work, recreational, visiting, medical, tnental health,          568
                 substance abuse, self--improvement, and religious programs, as well as early
                 release programs such as the Custody Alternative Supervision Program
                 (CASP){n a space available basis, consistent with the inmate's security
                 classiflcation.

           C.    If an inmate's.Mobility Disability interferes with his or her ability to
                 participate in a program or service for which he or she is otherwise eligible,
                 the ADA Coordinator shall first determine whethq the individual inmate

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                can participate in the program or service if the County provided a
                reasonable modification. If a non-structural reasonable rnodification will
                                                                                                          569
                allow an inmate with a Mobility Disability to participate in a program, the
                County shall provide the non-structural reasonable modification and shall
                allow the inmate to participate in the program,

          D     If a non-structural reasonable modification would result in a fundarnental
                alteration of the program, the County must take actions that would not                     570
                result in such an alteration but would neveftheless ensure that the inmate
                with a Mobility Disability receives the benefits or services offered by the
                County's program.

          E.    The County can refuse to provide a reasonable modification to an inmate
                with a Mobility Disability who is otherwise qualified for a program or
                service if: (1) the inmate's participation in the program would pose a direct
                threat to the liealth or safety of others, or (2) there is a reason for doing so
                that is reasonably related to a legitimate penological interest(s), as                    571
                determined by the ADA Unit in coordination with the Assistant Sherifl,
                Refusal to provide a reasonable modification pursuant to either of the
                preceding exceptions shall be based on a Safety-Security Assessment. If
                providing an alternative Mobility Device would mitigate the risk, the
                County shall provide the inmate with the designated alternative as
                expeditiously as possible.

          F     If the County relies upon any of the above exceptions to deny an itrmate                  572
                with a Mobility Disability the opportunity to participate in a program or
                selvicc, the ADA Unit must document the basis for the determination in the
                ADA Tracking System,

          G     Location of Programs and Senices

                 1     The Parties have designated structural changes in the Construction
                       Remedial Plan outlined in Section XI in order to provide program
                                                                                                          573
                       accessibility to inmates with Mobility Disabilities.

                 ')    In order to address program accessibility, the County agrees to
                       provide programming and services in thc areas designated in the
                                                                                                          s'74
                       Construction Plan (Section XI) as the portions of the Construction
                       Plan providing accessibility to programs and services are completed.

                 J     As an alternative to providing programming and services in areas
                       designated in the Construction Plan, the County may continue to                    575
                       utilize nonstructural methods to provide accessibility to programs
                       and services, including but not limited to acquisition or redesign of

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                       equipment, assignment of aides to inmates with Mobility Disabilities
                       or, at the County's election, the provision of services at alternate
                       accessible sites,

                 4     While the County is undertaking the construction described in
                       Section XI of this Remedial Plan, the Parties agree that the County
                       shall take the following interim measures to provide accessibility to
                       programs and service for innates with Mobility Disabilities:

                       a.     The County may use intnates or Custody Staff to push
                              inmates in wheelchairs to a program or service along paths of
                              travel agreed upon by the Parties. Pending completion of
                                                                                                         576
                              physical modifications to the paths of travel, wheelchair
                              pushers tnay be used as an interim measllre. Wheelchair
                              pushers used on an interim basis are subject to the training
                              requirements and other provisions outlined in Section
                              VII.G.7.
                                                                                                         577
                       b.     Assignment of aides to inmates with Mobility Disabilities.

                 5     Where the County cannot provide programs or services at the
                       locations designated in the Construction Plan and cannot find
                       nonstructural measures to provide accessibility to programs and
                       services, the County may refuse to provide the prograrn or service to
                                                                                                         578
                       an inmate with a Mobility Disability only upon a showing that doing
                       so would result in a fundamental alteration in the nature of the
                       progran, service, or activity, or would result in undue financial and
                       administrative burdens.

                 6     The County shall maintain ADA Accessible facilities in operable
                       working condition. Isolated ot temporary intemrptions in access to                579
                       these facilities due to maintenance of repairs are not prohibited if the
                       County is exercising reasonable diligence in addressing the
                       maintenance or repairs.

                 7      Once paths of travel are made compliant with this Rernedial Plan,
                        wheelchair pushers may continue to be used for inmates who need
                        assistance traveling long distances, unless otherwise requested by the           580
                        inmates. Appropriately screened inmates and/or Custody Staff
                        chosen to assist inmates who use wheelchairs shall receive initial
                        and periodic training as to their job duties and performance criteria.
                        The training shall cover how to safely and properly assist inmates
                        with Mobility Disabilities. The ADA unit shall evaluate wheelchair

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                       pushers which shall include feedback from the inmates with
                       Mobility Disabilities. lnmates with Mobility Disabilities have the
                       right to refuse a wheelchair pusher, and in that circumstance, the
                       ADA Unit shall determine an appropriate alternative reasonable
                       modification.

          H     If an inmate with a Mobility Disability requires transpoftation rn a
                vehicle-e.g., to court or to a medical appointment at an outside facility-
                the vehicle used to transport the inmate must be ADA Accessible.
                Specifically, inmates who use wheelchairs on permanent bases and/or
                inmates who have difficulty navigating steps without assistance must be                581
                transpofted in vehicles equipped with a wheelchair lift and other safety
                equipment mandated by the Department of Motor Vehicles and the
                Department of Transportation. If the Department of Motor Vehicles and
                Department of Transportation standards conflict, the applicable standard
                that provides greater protections to individuals with a Mobility Disability
                shall govern.

     VIII. ?OLICY REVIEW AND REVISION
          A.    The County is reviewing and revising, as needed, all policies, procedures,
                Post Orders, and forms, including those for Adult Custody Health Services,              s82
                and the Inmate Orientation book, to be consistent with the provisions in this
                Remedial Plan. Plaintiffs' Counsel shall be provided the opportunity to
                comrneut on these documents.

          B     Policy Revision Process

                 1"    Within 30 days of the execution of the Consent Decree, the Parties              s83
                       shall meet and confer to designate the policies th'at require revision
                       to address key portions of this Remedial Plan

                2      The County shall provide Plaintiffs' Counsel with draft proposed
                                                                                                        584
                       revisions to the agreed upon policies within 120 days of the
                       execution of the Consent Decree unless a longer timeframe is
                       mutually agreed upon by the Parties.

                J      The designated policies shall be finalized with one year of the                 585
                       execution of the Consent Decree unless the Parties agree to a longer
                       time frame.

          C.    The County shall train relevant Staff on new or revised policies and                   586
                procedures as detailed in Scction X.


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     IX. ADA COORDINATOR
         A. The County has appointed a full+ime ADA Coordinator, a lieutenant who
                 reports directly to the Assistant Sheriff. The ADA Coordinator shall                     s87
                 oversee all issues related to inmates with Mobility Disabilitics, including,
                 but not limited to, classification; housing; inspection, maintenance'
                 provision, and removal of Mobility Devices; and responding to Mobility
                 Disability-related requests and inmate grievances pursuant to County
                 policy.

           B.    The County shall not modify the job description of the ADA Coordinator                   588
                 u'ithout consultation with Plaintiffs' Counscl.

           C     As soon as practical, but utrder no circumstances more than ninety (90)
                 days after an iumate has been identified as having a Mobility Disability, the
                 ADA Coordinator and/or her or his staff shall personally meet with each
                 new inmate housed in the.Tail who is identified as having a Mobility
                 Disability. The meeting rvith the ADA Coordinator shall be for the purpose
                 of ensuring that the inmate is housed in a cell and unit that accommodates
                 his or her Mobility Disability;has the appropriate Mobility Device(s)                    589
                 and/or other reasonable modifications; ensuring the inmate has equal access
                 to Jail programs for which she or he is eligible but for his or her Mobility
                 Disability; ensuring the inmate has access to grievance forms to raise
                 disability-related issues; and to advise the inmate of personnel who can
                 assist her or him with reasonable modification needs. For an inmate
                 identified as having a Mobility Disability who t'etnaitts in the Jails for more
                 than six (6) months, the ADA Coordinator and/or her/his staff shall meet
                 with the inmate at least once every six (6) months until the inmate is
                 released from the Jail.

           D     The ADA Coordinator is charged with facilitating ADA Mobility-Disability
                 related training to Custody Staff and Adult Custody Health Services Staff,
                 and with monitoring programs and work assignments to ensure mcaningful                   590
                 accoss for all inmates with Mobility Disabilities. The ADA Coordinator
                 shall have sufficient staffing (the "ADA Unit") to assist him or her
                 regarding Mobility-Disability issues.

           E.    During any period where the ADA Coordinator is unavailable for more
                 than thirty (30) days, a sergeant or higher-ranked individual shall fulfill the          591
                 duties of the ADA Coordinator position until the ADA Coordinator
                 becomes available or a replacement is appointed to the position.




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          F     The ADA Coordinator shall attend and complete a certificate-course
                designed for ADA coordinators and obtain a certification and maintain said              592
                certification with updates and continuing education courses. Any
                replacement ADA Coordinator or interim ADA Coordinator shall obtain his
                or her ADA certification within twelve (12) months of starting in the
                position.

     X.   TRAINING
          A.    The County provided eight (8) hours of mutually agreed upon ADA                         593
                training to all DOC Academy Cadets, Custody Staff, and Adult Custody
                Health Services Staff members in 2015 and 2016.

          B,     Training on New Policies and Procedures

                       Within six (6) months of the finalization of the revised policies and
                       procedures (see Section VIID, the Parties shall select a mutually
                       agreed upon trainer to train on the revised policies and procedures.
                       Within the same six (6) month period, the selected trainer shall                 594
                       develop a curriculum for training Custody and Adult Custody Health
                       Services Staff on the revised policies and procedures. The trainer
                       shall then train Custody and Adult Custody Health Services Staff as
                       outlined in Sections X.C.2 and X.D.2.

                 2     Within nine (9) months of the trainer's preparedness to conduct the
                       training, the trainer shall train 90 percent of Custody and Adult
                       Custody Health Services Staff, and make reasonable efforts to train
                       all Custody and Adult Custody Health Services Staff, on new                      595
                       policies and procedures or revised policies and procedures adopted
                       pursuant to relevant topics in this Agreement. Critical Staff, such as
                       the ADA Coordinator, ADA Unit,Intake Staff, and Medical
                       Providers shall be prioritized for training during the first three
                       months.

          C.     On-Going Training to Custody and Adult Custody Health Senices Stalf

                 l.    The County shall provide eight hours of ADA kaining to all DOC                    596
                       Academy classes.

                 )     After oompletion of the training in Section X.B, the County shall                 s97
                       provide a biennial training by a mutually agreed irpon trainer to train
                       Custody and Adult Custody Health Services Staff.




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           D    The County may engage a consultant to provide one 24-hour Train the                    598
                Trainer (T4T) ADA training to prepare the County to take over the
                responsibility of providing ongoing ADA training and the responsibility of
                providing biennial refresher training.

           E.   The appropriate length, format, and method of the training for Staff,
                including different types of Staff, will be developcd in consultation with             599
                Plaintiffs' counsel. Plaintiffs' Counsel shall have the right to comment on
                all of the above-listed training modules in advance of their roll-out and to
                obscrve any of the aforementioned trainings upon request.

     XI.   FACILITY MODIFICATIONS AND ADJUSTMENTS
           A.   Facilities

                1.     The County currently has two jail facilities:

                       a.     Main Jail (presently, Main Jail North and South).

                       tl     Elinivood (presently, trlniwood Correctional Cenier for llen
                              and Corrcctional Center for Women).

                2      The County intends to build a new jail ("New Jail"). However, if the
                       County determines it will not build the New Jail, thc parties will              600
                       meet and confer within thirty (30) days of such determination to
                       discuss any additional construction that may be necessary at the Jails
                       to meet thc needs of inmates with Mobility Disabilities.

                3      The County shall not house inmates with Mobility Disabilities at                601
                       Main Jail South or Elmwood W1.

                4      The County shall maintain ADA Accessible features required by this
                       Agreement in operable working condition. This requirement does                  602
                       not prohibit isolated or temporary intemrptions in service or access
                       due to maintenance or repairs.

           B.   New Jail

                1      The New Jail shall be constructed in accordance with all applicable
                       construction requirements under the Americans with Disabilities Act             603
                       ("ADA"),42 U.S.C. $$ 12101 et seq.; Section 504 of the
                       Rehabilitation Act, 29 U.S.C. 5 79a; and California Government
                       Code Section 11135 ("Section 11135").



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                2.    The New Jail shall include at least three percent ADA Accessible               604
                      cells or 20 ADA Accessible cells, whichever is greater' The New
                      Jail will provide housing for Level 2 and3 inmates at a minimum.

          C.    Main.lail North

                1.    Booking Area {Basement Level}: The County shall make the
                      following ADA Accessible:

                      a.     One transaction counter for men;                                        605

                      b.     One transaction counter for women;                                      606

                      c.     One single occupancy holding cell for men;                              607

                      d.     One multiple occupancy holding cell for men;                            608

                      e.     One dress out area, including shower;                                   609

                      f.     One television shelf in the general occupancy classification            610
                             holding cell;

                      g.     One mirror for inmate use; and                                          6tr
                      h.     One pay telephone for inmate use.                                        612

                      l.     The Parties agree that in lieu of making one holding cell for
                             women ADA Accessible, the County shall use the dress out                613
                             area in the bathroom/shower for women with Mobility
                             Disabilities.

                2.    Propertv Release fuea: The County shall make the following ADA
                      Accessible:

                       a,    One transaction counter; and                                            6t4

                      b.     One bench in holding room.                                              615

                       c.    The Parties agree that in lieu of making the property release
                             area restroom ADA Accessible, the County shall provide
                             access, immediately upon request, to a restroom located in the          616
                             lobby.




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                3.    Second Floor:

                      a.     General Use Area and Medieal Unit (2A): The County shall
                             make the following ADA Accessible:

                             l.       Onc dental examination room;                                    617

                             ii       Remove access barriers and install a high-low table in          618
                                      one examination room on the unit;

                             lll.     One medical waiting area cell with accessible                   619
                                      restroom;

                             iv.      The counter in one visiting ccll; and                           620

                             v.       One telephone in the pro pff interview room.                    62t

                      b      Snecial Housinq.(28): The County shall make the following
                             ADA Accessible:

                                      Eight cells;                                                    622

                                      One shower (excluding a fixed bench) and one                    623
                                      bathtub;

                             111.     One table in the dayroom and one table in the                   624
                                      multipurpose room; and

                             lv       One piece of exercise equipment,                                625

                             v        The Parties agree that in lieu of providing fixed
                                      benches in ADA Accessible showers, the County shall
                                      adopt a policy of providing a safe and secure shower            626
                                      chair which shall be readily accessible and provided
                                      immediately upon request to an inmate with a Mobility
                                      Disability.

                       c.    Infirmarv (ZCJ: The County shall make the following ADA
                             Accessible:

                             l.       Two dorms with a combined minimum of 8 beds;                    627

                             ii.      Eight cells;                                                    628




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                             iii,     One shower (excluding a fixed bench) and one                   629
                                      bathtub;

                             iv.      One table in the dayroom and one table in the                  630
                                      multipurpose room;
                                                                                                     631
                             v.       Call buttons; and
                                                                                                     632
                             vi.      One piece of exercise equipment.

                             vii.     The Parties agtee that in lieu of providing fixed
                                      benches in ADA Accessible showers, the County shall
                                      adopt a policy of providing h safe and securc shower           633
                                      chair whioh shall be readily accessible and provided
                                      immediately upon request.

                4.    Fourth and Fifth Floor Housing Units: The County shall make the
                      following ADA Accessible:

                      a.     Five cel1s on the 4th floor;                                            634

                      b.     Five cells on the 5th floor;                                            63s

                      c.     The counter in one visiting room on the 4tl'floor;                      636

                      d.     The counter in one visiting room on the 5th floor;                       637

                      e.     One shower serving each of the designated housing units on              638
                             the 4th floor;

                       f,    One shower serving each of the designated housing units on              639
                             the 5"'tloors;

                       g.    One table in the dayroom serving each of the designated                  640
                             housing units on the 4tl' and 5th floors;

                      h.     One table in the multipuqpose room serving each of the
                                                                                                     641
                             designated housing units on the 4th and 5th floors;

                       i.    One payphone and one mirror in the dayrooms serving each
                                                                                                     642
                             of the designated housing units on the 4th and 5th floors; and

                      j.     One piece of exercise equipment.                                         643




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                 5     Eiehth Floor (Mental Health/Special Management Housing): The
                       County shall rnake the following ADA Accessible:
                                                                                                     644
                       a.    The door threshold of the Seclusion/Safety cell;

                       b.     Four cells in 8A and one cell in 88;                                   645

                              One shower with flip-down shower bench serving each of the             646
                              designated housing units;

                       d      One table in the dayroom serving each of thc designated                647
                              housing units;

                       e.     One table in the multipurpos€ room serving each of the                 648
                              designated housing units;

                       f,     One payphone and one mirror in the dayrooms serving each               649
                              of the designated housing units; and

                       b.     One piece of exercise equipment.                                       650

                       h.     The Parties agree that in lieu of providing additional ADA
                              Accessible cells on 8A, the County shall adopt a policy that
                              shall require that an inmate with a Mobility Disability, who
                              otherwise would be housed on 8A, be transfcrrcd to the
                                                                                                     65r
                              County hospital if there is not appropriately ascessible
                              housing for the inmate's needs on 8A.

                       t.     The Parties also agree that in lieu of providing additional
                              ADA Accessible cells on 88, the County shall adopt a policy
                              that shall require that an inmate with a Mobility Disability,          652
                              who otherwise would be housed on 88, shall be housed in
                              another appropriate accessible housing unit at the Jail and
                              shall be provided with services equivalent to what the inmate
                              would have received in 88 in that housing unit.

           D.    Elmwood Facility

                  L     General:

                        a.    The County shall install ADA Accessible watcr fountains in             6s3
                              housing areas, program areas, and along paths oftravel
                              utilized by inmates with Mobility Disabilities.



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                      b      Paths of Travel: The County agrees to make the Paths of
                                                                                                            654
                             Travel used by inmates with Mobility Disabilities affixed as
                             Attachment 1 ADA Accessible.

                      c.     Processins Area: The County shall make the following ADA
                             Accessible:

                                      One restroom; and                                                    655

                             ii.      Dress out area for male and female inmates.                          656

                             1lt.     The Parties agree that in lieu of making the holding
                                      cells ADA Accessible, the County shall adopt a policy
                                      of placing an inmate with a Mobility Disability outside
                                                                                                           657
                                      of the holding cells either on or next to the seating area
                                      and shall ensure that the inmate with a Mobility
                                      Disability is moved directly to housing, limiting the
                                      amount of time in the processing area.

                             lv       The Parties agree that in lieu of making the showers
                                      ADA Accessible, the County shall not use the showers
                                      unless needed for decontamination or biohazard
                                      cleanup in the rare circumstance where contamination
                                                                                                          658
                                      or biohazard incident occurs in the immediatc area, in
                                      which case the inmate shall be offered appropriate
                                      assistance. An inmate with a Mobility Disability has
                                      the right to refuse assistance, in which case the inmate
                                      shall be transported to an altemative ADA shower for
                                      decontamination.

                      d      Information Center: The County shall make the following
                             ADA Accessible:

                                      The counter; and                                                    659

                             11.      One restroom.                                                       660
                             iii.     The Parties agree that the room for attomey visits
                                      located in the Inforrnation Center shall have a small
                                      table to allow sufficient clearance space for an inmate
                                      with a Mobility Disability. The County agrees to                     66r
                                      provide a small table and maintain sufficient clearance
                                      space at all times.



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                      e.    Ml - (Upper Floor): The County shall make eight cells ADA                  662
                            Accessible to house men and/or women.

                      f.    Msdical Facilitv: The County shall make the following ADA
                            Accessible:

                            1.        The restroom serving the waiting area.                           663

                            11.       The Parties agree that in lieu of installing a bench in
                                      the X-ray changing room, the County shall adopt a
                                      policy of providing a chair for an inmate with a                 664
                                      Mobility Disability. The County further commits to
                                      ensuring all movable furniture shall not be placed in
                                      paths of travel.

                2.    Elmwood Men's

                      a.    Operations Facilities: The County shall make the following
                            ADA Accessible:

                                      The counter located in the library;                              665

                                      One restroom in the workshop area;                               666

                             llt.     One restroom near the classrooms;                                667

                             iv.      The threshold to classroom doors except that the
                                      County is not required to modifylhe cross-slope of the            668
                                      walkway that abuts the slassrooms; and

                             v        Table or work bench where used by Mobility Impaired               669
                                      inmates.

                      b      Men's Minimum Security Housing (Level I Dorm-Style
                             Housing): The County shall make the following ADA
                             Accessible:

                             l.       Twenty-five beds spread across at least two different            670
                                      housing units;

                             ii.      The entryway/ramps to the housing units;                          671

                             iii.     One shower and restroom serving the designated
                                      housing units; and                                                672



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                             iv.     One table in the designated housing units.
                                                                                                    673

                      c.     Men's Dinins Hall fbr Minirnurn Securitv (Level l) Inrnates:
                             The County shall make the following ADA Accessible:

                                     Five percent of the seating capacity; and                      674

                             11.     One ADA-designated portable toilet that meets
                                     California Building Code 118-603 outside the dining            675
                                     hall,

                      d.     Men's Recreation Yard for Minimurtr Security (Level l)
                             Inmates: The County shall make the following ADA
                             Accessible:

                             i.      Handrails on the path to the volleyball oourt;                 676
                             11.     Paved route from ADA housing unit(s) to the handball
                                     courts and basketball courts, or paved route from ADA          677
                                     housing unit(s) to and around the perimeter of the
                                     field; and

                             iii.    One piece of exercise equipment.                               678

                      e      Men's Medium Housing (Level II and III Inmates): The
                             County shall make the following ADA Accessible:

                             i.      Cell-Style Housing at M4 andior M5:

                                     (1) Four cells in a minimum of two different cell-             679
                                             style housing units;

                                     (2)     One shower serving cach of the designated
                                                                                                    680
                                             housing units;

                                     (3) One dayroom table serving each of the
                                                                                                    681
                                             designated housing units;

                                     (4)     Cane detectable railing serving each of the
                                             designated housing units;                              682

                                     (5) Remove access barriers and install a high-low
                                             table in one examination room on the housing           683
                                             unit; and


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                                     (6) One piece of exercise equipment.                               684

                                     (1) The Parties agree that in lieu of providing
                                           additional ADA Accessible cells in M4 andlor
                                           M5, the County shall adopt a policy that shall
                                           require that an inmate with a Mobility                       685
                                           Disability, who otherwise would be housed on
                                           M4 andlor M5, shall be housed in ADA
                                           Accessible dorm-style housing at the same
                                           security level or lowcr,

                            ii.      Dorm-Style Housing Units in M3 andlor M8

                                     (1)                                 across at reast two            686
                                           IT,:ll1,1""",;,,','t.;ffiio
                                     (2) One restroom serving each of the designatcd                    687
                                           housing units;

                                     (3)                          each of the designated
                                                                                                        688
                                           ffi:||;fflserving
                                     (4)                                                                689
                                           n"#::fij3i,[ilJ:lgeachofthe
                                     (5) Cane detectable railing serving each of the                    690
                                           designated housing units;

                                     (6) Remove access barriers and install a high-low                  69r
                                           table in one examination room on the unit;

                                     (1) One piece of exercise equipment; and                           692

                                     (8) One holding cell in M8.                                        693
                 a
                 J     Elmwood - Women's

                       a.    W-2 Dorm Stvle Housine for Minimum and Medium (Level 1
                             qnd 2 Inmqteg): The County shall makc the following ADA
                             Accessible:

                             i,      Eight beds in a minimum of two different housing                   694
                                     units;

                             ii.     One restroom serving the housing units;                            69s

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                                                                                           Ex. P-153
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                              iii.     One shower serving the designated housing unit;                696

                              iv.      One table serving the designated housing unit;                 697

                              v.       Cane detectable railings in designated housing unit;
                                       and                                                            698

                              vi.      One piece of exercise equipment.                               699

                       b.     W-4 Cell-St)rle Housine Medium and Maximum Securitv
                              Innrates (Level Il.,lll. and IV Innrate,g): The County shall
                              make the following ADA Accessible:

                              i.       Four cells in two different housing units;                     700

                              ii.      One restroom serving the designated housing units;             70r

                              iii.     One shower serving the designated units;                        702

                              iv.      One table serving the designated units;                         703

                              v.       Cane detectable railings in designated units;                   704

                              vi.      Walkway and thresholds to the yards on the designated
                                                                                                       705
                                       units;

                              vii. Restroom in court holding cell;                                     706

                              viii. Bench in visiting area; and                                        707

                              ix. One piece of exercise equipment.                                     708

                        c.     Level IV inmates shall not be housed in the W-l dorm
                                                                                                       709
                               setting.

                        d.     Modular Classrooms: The County shall make ADA
                               Accessible any classrooms serving Elmwood Women's ADA                   7t0
                               Accessible housing, including the associated paths of travel.

     XIL MONITORING PLAN
         A. The County shall develop a Monitoring Plan to ensure effective internal
                 oversight and accountability procedures to comply with the non-                       711
                 construction related portions of this Agreement. Plaintiffs' Counsel shall
                 be provided the opportunity to comment on the Monitoring Plan.


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           B.    The.County shall develop a construction schedule for the Construction                  712
                 Plan. Plaintiffs' Counsel shall be provided with an opportunity to comment
                 on the plan.

     XIII. GRIEVANCE AND ADA REQUEST SYSTEM
           A.    ADA Requests

                 1.     The County will provide and maintain a rcadily available mechanism              713
                        for inmates to make a request for reasonable modifications
                        independent of the grievance system (]ADA Request").

                 2,     The ADA Coordinator or a member of the ADA Unit shall review
                        the ADA Request within seven (7) days of receipt of such a request
                                                                                                        714
                        and, where appropriate, provide the requested reasonablc
                        modification and/or begin the verification proccss as set forth in
                        Section IIl.

           B.    Grievance Systenr

                 1      The County shall provide and maintain an inmate grievance system
                                                                                                        715
                        that provides for prompt and equitable resolution of complaints by
                        inmates with Mobility Disabilities who allege disability-related
                        violations.

                 J      The County grievance form shall continue to include a checkbox or
                        similar means to identity that the request and/or grievance is ADA-             7t6
                        related. The County shall train grievance staff to route "ADA"
                        grievances appropriately even if the inmate who filed the grievance
                        did not check the "ADA''checkbox.

                 J      The ADA Coordinator or a member of the ADA Unit shall review
                        all ADA-related complaints, assign an ADA-trained staff person to
                        investigate the cornplaints, and/or interview the inmate to the extent          717
                        his or her complaint or requested reasonable modification is unclear,
                        and provide a substantive written response to the inmate. The total
                        response tirne for all ADA-related grievances (but not appeals) shall
                        be no more than 30 days from receipt.

                 4      All ADA-related grievances and responses, including provision of                718
                        interim reasonable modifications, shall be documented and tracked
                        in the ADA Tracking System.




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           C     Expedited ADA Unit Reviev, of Urgent ADA Requests and Grievances

                 l.     The ADA Unit shall screen ADA Requests and ADA'related
                        grievances for ADA-related issues that, if true, would subject the
                       'inmate                                                                        719
                               to a substantial risk of injury or other harm, which includc:
                       (a) unauthorized removal of an inmate's Mobility Device by
                       Custody Staff; and (b) failures to provide housing-related reasonable
                       modifications following a determination that the inmate requires
                       such reasonable modifi cation.

                 2     If the ADA Unit finds that the issue can be addressed through an
                       interim modification, the ADA Unit shall provide such interirn
                       modification promptly, but in any casc no later than seven (7) days
                       from receipt of the ADA Request or Grievance. If the risk to health            120
                       or safety cannot be addressed through an interim accommodation,
                       within seven days from receipt of the ADA Request or Grievance,
                       the ADA Unit shall, as appropriate: (1) confer with the Captain or
                       his or her superior; and/or (2) arrange for a medical consultation
                       with a Medical Provider for resolution of the ADA Request or
                       Grievance. The ADA Unit shall also provide written notification to
                       the inmate of the action(s) taken within the same seven-day period.




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             ATTACHMENT 1

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                    EXHIBIT Q
                                                                   Ex. Q-159
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                                                          Exhibit B: Remedial Plan (DRC, County of Orange)

    REMEDIAL PLAN FOR THE ORANGE COUNTY JAIL REGARDING THE
   TREATMENT OF PEOPLE WITH DISABILITIES, RESTRICTIVE HOUSING,
    AND THE TREATMENT OF PEOPLE WHO IDENTIFY AS LESBIAN, GAY,
         BISEXUAL, TRANSEXUAL, QUEER OR INTERSEX (LGBTQI)

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    REMEDIAL PLAN FOR THE ORANGE COUNTY JAIL REGARDING THE
   TREATMENT OF PEOPLE WITH DISABILITIES, RESTRICTIVE HOUSING,
    AND THE TREATMENT OF PEOPLE WHO IDENTIFY AS LESBIAN, GAY,
        BISEXUAL, TRANSEXUAL, QUEER, OR INTERSEX (LGBTQI)

                                           DEFINITIONS

               A.   “County” refers to the Orange County Sheriff’s Department and the
                    Orange County Health Care Agency’s Correctional Health Services.

               B.   “Disability” means any physical, cognitive, developmental, intellectual,
                    mental, or sensory impairment that substantially limits one or more major
                    life activities.

               C.   “Effective Communication” means that whatever is written or spoken
                    must be as clear and understandable to the person with a disability as
                    reasonably possible.

               D.   “Gender Identity” refers to an individual’s internal, personal sense of their
                    own gender, which may or may not be associated with a person’s assigned
                    sex at birth.

               E.   “Gender Expression” means gender-related traits that may or may not be
                    consistent with those traits typically associated with a person’s assigned sex
                    at birth.

               F.   “Gender-Variant” refers to having gender-related traits that are not
                    typically associated with a person’s assigned sex at birth.

               G.   “Intellectual/Developmental Disability” is a disability characterized by
                    significant limitations in intellectual functioning (such as learning,
                    reasoning, and problem-solving) and in adaptive behavior (conceptual skills
                    such as language, literacy, money, time, and self-direction; social and
                    interpersonal skills; and practical skills such as personal care and
                    schedules/routines). This includes people for whom the onset of the
                    disability occurred before age 18 (developmental disabilities) and people
                    for whom events later in life resulted in similar limitations (e.g., traumatic
                    head injury, stroke, or dementia).

               H.   “Intersex” refers to people who are born with variations in chromosomes,
                    genitals, or reproductive organs that do not align with typical definitions of
                    female or male.

               I.   “LGBTQI” is an abbreviation that refers to lesbian, gay, bisexual,
                    transgender, queer, and intersex individuals.
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               J.   “Restrictive Housing” refers to any type of housing that involves all three
                    of the following elements: “(1) removal of an incarcerated person from the
                    general population, whether voluntary or involuntary; (2) placement of an
                    incarcerated person in a locked room or cell, whether alone or with another
                    incarcerated person; and (3) the inability of the incarcerated person to leave
                    the room or cell for the vast majority of the day, typically 22 hours or
                    more.”

               K.   “Serious Mental Illness” means a mental disorder that may cause
                    behavioral functioning which interferes substantially with the primary
                    activities of daily living, and which may result in an inability to maintain
                    stable adjustment and independent functioning without treatment, support,
                    and rehabilitation.

               L.   “Sex” can refer to “assigned sex at birth,” which refers to the sex recorded
                    on an individual’s birth certificate at the time of birth. “Affirmed sex”
                    refers to the self-reported sex-based classification that aligns most closely
                    with an individual’s gender identity. “Gender marker” or “legal sex”
                    refers to an individual’s gender designation on legal documents.

               M.   “Transgender” or “trans” is an umbrella term for persons whose gender
                    identity, gender expression or behavior does not conform to that typically
                    associated with the sex to which they were assigned at birth. For example, a
                    person who was assigned male at birth but is female may describe herself
                    as a transgender woman, a trans woman, or a woman. This terminology
                    includes individuals who are nonbinary, genderqueer, or agender, among
                    other identities.




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                    TOPIC 1: RIGHTS OF PEOPLE WITH DISABILITIES

 I.            POLICIES AND PROCEDURES
               A.   It shall be the policy of the County to provide equal access to the Jail’s
                    services, programs, and activities to incarcerated people with disabilities.
                    No person with a disability, as defined in 42 U.S.C. § 12102 and under
                    California law, shall, because of that disability, be excluded from
                    participation in or denied the benefits of services, programs, or activities or
                    be subjected to discrimination. It shall be the policy of the County to
                    provide reasonable accommodations or modifications where necessary to
                    provide equal access to services, programs, or activities, consistent with the
                    Americans with Disabilities Act (“ADA”), 28 C.F.R. § 35.130, and other
                    applicable federal and state disability laws.
               B.   The County shall, within six (6) months of finalizing this Remedial Plan
                    and in consultation with Counsel and the joint expert, complete revision of
                    its policies, procedures, and practices to ensure compliance with the ADA,
                    its implementing regulations, related federal and state disability laws, and
                    to ensure compliance with the remedial provisions outlined herein.
                    Implementation of revised policies, procedures, and practices will proceed
                    expeditiously and consistent with the parties’ agreement. The six-month
                    implementation deadline will not apply to the County’s development of a
                    disability tracking system, addressed in Paragraph II.A.

 II.           ADA TRACKING PROCEDURES
               A.   The County shall implement a centralized, real-time networked electronic
                    system to identify and track all incarcerated people with disabilities and
                    their specific accommodation needs (the “ADA Tracking System”). The
                    County will make best efforts to implement the ADA Tracking System by
                    January 1, 2023, and will provide notice of any delay to this timeline to
                    allow the parties to confer and address the matter. Until the new ADA
                    Tracking System is in place, the County shall continue to use its existing
                    system for tracking incarcerated person’s disabilities and their specific
                    accommodation needs (“Existing ADA Tracking System”).
               B.   The ADA Tracking System shall identify:
                    1.     All types of disabilities, including but not limited to mental health,
                           Intellectual/Developmental Disability, learning, speech, hearing,
                           vision, mobility, dexterity, upper extremity, or other physical or
                           sensory disabilities;
                    2.     Disability-related health care needs;


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                    3.     Barriers to communication, including but not limited to
                           Intellectual/Developmental Disability, learning, and hearing, speech,
                           or vision disabilities;
                    4.     Accommodation needs, including but not limited to accommodations
                           related to housing, programming, classification, Effective
                           Communication, adaptive supports, and health care appliances,
                           assistive devices, and/or durable medical equipment
                           (“HCA/AD/DME”);
               C.   The ADA Tracking System’s information shall be readily accessible to and
                    used by all custody, medical, mental health, program, and other staff who
                    need such information to ensure appropriate accommodations, adaptive
                    supports and meaningful access for persons with disabilities.
               D.   The ADA Tracking System shall not be called the “Special Needs List.”

 III.          IDENTIFYING PEOPLE WITH DISABILITIES
               A.   The County shall, throughout a person’s time in custody, take steps to
                    identify and verify each person’s disability and disability-related needs.
               B.   During the medical intake screening conducted for every person booked
                    into the Jail, CHS staff shall take steps to identify and verify each person’s
                    disability and disability-related needs, including based on:
                    1.     The individual’s self-identification or claim to have a disability;
                    2.     Documentation of a disability in the individual’s Jail health record
                           and/or County (OCHCA) records;
                    3.     Staff observation/referral to ADA Unit regarding a person who may
                           have a disability; or
                    4.     The request of a third party (such as a family member) for an
                           evaluation of the individual for an alleged disability.
               C.   When conducting the medical intake screening, staff shall determine if the
                    individual has a disability affecting communication and, if yes, provide and
                    document the provision of Effective Communication during the medical
                    intake screening.
               D.   CHS staff shall conduct medical intake screenings, including for
                    disabilities, in settings that allow for reasonable privacy and confidentiality.
               E.   When conducting screening and intake, CHS shall utilize evidence-based
                    and Trauma-Informed practices that take into account that many
                    incarcerated people have experienced trauma.
               F.   If the medical intake screening identifies that the person in custody requires
                    any accommodations (e.g., housing, HCA/AD/DME), such

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                    accommodations shall be provided promptly to the incarcerated person. The
                    need for such accommodations shall also be communicated to all relevant
                    staff and documented in the ADA Tracking System/Existing ADA
                    Tracking System.
               G.   Medical staff shall immediately notify custody staff and the ADA
                    Compliance Unit regarding a person’s disabilities and disability-related
                    needs.
               H.   All disabilities and disability-related accommodation needs identified
                    during the intake process shall be tracked in the ADA Tracking
                    System/Existing ADA Tracking System.
               I.   CHS shall develop a process for conducting disability-related evaluations
                    for persons in custody after the medical intake screening. Such evaluations
                    can occur at the request of the person in custody, staff who observe a
                    potential need for accommodation, or third parties. Like the medical intake
                    screening, such evaluation shall be conducted by a qualified health care
                    professional to determine whether a person has a disability and, if yes, any
                    reasonable accommodations necessary for the person to have equal access
                    to programs, services, and activities offered at the Jail.

 IV.           ORIENTATION
               A.   The County shall ensure that persons with disabilities are adequately
                    informed of their rights under the ADA, including but not limited to:
                    1.     The right to reasonable accommodations;
                    2.     The process for requesting a reasonable accommodation;
                    3.     The grievance process, location of the forms, and process for getting
                           assistance in completing grievance process;
                    4.     The role of the OCSD and CHS ADA Coordinators and methods to
                           contact them;
                    5.     Instructions on how persons with disabilities can access health care
                           services, including the provision of Effective Communication and
                           other accommodations available in accessing those services; and
                    6.     The availability of and process for requesting access to auxiliary
                           aids, including sign language interpreters, and other
                           accommodations for people with disabilities affecting
                           communication.
               B.   Upon booking, persons with disabilities shall receive, in an accessible
                    format (including in Spanish language), an orientation video regarding rules
                    or expectations. Once they are housed, persons with disabilities shall
                    receive, in an accessible format (including in Spanish language): the Jail
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                    rules, the ADA information brochure and the ADA inmate qualifications/
                    acknowledgement of rights/programs form as part of the initial ADA
                    interview process conducted by the ADA Compliance deputies.
               C.   The County shall ensure that all information from the orientation process is
                    communicated effectively to people with communication-related
                    disabilities. The County shall ensure that any orientation videos are
                    available with closed captioning, and in Spanish language.
               D.   The County shall post an ADA Rights Notice that provides information
                    about incarcerated persons’ rights under the ADA, reasonable
                    accommodations, and contact information for the ADA Coordinator. The
                    Notice shall be prominently posted in all housing units, in the
                    booking/intake areas, in medical/mental health/dental treatment areas, and
                    at the public entrances of all Jail facilities.
               E.   The County shall ensure that staff orient and provide individualized support
                    for persons who are blind, low vision, deaf, hard of hearing, or who have
                    developmental or intellectual disabilities when the County initially places
                    such people in housing or transfers such people to a new housing unit. The
                    orientation must be effectively communicated to ensure that the person with
                    a disability can safely navigate the housing unit and understands how to
                    request assistance, including from staff working in the housing unit. The
                    nature and extent of the orientation will depend on individual need.

 V.            EFFECTIVE COMMUNICATION
               A.   For people with disabilities affecting communication, the County shall
                    assess each person’s Effective Communication needs, and shall provide
                    Effective Communication based on individual need.
               B.   The County shall assess all people detained at the Jail for any period of
                    time to determine if they have a disability that affects communication. A
                    disability affects communication if it affects hearing, seeing, speaking,
                    reading, writing, or understanding. Persons who have disabilities affecting
                    communication include, but are not limited to, people who are blind or have
                    low vision, who are deaf or hard of hearing, who have a speech, learning,
                    Intellectual/Developmental Disability, who have traumatic brain injury, or
                    who have a mental illness.
               C.   In determining what accommodations are necessary to achieve Effective
                    Communication, including what auxiliary aids and services may be
                    necessary, the County shall give primary consideration to the preference of
                    the person with Effective Communication needs.
               D.   Effective auxiliary aids and services shall be provided when simple written
                    or oral communication is not effective. Such aids may include, but are not

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                    limited to, bilingual aides, qualified sign language interpreters, certified
                    deaf interpreters, oral interpreters, readers, sound amplification devices,
                    captioned television/video text displays, speech-to-text and real-time
                    captioning, videophones and other telecommunication devices for deaf
                    persons (TDDs), video relay services, video remote interpreting services,
                    audiotaped texts, Braille materials, large print materials, screen readers,
                    writing materials, written notes, and signage.
               E.   The County shall ensure that staff provide Effective Communication such
                    that persons with communication-related disabilities can participate as
                    equally as possible in Jail programs, services, and activities for which they
                    are qualified.
               F.   The requirements in subsection (G) shall apply for Effective
                    Communication in the following situations:

                    1.     Due Process Events

                           a.     Classification processes;

                           b.     Jail disciplinary hearing and related processes;

                           c.     Service of notice (to appear and/or for new charges);

                           d.     Release processes;

                    2.     Clinical Encounters

                           a.     Obtaining medical history or description of ailment or injury;

                           b.     Communicating diagnosis or prognosis;

                           c.     Providing medical care (note: medical care does not include
                                  medication distribution);

                           d.     Performing medical evaluations;

                           e.     Providing mental health care;

                           f.     Performing mental health evaluation;

                           g.     Providing group and individual therapy, counseling and other
                                  therapeutic activities;

                           h.     Providing patient’s rights advocacy/assistance;



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                           i.     Obtaining informed consent or refusal for provision of
                                  treatment;

                           j.     Explaining information about: medications, medical or mental
                                  health procedures, treatment, or treatment options;

                           k.     Explaining discharge instructions;

                           l.     Providing clinical assistance during a medical/mental health
                                  round (note: this requirement does not apply to performing
                                  routine medical/mental health safety checks).

               G.   In the situations described in subsection (F), above, Jail staff shall:

                    1.     Prior to the encounter, access the ADA Tracking System or
                           Electronic Health Record system (as applicable) and identify if the
                           person requires reasonable accommodation(s) for Effective
                           Communication;

                    2.     Provide reasonable accommodation(s) to achieve Effective
                           Communication; and

                    3.     Document the method used to achieve Effective Communication and
                           how the staff person determined that the person understood the
                           encounter, process, and/or proceeding.

               H.   Lip reading generally should not be used by staff as a means of Effective
                    Communication. If an incarcerated person’s preferred/primary method of
                    communication is lip reading, then staff shall accommodate by speaking
                    slowly and loudly.
               I.   The County shall establish a process for logging all instances where sign
                    language interpreters are provided to persons in custody. The County shall
                    also log all instances where a sign language interpreter was needed but was
                    not provided.

 VI.           INTELLECTUAL AND DEVELOPMENTAL DISABILITIES
               A.   OCSD and CHS shall develop and implement comprehensive and
                    coordinated written policies and procedures on serving incarcerated people
                    with Intellectual/Developmental Disabilities.
               B.   CHS will develop and adopt a comprehensive screening process for trained
                    clinical staff to identify Intellectual/Developmental Disabilities, including
                    cognitive deficits, adaptive functioning deficits, and adaptive support
                    needs.

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                    1.     If a person is known to have or suspected of having an
                           Intellectual/Developmental Disability, the County shall provide a
                           secondary screening performed by a licensed clinical psychologist
                           within seven (7) business days.
                    2.     CHS will timely contact the appropriate Regional Center and request
                           the person’s current Individualized Program Plan (IPP), with the
                           person’s authorization. Once received, health care and custody staff
                           will review the IPP to ensure that appropriate supports and services
                           are provided.
                    3.     Whenever possible, Jail staff will work with the Regional Center and
                           any relevant County agencies to move a person with an identified
                           Intellectual or Developmental Disability out of custody and into a
                           setting with appropriate supports to meet the person’s individual
                           needs.
                    4.     CHS and OCSD will timely provide relevant information and input
                           about a person’s Intellectual/Developmental Disabilities and related
                           needs to OCSD Classification and ADA Compliance Unit staff, for
                           appropriate consideration as to housing, work assignments,
                           disciplinary measures, and other relevant matters.
               C.   A multidisciplinary team that includes appropriate health care staff shall
                    monitor and ensure appropriate care and support for people with an
                    Intellectual/Developmental Disability. For each patient, the
                    multidisciplinary team will develop an individualized plan that addresses:
                    (1) safety, vulnerability, and victimization concerns, (2) adaptive support
                    needs, and (3) programming, housing, and accommodation needs. The
                    multidisciplinary team’s plan will be reviewed quarterly. If a member of
                    the team becomes aware that a person with an Intellectual/Developmental
                    Disability has a change in (1), (2) or (3) above, the team will promptly
                    review and, if necessary, update the person’s plan.
               D.   Relevant staff, including housing deputies, the ADA Compliance Unit, and
                    work supervisors/teachers, shall be trained and informed, as appropriate, as
                    to: (a) incarcerated people with Intellectual/Developmental Disabilities,
                    their individualized plan, and related accommodation and adaptive support
                    needs; and (b) staff responsibilities to provide for such needs as well as to
                    monitor for and address any safety, vulnerability, or victimization concerns.
               E.   People identified as having an Intellectual/Developmental Disability shall
                    be provided with accommodations and adaptive supports tailored to their
                    needs, including (but not limited to) communications at the appropriate
                    comprehension level, more time to complete directions, and specific
                    behavioral and activities of daily living (ADL) supports.

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                    1.    Jail staff will be assigned, as appropriate, to assist with health
                          appointments, classification or disciplinary proceedings,
                          housing/facility transfers, and other events involving potentially
                          complex communications.
                    2.    The ADA Compliance Unit shall track provision of supports for
                          people with Intellectual/Developmental Disabilities on the ADA
                          Inmate Activity Log.
               F.   Incarcerated people with Intellectual/Developmental Disabilities, as well as
                    learning disabilities, will have access to easy reading books, magazines,
                    and electronic tablet programs consistent with their reading and cognitive
                    abilities, such that they have equal access to such materials as compared
                    with other incarcerated people at the Jail.
               G.   CHS and OCSD staff will provide discharge planning tailored to the needs
                    of people with Intellectual/Developmental Disabilities, including
                    appropriate and effective linkages to housing assistance and community-
                    based service providers.

 VII.          HEALTH CARE APPLIANCES, ASSISTIVE DEVICES, DURABLE
               MEDICAL EQUIPMENT
               A.   The County shall immediately provide HCA/AD/DME to persons for
                    whom HCA/AD/DME are a reasonable accommodation. The County shall
                    ensure an individualized assessment by qualified health care staff to
                    determine whether HCA/AD/DME is warranted and to ensure equal and
                    meaningful access to programs, services, and activities in the Jail.
               B.   The County shall track and document the inspection and maintenance of
                    HCA/AD/DME. Such documentation shall include the following
                    information for each device: whether the person has all assigned
                    HCA/AD/DME; whether the person believes the assigned HCA/AD/DME
                    is appropriate; whether the HCA/AD/DME is in good working order; and,
                    if the HCA/AD/DME requires repair or replacement or is inappropriate for
                    the person, a description of the actions taken (e.g., to repair/replace
                    HCA/AD/DME, evaluation for different HCA/AD/DME, etc.).
               C.   The County shall ensure that all County-provided wheelchairs are in
                    working order and have features consistent with individual needs.
               D.   The County shall not charge people in custody for the provision, repair, or
                    replacement of HCA/AD/DME.
               E.   Personal HCA/AD/DME. The County shall allow people to retain
                    personal HCA/AD/DME (including reading glasses, as allowed by current
                    policy), unless there is an individualized determination that doing so would
                    create an articulated safety or security risk.

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                    1.     Where Jail staff determine it is necessary to remove an individual’s
                           personal HCA/AD/DME for safety and security reasons, the County
                           shall immediately provide an equivalent alternative Jail-issued
                           device unless custody staff, with supervisory review, determine and
                           document, based on an individualized assessment, that the device
                           constitutes a risk of bodily harm or threatens the security of the
                           facility.
                    2.     If such a determination is made, an ADA Coordinator or supervisory
                           level designee shall document the decision and reasons for it, and
                           shall consult with medical staff within 48 hours to determine an
                           appropriate alternative device and/or accommodation.
                    3.     If an individual’s personal HCA/AD/DME is in need of repair, the
                           County shall either repair the HCA/AD/DME at the County’s
                           expense or provide the person with a replacement HCA/AD/DME at
                           the County’s expense while the person is incarcerated.
                    4.     Any HCA/AD/DME provided by the County to replace an
                           individual’s personal HCA/AD/DME shall be sufficient to provide
                           the person with safe access to the Jail’s programs, services, and
                           activities.
                    5.     If the County repairs a personal HCA/AD/DME, the County shall
                           provide the person with an interim HCA/AD/DME while the
                           personal HCA/AD/DME is being repaired.
               F.   Prosthetics. The County shall permit any person who has a prosthetic limb
                    or similar device and needs such prosthesis full use of such prosthesis while
                    in custody absent specifically identified security concerns.
                    1.     If a prosthetic limb or device is removed, a health care provider will
                           examine the person as soon as possible, and not later than the next
                           sick call after the removal, in order to address any negative impact
                           on the health or safety of the person and to provide an alternative
                           device and/or accommodation.
                    2.     If a person requires repair or maintenance of a prosthetic limb or
                           similar device, the County shall take prompt steps to resolve the
                           issue, including providing interim accommodations as indicated.
                    3.     If CHS determines a person requires a prosthetic limb or similar
                           device but does not have one, the County will take prompt steps to
                           provide appropriate assessment and timely provision of prostheses or
                           similar device. The County will provide an alternative assistive
                           device, based on clinical assessment and meaningful consideration
                           of the individual’s stated preference, as an interim accommodation
                           to facilitate equal access to services.
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               G.   The County shall not automatically remove HCA/AD/DME when
                    incarcerated people are placed in temporary holding, sobering, or
                    observation cells, and shall remove HCA/AD/DME only based on
                    individualized security factors and only for the minimum time necessary.
               H.   HCA/AD/DME Upon Release. The County shall take steps necessary to
                    address a person’s disability needs upon release. In no event will a person
                    in need of HCA/AD/DME be released without access to HCA/AD/DME
                    that is in good working order and appropriate for the person’s needs.
                    1.     The County will ensure that any personally owned HCA/AD/DME
                           that has been removed is returned to the incarcerated person prior to
                           release from custody.
                    2.     Upon release, if an incarcerated person does not have personal
                           HCA/AD/DME or came to the Jail with HCA/AD/DME that is not
                           adequate for the person’s needs, the County will permit the person to
                           retain any HCA/AD/DME that the County provided to the person
                           while in custody, or the County will provide a comparable device.
                           Jail staff may alternatively coordinate with the incarcerated person,
                           the person’s family or friends, and/or other County agencies to
                           secure HCA/AD/DME for the person prior to release.
                    3.     The County shall document this process in a manner that (a) can be
                           reviewed for quality assurance and (b) ensures individual tracking
                           and an adequate inventory of HCA/AD/DME.

 VIII. HOUSING PLACEMENTS
               A.   The County shall house persons with disabilities in the most integrated
                    setting appropriate, consistent with their individual security classification,
                    in facilities that accommodate their disabilities and in which they have
                    equivalent access to programs, services, and activities.
               B.   The County shall provide persons with disabilities at all classification levels
                    with access to out-of-cell time, programs, services, activities that is
                    equivalent to the access provided to persons without disabilities with
                    comparable security and classification profiles.
               C.   The County shall maintain a housing assignment system that utilizes
                    information in the ADA Tracking System/Existing ADA Tracking System
                    for each person’s disability needs, including, but not limited to:
                    1.     The need for ground floor housing;
                    2.     The need for a lower bunk;
                    3.     The need for grab bars in the cell;
                    4.     The need for a cell with sufficient clearance for a wheelchair;
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                    5.     The need for accessible toilets;
                    6.     The need for accessible showers;
                    7.     The need for no stairs or other obstructions in the path of travel;
                    8.     The need for level terrain; and
                    9.     The need for mental-health related accommodations.
               D.   Classification staff shall not place persons with disabilities in:
                    1.     Inappropriate security classifications simply because no ADA-
                           accessible cells or beds are available;
                    2.     Designated medical areas unless the person is currently receiving
                           medical care or treatment that necessitates placement in a medical
                           setting; or
                    3.     Any location that does not offer the same or equivalent programs,
                           services, or activities as the facilities where they would be housed
                           absent a disability.
               E.   Sheltered Living cells
                    1.     The County agrees that the Sheltered Living cells behind the O
                           Module at Central Men’s Jail create operational difficulties,
                           including with respect to the provision of adequate out-of-cell time,
                           program access, and socialization for incarcerated persons with
                           disabilities. OCSD will deactivate and no longer use these Sheltered
                           Living cells for incarcerated persons with disabilities at the earliest
                           date feasible given COVID-related housing demands (e.g.,
                           quarantine housing) and alternative accessible housing. OCSD will
                           begin to re-house individuals with disabilities from Sheltered Living
                           as soon as other accessible housing units are available.

                    2.     Until the Central Men’s Jail Sheltered Living cells are deactivated,
                           the County shall house a person with a disability in the Sheltered
                           Living cells only if there is no other placement that is consistent with
                           the person’s classification/housing needs and meets the person’s
                           accessibility needs.

               F.   The County shall assist incarcerated persons with disabilities (including in
                    wheelchairs) to access the Central Men’s Jail yard from the elevators and to
                    navigate the ramp leading to the yard. Staff shall ensure incarcerated
                    persons with mobility disabilities are provided access to an accessible
                    restroom when on the Central Men’s Jail yard.



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               G.   The County shall conduct periodic quality assurance audits to ensure that
                    all people in custody who require accommodations in housing are placed in
                    housing consistent with their needs.
               H.   The County shall develop a process to expeditiously move people in
                    custody with disability-related needs who are inappropriately housed in an
                    inaccessible placement to an accessible placement.

 IX.           ACCESS TO PROGRAMS, SERVICES, AND ACTIVITIES
               A.   The County shall ensure that all persons with disabilities, including those in
                    ADA-accessible or other specialized housing, are informed of and have
                    equal access to programs, services, and activities available to similarly
                    situated persons without disabilities, consistent with their health and
                    security needs. Such programs, services, and activities include, but are not
                    limited to:
                    1.     Dayroom and out-of-cell time;
                    2.     Outdoor recreation and exercise equipment;
                    3.     Showers;
                    4.     Telephones;
                    5.     Reading materials;
                    6.     Reading and scribing documents;
                    7.     Religious services;
                    8.     Educational, vocational, reentry and substance abuse programs;
                    9.     Work Assignments, including the Community Work Program;
                    10.    Medical, mental health, and dental services and treatment;
                    11.    Public visiting; and
                    12.    Attorney visiting.
               B.   The County shall provide appropriate assistance to persons with disabilities
                    so that they can meaningfully participate in Jail programs, services, and
                    activities for which they are qualified and medically cleared.
               C.   The County shall assist persons with disabilities in reading or scribing
                    documents (legal, medical, request forms, grievances, due process, etc.).
               D.   The County shall provide equal access to library, recreational, and
                    educational reading materials for persons with disabilities, including
                    providing easy reading, large-print, and Braille books; a Braille writer
                    audiobooks; accessible electronic tablet programming; and assistive
                    technology, as necessary.

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               E.   The County shall log and track out-of-cell time and program participation
                    to ensure that people with disabilities receive meaningful and equitable
                    access to such programs and activities. At minimum, the system shall
                    collect information as to:
                    1.    When the County offers out-of-cell opportunities (dayroom and
                          outdoor); whether the incarcerated person with a disability accepts or
                          refuses the opportunity; and, if an incarcerated person accepts the
                          opportunity, the amount of time spent out of cell;
                    2.    The ADA Compliance Unit shall interview incarcerated persons
                          with disabilities on a monthly basis. If during the interview, the
                          ADA Compliance Unit discovers that a person with a disability has
                          refused offers for outdoor recreation three times in a row, or has
                          refused offers for dayroom three times in a row, the ADA
                          Compliance Unit shall inquire and document the reason(s) for the
                          refusal. The ADA Compliance Unit shall inquire whether a disability
                          accommodation, mental health referral or other action is needed to
                          afford meaningful access, and shall document the action taken in the
                          incarcerated person’s ADA Inmate Activity Log. During the
                          monthly meeting, the ADA Compliance Unit will also provide the
                          incarcerated person with a message slip to contact the ADA
                          Compliance Unit regarding any disability issues. If at any time prior
                          to the monthly interview, any member of the ADA Compliance Unit
                          becomes aware that an incarcerated person with a disability may
                          need a disability accommodation, mental health referral or other
                          action to afford meaningful access to out-of-cell opportunities, the
                          ADA Compliance Unit will meet promptly with the incarcerated
                          person and document the action taken in the incarcerated person’s
                          ADA Inmate Activity Log.

                    3.    The County shall conduct an annual review to determine whether the
                          County offers structured programs and activities, including, but not
                          limited to, religious, educational, vocational, reentry, and substance
                          abuse programs, on an equal basis to people with disabilities and
                          whether there are access/accommodation barriers to be addressed.

 X.            ACCESS TO WORKER OPPORTUNITIES
               A.   The County shall ensure equitable work opportunities for incarcerated
                    persons with disabilities. Incarcerated people with disabilities who can
                    perform the essential functions of a position, with or without
                    accommodations, shall be considered for and placed into work
                    opportunities in the same manner as incarcerated people who do not have
                    disabilities and who are similarly situated with respect to other factors

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                    unrelated to disability (e.g., classification level, individualized security
                    considerations). To ensure equitable work opportunities for incarcerated
                    people with disabilities, the County shall:
                    1.     Ensure clear job descriptions that include the essential functions and
                           clear hiring criteria that do not inappropriately screen out people
                           with disabilities;
                    2.     Ensure that medical staff conduct an individualized assessment to
                           identify work duty restrictions and/or physical limitations, in order
                           to ensure appropriate work assignments and reasonable
                           accommodations on the job;
                    3.     Ensure that staff supervising incarcerated workers consider, with
                           input from the incarcerated person, reasonable accommodations that
                           would make it possible for the incarcerated person to perform the
                           essential job functions and/or consider whether the incarcerated
                           person could, with or without reasonable accommodations, perform
                           the essential job functions of another position.
                    4.     Ensure equitable work opportunities for incarcerated persons with
                           intellectual disabilities, with appropriate accommodations and
                           supports (e.g., additional supervision and training, modified
                           production expectations, expanded timeframes for completion of
                           projects, etc.).
               B.   Nothing in this section shall prohibit the County from excluding a person
                    from a work opportunity who would be disqualified based on factors
                    unrelated to the person’s disability, including classification level and
                    individualized security considerations that cannot be addressed through
                    reasonable disability-related accommodations.

 XI.           ACCESS TO COMMUNITY WORK PROGRAM
               A.   The County shall ensure equal access to the Community Work Program
                    (CWP) for people with disabilities. People with disabilities who can
                    perform the essential functions of a CWP position, with or without
                    accommodations, shall be considered for and placed into CWP
                    opportunities in the same manner as people who do not have disabilities
                    and who are similarly situated with respect to other factors unrelated to
                    disability (e.g., classification level, individualized security considerations).
                    To ensure equitable CWP opportunities for people with disabilities, the
                    County shall:
                    1.     Ensure clear job descriptions that include the essential functions and
                           clear hiring criteria that do not inappropriately screen out people
                           with disabilities;

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                    2.     Ensure that medical staff conduct an individualized assessment to
                           identify work duty restrictions and/or physical limitations, in order
                           to ensure appropriate CWP assignments and reasonable
                           accommodations on the job;
                    3.     Ensure that staff supervising CWP workers consider, with input
                           from the incarcerated person, reasonable accommodations that
                           would make it possible for the person to perform the essential job
                           functions and/or consider whether the person could, with or without
                           reasonable accommodations, perform the essential job functions of
                           another CWP position.
                    4.     Ensure equitable CWP opportunities for incarcerated persons with
                           intellectual disabilities, with appropriate accommodations and
                           supports (e.g., additional supervision and training, modified
                           production expectations, expanded timeframes for completion of
                           projects, etc.).
               B.   The County shall end its practice of medical staff not approving people
                    with disabilities for participation in the CWP based on a person’s
                    disabilities absent meaningful consideration of essential job functions and
                    reasonable accommodations.
               C.   The County shall provide reasonable accommodations to enable
                    incarcerated persons with disabilities to participate in work opportunities,
                    including the CWP.
               D.   Nothing in this section shall prohibit the County from excluding a person
                    from the CWP who would be disqualified based on factors unrelated to the
                    person’s disability, including classification level and individualized security
                    considerations that cannot be addressed through reasonable disability-
                    related accommodations.

 XII.          DISABILITY-RELATED GRIEVANCE PROCESS
               A.   The County shall ensure that grievance policies and procedures are readily
                    available and accessible to all persons.
                    1.     The County shall inform people of the disability grievance
                           procedures, including, but not limited to, by posting notices
                           throughout the Jail, ensuring the grievance procedures are explained
                           in the orientation packet, and discussing the procedures with people
                           with disabilities during the meeting with staff from the ADA
                           Compliance Unit that occurs within seven days of a person being
                           identified as having a disability.



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                    2.     The County shall ensure that the disability grievance procedures are
                           effectively communicated to persons with disabilities affecting
                           communication.
               B.   The County shall track all grievances that request disability
                    accommodations and/or raise any disability-based discrimination or
                    violation of the ADA, this Remedial Plan, or Jail ADA-related policy.
               C.   The County shall ensure that all persons, including people with disabilities,
                    have meaningful access to the grievance process and to grievance forms.
                    1.     The County shall ensure that grievance forms are readily available to
                           people in custody, either by placing grievance forms in the housing
                           units in areas accessible to people in custody or ensuring that staff
                           provide grievance forms promptly upon request, irrespective of the
                           type of grievance raised.
                    2.     Jail staff can and should attempt to address grievances informally
                           but may not, under any circumstances, refuse to provide a requested
                           grievance form, destroy a grievance form, or otherwise obstruct or
                           interfere with a person’s ability to submit a grievance form.
                    3.     Jail staff shall assist people in custody who require accommodations
                           to submit a grievance or to appeal a grievance response (e.g., people
                           who are blind, have an Intellectual/Development Disability, have a
                           learning disability, or who have physical disabilities that make it
                           difficult or impossible for them to write, or are illiterate).
               D.   Responses to Grievances
                    1.     The Housing Sergeant who receives the grievance or appeal shall
                           screen all ADA-related grievances and appeals within one day of
                           receipt to determine whether the grievance presents an urgent issue
                           regarding a person’s safety or well-being. For grievances and
                           appeals that present an urgent issue, the County shall either (a)
                           immediately provide an interim accommodation that addresses the
                           urgent issue pending a final response to the grievance or (b) resolve
                           the grievance promptly with participation of health care staff, as
                           appropriate. For grievances that raise significant and imminent
                           health or safety risks, the County shall address the grievance
                           immediately.
                    2.     The Facility Administrative Sergeant, in consultation with the ADA
                           Compliance Unit, shall investigate all non-urgent ADA-related
                           grievances and appeals and provide a written response within
                           fourteen days of receipt.



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               3.   In limited circumstances where the County is unable to resolve the
                    grievance within fourteen days (e.g., the incarcerated person must be
                    referred to a specialist and the appointment will not occur within
                    fourteen days or the grievance involves a personnel complaint), the
                    County should still provide a response within fourteen days. The
                    response should communicate why the County cannot resolve to the
                    grievance within the fourteen-day deadline and, if relevant, provide
                    information regarding any subsequent events scheduled to resolve
                    the grievance (e.g., a specialist appointment) and address, as
                    appropriate, provision of interim accommodations pending
                    resolution .
               4.   If the grievance is a request for an accommodation, the response
                    must articulate whether the County is granting the requested
                    accommodation, providing an alternative accommodation, or is
                    declining to provide any accommodation. If the County is not
                    providing the requested accommodation, the response must explain
                    the reasoning for the decision. If the County is providing an
                    accommodation (either the requested accommodation or an
                    alternative), the County must document that it has provided the
                    granted accommodation.
               5.   The County shall ensure that, in responding to an ADA-related
                    grievance, the ADA Compliance Unit receives input from all
                    sources, including OCSD and CHS staff, as necessary to respond to
                    the grievance. Input from CHS staff may be required in
                    circumstances where the grievance raises a question regarding
                    whether the grievant has a disability or whether an accommodation
                    requested by the grievant is reasonable. CHS staff may provide input
                    based on a records review and/or in-person evaluation conducted for
                    purpose of responding to the grievance, as circumstances warrant.
               6.   When necessary, the ADA Compliance Unit shall interview people
                    in custody regarding their requests for accommodations to gather
                    information about or to clarify the nature of the request for
                    accommodation.
               7.   All grievance responses shall include an explanation of the process
                    for appealing the grievance response.
               8.   The County shall ensure that it effectively communicates all
                    grievance and appeal responses to the grievant/appellant.
               9.   When a person files a grievance or appeal of a grievance response,
                    the County shall provide a copy of the grievance or appeal to the
                    grievant.

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               E.   The County shall ensure that incarcerated persons do not face any
                    retaliation for requesting accommodations or submitting grievances.

 XIII. ALARMS/EMERGENCIES/ANNOUNCEMENTS
               A.   The County shall accommodate people with disabilities with respect to
                    alarms and emergencies.
               B.   Relevant policies related to accommodations for alarms and emergencies
                    shall be communicated to persons with disabilities using Effective
                    Communication.
               C.   The County shall communicate effectively and appropriately with persons
                    who have disabilities that may present barriers to communication during
                    emergencies or alarms.
               D.   In order to facilitate appropriate accommodations during alarms or
                    emergencies, the County shall offer, but shall not require, people who have
                    disabilities to wear visible markers to identify their disability needs (e.g.,
                    identification vests). The County shall also maintain a list, posted in such a
                    way to be readily available to Jail staff in each unit, of persons with
                    disabilities that may require accommodations during an alarm or
                    emergency.
               E.   The County shall ensure that people who are deaf or hard of hearing receive
                    effective communication during alarms and emergency announcements.
                    Staff will prioritize these persons during alarms, emergency announcements
                    and any evacuation.
               F.   Staff shall ensure that they effectively communicate all verbal
                    announcements to persons with disabilities that affect communication. For
                    example, staff may need to communicate verbal announcements in writing
                    or electronic means (e.g., pager) to deaf incarcerated people.
               G.   Staff shall ensure that they effectively communicate all written notices to
                    persons with disabilities that affect communication. For example, staff may
                    need to read a written notice to blind or low vision incarcerated people or
                    provide such notices in large print.

 XIV. SEARCHES, RESTRAINTS, AND COUNTS
               A.   The County shall ensure that incarcerated people with disabilities, including
                    those with prosthetic limbs, receive reasonable accommodations with
                    respect to the following:
                    1.     All searches, including pat searches and searches without clothing;
                    2.     Application of restraint equipment; and
                    3.     During counts.
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               B.   Incarcerated persons with disabilities who cannot be restrained, searched, or
                    counted using the standard methods/processes, including but not limited to
                    persons with certain mobility or upper extremity disabilities, using
                    HCA/AD/DME, using prosthetic limbs, and in need of Effective
                    Communication accommodations, must be provided reasonable
                    accommodations.

 XV.           TRANSPORTATION
               A.   The County shall provide reasonable accommodations for persons with
                    disabilities when they are in transit, including during transport to court,
                    between Jail facilities, or to outside health care services.
               B.   Prescribed HCA/AD/DME, including canes, for persons with disabilities
                    shall be available to the person at all times during the transport process.
               C.   The County shall use accessible vehicles to transport persons whose
                    disabilities necessitate special transportation, including by maintaining a
                    sufficient number of accessible vehicles. For scheduled transportation (e.g.,
                    court appearances and non-emergency outside medical appointments), the
                    County shall schedule the accessible transportation in advance. The County
                    shall ensure that, to the greatest extent practicable, persons who require
                    accessible transportation are not required to wait longer for transportation
                    than people who do not require accessible transportation. The County shall
                    ensure that transportation staff do not ask persons who require accessible
                    transportation to accept inaccessible transportation.
               D.   Persons with mobility impairments shall, when necessary, be provided staff
                    assistance getting on and off transport vehicles.

 XVI. ADA TRAINING, ACCOUNTABILITY, AND QUALITY ASSURANCE
               A.   The County shall ensure all custody, health care, and other Jail staff receive
                    annual ADA training appropriate to their position.
                    1.     The County shall provide to all staff appropriate training on
                           disability awareness, including the use and purpose of
                           accommodations and modifications in accordance with the ADA and
                           other federal and state disability law.
                    2.     The County shall provide to all staff appropriate training on Trauma-
                           Informed Care, which will be included in the ADA training and
                           Crisis Intervention training (CIT).
                    3.     The ADA training shall include: formalized lesson plans and in-
                           classroom or real-time virtual training for staff (including managers,
                           supervisors, and rank-and-file staff) provided by certified or


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                           otherwise qualified ADA trainers. Self-directed study may be paired
                           with real-time ADA training.
                    4.     CHS and OCSD staff shall receive periodic training on the range of
                           potential accommodation and adaptive support needs of people with
                           Intellectual/Developmental Disabilities.
               B.   ADA instructors shall have appropriate ADA training and subject matter
                    expertise necessary to effectively provide ADA training to staff.
               C.   The County shall, in consultation with Counsel and the joint expert,
                    develop and implement written policies and procedures regarding
                    monitoring, investigating, and tracking staff violations (or allegations of
                    violations) of ADA requirements and Jail ADA policies.

               D.   The County shall develop an ADA accountability plan intended to timely
                    log and investigate allegations, from any source, that staff have violated the
                    ADA or Jail ADA-related policies and procedures. OCSD staff who OCSD
                    finds have violated the ADA or Jail ADA-related policies and procedures
                    shall be subject to OCSD’s progressive discipline policy. CHS staff who
                    the Health Care Agency finds to have violated the ADA or Jail ADA-
                    related policies and procedures shall be subject to the Health Care Agency’s
                    discipline policy.




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       TOPIC 2: ELIMINATION OF HARMFUL RESTRICTIVE HOUSING AND
                         DISCIPLINARY PRACTICES

 I.            SYSTEMWIDE INCREASE OF MINIMUM OUT-OF-CELL TIME

               A.   It is the intent of OCSD and CHS to provide as much out-of-cell time and
                    programming to the incarcerated population as possible, consistent with
                    security, classification, and operational needs.

               B.   Absent exigent circumstances or exigent security concerns that are
                    documented, the County shall offer each person in custody who is not
                    housed in the Special Management Unit a minimum of twenty-four (24)
                    hours out of their cell each week, as follows:

                    1.    At least (3) hours per day in a dayroom or other common area, for a
                          total of at least twenty-one (21) hours per week.

                          a.     OCSD will offer additional dayroom time beyond three (3)
                                 hours per day as scheduling and classification needs allow.
                                 To do so, OCSD will ensure that dayrooms in celled housing
                                 units will be available and occupied for use by incarcerated
                                 people from 0600 through 2300 hours daily, except in cases
                                 of emergency and as necessary for particular events related to
                                 the safety and security of the institution (e.g., counts,
                                 searches). Once every incarcerated person in a celled housing
                                 unit has been offered use of the dayroom and, if they choose,
                                 used the dayroom for three hours in a day, OCSD shall offer
                                 another opportunity to use the dayroom to incarcerated people
                                 who already used the dayroom or were already offered but
                                 declined the opportunity to use the dayroom. OCSD shall
                                 make efforts to rotate these opportunities for additional
                                 dayroom among the incarcerated people in a housing unit or
                                 sector so that everyone in the unit or sector can have
                                 approximately equal additional dayroom time. If everyone in
                                 the unit or sector has had an opportunity for dayroom time
                                 and everyone refuses any subsequent offer of additional
                                 dayroom time, dayroom will be closed for two hours.
                                 Incarcerated persons will then be offered dayroom on a
                                 recurring two hour cycle for the remainder of the day. If a
                                 pattern develops that an incarcerated person is refusing an
                                 offer of dayroom time in an apparent attempt to obtain a
                                 specific dayroom time, the incarcerated person will be
                                 informed that the specific dayroom time will not be offered,
                                 and will be given the opportunity to accept the offered time.

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                    b.    When people are provided dayroom time, OCSD staff will
                          ensure they have ready access to toilet facilities. This may be
                          accomplished by staff opening their cell door promptly upon
                          request (and allow them to return to dayroom after using the
                          toilet/sink), or other appropriate procedure.

                    c.    OCSD shall document if there are exigent circumstances, if a
                          person is at court, or if the person is at an off-site medical
                          appointment, so as to preclude the provision of minimum
                          dayroom time on a given day.

                    d.    Scheduled programming in the dayroom may be included in
                          the three hours per day of dayroom time.

               2.   At least three (3) hours per week outdoors for exercise and/or
                    recreation.

                    a.    OCSD will offer additional outdoor exercise and/or recreation
                          time beyond three (3) hours per week as scheduling and
                          classification needs allow. To do so, OCSD will ensure that
                          all outdoor recreation areas are in use by incarcerated people
                          from 0600 through 2300 hours daily, except in cases of
                          emergency and as necessary for particular events related to
                          the safety and security of the institution (e.g., counts,
                          searches). For the outdoor space adjacent to the Theo Lacy
                          Barracks (the “Green Sector”), where artificial lighting is
                          unavailable, OCSD will ensure that the Green Sector is in use
                          by incarcerated people during daylight hours, except in cases
                          of emergency and as necessary for particular events related to
                          the safety and security of the institution (e.g., counts,
                          searches). Once every incarcerated person has been offered
                          use of the outdoor recreation area and, if they choose, used
                          the outdoor recreation area for three hours per week, OCSD
                          shall offer additional opportunities to use the outdoor
                          recreation area to incarcerated people who already used the
                          outdoor recreation area or were already offered the
                          opportunity to use the outdoor recreation area. OCSD shall
                          make efforts to rotate these opportunities for additional
                          outdoor recreation among the incarcerated people so that
                          everyone can have approximately equal additional outdoor
                          recreation time. If everyone in the unit or sector has had an
                          opportunity for outdoor recreation time and everyone refuses
                          any subsequent offer of additional outdoor recreation time,
                          outdoor recreation will be closed for two hours. Incarcerated
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                                  persons will then be offered outdoor recreation on a recurring
                                  two hour cycle for the remainder of the day. If a pattern
                                  develops that an incarcerated person is refusing an offer of
                                  outdoor recreation time in an apparent attempt to obtain a
                                  specific outdoor recreation time, the incarcerated person will
                                  be informed that the specific outdoor recreation time will not
                                  be offered, and will be given the opportunity to accept the
                                  offered time.

                           b.     OCSD shall document if exigent circumstances or inclement
                                  weather affecting the safety of the outdoor recreation area
                                  preclude the provision of the minimum outdoor time in a
                                  given week.

                    3.     OCSD will offer additional programming, including through
                           electronic tablets, that will be available for use when people are
                           confined to their cells, among other times. OCSD expects that the
                           electronic tablet program will be rolled out by the first quarter of
                           2023, and that tablets will be provided. OCSD will take affirmative
                           steps to ensure that electronic tablet programming is accessible to
                           people with disabilities (e.g., vision).

               C.   Consistent with safety and security needs, the County shall take steps to
                    maximize opportunities for people in celled housing units to interact with
                    others during out-of-cell time.

               D.   The County will make best efforts to accommodate individual needs
                    regarding the time of day for out-of-cell time (e.g., for people with
                    disabilities impacting fatigue, on sleep medications, etc.).

               E.   The County will make best efforts to ensure that all people are offered
                    some opportunities for out-of-cell time during normal daylight hours each
                    week.

               F.   The County shall utilize an effective electronic system for documenting and
                    tracking the amount of out-of-cell time that each person in custody is
                    offered and receives with respect to each of the above categories.

               G.   The County shall conduct electronic audits at least weekly to ensure that
                    OCSD is offering the required out-of-cell time consistent with the
                    provisions set forth herein. Supervisory staff will regularly review this data
                    for quality assurance and take steps to address any deficiencies.



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               H.   OCSD, in coordination with CHS, may place temporary restrictions on
                    dayroom and outdoor recreation access, such as for issues related to
                    infectious disease control.

               I.   OCSD may place temporary restrictions on dayroom and outdoor recreation
                    access for the count, the escort of CHS or other non-custodial personnel,
                    and for any lockdown of a facility/housing unit for security reasons.

               J.   In cases where a person refuses out-of-cell time repeatedly (e.g., more than
                    3 times in one week) and the reason for such refusals may be related to their
                    mental health, medical, or disability status, Jail staff will make a referral to
                    CHS (urgent or higher) for assessment and appropriate clinical follow-up.

 II.           CLOSURE OF DISCIPLINARY ISOLATION (DI) CELLS AND CENTRAL
               MEN’S SHELTERED LIVING CELLS TO END HOUSING OF PEOPLE
               IN AREAS OF EXTREME SENSORY DEPRIVATION AND LACK OF
               PROGRAMMING SPACE
               A.

                                           72 “Disciplinary Isolation” (DI) cells, including 24
                    cells at the Intake and Release Center (IRC), 32 cells at Theo Lacy, 12 cells
                    at Central Men’s Jail, and 4 cells at Central Women’s Jail.

               B.   The DI cells at IRC were recently deactivated and will no longer be used
                    for disciplinary or any other form of housing effective. The DI cells at IRC
                    are designated to be repurposed for meeting space available for people in
                    custody (legal counsel meetings, mental health contacts, etc.).

               C.   OCSD recently deactivated and will no longer use the DI cells at Theo
                    Lacy, Central Men’s Jail, and Central Women’s Jail for disciplinary or any
                    other form of housing.

               D.   Notwithstanding the above, OCSD may use the above-referenced cells on a
                    temporary basis for infection control or exigent security reasons.

 III.          CREATION OF SPECIAL MANAGEMENT UNIT (SMU) STATUS
               A.   With the deactivation of the Disciplinary Isolation cells, OCSD shall revise
                    its Disciplinary system to instead utilize a Special Management Unit
                    (SMU). The SMU will be in designated general modular housing unit(s)
                    and serve as housing for people on a temporary housing status for
                    prescribed periods of time, due to a disciplinary violation. SMU will be
                    utilized for only egregious and violent rule violations.

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               B.   OCSD and CHS will implement new procedures to limit the number and
                    length of placements in the SMU, including as set forth below.

               C.   OCSD shall utilize a disciplinary matrix of penalties that will include
                    alternatives to SMU disciplinary housing status. The matrix shall set forth
                    maximum penalties for each disciplinary violation. SMU disciplinary
                    housing status shall be reserved for offenses involving violence, escape,
                    possession of drugs or weapons, or posing a serious threat to the facility’s
                    safety and security or by encouraging others to engage in such misconduct.

               D.   No SMU disciplinary term for a rule violation will exceed 30 days.
                    Disciplinary SMU placements for violations that arise out of the same
                    episode shall be served concurrently.

               E.   CHS will be notified prior to the placement of any person in the SMU. A
                    medical evaluation will be conducted within 72 hours prior to a person’s
                    placement in the SMU. A mental health evaluation will be conducted
                    within 24 hours prior to a person’s placement in the SMU.

               F.   No person will be placed in the SMU prior to a disciplinary hearing, except
                    in rare cases in which there is a current threat to safety and security of the
                    facility that requires immediate SMU placement.

                    1.     Such placement may occur only with approval of the Watch
                           Commander. CHS will conduct a medical and mental health
                           evaluation within eight hours of the placement.

                    2.     Placement in the SMU pending a disciplinary hearing will not
                           include the loss of any regular privileges.

               G.   Upon placement in the SMU, OCSD will provide each individual, in
                    writing and with effective communication accommodations as needed,
                    notice as to the conditions, privileges, expectations, and incentive-based
                    system that applies in the SMU. OCSD staff shall document that this
                    information is communicated effectively to individuals with disabilities
                    affecting communication.

               H.   Conditions and Incentive-Based System in the SMU

                    1.     A person placed in the SMU will be offered a minimum of two (2)
                           hours per day of out-of-cell time, with opportunities for interaction
                           with others (e.g., shared dayroom time) consistent with safety and
                           security needs.



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               2.   When a person is placed in the SMU, certain privileges may initially
                    be suspended, as determined at the disciplinary hearing.

               3.   OCSD will develop an incentive-based system to facilitate
                    reinstatement of privileges based on compliance with Jail
                    regulations. The incentive-based system will include consideration –
                    at the Weekly Review (discussed below) – of early discharge from
                    the SMU and/or reinstatement of privileges based on positive
                    behavior, including:

                    a.    Outdoor recreation

                    b.    Dayroom time beyond the required two (2) hours per day

                    c.    Public visiting

                    d.    Access to commissary items

                    e.    Access to newspapers, magazines and more than one book
                          (the one book will be in addition to any religious materials,
                          with a process for book exchange promptly upon request)

                    f.    Access to personal telephone calls

                    g.    Electronic tablets

                    h.    Cards or games

                    i.    Return of personal property items

               4.   OCSD will develop clear rules that are effectively communicated to
                    incarcerated persons held in the SMU that explain under what
                    circumstances a person can achieve early release from the SMU
                    and/or reinstatement of privileges.

               5.   Any person placed in the SMU will not be denied exercise of
                    religion. OCSD will ensure that people in the SMU may participate
                    in religious programming, absent a specific security concern that is
                    documented.

               6.   Access to showers will not be restricted in the SMU. Additional
                    showers will be provided upon reasonable request and in cases
                    where personal hygiene and sanitation warrant, including where
                    necessary to accommodate people with disabilities (e.g., extra
                    showers for individuals with incontinence). OCSD will ensure

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                          adequate documentation as to the provision of showers to each
                          person in the SMU.

                    7.    Any person placed in the SMU will have normal personal
                          mail/correspondence privileges except in cases where the person has
                          been found to have violated correspondence regulations, in which
                          case correspondence may be suspended for no longer than seventy-
                          two (72) hours without the review and approval of the
                          Administrative Captain.

                    8.    Any person placed in the SMU will have access to the telephone on
                          request to contact an attorney, the courts, or for personal
                          emergencies.

                    9.    Access to legal counsel shall not be restricted as a disciplinary
                          measure.

                    10.   Any person in the SMU will always be permitted one book from the
                          Orange County Jail Library, which can be exchanged for another
                          book promptly upon request.

               I.   Regular Classification Review Process in SMU

                    1.    For each person held in the SMU, custody staff will conduct a
                          review at least every seven (7) days (the “Weekly Review”),
                          regardless of any assessed SMU term imposed, to evaluate the
                          person’s current circumstances and determine whether the person
                          should be removed from the SMU and/or have some or all privileges
                          reinstated.

                    2.    The Weekly Review will include a face-to-face interview in a
                          private, out-of-cell setting, consistent with individual security needs,
                          to discuss progress and compliance with the SMU-detained person’s
                          individual case plan.

                    3.    As part of the Weekly Review, custody staff shall confer with
                          mental health and medical staff about whether the SMU setting
                          and/or denial of privileges/property is causing harm or risk of harm
                          to the individual’s well-being and if so, the appropriate steps to
                          address the issue (including removal from SMU or reinstatement of
                          privileges/property (in particular, phone contact/visits with
                          family/loved ones or access to reading/writing/art materials)
                          pursuant to the incentive-based system). Mental health and medical
                          staff input should be documented.

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                    4.    Completion of the Weekly Review process will be overseen by the
                          Watch Commander or other Commander-level-or-higher staff.

                    5.    Absent extraordinary circumstances that include a person’s
                          persistent failure to comply with facility regulations in a manner that
                          poses a specific threat to safety and security, no SMU placement will
                          exceed thirty (30) days.

                    6.    If a person is held in the SMU for 28 days, the Administrative
                          Captain will conduct a review (the “28-Day Review”), which shall
                          include a face-to-face interview with the person in a private out-of-
                          cell setting (consistent with individual security needs), consultation
                          with mental health and medical staff, and consultation with custody
                          staff in the housing unit.

                    7.    If a person is retained in the SMU following completion of a Weekly
                          Review or 28-Day Review, OCSD will document and provide the
                          person with written notice explaining (a) the reasons for retention in
                          the SMU, and (b) clear expectations for how the person may earn
                          reinstatement of privileges and progress to a less restrictive setting.
                          This information will be effectively communicated to the individual
                          consistent with any applicable communication- and/or disability
                          accommodation-related needs.

                    8.    Appropriate SMU Review form(s) will be implemented consistent
                          with the provisions set forth herein.

               J.   Hygiene Items and Writing Supplies

                    1.    OCSD will ensure that persons placed in the SMU receive a welfare
                          pack containing appropriate personal hygiene items and writing
                          supplies.

                    2.    Staff will provide replacement items for all allowable hygiene items
                          and writing supplies promptly upon request, except in cases where
                          the individual is using a particular item improperly.

                    3.    OCSD will ensure complete and adequate documentation of initial
                          and replacement provision of welfare pack items, including all
                          requests and any refusals.

                    4.    Any person placed on SMU restrictions will be provided reasonable
                          access (including promptly upon request) to nail clippers, with
                          appropriate restrictions and supervision based on individualized
                          safety concerns.
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               K.   OCSD shall not restrict access to Inmate Request forms or Grievance forms
                    in the SMU.

               L.   CHS health care staff will conduct rounds in the SMU at least once per
                    shift, and mental health staff will conduct rounds in the SMU at least once
                    per week.

                    1.    These contacts will include, at a minimum: (a) conversation with
                          each person housed in the SMU; b) visual observation of the
                          person’s cell, including the cleanliness of clothing and bed linens;
                          (c) inquiry into whether the person would like to request a
                          confidential meeting with a mental health or medical provider.

                    2.    If a person requests a confidential medical or mental health care
                          contact or staff identify a mental health or medical need warranting
                          follow-up, staff shall arrange for timely evaluation and treatment in
                          an appropriate confidential setting.

               M.   In recognition of the distinct risks of Restrictive Housing placement in
                    detention, OCSD will not place people with the following risk factors in the
                    SMU absent rare and extraordinary circumstances in which such placement
                    is necessary to address current, specific safety concerns that are
                    documented, with Watch Commander review and approval, and in such
                    cases only for the minimum time necessary to identify an alternative
                    appropriate placement:

                    1.    People diagnosed with Serious Mental Illness or who have an
                          Intellectual or Developmental Disability;

                    2.    People with significant medical or daily nursing care needs,
                          consistent with CHS’s clinical input;

                    3.    People who are pregnant, post-partum, who recently had a
                          miscarriage, or who recently had a terminated pregnancy, consistent
                          with CHS’s clinical input.

               N.   Safety checks to maintain the safety and health of the persons in SMU and
                    the security of the facility shall be conducted for all individuals on SMU
                    status at least every 30 minutes, at staggered intervals. Completion of
                    safety checks will be timely documented.

               O.   Return of Personal Property Taken During SMU Status

                    1.    Any personal property that is taken from an individual who is
                          subject to SMU disciplinary status will be clearly logged and
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                           documented, and the personal property will be held in a secure
                           location until returned.

                    2.     Return of personal property should be considered during the period
                           of discipline as part of the incentive-based system.

                    3.     OCSD will return all personal property that was taken during the
                           SMU disciplinary period promptly following the end of the SMU
                           disciplinary period (i.e., within 24 hours). OCSD will document the
                           return of property.

 IV.           PROHIBITION ON DISCIPLINE FOR BEHAVIORS THAT ARE
               RELATED TO MENTAL HEALTH OR OTHER DISABILITY,
               PROHIBITION ON SANCTIONS THAT POSE RISK OF SERIOUS HARM

               A.   OCSD and CHS policies and procedures shall require meaningful
                    consideration of the relationship of each person’s behavior to any mental
                    health disability or Intellectual/Developmental Disability, the efficacy of
                    disciplinary measures versus alternative interventions, and the impact of
                    disciplinary measures on the health and well-being of incarcerated people
                    with disabilities.

               B.   People alleged to have committed a rules violation shall be reviewed by a
                    qualified mental health professional if any of the following apply:

                    1.     The person is housed in, or is currently referred for placement in,
                           any designated Mental Health Unit.

                    2.     The Disciplinary Hearing Officer or other jail staff have reason to
                           believe the person’s behavior was unusual, uncharacteristic, or a
                           possible manifestation of mental illness, including where referral for
                           CHS evaluation is warranted.

                    3.     The person is on the mental health caseload and may be subject to
                           (a) Special Management Unit (SMU) placement, or (b) loss of good
                           time/work time credit as a consequence of the disciplinary violation
                           as charged.

                    4.     If any of the above criteria is met, a mental health clinical staff
                           member who is not the treatment provider for the patient shall
                           complete a Rules Violation Mental Health Review form, indicating:

                           a.     Whether or not the reported behavior was related to mental
                                  illness, adaptive functioning deficits, or other disability.


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                          b.     Whether the person’s behavior is, or may be, connected to
                                 any of the following circumstances:

                                 i.       An acute or otherwise significant psychiatric episode

                                 ii.      An act of self-harm or attempted suicide

                                 iii.     A cell extraction related to provision of
                                          medical/mental health treatment

                                 iv.      Placement in clinical restraints or seclusion.

                          c.     Any other mitigating factors regarding the person’s behavior,
                                 disability, and/or circumstances that should be considered.

                          d.     Whether particular disciplinary sanctions should be avoided
                                 in light of the person’s mental health disability or intellectual
                                 disability, treatment plan, or adaptive support needs (e.g., the
                                 potential adverse mental health impact of denial of phone
                                 contact/visits with family members).

                          e.     CHS staff will consider issues of brain development and
                                 psychosocial development for young adults (generally,
                                 anyone 24 years old or younger) as part of this evaluation,
                                 including as they relate to the appropriateness of discipline
                                 for the behavior and the potential adverse impacts of
                                 particular disciplinary sanctions.

               C.   Consideration of Mental Health Input and Other Disability Information in
                    Disciplinary Process

                    1.    The Disciplinary Hearing Officer shall ensure that incarcerated
                          people are not disciplined for conduct that is related to their mental
                          health disability or Intellectual/Developmental Disability.

                    2.    The Disciplinary Hearing Officer shall consider the mental health
                          clinician’s findings and any other available disability information
                          when deciding what, if any, disciplinary action should be imposed.

                    3.    The Disciplinary Hearing Officer shall consider the qualified mental
                          health professional’s input on minimizing the deleterious effect of
                          disciplinary measures on the person in view of their Serious Mental
                          Illness, any other relevant disability, or adaptive support needs.



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                    4.    OCSD shall not subject any person to discipline for refusing
                          treatment or medications, or for engaging in self-injurious behavior
                          or threats of self-injurious behavior.

               D.   Disability-Related Accommodations During the Disciplinary Process

                    1.    OCSD and CHS shall provide reasonable accommodations (e.g.,
                          staff assistant) during the hearing process for people with mental
                          health or intellectual disabilities.

                    2.    OCSD and CHS shall take reasonable steps to ensure the provision
                          of effective communication and necessary assistance to people with
                          disabilities at all stages of the disciplinary process.

                    3.    The Disciplinary Hearing Officer will check the ADA Tracking
                          System and ensure provision of reasonable accommodations and
                          effective communication during the disciplinary process.

               E.   Supervision and Oversight of Disciplinary Processes

                    1.    OCSD shall designate a supervisory-level Disciplinary Hearing
                          Officer for each facility, to be responsible for ensuring consistency
                          in disciplinary practices and procedures as set forth herein.

                    2.    CHS shall designate a supervisory-level clinician for each jail
                          facility, who shall be responsible for ensuring consistency in
                          disciplinary practices and procedures as set forth herein.




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        TOPIC 3: RIGHTS AND TREATMENT OF PEOPLE WHO IDENTIFY AS
         LESBIAN, GAY, BISEXUAL, TRANSGENDER, QUEER OR INTERSEX
                                  (LGBTQI)

 I.            LGBTQI NONDISCRIMINATION POLICY, STAFF ACCOUNTABILITY

               A.   OCSD Policy 375 (Transgender Policy) prohibits staff from discriminating
                    against incarcerated individuals on the basis of gender, including one’s
                    gender identity, gender expression, and sexual orientation. The County
                    requires that staff “shall treat transgender persons in a manner that shows
                    respect for the individual’s gender identity and gender expression, which
                    includes addressing them by their preferred name and using gender
                    pronouns appropriate to the individual's gender self-identity and
                    expression.”

               B.   The County shall develop and implement procedures to ensure
                    accountability for its LGBTQI non-discrimination policy.

                    1.     The County shall develop a procedure to track complaints involving
                           LGBTQI-involved discrimination, including as to housing
                           placement, property, privileges, or health/mental health care. Such
                           tracking will be used for continuous quality improvement purposes.

                    2.     The County shall develop an accountability plan intended to timely
                           log and investigate allegations, from any source, that staff have
                           violated the LGBTQI non-discrimination policies and procedures.
                           Any staff member who the County finds to have violated such
                           policies and procedures shall be subject to the relevant progressive
                           discipline policy.

                    3.     The County shall ensure that any staff, contractors, agents, and
                           incarcerated individuals may submit complaints regarding any
                           failures to comply with LGBTQI non-discrimination policies and
                           procedures or components stated herein.

                    4.     The County shall track and analyze for quality improvement
                           purposes the final dispositions of LGBTQI-related complaints,
                           including staff accountability/discipline outcomes.

               C.   The County shall develop and implement procedures to protect against staff
                    and contractors disclosing an individual’s LGBTQI identity. The County
                    shall limit disclosures to specific, limited circumstances, as for purposes of
                    the individual’s safety, such as transporting someone.


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               D.   Staff shall use (1) an individual’s pronoun (including the third-person
                    singular, they/them) appropriately and/or (2) the individual’s preferred
                    name or last name.

               E.   The County shall permit individuals (including people awaiting trial) to
                    update their Jail ID names if they have obtained a legal name change and
                    (in cases where there are pending charges) the criminal court has
                    recognized the name change. The County shall permit individuals to seek
                    legal name changes and to take appropriate steps to update legal
                    documents. During the period of monitoring of remedial plan
                    implementation, the County will notify DRC of any incarcerated person
                    who obtains a legal name change.

               F.   The County shall permit transgender and intersex individuals (whether
                    sentenced or unsentenced) to update the photo on their jail ID. The County
                    shall permit transgender individuals to update their photos on their ID to
                    minimize the negative impacts of how such photos can “out” them (e.g., if
                    their ID photo and their current gender expression are dissimilar) or cause
                    psychological distress.

               G.   A person’s self-identification as LGBTQI at any point is sufficient to
                    trigger the protections and procedures specific to LGBTQI individuals, as
                    set forth herein. Documentation of a medical diagnosis or legal
                    documentation of an individual’s identity, including their gender marker or
                    legal sex, is not required for staff to respect or confirm an individual’s
                    gender identity, except in cases where there is specific evidence that a
                    person has falsely asserted a gender identity.

                    1.     The fact that a person has not completed a legal name change or has
                           not obtained a government-issued identification that reflects their
                           affirmed sex, gender identity, or name shall not constitute evidence
                           to justify staff not respecting the individual’s gender identity.

                    2.     The absence of completed County’s Voluntary Gender Identity
                           Disclosure and Search Preference Form shall not constitute evidence
                           to justify staff not respecting the individual’s known gender identity.

 II.           TRANSGENDER AND INTERSEX INTAKE & CLASSIFICATION
               PROCEDURES
               A.   During intake and classification, Jail staff shall:

                    1.     Offer each transgender or intersex individual the option to complete
                           the OCSD Voluntary Gender Identity Disclosure and Search

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                          Preference Form, and continue to maintain documentation of an
                          individual’s gender identity, pronoun, honorific, and search
                          preference.

                    2.    Explain that the individual will not be punished if they choose not to
                          provide such information.

                    3.    Explain that staff, contractors, and volunteers shall use a person’s
                          stated pronoun and honorific, and that the failure to do so may be
                          grieved and reported.

                    4.    Effectively communicate how gender identity impacts classification
                          and housing placement determinations.

                    5.    Ask for information about the individual’s preferred housing
                          placement (e.g., male-/female-designated unit, general
                          population/protective custody).

                    6.    Ensure that the above inquiries and information are communicated in
                          a private setting.

               B.   The County shall revise the Voluntary Gender Identity Disclosure and
                    Search Preference Form to specify the following:

                    1.    The purpose of the form is to ensure that the County adheres to its
                          own policies concerning transgender and intersex individuals.

                    2.    An individual may update the form at any time by requesting a new
                          form from custody/ classification staff, sending a message slip, or
                          submitting a grievance, without fear of retaliation or discipline.

                    3.    The form may be accessed by custodial and classification staff only
                          for purposes of ensuring compliance with Jail policies.

 III.          LEAST RESTRICTIVE SETTING APPROPRIATE FOR LGBTQI
               POPULATION
               A.   The County recognizes that LGBTQI individuals and people whose
                    appearance or manner does not conform to traditional gender expectations
                    should not be placed in more restrictive custodial settings based solely on
                    such identification or status, or because they receive gender dysphoria
                    treatment.

               B.   The County shall not house LGBTQI individuals in more restrictive
                    housing than otherwise indicated because of their actual or perceived sexual

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                    orientation, gender expression, gender identity, or intersex status. The
                    County shall house LGBTQI people in the least restrictive housing allowed
                    by their classification and security designation.

               C.   The County will establish a voluntary GBTQI Program Sector unit once the
                    use of the housing unit is no longer necessary for social distancing,
                    isolation or quarantine of incarcerated persons due to COVID-19. The unit
                    will provide expanded out-of-cell time (i.e., doors open during daytime
                    hours), access to jobs in the sector, and enhanced programming activities.
                    Attached as Appendix 1 is the County’s planned GBTQ+ Program Sector
                    Pilot overview and programming schedule.

                    1.     Once the GBTQI Program Sector unit has been fully operational for
                           90 days, the County will provide a status report on the program. The
                           Parties will then discuss whether the County will terminate the
                           program or whether there are any appropriate program
                           modifications, including efforts towards adequate inclusion of
                           transgender individuals consistent with safety and other applicable
                           considerations.

               D.   The County shall continue its efforts to ensure that lesbian and
                    transgender/intersex individuals housed in the Jail’s women-designated
                    housing units are placed in the least restrictive setting with programming
                    access, as appropriate to their individual circumstances.

               E.   The County shall not place LGBTQI individuals in LGBTQI-specific
                    housing without the individual’s consent to such housing.

 IV.           LGBTQI HOUSING/CLASSIFICATION REVIEW PROCEDURES
               A.   The County shall house LGBTQI individuals in LGBTQI-designated
                    housing only if an individual requests such housing. If an individual
                    requests such housing, the County may deny such a request if the individual
                    would present specific, articulable threats to the security or safety of other
                    individuals in such a placement.

                    1.     The County shall conduct individual housing/classification
                           assessments for each transgender and intersex individual. The
                           County shall give “serious consideration” to each individual’s views
                           of their own safety regarding the prospective housing placement
                           (i.e., male vs. female housing for transgender and intersex
                           individuals; LGBTQI-specific housing vs. non-LGBTQI housing)
                           and classification (i.e., general population vs. protective custody).


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                    2.     Denial of a transgender or intersex individual’s stated preference is
                           permissible only where there is a determination that the individual’s
                           stated preference presents specific and articulable management or
                           security concerns and that the County’s alternative placement
                           ensures the individual’s health and safety.”

                    3.     The County shall document decisions described in subsection (2),
                           above, and the Classification Sergeant will review and approve of
                           the decision.

                    4.     The County shall not consider an individual’s status of transition, or
                           inquire into the individual’s genitalia when determining housing
                           placement.

                    5.     The County shall document all denials of a transgender or intersex
                           individual’s stated preference for housing including classification
                           staff’s and supervisor’s rationale for the decision. Such denials shall
                           be reviewed periodically for continuous quality improvement
                           purposes.

                    6.     If the County denies a transgender or intersex individual’s preferred
                           housing placement, the County shall inform the incarcerated
                           individual of the right to file a grievance about the decision.

                    7.     The County shall prohibit retaliation against LGBTQI individuals
                           who grieve or appeal housing placement or classification decisions.

               B.   The County shall re-evaluate classification, placement, and programming
                    assignments of each transgender or intersex individual at least twice a year,
                    including as part of any regular classification reviews.

                    1.     At each review, the County shall inquire as to the transgender or
                           intersex individual’s current preferences and shall re-assess the
                           individual’s classification, placement, and programming
                           assignments, consistent with the process in Section IV.A, above.

               C.   If an individual self-identifies as LGBTQI at any time after intake and
                    states a preference to be assigned to a different housing placement, the
                    County shall conduct a classification review and evaluate the individual’s
                    housing preference within 24 hours of receipt of a classification review
                    form.

               D.   If an individual requests housing reassignment based on LGBTQI status,
                    the County shall develop and implement a safety plan for that individual
                    pending review and any reassignment. The interim placement shall not be
 [3843854.1]                                                                              Page 39


                                                                                       Ex. Q-200
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                    Special Management Unit, “Total Sep,” or other restrictive housing or
                    classification, unless the individual requests such a placement for their own
                    safety, or unless serious, specific, and articulable security or management
                    concerns require such placement.

               E.   If Jail staff identify serious, specific, and articulable security or
                    management concerns regarding an LGBTQI individual in their housing
                    placement, staff shall document the basis for their concerns, and the
                    housing determination shall be referred for a classification review,
                    consistent with the above procedures.

 V.            LGBTQI ACCESS TO PROGRAMS, SERVICES, AND ACTIVITIES
               A.   The County shall ensure that all LGBTQI persons are informed of and have
                    equal access to programs, services, and activities available to similarly
                    situated individuals, consistent with their health and security needs and
                    classification level. Such programs, services, and activities include, but are
                    not limited to:

                    1.     Dayroom and out-of-cell time;

                    2.     Outdoor recreation and exercise equipment;

                    3.     Showers;

                    4.     Telephones;

                    5.     Television;

                    6.     Reading materials;

                    7.     Religious programming;

                    8.     Educational, vocational, reentry and substance abuse programs;

                    9.     Work Assignments, including the Community Work Program;

                    10.    Self-help groups and similar programs;

                    11.    Medical, mental health, and dental services and treatment;

                    12.    Public visiting;

                    13.    Attorney visiting;

                    14.    Commissary.

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               B.   The County shall offer regular in-custody programs and support groups
                    specifically serving the needs of LGBTQI individuals (e.g., APAIT).

                    1.    The County shall make such LGBTQI-specific programming
                          available to all LGBTQI individuals (i.e., pretrial, pre-sentenced, and
                          sentenced; general population and restrictive custody, etc.).
                          consistent with individualized safety and security assessments.
                    2.    The County shall identify and collaborate with LGBTQI community
                          groups to deliver programming in the Jail facilities.
               C.   The County, with input from DRC, shall identify and procure LGBTQI
                    community resource information and disseminate such information to
                    incarcerated LGBTQI individuals.

               D.   The County shall identify, procure, and make accessible LGBTQI reading
                    materials to LGBTQI individuals.

               E.   Showers

                    1.    Transgender and intersex individuals shall be given an opportunity
                          to shower separately from others – i.e., at a separate time and/or with
                          appropriate physical separation.

                    2.    Transgender and intersex individuals shall be permitted to use
                          showers with privacy screens.

               F.   Commissary

                    1.    The County shall, in consultation with DRC, facilitate transgender
                          and intersex individuals to access gender-affirming commissary
                          items, hygiene products, and beauty products.

                    2.    The County shall provide transgender and intersex individuals
                          additional allowances of personal hygiene products (i.e., razors) to
                          alleviate the negative mental health impact of body hair for some
                          individuals, consistent with jail safety and security.

               G.   Clothing

                    1.     The County shall provide gender-affirming clothing, including, but
                          not limited to:

                          a.     Undergarments, including bras, underwear, and boxer shorts
                                 depending on the individual’s stated preference;


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                             b.     Footwear in all sizes;

                             c.     Binders and chest compression garments, and other types of
                                    compression garments;

                             d.     Religious items in accordance with their gender; and

                             e.     Make-up, hair products, hair removal tools, and other gender
                                    affirming hygiene products.

                    2.       The County shall apply grooming standards based on an individual’s
                             gender identity. For example, if the County permits non-transgender
                             women to wear their hair at a certain ponytail length, transgender
                             women shall be allowed to wear their hair similarly.

               H.   Visitation

                    1.       The County shall ensure that rules on contact and affection during
                             visiting are the same for LGBTQI and non-LGBTQI individuals,
                             including in-person visitation and approved contact visits.

 VI.           SEARCHES
               A.   Policy

                    1.       For incarcerated persons who are transgender or intersex, or whose
                             appearance or manner does not conform to traditional gender
                             expectations, the County shall allow the individual to identify the
                             preferred gender of Jail staff who will perform pat and strip searches
                             of them, including through the use of the Voluntary Gender Identity
                             Disclosure and Search Preference Form.

                             a.     The County shall conduct searches in accordance with the
                                    individual’s search preference, except in exigent
                                    circumstances (i.e., “temporary and unforeseen circumstances
                                    that require immediate action in order to address a threat to
                                    safety or institutional security”) or when performed by
                                    medical practitioners in a hospital setting.

                             b.     If an individual’s search preference cannot be determined, the
                                    search shall be conducted in a manner consistent with their
                                    gender identity or expression.




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                           c.     Temporary staffing issues (e.g., not enough staff on the unit
                                  of a specific gender) shall not meet the criteria for “exigent
                                  circumstances.”

                    2.     The County shall ensure that strip searches of transgender and
                           intersex individuals occur with enhanced and appropriate privacy
                           (e.g., outside the view of others not participating in the search).

                    3.     The County shall not conduct genital inspections (visual or pat) to
                           determine a transgender or intersex person’s anatomy, to otherwise
                           harass or embarrass the individual, or for any other improper
                           purpose.

                    4.     The County shall not conduct searches to punish or retaliate against
                           incarcerated people, including people who identify as LGBTQI.

 VII.          MEDICAL AND MENTAL HEALTH CARE
               A.   The County’s standards of care for transgender and gender-variant
                    individuals shall reflect community-based standards of care, including
                    relevant UCSF guidelines and World Professional Association for
                    Transgender Health (WPATH) Standards of Care.

               B.   The County’s standards of care and practice shall ensure that
                    documentation or evidence of prior gender-affirming care is not a
                    prerequisite to receiving gender-affirming care while in Jail custody.

               C.   The County shall ensure that medical and mental health staff have specific
                    knowledge of and training on gender dysphoria, and the treatment thereof,
                    including as to the WPATH Standards of Care.

               D.   The County shall ensure that a qualified medical professional and a
                    qualified mental health professional coordinate to evaluate, diagnose, and
                    treat patients for gender dysphoria.

               E.   The County shall give transgender and intersex patients uninterrupted
                    access to clinically indicated hormone therapy based upon an
                    individualized assessment of the patient’s medical needs in accordance with
                    community-based standards of care.

                    1.     If a patient arrives at the jail on hormone therapy, the patient shall be
                           supplied with a prescription for hormones as a bridge, and shall be
                           scheduled for an assessment for continued gender dysphoria care as
                           soon as possible. Hormone therapy shall not be interrupted absent a
                           clinical evaluation and individualized assessment of need.
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                    2.     The County shall accept an individual’s self-attestation concerning
                           historical hormone use. Self-attestation permits individuals to access
                           hormone therapy immediately until an assessment for gender
                           dysphoria is completed.

               F.   Sex reassignment surgery should be considered on a case-by-case basis and
                    provided when determined to be medically necessary for a patient.

               G.   The County shall prohibit psychotherapy such as “reparative” or
                    “conversion” therapy or attempts to alter gender identity.

 VIII. LGBTQI TRAINING FOR STAFF
               A.   The County shall provide at least biennial live/real-time training to staff
                    and contractors, including anyone who has contact with LGBTQI
                    individuals in custody, on LGBTQI policy, procedures, and legal
                    requirements, including as to the following topics and as appropriate to
                    their position:

                    1.     The County’s non-discrimination policy;

                    2.     The County’s complaint and grievance process for reporting alleged
                           incidents of abuse and harassment;

                    3.     The Prison Rape Elimination Act;

                    4.     How to communicate with LGBTQI individuals professionally,
                           effectively, and consistent with this Agreement;

                    5.     The impact of discrimination against LGBTQI incarcerated people;

                    6.     Classification, housing, programming, education, work
                           opportunities, and integration of LGBTQI individuals in the jails;

                    7.     Basic information about gender identity, sexual orientation, gender
                           expression, and privacy rights.

               B.   Training, including refresher training as appropriate to their position, will
                    be provided to all staff at least biennially. The County shall maintain
                    records of training history.

               C.   The County shall provide DRC draft LGBTQI training materials (including
                    any updates or revisions) and shall meaningfully consider any DRC input
                    on the content and method of delivery of the training. DRC agrees to


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               complete a prompt review (e.g., within 30 days) of draft training materials
               to accommodate the County’s training and operational needs.




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                                                    GBTQ+ Program Module J
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                     Sunday        Monday               Tuesday            Wednesday             Thursday               Friday              Saturday
                                 Individual Case        Pride Process                           Substance Abuse
                                                                           Reentry Planning                          Bibliotherapy
                                   Management               Group                                    Group
8:00 AM - 10:00 AM




                                 One-on-one case      A space allowing Individual discharge Group therapy to        A therapeutic ap-
                                management to as- LGBTQIA+ identi- planning to support promoting recovery proach that will sup-
                              sist inmates with dis- fying inmates to ex- inmate reintegration from drug and alco- port program curric-
                                charge planning ,      plore issues sur-   to the community.      hol addiction.   ula. Books selected
                                provide resources, rounding themselves                                                 will contain
                               and facilitate access and current events.                                           LGBTQIA+ theme.
                                  to post-custody
                               treatment program.


                                                                                                   Healthy
                                                      Employment
                                    APAIT                               Health & Wellness      Relationships/        Self-Care
                                                       Readiness
                                                                                              Communication
                                                     Prepare inmate to Increase awareness Address issues relat- Improve physical
1:00 PM - 3:00 PM




                                                    enter the workforce on health issues af- ed to domestic vio- and mental health.
                                                     upon release from fecting the LGBTQ+ lence, anger man- Enhance self-esteem
                                                      custody. Identify     community.       agement, and devel- and promote mind-
                                                    barriers to employ-                      oping effective com-     fulness.
                                                     ment, provide re-                        munication skills.
                                                   sources to education
                                                      and training pro-
                                                     grams, and setting
                                                   realistic career goals.


                                                         Attitudes
                                                                         Money Matters            HiSet/GED
                                                        for Success
                                                                             (College)             (College)
                                                         (College)
5:30 PM – 8:00 PM




                                                     Provides students Designed to provide Provide preparation
                                                   with classroom dis- basic financial litera- for HiSet or GED
                                                    cussion and infor- cy and information            exam.
                                                     mation about atti-    on budgeting.
                                                   tudes and behaviors
                                                    that influence suc-
                                                   cess in their person-
                                                   al, educational, and
                                                   career development.
                                                                                                                                     Ex.  Q-207
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                   EXHIBIT A




        Murray v. County of Santa Barbara
                           Remedial Plan


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                  MURRAY V. COUNTY OF SANTA BARBARA
                                 REMEDIAL PLAN

 I.   DEFINITIONS
 “Disability” means any physical, cognitive, developmental, intellectual, mental, or
 sensory impairment that substantially limits one or more major life activities.
 “Effective Communication” means that any written or spoken communication
 must be as clear and understandable to people with disabilities as it is for people
 who do not have disabilities.
 “Emergent” in the context of a medical care referral means a medical care referral
 or request that manifests itself by acute symptoms of sufficient severity such that
 the absence of immediate medical attention could reasonably be expected to result
 in serious disability or death. Emergent medical conditions include shortness of
 breath, uncontrolled bleeding, seizures, chest pain, and hypoglycemic shock.
 Emergent medical care conditions are treated as an emergency by the County.
 Within the context of mental health referral or request, “emergent” refers to acute
 symptoms in which the patient is in immediate danger to him(her) self or others.
 Emergent mental health conditions include a patient reporting suicidality or
 command hallucinations to harm self or others, or who is actively engaging in self-
 inflicted bodily harm.
 “Health Care Appliances, Assistive Devices, Durable Medical Equipment”
 (HCA/AD/DME) refers to equipment necessary to meet or accommodate a
 person’s medical or disability-related needs, and includes, but is not limited to,
 prosthetic and orthotic appliances, prosthetic appliances, eyeglasses, and other
 equipment used to to serve a medical purpose.
 “Individual Program Plan” or “IPP” is a record of the decisions made by the
 planning team of a person with a developmental disability, including the person
 with a developmental disability, their family (when appropriate), regional center
 representative(s) and others.
 “Intellectual/Developmental Disability” is a disability characterized by
 significant limitations in intellectual functioning (such as learning, reasoning, and
 problem-solving) and in adaptive behavior (conceptual skills such as language,
 literacy, money, time, and self-direction; social and interpersonal skills; and
 practical skills such as personal care and schedules/routines). This includes people
 for whom the onset of the disability occurred before age 18 (developmental




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 disabilities) and people for whom events later in life resulted in similar limitations
 (e.g., traumatic head injury, stroke, or dementia).
 “Jail” refers to the Santa Barbara County Jail, including its current and future jail
 facilities.
 “Mental health caseload” means all prisoners in the jail with a current identified
 need for any mental health services.
 References to “medical services,” “medical treatment” and “medical staff”
 includes dental services, dental treatment and dental staff, as well as pharmacy
 services and pharmacy staff.
 “Provider” means physician, dentist, physician’s assistant, or nurse practitioner.
 “Qualified Health Professional” means physicians, physician assistants, nurses,
 nurse practitioners, dentists, mental health professionals, and others who by virtue
 of their education, credentials, and experience are permitted by law to evaluate and
 provide health care to patients.
 “Qualified Mental Health Professional” means psychiatrists, psychologists,
 master’s level social workers, licensed professional counselors (including licensed
 MFTs), licensed nurses, or others who by virtue of their education, credentials, and
 experience are permitted by law to evaluate and provide mental health care to
 patients.
 “Qualified Sign Language Interpreter” (“SLI”) is an individual, available on-site
 or through a VRI service, who is adept at American Sign Language (“ASL”) and
 has passed a test and qualified in one of the categories established by the National
 Association for the Deaf (NAD) or one of the categories established by the
 Registry of Interpreters for the Deaf (RID). For the purposes of this agreement, no
 incarcerated person or custody staff may serve as a SLI.
 “Routine” means a medical care or mental health referral or request other than an
 emergent or urgent medical condition. Routine medical conditions include colds,
 flus, complaints of pain, skin conditions, and special requests. Routine mental
 health conditions include the need for a medication bridge, current mental health
 symptoms, current mental health treatment, refusal to answer medical intake
 questionnaire, reporting thoughts of hopelessness, worthlessness, or a history of
 mental illness, or a current or history of substance abuse, violent behavior, or
 victimization.
 “Segregation” means the confinement in a locked room or cell, with or without a
 cellmate, with limited social contact as compared with the general population, in
 conditions characterized by substantial isolation, which includes 22 hours per day

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 or more in a cell. If a housing unit or location meets the above definition, the unit
 will be considered a Segregation unit, regardless of name.

 “Serious Mental Illness” (“SMI”) means a mental illness that results in serious
 functional impairment which substantially interferes with or limits one or more
 major life activities.
 “Structured Out-of-Cell Time”: Out-of-cell time in the designated mental health
 units, during which services, programs, or activities that are (1) facilitated by staff
 or a contractor; and (2) approved by mental health staff, are offered.
 “TTYs” or “TDDs” means devices that are used with a telephone to communicate
 with persons who are Deaf by typing and reading communications.
 “Unstructured Out-of-Cell Time”: Out-of-cell time that is not Structured Out-of-
 Cell Time.
 “Urgent” means a medical or mental care referral or request that manifests itself
 by acute symptoms of sufficient severity that if services are not urgently received,
 the patient’s situation could deteriorate to the point that emergent services are
 necessary. Urgent medical conditions include hives, abscesses, allergic reactions,
 signs and symptoms of cardiac conditions, and hypo/hyperglycemia.
 “Video Remote Interpreting service” or “VRI service” means an interpreting
 service that uses video conference technology over dedicated lines or wireless
 technology offering clear, delay-free, full-motion video and audio over high-speed
 connection that delivers high-quality video images as provided in 28 C.F.R. §
 35.160(d).
 “Videophone” means a device with a video camera that can perform bi-directional
 video and audio transmissions between people in real-time.
 “Video-Relay Services” or “VRS” is a video telecommunications relay service
 that enables persons with hearing-related disabilities who use Sign Language to
 communicate with voice telephone users through video equipment, such as a
 Videophone, rather than through typed text.
 II. MEDICAL CARE
      A. County Monitoring of Private Medical Contract
           1. The County shall appoint a County employee or consultant with
              adequate expertise to provide ongoing monitoring and oversight of the
              private Jail health care provider contract.



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          2.   The County’s Department of Public Health and Behavioral Wellness
               shall actively monitor the Jail health care contract with any private
               health care services provider.
      B. Policies and Procedures
          1.   The County will develop and implement policies and procedures
               related to the delivery of medical care specific to the County’s Jail
               system. The County will have ownership and control over the final
               policies that are created from this process.
      C. Health Care Records
          1.   The County shall implement an integrated electronic health records
               system and provide ongoing IT support.
          2.   The County shall implement policies and procedures to ensure that
               health care staff adequately document health care contacts and
               treatment intervention information, including:
                a) Patient housing location, type of health care service, and
                   setting where the services were delivered;
                b) Time of the health care encounter and time the note is
                   generated in the system.
          3.   The County shall implement policies and procedures to ensure that
               the electronic health record system is modified, maintained, and
               improved as needed on an ongoing basis.
          4.   The County shall implement and utilize Jail health care forms that
               the County owns.
      D. Space for Health Care Service Delivery
          1.   The County shall ensure sufficient and suitable clinical treatment
               and office space to support health care service delivery. Space for
               health care services shall provide a therapeutic setting with adequate
               patient privacy and confidentiality.
          2.   The parties recognize that paragraph 1, above, will require a
               remodel, reconfiguration, or renovation of the Main Jail subject to
               the timeframe set forth in the Stipulated Judgment. The County and
               the Sheriff’s Office agree that, during the period of renovations at
               the Main Jail, they will, to the maximum extent possible given
               existing physical plant limitations, take reasonable steps to provide


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                sufficient and suitable clinical treatment and office space to support
                health care service delivery with adequate privacy and
                confidentiality.
      E.   Screening on Intake
           1.   The County shall develop and implement an Intake Screening
                Implementation Plan that specifies standards and timelines to ensure
                that arriving prisoners are promptly screened for urgent health care
                needs (within minutes of a prisoner’s arrival when possible, and in
                all cases within two hours of arrival), with adequate confidentiality,
                timely follow-up, and disability accommodations. The standards and
                timelines shall include medical clearance on arrival at the Jail to
                determine whether the prisoner must be excluded from the Jail or
                housed in a special placement based on medical or mental health
                condition, initial health screening, and an initial health assessment
                within timeframes based on the individual’s conditions and acuity.
           2.   The Intake Screening Implementation Plan shall include the
                following:
                 a) Standards and procedures to ensure Medication Continuity,
                    either through outside verification or on-site physician
                    medication order;
                 b) Procedures to ensure adequate review of individual health care
                    records maintained by the County or otherwise available as
                    part of the intake process;
                 c) Infectious disease screening and follow-up;
                 d) Initial Health Assessment for all incoming prisoners with
                    chronic illnesses;
                 e) Psychological Evaluation for persons with signs of
                    development disability;
                 f) Psychological Evaluation for persons with signs and/or
                    histories of mental illness;
                 g) Clinical evaluation of persons in need of detoxification with
                    clinical determinations for any use of sobering, safety or
                    isolation cells;




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                 h) Use of a suicide risk assessment tool, with Psychological
                    Evaluation for those with positive findings on the suicide
                    assessment.
           3.   Registered nurses shall perform the intake health screening, and
                shall receive annual training on intake policies and procedures.
      F.   Access to Care
           1.   The County shall develop and implement a Health Care
                Implementation Plan to provide all necessary levels of care for
                prisoners with health care needs and to ensure that they receive
                timely treatment appropriate to the acuity of their conditions,
                consistent with established standards of care and clear timelines for
                routine, urgent and emergent cases.
           2.   All non-emergent health care requests or referrals shall be reviewed
                by the triage RN within 12 hours of receipt and assigned a triage
                level for a Provider appointment of urgent or routine.
           3.   For all health care requests or referrals, the following timelines and
                procedures shall apply:
                 a) Patients with emergent medical conditions shall be treated or
                    sent out for emergency treatment immediately.
                 b) Patients with urgent medical conditions shall be seen by the
                    Provider within 12 hours of review by the triage RN. For
                    urgent referrals that occur on the weekend when a Provider is
                    not on-site, medical staff shall complete a phone consultation
                    with the Provider within 12 hours of review by the triage RN,
                    with any clinically indicated treatment or other follow-up
                    provided. The Provider will conduct a face-to-face
                    appointment with the patient on the next business day.
                 c) Patients with routine medical concerns shall be seen by the
                    Provider within five (5) days of review by the triage RN, or
                    sooner if clinically indicated.
                 d) All health care requests or referrals that are received shall be
                    seen by the RN or a Provider. The County affirms that it does
                    not utilize a written response only process for medical care
                    requests and referrals.




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                e) The County shall inform patients of the above timelines for
                   urgent and routine care by including that information in the
                   inmate orientation manual and on the medical request forms.
          4.   The RN or Provider shall:
                a) conduct a brief face-to-face visit with the patient in a
                   confidential, clinical setting;
                b) take a full set of vital signs, if appropriate;
                c) conduct a physical exam, if appropriate;
                d) assign a triage level for a Provider appointment of emergent,
                   urgent, or routine;
                e) provide over-the-counter medications pursuant to protocols;
                   and
                f) consult with Providers regarding patient care pursuant to
                   protocols, as appropriate.
          5.   The County shall ensure timely access to appropriate medical care
               based on the community standard, including with respect to
               medication practices, treatment, clinical and administrative
               treatment space, access to specialty care and hospitalization,
               emergency response, chronic care, infirmary or intermediate level of
               care, follow-up medical attention for prisoners discharged from the
               hospital, and supervision of medical staff.
          6.   The County shall staff and schedule dental clinics to ensure timely
               access to clinically indicated dental care.
                a) A qualified or appropriately trained clinician shall triage dental
                   care requests to identify emergent or urgent dental issues that
                   require treatment of infection or pain.
                b) Patients with emergent dental conditions shall be treated or
                   sent out for emergency treatment immediately.
                c) Patients with urgent dental conditions shall be seen by a dentist
                   within one (1) week, or sooner if clinically indicated.
                d) Patients with routine dental concerns shall be seen by a dentist
                   within two (2) weeks, or sooner if clinically indicated.
          7.   The County shall permit patients, including those who are illiterate,
               non-English speaking, or otherwise unable to submit written health


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               care requests, to verbally request care. Such verbal requests shall
               immediately be documented by the staff member who receives the
               request on an appropriate form and transmitted to a qualified
               medical professional for response consistent with the above
               provisions.
          8.   The County shall not prohibit patients from reporting or inquiring
               about multiple medical needs in the same appointment.
          9.   The County shall designate and provide sufficient custody escorts to
               facilitate timely delivery of health care.
      G. Chronic Care
          1.   The County shall develop and implement a Chronic Disease
               Management Program for the management of chronic conditions,
               including but not limited to diabetes mellitus, asthma and other
               respiratory conditions, hypertension, HIV, and hepatitis C.
          2.   The Chronic Disease Management Program shall include provision
               of written individual treatment plans, case tracking, adherence to
               community standards, and routine scheduled follow up with
               Qualified Health Professionals including specialists.
          3.   The Chronic Disease Management Program shall include, at a
               minimum, the following protocols, which will be regularly evaluated
               through quality management processes:
                a) A Comprehensive Asthma Protocol: The protocol shall ensure
                   that patients with significant asthma histories are regularly
                   evaluated by physicians. Medical staff shall use appropriate
                   diagnostic tool(s) to assess a patient’s ability to breathe. The
                   County will allow patients to keep prescribed rescue inhalers
                   on their person, consistent with individualized clinical and
                   security input.
                b) A Comprehensive Hypertension Management Protocol: The
                   protocol shall ensure that patients with hypertension receive
                   complete initial exams, including but not limited to lab tests
                   and EKG’s per clinical input, and medication at the appropriate
                   times and intervals.
                c) A Comprehensive Diabetes Management Protocol: The
                   protocol shall ensure regular testing of blood sugar and
                   hemoglobin A1C levels for patients with diabetes, at clinically

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                    appropriate intervals. Patients shall have access to the types of
                    insulin and dosing frequency consistent with the treatment they
                    were receiving prior to detention or most appropriate to their
                    individual treatment goals and correctional setting, including
                    multiple daily injection therapy using long-acting and rapid-
                    acting insulins and insulin pump therapy, as clinically
                    appropriate. The County will provide a diabetes-appropriate
                    diet, compiled by a qualified registered dietician, to prisoners
                    with diabetes.
          4.   The County shall develop policies and procedures to ensure that labs
               ordered by clinicians are drawn in a timely manner, that the results
               are reviewed by nurses and clinicians in a timely manner, that the
               results are communicated to patients in a timely manner, and that the
               results are placed in the patient’s health care record in a timely
               manner.
      H. Pharmacy Services
          1.   The County shall develop and implement policies to ensure
               continuity of medication at the time of Jail arrival and throughout
               the period of detention. Verified medications from the community
               shall be continued without interruption. Prisoners with unverified
               medications for serious conditions shall be evaluated promptly to
               ensure timely provision of necessary treatment.
          2.   The County shall ensure that the Jail’s formulary policies and
               procedures are sufficient to provide adequate individualized care to
               patients, including through ongoing staff training on the process of
               requesting non-formulary medications.
          3.   The County shall revise its Keep on Person medication policies and
               procedures for common over-the-counter medications, including but
               not limited to rescue inhalers for asthma treatment.
          4.   The County shall develop and implement policies and procedures to
               ensure that all medications are appropriately prescribed, stored,
               controlled, dispensed, and administered in accordance with
               applicable laws and through the following:
                a) ensuring that initial doses of prescribed medications are
                   delivered to patients within 48 hours of the prescription, unless
                   it is clinically indicated to deliver the medication sooner;


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                 b) ensuring that medical staff who administer medications to
                    patients document in the patient’s Medical Administration
                    Record (1) name and dosage of each dispensed medication, (2)
                    each date and time medication is administered, (3) the date and
                    time for any refusal of medication, and (4) in the event of
                    patient refusal, documentation that the prisoner was made
                    aware of and understands any adverse health consequences by
                    medical staff.
           5.   The County shall develop and implement policies and procedures to
                ensure that patients are provided medications at therapeutically
                appropriate times, including when out to court, in transit to or from
                any outside appointment, or being transferred between facilities. If
                administration time occurs when a patient is in court, in transit or at
                an outside appointment, medication will be administered as close as
                possible to the regular administration time.
           6.   The County shall provide sufficient nursing and custody staffing to
                ensure timely delivery and administration of medication.
      I.   Transgender and Gender Nonconforming Health Care
           1.   The County shall treat transgender prisoners based upon an
                individualized assessment of the patient’s health care and related
                needs, consistent with relevant legal requirements.
      J.   Drug/Alcohol Withdrawal
           1.   The County shall develop and implement drug/alcohol withdrawal
                policies and procedures that include specific guidelines as to the
                frequency and documentation of patient assessment.
      K. Utilization Management
           1.   The County shall develop and implement a utilization management
                (UM) system that ensures that health decisions about patient care are
                made with sufficient input from Providers and meaningful
                consideration of patients’ health history and needs.
           2.   The UM process shall ensure that Providers and patients are
                promptly informed about decisions made through the UM process,
                including with respect to specialist referral requests.
           3.   The UM process shall include an appeal process to enable patients
                and Providers to appeal a decision denying a referral request.


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      L.   Review of Inmate Deaths
           1.   The County shall complete timely and adequate death reviews,
                within 30 days of any death, including a clinical mortality review in
                all cases and a psychological autopsy if death was by suicide or is
                otherwise indicated. The County shall also complete a
                multidisciplinary administrative review to assess custodial and
                emergency response actions.
           2.   The death review process shall include a root cause analysis, as
                appropriate, and the development of corrective action plans to
                identify and address systemic or individual issues.
      M. Discharge Planning
           1.   The County shall implement an in-custody discharge/reentry
                planning program, described in a written policy, with emphasis on
                prisoners who suffer from chronic mental health and medical
                conditions, including addiction.
           2.   The reentry services program shall include the provision of
                assistance to chronic care patients, including outpatient referrals and
                appointments, public benefits, inpatient treatment, and other
                appropriate reentry services.
      N. Quality Management
           1.   The County shall develop a Quality Management program to
                regularly assess and take necessary measures to ensure quality and
                efficiency of care.
           2.   The County shall establish a Continuous Quality Improvement
                (CQI) Unit to develop tracking mechanisms and to monitor the
                timeliness and effectiveness of care, to be reviewed at least quarterly
                and with corrective action plans employed where issues are
                identified.
           3.   The County shall track and document all completed, delayed, and
                canceled medical appointments, including reasons for delays and
                cancelations. Such documentation shall be reviewed as part of the
                quality management process.
           4.   The County shall track compliance with the Chronic Disease
                Management Program requirements for timely provision of
                appointments, procedures, and medications.


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          5.   The County shall incorporate a systematic review of prisoner
               grievances related to health care into its Quality Management
               program.


 III. MENTAL HEALTH CARE
      A. Policies and Procedures
          1.   The County shall develop its own county- and site-specific policies
               and procedures related to its jail mental health care system. Jail
               mental health policies and procedures shall be reviewed at least
               annually and updated as necessary.
          2.   The County shall develop policies and procedures regarding mental
               health care committees that clearly describe structure, membership,
               and minimum meeting frequencies.
          3.   The County shall ensure that its policies and procedures are
               consistent with the provisions of this Remedial Plan and include the
               following:
                a) A written document reflecting the spectrum of mental health
                   care programming and services provided to prisoners;
                b) Reasonable timeframes for completion of each type of mental
                   health care-related task or service, consistent with community
                   and professional standards;
                c) An intake and referral triage system to ensure timely and
                   effective resolution of inmate requests and staff referrals for
                   mental health care;
                d) Clinical monitoring of inmates, including but not limited to
                   those who are segregated or on suicide watch;
                e) Descriptions of specialized mental health programming that
                   specifically identify admitting and discharge criteria and the
                   staff positions who have the authority to place inmates in
                   specialized mental health housing;
                f) Relevant mental health-related training for all staff members
                   who are working with inmates with mental illness.
          4.   The County’s health screening policy and procedure shall include
               criteria for the triage system for intake referrals and health service


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               requests. Referrals shall be designated as emergent, urgent, or
               routine based on clinical judgment.
          5.   The County shall ensure that there is a licensed mental health
               professional on-site at the Jail facilities who, working in
               collaboration with the health care services administrator, shall be
               responsible for supervising the clinical aspects of the following
               functions:
                a) Treatment programming that meets the needs of the inmate
                   population and is consistent with individualized treatment
                   plans.
                b) Supervision of mental health staff to ensure appropriate in-
                   service training, development of treatment plans, and health
                   care record documentation.
                c) Treatment programming provided by outside mental health
                   agencies.
          6.   The County shall develop policies and procedures to ensure that all
               clinical interactions (other than rounds) be conducted in a private
               and confidential manner, absent a specific, current risk that
               necessitates the presence of custody staff. Custody and mental health
               staff shall be trained accordingly.
          7.   The County shall develop policies and procedures on the use of de-
               escalation techniques and early involvement by Qualified Mental
               Health Professionals in situations involving an inmate with SMI.
          8.   When utilizing trainees, such as psychiatric interns, the County shall
               have a memorandum of agreement with the provider that addresses
               supervision and other appropriate requirements.
      B. Intake
          1.   The County shall ensure implementation of a screening tool to
               identify individuals with mental illness, at risk of self-injury, or
               vulnerable to predation secondary to a mental illness. The screening
               tool shall:
                a) Identify risk factors or medication that require a mental health
                   referral.
                b) Recommend housing and referrals based on the individual’s
                   diagnosis, strengths, and weaknesses.


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                   c) Refer inmates to mental health staff for any positive finding of
                      mental illness, and triage all referrals as urgent, emergent, or
                      routine.
                   d) Describe signs and symptoms of conditions which justify the
                      assignment of a DSM 1 diagnosis.
           2.    The County shall implement a follow-up review process for inmates
                 who refuse the intake screening. Upon inmate refusal at intake, the
                 intake nurse shall provide a detailed record of the inmate’s
                 presentation and an opinion regarding the inmate’s condition, with
                 appropriate referrals to psychiatry and mental health professionals.
           3.    Refusal to give consent at intake will not be considered an indication
                 of refusal of any treatment and evaluation at a later time.
           4.    Inmates entering the facility on verified medications shall receive a
                 referral to psychiatry at the time of intake, which will be prioritized
                 as clinically indicated.
      C. Patient Privacy and Confidentiality
           1.    The County shall provide sufficient private interviewing spaces for
                 all clinical contacts for evaluation and/or treatment (other than
                 rounds).
           2.    It shall be the policy of the County that mental health clinicians shall
                 not conduct their clinical contacts for evaluation and/or treatment
                 (other than rounds) at cell-front except pursuant to documented
                 refusals or specific, documented security concerns.
           3.    For each clinical contact for evaluation and/or treatment (other than
                 rounds), mental health staff shall document whether the encounter
                 was confidential, including whether it took place at cell-front. If a
                 contact occurs at cell-front or is otherwise non-confidential (i.e., due
                 to patient refusal or specific, documented security concern), the
                 reason(s) shall be clearly documented in the individual patient
                 record and will be reviewed as part of the County’s Continuous
                 Quality Improvement review procedures.




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          4.   The County shall implement a confidential mental health service
               request system that does not require patients to share confidential
               health information with custody or other non-health care staff.
      D. Mental Health Services, Housing, and Access to Care
          1.   Mental health staff shall respond to mental health referrals and
               requests within the following timelines:
                a) Four (4) hours for emergent cases, and sooner if clinically
                   indicated, except that during the hours of 11:00 p.m. and 7:00
                   a.m., medical staff shall respond to emergent cases;
                b) Twenty-four (24) hours for urgent cases, and sooner if
                   clinically indicated;
                c) One week for routine cases, and sooner if clinically indicated.
          2.   The County shall implement a policy to place and treat all prisoners
               on the mental health caseload in the least restrictive setting
               appropriate to their needs.
          3.   The County shall develop and designate specialized mental health
               units, with provision of the appropriate levels of programming and
               treatment for each mental health care service level.
                a) The County shall provide a sufficient number of beds at all
                   necessary levels of clinical care and levels of security, to meet
                   the needs of the Jail population of people with SMI.
                b) The County shall develop referral criteria and policies
                   regarding management, treatment, and placement of inmates
                   with SMI.
                c) Mental health staff shall recommend appropriate placement in
                   and discharge from the specialized mental health units and
                   programs for inmates with mental illness based on clinical
                   judgment.
                d) The County shall develop policies and procedures to house and
                   treat inmates with mental illness at the clinically appropriate
                   level of care.
          4.   Staff shall conduct regular multidisciplinary team meetings to
               discuss the treatment and management of each inmate with SMI who
               is incapable of functioning in a general population setting or who is


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               housed in a specialized mental health unit, to coordinate individual
               health, mental health, classification and discharge needs.
                a) The County shall include the line officer, whenever possible, in
                   the multidisciplinary treatment team meeting. The line officer
                   shall provide day-to-day observations on an inmate’s
                   functioning and receive input from the professional staff in
                   management approaches.
                b) The multidisciplinary treatment team shall determine which
                   privileges and property shall be available to inmates. The
                   treating clinician shall provide input as to privileges and
                   property for inmates on psychiatric observation or suicide
                   watch.
                c) Treatment staff shall provide all inmates on specialty units an
                   enhanced individualized treatment plan documented on a
                   medical record treatment plan form and completed within the
                   first seven days of placement on that unit. These treatment
                   plans shall be regularly reviewed and updated as needed by the
                   multidisciplinary treatment team, with participation of the
                   inmate.
          5.   The County shall provide a minimum of 6 hours per week, of
               Structured Out-of-Cell Time for therapeutic group and/or individual
               programming, and twelve (12) hours per week of Unstructured Out-
               of-Cell time (including dayroom, outdoor/recreation time, and other
               self-directed activities) for people with mental illness housed in
               specialized mental health units. The County will also provide in-cell
               structured programming – i.e., electronic tablets – to people in these
               units equivalent to that provided in the general population (at least
               four (4) hours per day, on at least three (3) separate days per week).
                a) It is recognized that not all inmates can participate in and/or
                   benefit from 6 hours per week of structured treatment
                   programming. For those individuals with mental health
                   treatment needs housed in the specialized mental health units
                   and for whom fewer hours of treatment services is clinically
                   indicated, the treating clinician will present the case and
                   recommended treatment program to the multidisciplinary
                   treatment team for approval. Such a Modified Individualized
                   Treatment Plan will include a description of the diagnosis,


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                    problems, level of functioning, medication compliance, and
                    rationale for scheduling fewer hours of treatment services.
                b) The Modified Individualized Treatment Plan will be reviewed
                   by the multidisciplinary treatment team at least monthly, with
                   consideration of an increase in treatment activities and referral
                   to a higher level of care as clinically indicated.
                c) The County shall establish an additional, less intensive mental
                   health program for individuals with mental health treatment
                   needs who are stable. Such a program shall provide a
                   minimum of four (4) hours per week of Structured Out-of-Cell
                   Time for therapeutic group and/or individual programming,
                   subject to the Modified Individual Treatment Plan provisions
                   described above.
          6.   The County shall not house inmates with SMI meeting criteria for
               placement in specialized mental health units in a segregation or
               isolation unit, except as outlined below.
                a) In rare cases where such an inmate presents an immediate
                   danger or serious danger for which there is no reasonable
                   alternative, such an inmate may be housed separately for the
                   briefest period of time necessary to address the issue, and only
                   with written justification for the placement that is approved by
                   a jail commander or designee.
                b) The County shall continue to provide supervision, treatment,
                   and out-of-cell time consistent with the inmate’s Modified
                   Individualized Treatment Plan.
          7.   The County shall develop and provide comparable and separate
               services and treatment programs for male and female inmates
               meeting criteria for placement in specialized mental health units.
          8.   The County shall provide psychiatric appointments with inmates on
               the mental health caseload housing at least every 90 days, or more
               often if clinically indicated, and shall provide counseling services
               consistent with individual need that is documented in an
               individualized treatment plan.
          9.   Mental health staff shall provide a behavioral management plan and
               regularly scheduled counseling services to inmates with severe



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                personality disorders and/or frequent episodes of suicidal ideation or
                self-harm.
           10. The County shall ensure that clinical contact record entries indicate
               the inmate’s housing location, the type of service, the location where
               mental health staff delivered the service, the date and time of the
               encounter, and the date and time the record is generated.
      E.   Psychiatric Medication Practices
           1.   The County shall, in consultation with the subject matter expert and
                Plaintiffs, ensure that the Jail’s policies and procedures are sufficient
                to provide adequate individualized care to patients, including with
                respect to (a) non-formulary medication requests, (b) patient
                refusals, and (c) prescriptive practices.
           2.   Any inmate requesting psychiatric evaluation or treatment shall
                receive a timely comprehensive mental health assessment to
                determine clinical need for medication or other treatment.
           3.   No verified or prescribed psychiatric medication will be terminated
                or significantly changed without in-person consultation with a
                psychiatrist, absent clinical justification that is documented. Mental
                health staff shall see patients who receive significant changes in
                prescriptions or initiation of new medications within 30 days, unless
                earlier requested by patient or clinically indicated, to assess efficacy,
                side effects, and other follow-up as appropriate.
           4.   The County shall implement policies and procedures to ensure that
                patients are provided medications at therapeutically appropriate
                times (e.g., sedating medications administered at bedtime).
      F.   Mental Health and Disability Input in the Jail Disciplinary Process
           1.   The County shall adopt policies and procedures that require
                meaningful consideration of the relationship of an inmate’s behavior
                to a mental health or intellectual disability, the appropriateness of
                disciplinary measures versus clinical or other interventions, and the
                impact of disciplinary measures on the health and well-being of
                inmates with disabilities.
           2.   The County shall develop policies and procedures on the
                consideration of mental health input in the disciplinary process.



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          3.   In cases where an inmate with SMI, with an intellectual disability, or
               who is exhibiting unusual or bizarre behavior may face a
               disciplinary sanction, including denial of property or privileges,
               placement in restrictive housing, or lockdown for any period of time,
               a Qualified Mental Health Professional shall complete a Mental
               Health/Disciplinary Recommendation Form and provide written
               findings as to:
                a) Whether or not the reported behavior was related to mental
                   illness, adaptive functioning deficits, or other disability;
                b) Any other mitigating factors regarding the inmate’s behavior,
                   disability, and/or circumstances that should be considered, and
                   whether certain sanctions should be avoided in light of the
                   inmate’s mental health or intellectual disability, treatment plan,
                   or adaptive support needs.
          4.   Staff shall meaningfully consider the Qualified Mental Health
               Professional’s findings and any other available disability
               information when deciding what, if any, disciplinary action should
               be imposed.
          5.   Staff shall meaningfully consider the Qualified Mental Health
               Professional’s input on minimizing the deleterious effect of
               disciplinary measures on the prisoner in view of his or her mental
               health or adaptive support needs.
          6.   If custody staff do not follow the mental health input regarding
               whether the behavior was related to symptoms of mental illness or
               intellectual disability, whether any mitigating factors should be
               considered, and whether certain sanctions should be avoided, staff
               shall explain in writing why it was not followed.
          7.   Inmates shall not be subjected to discipline in any manner that
               prevents the delivery of mental health treatment or adaptive support
               needs.
          8.   Inmates shall not be subject to discipline for refusing treatment or
               medications, or for engaging in self-injurious behavior or threats of
               self-injurious behavior.
          9.   The County shall provide reasonable accommodations during the
               disciplinary process for inmates with mental health or intellectual
               disabilities.


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          10. The County shall take reasonable steps to ensure the provision of
              effective communication and necessary assistance to inmates with
              disabilities at all stages of the disciplinary process.
          11. The County shall designate a supervisory-level custody staff
              member who shall be responsible for ensuring consistency in
              disciplinary practices and procedures. The County shall track and
              monitor this process, including the frequency that the
              recommendation of the Qualified Mental Health Professional was
              followed.
      G. Seclusion and Restraint
          1.   The County affirms that it will not utilize clinical restraints or
               clinical seclusion at the Jail, except as consistent with involuntary
               medication court orders for people adjudicated to be Incompetent to
               Stand Trial who participate in any implemented in-jail restoration of
               competency treatment services program.
      H. Discharge and Reentry Services
          1.   Inmates on the mental health caseload shall receive discharge
               planning that is documented. Such planning will be enhanced, as
               defined by policy, for inmates with SMI and/or meeting criteria for
               placement in the specialized mental health units.
          2.   Discharge plans shall include assistance with application for public
               benefits and social services, outpatient referrals and appointments,
               medical insurance, housing, substance abuse treatment, parenting
               and family services, inpatient treatment, and other reentry services.
          3.   The County will ensure that inmates taking prescribed psychiatric
               medications have continuity of medications, and arranging follow-
               up appointments with providers.
          4.   The County shall track the elements of discharge planning for
               Continuous Quality Improvement purposes. Data shall include at
               least the following:
                a) The total number of inmates with SMI and/or meeting criteria
                   for placement in the specialized mental health units who are
                   eligible for discharge planning per month.
                b) The number of those inmates with SMI and/or meeting criteria
                   for placement in the specialized mental health units who have


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                       received referrals for outpatient appointments, discharge
                       medications, 5150 referrals, and other aspects of reentry
                       services completed by the mental health care staff.
      I.    Cross-Agency Coordination of Mental Health Treatment and Service
            Need
            1.   The County has begun to conduct monthly Medical Administration
                 Committee meetings, with a portion of such meetings dedicated to
                 discussion of the treatment of Jail inmates with mental illness, to
                 include other relevant county agencies (e.g. Behavioral Wellness).
                 The County agrees to continue such meetings, with additional cross-
                 agency coordination as needed to address individual and systemic
                 issues related to inmates with mental health treatment and service
                 needs.
            2.   The County shall develop a process to ensure timely referrals to and
                 placements in inpatient care and other higher level mental health
                 care outside the facility.
            3.   The County shall make best efforts to expedite court referrals to the
                 State Hospital system or other treatment facilities.
            4.   The County shall track and monitor the number of referrals to
                 mental health services and facilities outside of the jail, shall track
                 and monitor the amount of time to provide services pursuant to those
                 referrals, and shall identify and remedy causes of delay or other
                 identified issues.
            5.   The County shall implement a policy that ensures that inmates on
                 the mental health caseload returning from outside facilities receive
                 timely placement in appropriate housing, continuity of medication,
                 and timely face-to-face clinical review to ensure continuity of care
                 and reduce the risk of decompensation cycling.
      J.    Continuous Quality Improvement
            1.   The County has implemented a Continuous Quality Improvement
                 meetings, which are modeled after J-A-06 Continuous Quality
                 Improvement Program Standard2 or a similar standard.


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  Standards for Health Services in Jails 2008, Essential Standard J-A- 06 Continuous Quality
 Improvement Program, p.10. National Commission on Correctional Healthcare 2008


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          2.   The County shall develop quality indicators for purposes of
               monitoring a private mental health care contract. The County shall
               implement a detailed tracking system that parallels the scope of
               contractor work requirements to ensure that the contractor is
               meeting the requirements of the contract. For example, the County
               requires Service Level Agreements with clear mental health service-
               related performance indicators of the contracted health care
               provider, to be updated and reviewed annually or more often if
               warranted.
          3.   The Quality Improvement process studies shall include (a) a clearly
               articulate hypothesis and methodology to determine if standards
               have been met; (b) data collection; (c) analysis of data to identify
               trends and patterns; (d) analysis to identify the underlying causes of
               problems; (e) development of remedies to address problems that are
               identified; (f) a written plan that identifies responsible staff and
               establishes a specific timeline for implementation of the remedy; (g)
               follow-up data collection; and (h) analysis to determine if the
               remedies were effective.
          4.   The County shall conduct periodic quality improvement reviews of
               the intake process to ensure that staff are accurately recording intake
               information and making appropriate referrals.
          5.   The County shall maintain lists of all inmates referred to a higher
               level of mental health care with sufficient information to complete
               periodic quality reviews.
          6.   The County shall track the number of inmates on the mental health
               caseload, the number of inmates with SMI, the number of inmates
               awaiting court-ordered psychiatric facility placement, the number of
               inmates referred and found appropriate for inpatient (acute) and
               enhanced (sub-acute/residential) mental health treatment, and the
               number of inmates with SMI in restrictive housing units.
          7.   The County shall develop a system to log inmate requests, including
               a log of inmates referred for placement on the mental health
               caseload from booking. These logs shall be available for auditors to
               complete randomized studies of the referral process via the CQI
               Committee or the assignment of a subject matter expert under a legal
               agreement.



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          8.   The County shall conduct periodic quality reviews to assess
               whether:
                a) Health service requests are retrieved in a timely manner;
                b) Health service requests are triaged within the established
                   timeframe;
                c) A proper level of triage is assigned, based on the nature of the
                   request;
                d) Mental health staff appropriately resolved the request; and
                e) Mental health staff resolved the request in a timely fashion.
          9.   The County shall monitor the frequency of psychiatric follow-up
               appointments as a quality measure to ensure that inmates have
               adequate access to the prescriber.
          10. Continuous Quality Improvement studies, data, and related materials
              will be made available to Plaintiffs and the subject matter expert
              during the period of implementation and monitoring.

 IV. SUICIDE PREVENTION
      A. Overview
          1.   The County shall develop and implement its own Suicide Prevention
               Policy, which shall set forth clear procedures consistent with the
               provisions set forth below.
      B. Screening for Suicide Risk
          1.   The County shall ensure that its intake assessment procedures timely
               identify acute and high-risk mental health conditions, including:
                a) Review of suicide risk notifications in relevant medical, mental
                   health, and custody records, including as to prior suicide
                   attempts, self-harm, and/or mental health needs;
                b) Any prior suicidal ideation or attempts, self-harm, mental
                   health treatment, or hospitalization;
                c) Current suicidal ideation, threat, or plan, or feelings of
                   helplessness and/or hopelessness;
                d) Other relevant suicide risk factors, such as:


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                       (1) Recent significant loss (job, relationship, death of family
                           member/close friend);
                       (2) History of suicidal behavior by family member/close
                           friend;
                       (3) Upcoming court appearances;
                e) Transporting officer’s impressions about risk.
          2.   Regardless of the prisoner’s behavior or answers given during intake
               screening, a mental health referral shall always be initiated if there is
               a history related to suicide or self-harm.
          3.   When a prisoner refuses to respond to assessment questions, staff
               shall complete the intake screening, including the mental health and
               suicide risk assessments, to the maximum extent possible. For
               example, staff will still complete the records/history review, if
               applicable, as well as the assessment of the individual’s presentation
               and behaviors, and shall make appropriate mental health referrals
               when indicated.
          4.   Any prisoner expressing current suicidal ideation and/or current
               suicidal/self-injurious behavior shall be designated as an emergent
               referral, immediately referred to mental health staff, and placed in a
               safe setting pending the mental health contact.
          5.   Mental health clinicians shall complete and document a suicide risk
               assessment, with the use of suicide risk assessment tool, as close to
               placement on suicide watch as possible and upon discharge to a
               lower level of observation.
      C. Housing of Prisoners on Suicide Precautions
          1.   The County’s policy and procedures shall ensure that prisoners,
               including those identified as being at risk for suicide, are housed and
               treated in the least restrictive setting appropriate to their individual
               clinical and safety needs.
          2.   Prisoners on psychiatric observation for suicide risk shall be housed
               and monitored in a setting appropriate for their clinical needs.
          3.   No prisoner shall be housed in a safety cell for more than twenty-
               four (24) hours, unless there are exceptional circumstances
               documented by clinical and custody staff. Within twelve (12) hours



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               of safety cell placement, the County shall refer the patient to
               behavioral health for inpatient placement evaluation.
          4.   The County shall ensure that prisoners who require psychiatric
               inpatient care as clinically indicated are placed in an acute care unit
               as soon as possible. A patient showing no improvement or
               continuing deterioration after 12 hours shall be transferred to an
               inpatient mental health facility or hospital for evaluation and
               treatment. In all other cases, after 24 hours of being housed in a
               safety cell, the patient shall be transferred to an appropriate inpatient
               mental health setting or hospital, absent exceptional circumstances
               documented by clinical and custody staff.
      D. Treatment and Conditions for Individual Prisoners on Suicide
         Precautions
          1.   The County shall provide at least one daily mental health
               professional contact, or more as clinically indicated, for any prisoner
               who is identified as a current suicide risk. The clinical contact shall
               be conducted in a space with sound privacy unless there are current,
               specific safety concerns that are documented, with supervisory-level
               review and approval.
          2.   The Jail’s qualified mental health professionals shall provide input
               with respect to the provision of property and privileges for prisoners
               on suicide precautions. Custody staff may remove
               property/privileges, if necessary, prior to the mental health staff
               evaluation of a prisoner identified as at risk. Once the mental health
               evaluation occurs, the qualified mental health professional and
               custody staff shall determine, based on clinical judgment and on a
               case-by-case basis, the removal and/or return of property (e.g.,
               clothing, books, footwear, eyeglasses) and privileges. The removal
               of property/privileges shall be documented with clinical justification
               in the health record, and shall be reviewed on a regular basis to
               ensure restoration of property/privileges as soon as appropriate.
          3.   Safety cells shall be sanitized after every use and the sewer grate
               inspected to ensure cleanliness and appropriate conditions.
          4.   The County shall provide clinically-indicated therapeutic services,
               including psychiatric services, to prisoners on suicide precautions or
               otherwise identified as at elevated risk of suicide. The County shall
               provide prisoners on suicide precautions or otherwise identified as at

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                elevated risk of suicide with appropriate individual counseling and
                medication review in a confidential setting.
      E.   Supervision/Monitoring of Suicidal Prisoners
           1.   The County shall revise its policies regarding the monitoring of
                prisoners on suicide precautions to provide for at least the following
                two levels of observation:
                 a) Close observation shall be used for prisoners who are not
                    actively suicidal but require enhanced observation to ensure
                    safety. Staff shall observe the prisoner at staggered intervals
                    not less than every 15 minutes and shall document the
                    observation as it occurs.
                 b) Constant observation shall be used for prisoners who are
                    actively suicidal, either threatening or engaging in self-injury,
                    and considered a high risk for suicide. An assigned staff
                    member shall observe the prisoner on a continuous,
                    uninterrupted basis. The observation should be documented at
                    15-minute intervals. Staff should be physically stationed
                    outside of the prisoner’s cell to permit continuous,
                    uninterrupted observation.
           2.   For any prisoner requiring suicide precautions, a qualified mental
                health professional shall assess, determine, and document the
                clinically appropriate level of monitoring based on the prisoner’s
                individual circumstances. Placement in a safety cell shall not serve
                as a substitute for the clinically-determined level of monitoring.
           3.   Video monitoring of prisoners on suicide precaution shall not serve
                as a substitute for the clinically indicated level of observation.
      F.   Discharge from Suicide Precautions and Follow-Up
           1.   A qualified mental health professional shall complete and document
                a suicide risk assessment prior to discharging a prisoner from suicide
                precautions. Such assessment shall be conducted in a space with
                sound privacy unless there are current, specific safety concerns that
                are documented.
           2.   Qualified mental health professionals shall provide, and update as
                clinically appropriate, individualized treatment plans for all
                prisoners discharged from suicide precautions. The treatment plan
                shall describe signs, symptoms, and circumstances in which the risk

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               of suicide is likely to recur, how recurrence of suicidal thoughts can
               be avoided, appropriate individualized treatment interventions, and
               actions the patient or staff can take if suicidal thoughts do occur.
          3.   Qualified mental health professionals shall provide clinical input
               regarding appropriate housing placement (e.g., whether isolation is
               contraindicated for the prisoner) upon discharge from suicide
               precautions. Custody and classification staff shall consider such
               clinical input in determining post-discharge placement and
               conditions of confinement, and document the reasons when clinical
               input is not followed. Once clinically discharged from suicide
               precautions, the prisoner shall be promptly transferred to appropriate
               housing.
          4.   Prisoners discharged from suicide precautions shall remain on the
               mental health caseload and receive regularly scheduled clinical
               assessments and contacts. A qualified mental health professional
               shall provide, at a minimum, clinical follow-up assessment and
               contacts within 24 hours of discharge, and again within one week of
               discharge, and more often as clinically indicated.
      G. Emergency Response
          1.   The County shall keep an emergency response bag that includes
               appropriate equipment, including a first aid kit, CPR mask or Ambu
               bag, and emergency rescue tool in close proximity to all housing
               units. All custody and medical staff shall be trained on the location
               of this emergency response bag and shall receive regular training on
               emergency response procedures, including how to use appropriate
               equipment.
          2.   The County shall ensure that all emergency response equipment at
               the jail is inspected monthly and after each use and is repaired and
               replaced as needed. The County shall ensure that the jail maintains
               a service log for all emergency response equipment.
          3.   It shall be the policy of the County that any staff who discovers a
               prisoner attempting suicide shall immediately respond and alert
               other staff to call for medical personnel. Trained staff shall
               immediately begin to administer standard first aid and/or CPR, as
               appropriate.




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      H. Continuous Quality Improvement
          1.   The County shall track all critical incidents which include prisoner
               suicides, attempted suicides, and incidents involving serious self-
               harm. The County shall review critical incidents and related data
               through its quality assurance and improvement processes.
          2.   For each serious suicide attempt (e.g., requiring hospital admission),
               the County shall conduct a multidisciplinary (mental health,
               medical, and custody) review of: 1) the circumstances surrounding
               the incident; 2) the procedures relevant to the incident; 3) relevant
               training received by involved staff; 4) pertinent medical and mental
               health services/reports involving the victim; and 5) possible
               precipitating factors that may have caused the victim to commit
               suicide or make a serious suicide attempt. The review team shall
               generate written recommendations (as appropriate) for changes in
               policy, training, physical plant, medical or mental health services,
               and operational procedures.
          3.   The County shall implement a continuous quality assurance/quality
               improvement plan to periodically audit suicide prevention
               procedures that include, but are not limited to: intake screening (to
               include audits to ensure that staff ask and record all suicide
               screening questions), mental health and suicide risk assessments,
               crisis response, treatment plans/behavior management plans, and
               post-suicide watch clinical follow-up assessment and contacts.
 V. DISABILITY ACCOMMODATIONS AND ACCESS, AMERICANS
    WITH DISABILITIES ACT (ADA)
      A. Policy
          1.   It is the County’s policy to provide access to its programs and
               services to incarcerated people with disabilities, with or without
               reasonable accommodations, consistent with legitimate penological
               interests. No person with a disability, as defined in 42 U.S.C. §
               12102, shall, because of that disability, be excluded from
               participation in or denied the benefits of services, programs, or
               activities or be subjected to discrimination. It is the County’s policy
               to provide reasonable accommodations or modifications, consistent
               with 28 C.F.R. §§ 35.150 & 35.152, and other applicable law.




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      B. ADA Coordinator
          1.   The County shall have a designated Americans with Disabilities Act
               (ADA) Coordinator whose position is dedicated to coordinating
               efforts to comply with and carry out ADA-related requirements and
               policies. The ADA Coordinator shall have sufficient authority to
               carry out such duties, and shall work with the executive
               management team regarding ADA compliance, training, and
               program needs.
          2.   The County intends for the ADA Coordinator to be based at the
               Main Jail. Any County jail facility that does not have the ADA
               Coordinator on site shall have a designated staff member on site at
               that facility who will have responsibility to monitor day-to-day
               ADA compliance and will report to the ADA Coordinator.
          3.   The County shall clearly enumerate the job duties and training
               requirements for the ADA Coordinator position.
          4.   The County will ensure that the name of and the method for people
               to contact the ADA Coordinator (or facility designee) are clearly
               posted in the intake area and in every jail housing unit. The County
               will also ensure that the name and contact information (address,
               phone, email) of the ADA Coordinator (or facility designee) are
               available to the public, including posting in each jail’s main lobby
               and online.
      C. ADA Notice to Prisoners
          1.   The County shall ensure that people with disabilities held at the Jail
               are adequately informed of their rights, including but not limited to:
                a) The right to receive reasonable accommodations;
                b) The process for requesting a reasonable accommodation;
                c) The role of the ADA Coordinator (and designee) and method
                   to contact them;
                d) The grievance process, location of relevant forms, and process
                   for getting assistance in completing request and grievance
                   forms;
                e) Instructions on how to request and access health care services,
                   including the provision of Effective Communication and other
                   accommodations in accessing those services.

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           2.   Within 6 hours of processing and classification, the County will
                provide all incarcerated people a Custody Operations Orientation
                Handbook in an accessible format, containing a designated section
                with ADA-related policies, procedures, and other information. The
                Orientation Handbook shall be made available in large print (at least
                18-point font) in English and Spanish to accommodate people with
                visual impairments.
           3.   The County will provide an accessible video that presents the
                contents of the Orientation Handbook, including the ADA-related
                policies, procedures and information. The County will, as
                appropriate, provide an SLI to interpret the contents of the
                Orientation Handbook to persons who are deaf or hard of hearing
                who use American Sign Language as their primary means of
                communication.
      D. Staff Training
           1.   The County shall ensure all custody, health care, facility
                maintenance, and other Jail staff receive ADA training appropriate
                to their position. The County shall provide training to all staff during
                the academy and at least bi-annually thereafter on:
                 a) Disability awareness, including the use and purpose of
                    accommodations and modifications in accordance with the
                    ADA;
                 b) Use of force when interacting with people with disabilities.
           2.   Staff ADA training shall include formalized lesson plans and in-
                classroom or virtual training for all staff provided by qualified ADA
                instructors.
      E.   ADA Tracking System
           1.   The County shall, in consultation with Plaintiffs’ counsel, develop
                and implement a comprehensive, standardized electronic system
                (“ADA Tracking System”) to track people with disabilities and their
                accommodation and Effective Communication needs.
           2.   The ADA Tracking System shall identify for each prisoner, as
                appropriate:
                 a) Any disabilities and related health conditions;



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                 b) Disabilities that may pose a barrier to communication,
                    including but not limited to learning, intellectual, or
                    developmental disabilities, and hearing, speech, or vision
                    impairments;
                 c) Accommodation needs, including as to housing, classification,
                    transportation, Effective Communication, adaptive supports,
                    and health care appliances, assistive devices, and/or durable
                    medical equipment (HCA/AD/DME);
                 d) Class membership in Armstrong v. Newsom (N.D. Cal. No. 94-
                    cv-02307) (i.e., people held in the Jail related to a parole
                    revocation proceeding or term), with their applicable disability
                    classification(s) and accommodation need(s).
           3.   The ADA Tracking System’s prisoner disability information will be
                readily available to custody, medical, mental health, and other staff
                at the Jail to ensure appropriate accommodations and adequate
                program access for people with disabilities. Health care staff, the
                ADA Coordinator, and any ADA Coordinator-designee shall have
                the ability to input information into the ADA Tracking System in
                real time.
           4.   The County will print a prisoner’s disability accommodation need(s)
                on the person’s wristband.
           5.   Staff shall check the ADA Tracking System for each prisoner, and
                document that check, immediately prior to:
                 a) Intake screening;
                 b) Classification interview;
                 c) Assignment of housing;
                 d) Assignment of programs;
                 e) Medical and mental health encounters;
                 f) All due process proceedings, including but not limited to,
                    resolving grievances and disciplinary infractions;
                 g) All trips to court or outside health care appointments.
      F.   Screening for Disability and Disability-Related Needs
           1.   The County shall take steps to identify and verify each person’s
                disability and disability-related needs, including by screening them

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               for disabilities during medical intake and classification. The County
               shall ensure that all private health care and other service providers
               implement any policies and procedures needed to facilitate full
               implementation of these provisions.
          2.   The County, in consultation with subject matter experts and
               Plaintiffs’ counsel, shall revise its ADA screening process to ensure
               consideration of:
                a) The individual’s self-identification or claim to have a
                   disability;
                b) Documentation of a disability in the individual’s health,
                   custody, and any other available records;
                c) Staff observation that the individual may have a disability that
                   affects placement, program access, or Effective
                   Communication; and
                d) The request of a third party (such as a family member) for an
                   evaluation of the individual for a possible disability.
          3.   The County shall ensure that ADA screening results are promptly
               entered in the ADA Tracking System.
      G. Disability-Related Requests and Grievances
          1.   The County shall revise its ADA Request Form to contain an
               explanation of how to appeal a denial of accommodations.
          2.   The County shall provide a grievance procedure for people with
               disabilities to appeal any denial of an accommodation, and to report
               any disability-based discrimination or violation of the ADA, this
               Remedial Plan, or Jail ADA-related policy.
          3.   The County shall ensure that people who are Deaf or hard of hearing
               are interviewed and provided a qualified SLI as part of the
               grievance/appeal process.
          4.   To ensure that ADA accommodations requests and ADA grievances
               are promptly addressed, the County shall:
                a) Respond to an individual’s Request for Accommodations
                   within 72 hours of receipt;
                b) Respond to an ADA-related grievance within 72 hours of
                   receipt;


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                c) Establish an expedited process for urgent ADA requests and
                   grievances (e.g., situations in which a person’s safety or
                   physical well-being is at risk); and
                d) Allow each person to retain accommodation(s) they possess at
                   the time of arrival at the Jail, or that they have been previously
                   provided by the Jail, pending review of a grievance/appeal
                   regarding the denial or removal of such accommodation(s),
                   absent an individualized security concern that is documented.
          5.   The County shall ensure that grievance forms contain an “ADA”
               box to indicate that a particular grievance relates to a disability-
               related issue. The County will ensure that disability-related
               grievances are so identified by the reviewing supervisor, even if the
               individual who submitted the grievance does not check the “ADA”
               box.
          6.   The County will ensure that grievance forms are readily available
               and accessible to all prisoners at all times. Grievance forms shall be
               made available in large print (minimum 18-point font) to
               accommodate people with vision impairments.
          7.   The County shall provide to the person with a disability a written
               grievance response, including the resolution, the basis for a denial (if
               applicable), and the process for appeal.
          8.   The County shall take steps to ensure all prisoners are aware of the
               disability grievance procedures, including the availability of
               accommodations and staff assistance to submit a grievance and/or
               appeal.
          9.   The County shall implement a specific tracking system regarding the
               submission, processing, and responses for disability-related
               grievances and complaints, and regularly review such information
               for quality assurance purposes.
      H. Housing Placements
          1.   The County shall implement a housing assignment system that
               includes an individualized assessment to be completed by health
               care staff, the results of which shall be documented in the ADA
               Tracking System, of each person’s functional limitations and
               restrictions, including but not limited to:
                a) The need for a lower bunk;

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                 b) The need for grab bars in the cell and/or shower;
                 c) The need for accessible toilets;
                 d) The need for no stairs in the path of travel; and
                 e) The need for level terrain.
           2.   People with disabilities shall be housed in the Jail consistent with
                their individual security classification. Classification staff shall not
                place prisoners with disabilities in: (a) inappropriate security
                classifications because no ADA-accessible cells or beds are
                available; (b) designated medical areas unless the prisoner is
                currently receiving medical care requiring such placement; or (c)
                any location that does not offer the same or equivalent programs,
                services, or activities as facilities where they would be housed
                absent a disability.
      I.   Visitation
           1.   The County shall ensure that family/personal and professional
                visitation areas are accessible for people with disabilities and
                visitors.
           2.   The County shall perform an individualized assessment as needed
                and shall ensure that people with disabilities have full access to
                visitation at the Jail.
      J.   Access to Programs, Services, and Activities
           1.   The County shall ensure people with disabilities, including those
                housed in specialty health care units, have equal access to programs,
                services, and activities available to similarly situated people without
                disabilities, consistent with their health and security needs. The
                County shall ensure that staff provide appropriate assistance to
                people with disabilities as needed to ensure equal access to
                programs, services, and activities provided at the Jail. Such
                programs, services, and activities include, but are not limited to:
                 a) Educational, vocational, reentry and substance abuse programs
                 b) Work Assignments
                 c) Dayroom and other out-of-cell time
                 d) Outdoor recreation (including accessible exercise equipment)
                 e) Structured programming (including in-cell activities)

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                f) Showers
                g) Telephones and/or videophones
                h) Reading materials (including easy reading, large print books
                   and other materials accessible to people with a vision-related
                   disability)
                i) Religious services
                j) Family/personal and professional visits
                k) Medical, mental health, and dental services and treatment
          2.   The County’s policy shall include the provision of assistance in
               reading or scribing legal documents, sick call requests, grievances,
               documents related to disciplinary procedures, and documents related
               to health care encounters.
          3.   The County shall ensure equitable work opportunities for people
               with disabilities, including by ensuring: (a) clear job duty
               statements, with essential functions and specific criteria, for each
               worker position; and (b) that health care and other relevant staff
               conduct an individualized assessment to identify work duty
               restrictions and/or physical limitations to facilitate appropriate
               work/industry assignments, to ensure reasonable accommodations,
               and to prevent improper exclusions from work opportunities.
      K. Health Care Appliances, Assistive Devices, Durable Medical
         Equipment
          1.   The County shall establish a written policy to ensure the timely
               provision of safe and operational HCA/AD/DME to people with a
               disability based on an individualized assessment by medical staff,
               with a process for timely repair and replacement of such devices as
               needed.
          2.   A person’s request for a particular device or other accommodation
               shall be given primary consideration and shall be granted unless the
               request is unreasonable for specific, articulated reasons allowable
               under the ADA, or unless other effective accommodations are
               available.
          3.   The County shall allow people to retain personal HCAs/ADs/DME
               (including mobility devices, glasses, and hearing aids), unless there



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                is an individualized determination that doing so would create an
                articulated safety or security risk.
                 a) Where Jail staff determine it is necessary to remove personal
                    HCA/AD/DME for security reasons, the County shall provide
                    an equivalent Jail-issued device unless custody staff, with
                    ADA Coordinator approval, determine and document, based on
                    an individualized assessment, that the device constitutes a risk
                    of bodily harm or threatens the security of the facility.
                 b) If such a determination is made, the ADA Coordinator shall
                    document the decision and reasons for it and shall consult with
                    medical staff to determine an appropriate alternative
                    accommodation.
           4.   The County shall implement a written policy governing the release
                of people who need assistive devices.
                 a) The County will ensure that any personal mobility device
                    belonging to a person is returned prior to release.
                 b) If a person does not have a personal mobility device, but is
                    ambulatory with the assistance of a cane, crutch, or walker, the
                    prisoner will be permitted to retain such device that was used
                    while in custody upon release, or will be provided a
                    comparable device, upon release.
                 c) If a person who is due for release requires a wheelchair, but
                    does not have a personal wheelchair, Jail staff shall coordinate
                    with the prisoner, family or friends, and other County agencies
                    as needed to secure a wheelchair or take other steps to address
                    the individual’s needs upon release. The County shall
                    document this process in the ADA Tracking System for
                    purposes of individual tracking and quality assurance.
      L.   Transportation
           1.   The County shall provide reasonable accommodations for people
                with disabilities when they are in transit, including during transport
                between facilities, to and from court, or to and from outside health
                care services.
           2.   Prescribed HCAs/ADs/DME for people with disabilities, shall be
                available to them at all times during the transport process, including
                in temporary holding cells.

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          3.   The County shall maintain a sufficient number of accessible vehicles
               to ensure timely transport of people with disabilities that require
               special transportation. The County intends for all transport vehicles
               to be accessible.
          4.   Staff will provide assistance to people with mobility or other
               disabilities where necessary to ensure safe access on and off of
               transport vehicles.
      M. Effective Communication
          1.   The County shall develop and implement a Custody Operations
               policy to ensure that people with disabilities receive
               accommodations and services necessary to provide Effective
               Communication, consistent with the provisions set forth herein.
          2.   The County shall assess all people detained at the Jail for any period
               of time for Effective Communication needs and take steps to provide
               Effective Communication based on individual need. The County
               shall ensure that Jail custody and health care policies and procedures
               contain sufficient guidance on the provision of Effective
               Communication.
          3.   The County shall ensure that appropriate staff assess individual
               Effective Communication needs at the beginning of the medical
               intake screening and at the beginning of the classification screening,
               to facilitate Effective Communication throughout those and all
               subsequent processes.
          4.   Enhanced procedures for the provision of Effective Communication,
               as described in the paragraph below, shall apply in the following
               situations:
                a) Due Process Events, including the following:
                       i. Classification processes
                       ii. Disciplinary hearing and related processes
                       iii. Service of notice (to appear and/or for new charges)
                       iv. Release processes
                       v. Probation encounters/meetings in custody
                b) Clinical Encounters, including the following:



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                       i.   Determination of medical history or description of
                            ailment or injury
                       ii. Diagnosis or prognosis
                       iii. Medical care and medical evaluations
                       iv. Provision of mental health evaluations, rounds, group
                           and individual therapy, counseling and other therapeutic
                           activities
                       v. Provision of the patient’s rights, informed consent, or
                          permission for treatment
                       vi. Explanation of medications, procedures, treatment,
                           treatment options, or surgery
                       vii. Discharge instructions
          5.   In the situations described in the previous paragraph, Jail staff shall:
                a) Identify each person’s disability where there may be a barrier
                   to comprehension or communication requiring reasonable
                   accommodation(s);
                b) Provide effective reasonable accommodation(s) to overcome
                   the communication barrier; and
                c) Document the method used to achieve Effective
                   Communication and how the staff person determined that the
                   person understood the encounter, process, and/or proceeding.
          6.   In determining what auxiliary aid or service to provide, the County
               shall give primary consideration to the request of the person with
               Effective Communication needs. Such aids may include bilingual
               aides, SLIs, readers, sound amplification devices, captioned
               television/video text displays, Videophones and telecommunication
               services for deaf persons, audiotaped texts, Braille materials, large
               print materials, writing materials, and signage.
          7.   The County shall ensure that all outside education, program, and
               service providers at the Jail provide Effective Communication for
               people participating in such programs.




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      N. Access for Individuals with Hearing Impairments
          1.   The County shall develop and implement a policy for newly arrived
               and newly identified people with hearing disabilities to determine
               each person’s preferred method of communication.
          2.   Qualified Sign Language Interpreters (SLIs), on-site or through a
               VRI service, will be provided during intake and for due process
               functions, health care encounters, and Jail programming, when sign
               language is the person’s primary means of Effective
               Communication, unless the person waives the assistance of an
               interpreter and/or delay would pose an urgent safety or security risk
          3.   The County will maintain a log of (a) when, for whom, and for what
               purpose an SLI was used; and (b) when, for whom, and why an SLI
               was not used for a person with an identified need for SLI services
               (e.g., waived or delay would have posed urgent safety or security
               risk).
          4.   When a prisoner waives an SLI, the log must document (a) the
               method of communication of the waiver, and (b) the method staff
               used to determine that the waiver was knowing and freely given.
          5.   The County shall maintain a contract or service agreement with
               interpreter services, including a VRI service, in order to provide
               such services for deaf or hard of hearing prisoners. The County will
               ensure that appropriate Jail staff have sufficient guidance regarding
               use of such services.
          6.   Lip reading will not be the sole method of Effective Communication
               used by staff, unless the person indicates that is their preferred
               method of communication.
          7.   In cases where the use of an SLI is not practicable, or is waived by
               the prisoner, Jail staff shall employ the most effective form of
               communication available.
          8.   The County shall make videophones available for deaf and hard of
               hearing people. The videophones shall provide for calls that utilize
               Video Relay Services (VRS) at no cost to deaf and hard of hearing
               prisoners, or for calls directly to another videophone.
          9.   The County shall provide deaf/hard of hearing people with twice as
               much time for calls using telecommunication relay services, such as
               a videophone or TDD/TTY, to account for the fact that such

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               conversations take longer than spoken conversations. The County
               shall document the time that each prisoner uses and has access to
               such equipment.
          10. People who require an SLI as their primary method of
              communication shall be provided an SLI for education, vocational,
              and religious programs.
          11. In housing units where an individual with a hearing-related
              disability resides, public announcements shall be communicated as
              consistent with individual Effective Communication needs. This
              includes announcements regarding visiting, meals, recreation release
              and recall, count, lock-up, and unlock. Verbal announcements may
              be effectively communicated via written messages on a chalkboard
              or dry erase board, or by personal notification, as consistent with
              individual need. These procedures shall be communicated to people
              during the orientation process and shall be incorporated into relevant
              policies and post orders.
      O. Prisoners with Intellectual/Developmental Disabilities
          1.   The County shall develop and implement a comprehensive written
               policy and procedure regarding people with Intellectual and/or
               Developmental Disabilities, including:
                a) Screening;
                b) Identification of their adaptive support needs and adaptive
                   functioning deficits; and
                c) Monitoring, management, and accommodations for people
                   with Intellectual or Developmental Disabilities.
          2.   If a person is known to have or suspected of having an Intellectual
               or Developmental Disability, the County shall contact the
               appropriate Regional Center within the next business day of the
               person’s arrival at the Jail. The County shall request the prisoner’s
               current IPP (Individualized Program Plan), with the individual’s
               authorization. Once received, medical and custody staff shall review
               the IPP to ensure that all communications and services being
               provided are appropriate. If the person is not a Regional Center
               client, the County shall request that the Regional Center (or other
               appropriate agency) perform an evaluation. Whenever possible, Jail
               staff will work with the Regional Center and any relevant County


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                agencies to move a person with an identified Intellectual or
                Developmental Disability out of custody and into a setting with
                appropriate supports to meet the person’s individual needs.
           3.   People identified as having an Intellectual or Developmental
                Disability will be provided with accommodations tailored to their
                needs, which may include but are not limited to communications at
                the appropriate comprehension level, more time to complete
                directions, and specific behavioral supports.
           4.   A multidisciplinary team that includes appropriate health care staff
                will monitor and ensure appropriate care for people with an
                Intellectual or Developmental Disability. The multidisciplinary team
                will develop an individualized plan for each person with an
                Intellectual or Developmental Disability, which addresses: (1)
                safety, vulnerability, and victimization concerns, (2) adaptive
                support needs, and (3) programming, housing, and accommodation
                needs. The multidisciplinary team’s plan will be regularly reviewed
                and updated as needed.
      P.   Physical Accessibility Requirements
           1.   The County shall implement an ADA transition plan to remedy
                Main Jail physical plant features that could result in access barriers
                for people with disabilities.
           2.   The above ADA transition plan will be implemented in the
                timeframe set forth in the Stipulated Judgment. The County and the
                Sheriff’s Office agree that, during the period of implementation of
                the ADA transition plan at the Main Jail, they will take all
                reasonable steps to promote and ensure accessibility for people with
                disabilities to the maximum extent possible. This includes the use of
                interim measures to address existing access barriers in order to
                ensure safety and program access for people with disabilities.
           3.   The County shall ensure that the North Branch Jail provides
                adequate accessibility for people with disabilities, consistent with
                accessibility requirements under federal and state law.
      Q. Alarms/Emergencies
           1.   The County shall implement written policies regarding the
                expectations of staff as to persons with disabilities during
                emergencies and alarms, including as to disabilities that may affect


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               their ability to comply with orders or otherwise respond to
               emergencies and alarms. For example, the policies shall ensure
               appropriate handling of people with mobility-related disabilities who
               are unable to prone out or take a seated position on the ground
               during an alarm or emergency. Such policies shall be communicated
               to staff, incorporated into the relevant policies, and communicated to
               people with disabilities using Effective Communication.
          2.   In order to facilitate appropriate accommodations during alarms or
               emergencies, the County shall offer, but shall not require,
               individuals who have disabilities visible markers to identify their
               disability needs (e.g., wristbands). The County shall maintain a list,
               posted in such a way to be readily available to Jail staff in each unit,
               of people with disabilities that may require accommodations during
               an alarm or emergency.
          3.   The County shall install visual alarms appropriate for people who
               are deaf or hard of hearing.
          4.   All housing units shall post notices for emergency and fire exit
               routes.
      R. Quality Assurance
          1.   The County shall develop and implement written policies and
               procedures regarding monitoring compliance with ADA
               requirements and Jail ADA policies, including (but not limited to)
               the following:
                a) Requests for ADA accommodations;
                b) ADA-related grievances;
                c) ADA-related training;
                d) Use of the ADA Tracking System.
          2.   The County shall develop an ADA accountability plan that will
               ensure quality assurance, track violations of the ADA and the Jail’s
               ADA policies, and establish staff accountability for egregious,
               serious, or repeated violations of the ADA and Jail ADA-related
               policies and procedures.




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 VI. ENVIRONMENTAL HEALTH AND SAFETY
      A. Environmental Health and Safety Monitor
          1.   The County shall designate an environmental health and safety
               monitor (“Environment of Care Monitor”) responsible for ensuring
               compliance with this Remedial Plan and other environmental health
               and safety policies and procedures. The duties of the Environment of
               Care Monitor will be established in writing consistent with this
               remedial plan. The Environment of Care Monitor will have
               sufficient authority to carry out such duties.
      B. Cleanliness and Sanitation of Jail Facilities
          1.   The County shall establish a sanitation plan to ensure that all Jail
               facilities maintain appropriate cleanliness. The plan shall provide for
               any cleaning issues requiring an established cleaning schedule and
               written documentation of such cleaning, including, at a minimum:
                a) Daily access to supplies and equipment for prisoners to
                   conduct cleaning and disinfection of housing units, including
                   floors, toilets, sinks, and showers, with a cleaning chemical
                   that sufficiently eliminates pathogens found in living and
                   common areas;
                b) Weekly inspections of housing units, including floors, toilets,
                   sinks, and showers by jail staff, with prompt steps to address
                   identified cleaning and disinfection needs;
                c) Daily cleaning of intake, health care clinics, kitchen, laundry
                   and other common areas, such as hallways and the tunnel;
                d) Weekly cleaning of visitation rooms and classrooms, and more
                   frequently as needed;
                e) Biweekly (i.e., every other week) power washing of shower
                   areas;
                f) Weekly cleaning of cell bars, windows, and lights;
                g) Quarterly cleaning of fans and air vents, and more frequently
                   as necessary to ensure that they are clean and free of mold,
                   mildew, and/or accumulation of dirt and dust.
          2.   Upon intake, the County shall provide prisoners an orientation
               regarding the Jail’s expectations and procedures for cleanliness,


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               elimination of clutter, and proper use of personal property
               containers.
          3.   The County shall establish a procedure to maintain cleanliness in
               housing areas where a prisoner is unable or unwilling to adequately
               clean. Where prisoners are expected to participate in cleaning, staff
               shall ensure appropriate assistance to people with mental illness,
               intellectual and developmental disabilities, or other special needs.
          4.   The County shall develop and implement a policy and procedure for
               effective cleaning, disinfection, distribution, and repair of
               mattresses. The policy shall provide a process for inspection and
               replacement of all frayed and cracked mattresses that cannot be
               disinfected sufficiently to eliminate harmful bacteria.
          5.   The County shall ensure that newly arrived prisoners receive a clean
               and serviceable mattress. Mattresses shall be cleaned and
               disinfected anytime they are assigned to a different prisoner or when
               there is a biohazardous or bloodborne incident involving the
               mattress.
          6.   The County shall establish procedures so that a cell is cleaned prior
               to a prisoner’s placement in that cell.
          7.   The County has committed to ensuring that each prisoner is assigned
               and provided a bed, as set forth in the Custody
               Operations/Segregation Remedial Plan. Until such remedial
               provision is fully implemented, where the County uses plastic beds,
               or “boats,” the County shall ensure that they are cleaned and
               disinfected anytime they are assigned to a different prisoner or when
               there is a biohazardous or bloodborne incident involving the
               mattress or boat.
      C. Laundry
          1.   Clothing and linen exchange shall occur for all prisoners at least
               weekly, and more frequently when circumstances warrant. Kitchen
               workers shall be provided a clean kitchen uniform daily. Whenever
               a prisoner presents to jail staff clothing or linen that are soiled and/or
               reasonably requests a clothing/linen exchange, jail staff will ensure a
               prompt exchange, in all cases by the end of the shift.
          2.   The County shall provide, document and maintain records of
               training provided to prisoner-workers and staff assigned laundry


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                duties on chemical safety, biohazardous and bloodborne
                contaminated clothing and linens, use of personal protective
                equipment, and Material Safety Data Sheets.
           3.   Staff shall make reasonable efforts to ensure that all prisoners have
                clean linens at all times. Staff will make a health care referral for
                any prisoner refusing to exchange linens if there is reason to believe
                such refusal relates to the person’s mental health condition. Mental
                health staff shall assist in resolving the situation, as appropriate.
      D. Food Service and Kitchen Operations
           1.   Prisoners assigned to kitchen duties shall be provided with clean
                outer clothing daily. If during a prisoner’s work shift the clothing
                becomes soiled, it should be replaced promptly.
           2.   The County shall perform a weekly inspection of kitchen operations,
                with a report submitted to the Environment of Care Monitor, and
                shall ensure actions are taken to correct any identified issues.
           3.   The County shall develop and implement policies and procedures
                for food service and kitchen operation as required in Section 1246 of
                California Code of Regulations Title 15. The policy shall include
                provisions for tool control, roles and responsibilities of Jail staff and
                the food service Contractor, employee and prisoner-worker training
                in food safety, and temperature monitoring. The policy shall provide
                that prisoner-workers are medically screened prior to being assigned
                to work in the kitchen.
           4.   The County shall provide prisoner-workers with training and
                education regarding kitchen operations.
           5.   The County shall conduct periodic temperature monitoring of food
                and take steps to ensure that food prepared as hot is served hot to the
                greatest extent practicable.
      E.   Work Order System and Preventative Maintenance
           1.   The County shall train staff on the process of submitting work
                orders.
           2.   The County shall utilize the work order reporting system to schedule
                preventative maintenance and repairs. The system shall provide for
                any cleaning or maintenance requiring an established schedule,
                including, at a minimum


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                 a) Regular maintenance of plumbing;
                 b) Quarterly cleaning of fans and ventilation grills;
                 c) Quarterly replacement of ventilation filters;
                 d) Regular external contractor monitoring of negative pressure
                    cells and gauges;
                 e) Monthly fire extinguisher inspections; and
                 f) Monthly fire and life safety inspections.
           3.   The County shall develop and implement an environmental
                inspection policy with procedures that include an assessment of
                maintenance issues for every housing unit, including for plumbing,
                electrical, ventilation, painting, cleanliness, lighting, and storage of
                personal belongings.
      F.   Chemical Control and Biohazardous Materials
           1.   The County shall develop and implement chemical control policies
                and procedures for safe storage, dilution, and distribution of
                chemicals used at the Jail.
           2.   The County shall develop and implement a chemical safety training
                for all staff and prisoners assigned the responsibility of cleaning.
                The County or County’s contract provider shall maintain
                documentation that demonstrates evidence of training for all staff
                and prisoner-workers involved in cleanup.
           3.   The County shall revise and ensure implementation of its
                Communicable Disease policy, including to ensure appropriate use
                and concentration of pyrethrum spray.
           4.   The County shall develop and implement policies and procedures
                for cleaning, handling, storing, and disposing of biohazardous
                materials, including waste. The County shall ensure that Material
                Safety Data Sheets are accessible anywhere chemicals are stored,
                mixed, or diluted.
           5.   The County shall ensure that staff and prisoner-workers responsible
                for cleaning biohazardous materials or areas suspected of being
                contaminated by pests (e.g. lice or scabies) are outfitted with
                protective equipment and receive appropriate supervision.



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      G. Negative Pressure Monitoring and Recording
           1.   The magnehelic gauges located outside the housing area to any
                negative airflow cell shall be checked once per shift to ensure the
                cells remain in a negative airflow state. When non-conformities are
                identified, the cell shall not be used for people with circumstances
                requiring a negative airflow cell, and a work order shall be
                submitted for prompt repair.
           2.   The County shall provide and document training regarding
                acceptable gauge readings and the steps to take if the readings are
                outside the acceptable range for all staff assigned to housing areas
                with negative airflow cells.
           3.   Negative pressure cells and gauges shall be tested by an external
                contractor on a regular schedule as part of the Jail’s preventive
                maintenance schedule.
      H. Emergency Response and Fire/Life Safety
           1.   The County shall inspect fire extinguishers monthly and hold drills
                to ensure all jail staff are trained consistent with NCCHC standards
                on emergency response. Drill documentation shall include start and
                stop times, the number and location of any prisoners moved as part
                of the drill, any noted deficiencies, and any corrective actions taken.
      I.   Environment of Care Monitor Inspections, Corrective Action, and
           Process for Prisoners to Raise Concerns
           1.   The Environment of Care Monitor shall conduct bimonthly (i.e.,
                every other month) Environmental Health and Safety inspections in
                every housing unit. The inspections shall include a documented
                assessment of and (as needed) corrective action plans for:
                 a) Cleanliness of floors, walls, ceilings, bed and bedding, toilet
                    and lavatory, cells and dayrooms surfaces;
                 b) Cleanliness and disinfection of common areas and furnishings,
                    including showers, shower chairs, plastic chairs, wheelchairs,
                    stretchers, beds/bunks and personal property containers.
                 c) Cleanliness of fans, exhaust and return ventilation grills, and
                    the need for any maintenance repairs such as painting, broken
                    tiles, blocked lighting, and plumbing.



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          2.   The County shall provide a system through which class members are
               able to raise sanitation matters of concern. The grievances shall be
               reviewed by the housing unit supervisors before each shift change.
               Where a maintenance issue is identified, a work order shall be
               submitted before the end of the following shift.


 VII. CUSTODY OPERATIONS/SEGREGATION
      A. General Principles
          1.   Prisoners shall be housed in the least restrictive setting necessary to
               ensure their own safety, as well as the safety of staff and other
               prisoners.
          2.   The County shall not place prisoners in more restrictive settings,
               including Segregation, based on a mental illness or any other
               disability. Prisoners will be housed in the most integrated setting
               appropriate to their individual needs.
          3.   The County shall not place a prisoner in Segregation units without
               first determining that such confinement is necessary for security
               reasons and/or the safety of the staff or other prisoners. The County
               shall maintain a system by which it documents in writing the
               specific reason(s) for a prisoner’s placement and retention in
               Segregation housing. The reason(s) shall be supported by clear,
               objective evidence.
          4.   Prisoners will remain in Segregation housing for no longer than
               necessary to address the reason(s) for such placement.
      B. Classification Procedures
          1.   The County shall implement a validated Classification System
               consistent with the provisions of this remedial plan.
          2.   The Classification System shall be based on clear criteria and
               procedures for placing prisoners in and removing prisoners from
               Segregation units. Placement in and removal from Segregation units
               shall be documented for all prisoners.
          3.   The Classification System shall facilitate the following:
                a) Housing placements based on the behavior and clinical needs
                   of prisoners who are identified as having Serious Mental


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                    Illness. Mental health staff shall provide input regarding the
                    classification and placement of people with Serious Mental
                    Illness.
                b) Screening to determine whether a prisoner should be separated
                   from other prisoners for safety purposes. Where a prisoner is
                   found to require separation from other prisoners for safety,
                   placement will be in the least restrictive setting appropriate,
                   and will allow for out-of-cell and recreation time consistent
                   with the provisions herein.
          4.   The Classification System shall include a Classification Review
               Process.
                a) The Classification Review Process shall include clear, written
                   criteria by which prisoners in a Segregation Unit can secure
                   placement in a less restrictive setting as well as restoration of
                   property or privileges. This review will include a private, out-
                   of-cell interview (unless individual security issues prevent such
                   an interview and are documented). The review shall occur at
                   least every 30 days or sooner if circumstances warrant.
                b) If a prisoner is retained in a Segregation unit following the
                   Classification Review, the reasons for retention and the
                   specific steps to be taken to achieve restoration of
                   property/privileges and transfer to a less restrictive setting will
                   be documented.
                c) Prisoners in Segregation units will be provided an oral and
                   written statement of the reasons for the outcome of each
                   review, including what steps are necessary to gain restoration
                   of property/privileges and to be moved to a less restrictive
                   setting.
          5.   The County shall perform Prison Rape Elimination Act (PREA)
               screenings in a private location.
      C. Elimination of Dangerous or Improper Physical Plant Features
          1.   The County shall conduct an assessment of all Segregation cells and
               develop a plan to address structural suicide hazards, such as tie-off
               points within the cells, to the maximum extent feasible.
          2.   The County shall ensure that prisoners with serious mental illness or
               otherwise at elevated risk of suicide will not be housed in a cell that

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               contains attachment points or other structural suicide hazards, as
               follows.
                a) The County shall maintain a list of Segregation cells
                   containing structural suicide hazards.
                b) The County shall not place any person in a Segregation cell
                   containing structural suicide hazards if the person has a
                   diagnosed Serious Mental Illness.
                c) The County shall assess all cells used to hold prisoners
                   awaiting intake screening or post-intake housing placement,
                   including as intake “overflow,” and shall ensure that they are
                   suicide-resistant and do not contain structural blind spots, to
                   the maximum extent feasible.
          3.   No later than January 1, 2021, the County shall discontinue its use of
               the Main Jail’s “double door” or other extreme isolation cells,
               including Central 7 and Central 8.
          4.   No later than January 1, 2021, the County shall discontinue its use of
               Segregation housing units that lack access to a dayroom, including
               South 1-16, West 18-29, and East 11-22. The County may retrofit
               such units to ensure that they provide access to a dayroom and
               outdoor recreation areas and that they comply with contemporary
               correctional standards.
      D. Minimum Out-of-Cell Time
          1.   Absent exigent circumstances or exigent security concerns that are
               documented, the County shall offer each prisoner not subject to
               discipline (except in the Northwest unit), at a minimum, 18 hours
               out of their cell each week, and other structured programming, as
               follows:
                a) At least six (6) hours per week outdoors for exercise/recreation
                b) At least twelve (12) hours per week in a dayroom or other
                   common area
                c) At least four (4) hours per day, on at least three (3) separate
                   days per week, of in-cell structured programming – i.e.,
                   programming on electronic tablets.
          2.   For those prisoners housed in the Northwest unit, absent exigent
               circumstances or exigent security concerns that are documented, the


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                County shall offer each prisoner not subject to discipline at a
                minimum, 15 hours out of their cell each week, and other structured
                programming, as follows:
                 a) At least six (6) hours per week outdoors for exercise/recreation
                 b) At least nine (9) hours per week in a dayroom or other
                    common area
                 c) At least four (4) hours every other day (i.e., 3 or 4 times per
                    week, on an alternating basis), of in-cell structured
                    programming – i.e., programming on electronic tablets.
           3.   The County shall provide prisoners out-of-cell time daily, at
                appropriate times of the day – i.e., not during normal sleeping hours.
           4.   The County shall implement a system of documenting the amount of
                out-of-cell time each prisoner is offered for each of the above
                categories.
           5.   The County shall conduct monthly audits to ensure that required out-
                of-cell time with respect to each of the above categories is made
                available to the jail population. Supervisory staff shall regularly
                review this data for quality assurance, and take steps to address any
                deficiencies.
           6.   In cases where a prisoner refuses out-of-cell time repeatedly and the
                reason for such refusals may be related to their mental health
                condition, Jail staff shall make a mental health referral for
                assessment and appropriate clinical follow-up.
      E.   Disciplinary Procedures
           1.   A prisoner may be housed in Segregation for disciplinary purposes
                only after the prisoner has received notice of the charges against
                him/her, a supervisor has conducted a disciplinary hearing at which
                the prisoner is given an opportunity to rebut the charges, and the
                prisoner is adjudicated guilty of the alleged violation(s). Where
                there is a serious and immediate safety risk and no other housing
                unit is sufficient to protect the inmate from harm, staff may place a
                prisoner in Segregation for the shortest period of time necessary. In
                such cases, supervisory custody staff will promptly review the case
                and must approve in writing continued retention in Segregation.




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           2.   Prisoners serving a disciplinary term in Segregation may be subject
                to a reduction in out-of-cell time, including in-cell confinement not
                to exceed twenty-two (22) hours per day.
           3.   The County shall implement a 30-day maximum term in Segregation
                for any single or set of disciplinary violations stemming from the
                same incident.
           4.   The County shall not use safety cells for punishment.
           5.   The County shall not use the denial or modification of food as
                punishment. The County shall not use the “prison loaf” as a
                disciplinary diet.
      F.   Safeguards for Prisoners Placed in Segregation
           1.   Prior to Segregation placement of any person with Serious Mental
                Illness, with an intellectual disability, or who is exhibiting unusual
                or bizarre behavior, the County shall ensure completion of the
                mental health review process detailed in Section VII of the Mental
                Health Remedial Plan.
           2.   The County shall conduct visual cell checks (to ensure that prisoners
                are safe and breathing) for all prisoners in Segregation at least every
                30 minutes, at staggered intervals. Completion of safety checks
                shall be timely documented and audited regularly by supervisory
                staff for quality assurance purposes.
           3.   Health care staff shall conduct check-ins three times per week to
                assess and document the health status of all prisoners in Segregation,
                and shall make medical and mental health referrals as necessary.
           4.   A Qualified Mental Health Professional shall conduct check-ins at
                least three times per week to assess and document the mental health
                status of all prisoners in Segregation and shall make referrals as
                necessary. The check-in shall include the following:
                 a) Conversation with each prisoner;
                 b) Visual observation of the prisoner’s cell, including the
                    cleanliness of the prisoner’s clothing and bed linens; and
                 c) Inquiry into whether the prisoner would like to request a
                    confidential meeting with a mental health or medical provider.
           5.   If a prisoner in Segregation requests a confidential health care
                contact or staff identify a mental health or medical need warranting

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               follow-up, staff shall arrange for evaluation and treatment of the
               prisoner in an appropriate confidential setting.
          6.   If health care staff observe a prisoner’s medical or mental health
               condition deteriorate in Segregation, they shall promptly confer with
               supervisory level custody staff to discuss the need for higher level of
               care or alternative placement to address the prisoner’s condition.
               This conference will be documented in the prisoner’s record.
                a) The County shall not place the following prisoners in
                   Segregation unless necessary to address current, specific safety
                   concerns that are documented, with supervisory-level review
                   and approval, and in such cases only for the minimum time
                   necessary to identify an alternative appropriate placement:
                   Prisoners with acute medical or mental health needs that
                   require an inpatient level of care and/or daily nursing care;
                b) Prisoners who are pregnant, post-partum, who recently had a
                   miscarriage, or who recently had a terminated pregnancy.
          7.   The County shall avoid the release of prisoners from custody
               directly from Segregation to the maximum extent possible.
          8.   If a prisoner has an expected release date in less than 60 days, the
               County shall take and document steps to move the prisoner to a less
               restrictive setting, consistent with safety and security needs. Should
               Segregation become necessary during this time period, the County
               shall provide individualized discharge planning to prepare the
               prisoner for release to the community, including in light of the
               prisoner’s Jail housing placement and status.
      G. Grievances, Inmate Request Forms, Property/Privileges in
         Segregation
          1.   The County shall provide grievance forms and inmate request forms
               in each housing unit for prisoners to readily access and use.
          2.   Prisoners housed in Segregation units shall have equal access to
               grievance and inmate request forms and procedures as compared to
               general population prisoners.
          3.   The County shall allow reasonable access to the following for all
               prisoners, including those in Segregation, absent a specific safety or
               security issue that is documented:


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                a) Personal phone calls on a daily basis during normal business
                   hours.
                b) Education, rehabilitation, and other materials (e.g., books,
                   magazines, radios, writing implements, art supplies, tablets) for
                   in-cell activities.
      H. Other Custody Operations
          1.   Capacity of Jail Facilities
                a) No later than January 1, 2021, the number of prisoners placed
                   in a particular housing unit shall be limited to no more than the
                   rated capacity.
                b) No later than January 1, 2021, the County shall assign a bed to
                   all prisoners.
                c) The County shall establish procedures to ensure that no
                   prisoner is placed in any cell or housing unit without a mattress
                   and appropriate bedding, unless there are individualized
                   clinical or security concerns that are documented.
                d) Female prisoners shall be separated by sight and sound from
                   male prisoners.


 VIII. STAFFING FOR HEALTH CARE SERVICES
          1.   The County shall establish and maintain appropriate Qualified
               Health Professional staffing levels and sufficient custodial staff to
               provide timely escorts for inmates to health care appointments.
          2.   The County shall perform the following analyses:
                a) Comprehensive staffing analysis based on a needs assessment,
                   to include medical and mental health care providers and
                   clinical staff, office and technological support, Quality
                   Assurance staff, supervisorial staff, and custody staff for
                   escorts and transportation;
                b) Determination of the number of positions required in each
                   discipline for health care needs at each facility, based on
                   current populations;
                c) Timeline for implementation of the staffing analysis (including
                   authorization, funding, and hiring).

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          3.   The County shall regularly monitor and adjust, as needed, staffing in
               order to ensure timely access to care.
 IX. TRAINING RELATED TO TREATMENT OF PRISONERS WITH
     SPECIAL NEEDS
          1.   The County shall develop and implement training, through various
               mediums including memorandums, briefings, online presentations,
               and/or classroom presentations, for Jail custody staff on the
               provisions described in this remedial plan, as well as general
               correctional health care issues, including crisis intervention
               techniques, recognizing different types of medical and mental health
               conditions and appropriate responses, developmental/intellectual
               disability, descalation and crisis intervention, suicide/self-harm
               prevention, cultural diversity, health care referral practices, and
               confidentiality standards.
          2.   Jail custody staff training on implementation of remedial plan
               provisions shall be completed within 90 days of the effective date of
               this remedial plan. Jail custody staff shall receive at least eight (8)
               hours of training on all other topics described above on a bi-annual
               basis. The County shall keep records documenting all such trainings
               and training participants.
          3.   Jail custody staff assigned to specialized units that house people
               with serious mental illness shall receive four (4) additional hours of
               pre-service training, and on a bi-annual basis thereafter, on working
               with people with mental health needs, special medico-legal
               considerations, de-escalation and specialized management
               techniques, and the Jail’s mental health treatment programs.
          4.   The County shall ensure that the health care services provider
               develops and implements training for health care staff to ensure
               timely implementation of and ongoing adherence to the provisions
               described in this remedial plan. The County shall keep records
               documenting all such trainings and training participants.
          5.   The County shall review and revise (as necessary) suicide
               prevention training for custody, health care, and other relevant staff,
               and ensure that it adequately covers the following topics:
                a) avoiding obstacles (negative attitudes) to suicide prevention;
                b) why facility environments are conducive to suicidal behavior;


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                c) identifying suicide risk;
                d) predisposing factors to suicide;
                e) high-risk suicide periods;
                f) suicide risk warning signs and symptoms;
                g) components of the County’s jail suicide prevention program;
                h) liability issues associated with prisoner suicide; and
                i) crisis intervention.
          6.   The County shall provide all custody staff with at least eight hours
               of initial training and at least two to four hours of annual training,
               through various mediums including memorandums, briefings, online
               presentations, and/or classroom presentations, regarding suicide
               prevention and the identification and approach to prisoners with
               mental illness.
          7.   All health care staff shall receive at least two hours of training
               annually on suicide prevention and related mental health treatment
               and management issues. Annual training shall include a review of
               the current Jail suicide prevention policy and program.
          8.   All custody and medical staff shall be trained in first aid and CPR.




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June 8, 2022


Anthony Ray, Sheriff
San Diego County Sheriff’s Department
9621 Ridgehaven Ct.
San Diego, CA 92123


2020-2022 BIENNIAL INSPECTION, PENAL CODE 6031, WELFARE & INSTITUTION CODE
209
SAN DIEGO COUNTY TYPE II JAIL FACILITIES


Dear Interim Sheriff Ray:

The 2020-2022 biennial inspection of the San Diego Sheriff Department’s adult jail system has
been completed. A pre-inspection briefing was held on February 4, 2021, and the facilities were
inspected between November 3 and 11, 2021. The following facilities were inspected; please
note that Facility #8 (BSCC# 4410) was not inspected as it is currently unoccupied and
undergoing refurbishment.

 Inspection Date        Facility Name                                              BSCC #
 November 3, 2021       George Bailey Detention Facility (GBDF)                     4430
 November 4, 2021       East Mesa Re-Entry Facility (EMRF)                          4435
 November 5, 2021       San Diego Men’s Central Jail (SDMC)                         4381
 November 5, 2021       Vista Detention Facility (VDF)                              4440
 November 9, 2021       Las Colinas Women’s Detention Center (SCWD)                 4402
 November 10, 2021      South Bay Detention Facility (SBDF)                         4420

Pursuant to Penal Code Section 6031, these inspections were performed to determine
compliance with the Minimum Standards for Local Detention Facilities as outlined in Titles 15
and 24, California Code of Regulations. In addition, BSCC staff conducted compliance
monitoring pursuant to Welfare and Institutions Code Section 209(f) for the federal Juvenile
Justice and Delinquency Prevention Act (JJDPA) for the separation requirements of juveniles
from incarcerated adults.

The complete Board of State and Community Corrections (BSCC) inspection report is
enclosed and consists of the following: this transmittal letter; a Title 15 Procedures checklist
for each facility, outlining applicable minimum standards for detention facilities; a Physical
Plant Evaluation, outlining applicable Title 24 minimum standards; and the Living Area Space
Evaluation (LASE), summarizing the physical plant configuration and outlining rated capacity.

Please refer to the Title 15 Procedures checklist for a summary of applicable minimum
standards, indication of compliance or noncompliance, and information used to determine
compliance.



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                                          LOCAL INSPECTIONS

In addition to the biennial inspection by the BSCC, inspections are also required annually by the
County Health Officer and biennially by the State Fire Marshal or an authorized representative
(Health and Safety Code Sections 101045 and 13146.1). Please consider our report in
conjunction with the reports from the County Health Officer and the respective fire authorities for
a comprehensive perspective of your facilities. Local inspection reports are forwarded to your
office under separate cover; the dates of these inspections are included below.

Each of the local inspections was current and there were no issues of noncompliance.

                                       Fire and   Medical/Mental Environmental Nutritional
          Facility Name
                                      Life Safety    Health         Health       Health
 San Diego Men’s Central Jail           8/30/2020      3/20/2020    11/19/2019 1/28/2020
 Las Colinas Women’s                    2/16/2021      5/18/2020      4/13/2020 1/29/2020
 Detention Facility
 South Bay Detention Facility            6/22/2020            5/18/2020            4/17/2020       1/31/2020
 George Bailey Detention
                                         6/17/2019            5/19/2020           10/01/2019       1/30/2020
 Facility
 East Mesa Re-Entry Facility           11/20/2020             5/19/2020           11/20/2019       1/30/2020
 Vista Detention Facility               3/29/2021             3/11/2020            3/13/2020       1/29/2020
 Facility #8                            6/10/2020             5/19/2020           10/01/2019       1/30/2020

                                            BSCC INSPECTION

Title 15, CCR Minimum Standards
The inspection consisted of a review of policies and procedures related specifically to applicable
Title 15, CCR sections 1, a site visit to review operations, a physical plant evaluation, a review of
relevant documentation, and interviews with administration staff, facility staff, inmates and
collaborative partners. Please see the procedures checklists for detailed information.

The following items of noncompliance with Title 15, CCR were identified:

Title 15, §1280 Facility Sanitation, Safety and Maintenance

        San Diego Men’s Central Jail
        George Baily Detention Center
        East Mesa Detention Center

During the onsite inspection, BSCC staff observed plumbing, sewage, and hot water supply
issues at the above noted facilities.




1 BSCC reviews only those policy and procedures required by, and applicable to, Title 15, CCR.
                                                                                            BSCC staff do not
“approve” policies and procedures, nor do we review them for constitutional or legal issues. We recommend
agencies seek review through their legal advisor, risk manager and other persons deemed appropriate.

4381 4402 4410 4420 4430 4435 4440 San Diego Type II LTR 20-22
                                                                                                 Ex. S-271
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Title 24, CCR Physical Plant
There were no changes made to any of the facilities’ physical plant, the rated capacity for each
facility remains:

                          San Diego Central Men’s Jail             946
                          Las Colinas Women’s Facility            1216
                          South Bay Detention Facility             306
                          George Bailey Detention Facility        1380
                          East Mesa Re-Entry Facility              760
                          Vista Detention Facility                 807
                          Facility #8                              200

Please see the Physical Plant Evaluation for each facility for detailed information. The following
items of noncompliance with Title 24 minimum standards were identified:

1231.2.2      Temporary Holding Cell or Room
               San Diego Men’s Central Jail

These cells were observed to contain more than 16 inmates on the date of inspection.

1231.2.7      Double Occupancy Cells
               San Diego Men’s Central Jail
               George Bailey Detention Center
               South Bay Detention Center
               Vista Detention Facility

1231.2.8      Dormitories
               George Bailey Detention Center

1231.3.1   Toilets and Urinals
             George Bailey Detention Center

1231.3.2   Wash Basins
            George Bailey Detention Center

1231.3.4   Showers
             George Bailey Detention Center

Double occupancy cells and dormitories in the facilities listed above are equipped with triple
bunks. On the dates of inspection, many of these cells were occupied by three inmates. The
square footage of floor space along with fixtures to include toilets, washbasins, and showers
does not support the number of occupants.

1231.2.22 Audio Monitoring
           San Diego Men’s Central Jail

Audio/visual call systems were tested and were not operable on the date of inspection.

4381 4402 4410 4420 4430 4435 4440 San Diego Type II LTR 20-22
                                                                                   Ex. S-272
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1231.3.5 Beds
            San Diego Men’s Central Jail
            Las Colinas Women’s Facility

On the date of inspection, BSCC staff observed plastic “temporary beds or boats” being used
and stored for use in the above facilities. These temporary beds do not conform to Title 24
standards.

Training
According to the most recent Standards and Training for Corrections audit, the San Diego
County Sheriff’s Department is in compliance with all relevant regulations and mandates and
mitigating circumstances if applicable.

Juvenile Justice and Delinquency Prevention Act (JJDPA) Compliance Monitoring
We reviewed the San Diego Type II, Adult Jail Facilities, and found no violations of the JJDPA.
Please refer to Title 15 Procedures checklist for detailed information.

CORRECTIVE ACTION PLAN

On November 16, 2021, BSCC staff held an Exit Briefing where staff from your department were
provided with an Initial Inspection Report outlining items of noncompliance. During that briefing,
BSCC staff provided an overview of the biennial inspection and the Enhanced Inspection
Process, provided technical assistance, and best practice recommendations.

Your agency provided BSCC staff with a Corrective Action Plan (CAP) addressing these issues
on December 14, 2021; all items of noncompliance have been corrected with the exception of
the continued use of triple bunks that are not supported by the current infrastructure of your jail
facilities including floor space, and the number of available toilets, washbasins and showers.
The CAP received stated that with the completion of the Rock Mountain Detention Facility in
Spring 2022, bed space will become available that will allow for renovations to existing facilities.
This process will eventually result in an increase in available bed space. Throughout this
process, we will evaluate options for transitioning away from triple bunks in areas lacking
adequate fixtures or square footage to support their use. BSCC staff will continue to monitor
your progress on the above referenced project.

                                                 --




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This concludes the 2020-2022 biennial inspection report. It was a pleasure working with your
team and I am available to provide technical assistance when requested. I look forward to
continuing to work together. Please do not hesitate to email me at Kim.Moule@bscc.ca.gov or
call 916-322-8081 if you have any questions.

Sincerely,




KIMBERLY MOULE, CJM
Field Representative
Facilities Standards and Operations Division


Enclosures

cc:   Chair, Board of Supervisors, San Diego County *
      Presiding Judge, Superior Court, San Diego County *
      County Administrator, San Diego County *
      Grand Jury Foreperson, Superior Court, San Diego County *
      Anthony Ray, Interim Sheriff, San Diego County Sheriff’s Office
      Theresa Adams-Hydar, Assistant Sheriff, San Diego County Sheriff’s Office
      Christina Bavencoff, Commander, San Diego County Sheriff’s
      Daniel Dennis, Sergeant, San Diego County Sheriff’s Office

     *Copies of full inspection are available upon request or are available online at
www.bscc.ca.gov.




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                                                                    Ex. T-275
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                                       294 of 473                                         ORIGINAl
   1    PRISON LAW OFFICE                                BINGHAM McCUTCHEN, LLP
        DONALD SPECTER - 83925                           WARREN E. GEORGE - 53588
   2    SARA NORMAN-189536                               Three Embarcadero Center
        General Delivery                                 San Francisco, California 94111-4066
   3    San Quentin, California 94964                    Telephone: (415) 393-2000
        Telephone: (415) 457-9144
   4
        DISABILITY RIGHTS EDUCATION &                     ROSEN, BIEN & ASARO, LLP
   5    DEFENSE FUND, INC.                               ·MICHAEL W. BIEN - 096891
        LINDiKILB - 136101                                GAY C. GRUNFELD - 121944
   6    2212 6 Street                                     155 Montgomery Street, 8th Floor
        Berkeley, California 94710                        San Francisco, California 94104
   7    Telephone: (510) 644-2555                         Telephone (415) 433-6830
   8
        ~'3,_~~JitlN. MITCHELL-1lilii.!C EI VE O (;_/
   9    555 California Street, 25th Floor
        San Francisco, CA 94104
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  10    Telephone: (415) 875-5712             RICHAROW.WIEKING,                      JAN 1 8 ;2007
                                           CLERK, U.S. DISTRICT COURT .
  11               ~ Pl . 'ff
        A ttorneys 10r                  NORTHERN DISTRICT OF CALIFORNIA            RICHARD W WIEKING
                       amtI S                      OAKLAND                    .   CI.ER<.U.S. OISTAICTCOURT
                                                                              N0R1HEAN. DISTRICT OF CAI.IFOANIA
  12                          IN THE UNITED STATES DISTRICT COURT OMLAND                                   ·

  13                            NORTHERN DISTRICT OF CALIFORNIA
  14                                        · OAKLAND DIVISION

A.' 1
    ~-5,. JOHN ARMSTRONG, et al.,                       ) Case No. C 94-2307 CW
                                                        )
k_u(·          Plaintiffs,                              )
                                                        )
                                                        ) INJUNCTION
                                                        )
  18    ARNOLD SCHWARZENEGGER, et al.,                  )               RECEIVED
                                                        )
  19           Defendants.                              )
                                                        )                'JAN 2 2 2007
  20                                                    )
                                                        )
        _______________                                 )         Rosen, Bien & Galvan
               On January 12, 2007, this matter came on regularly for hearing in Courtroom 2,
  23    Fourth Floor, of this Court, the Honorable Claudia Wilken presiding. Donald Specter, Sara
  24    Norman, Michael Bien, and Gay Grunfeld appeared on behalf of Plaintiffs John Armstrong
  25    et al. Katherine Nelson appeared on behalf of Defendants Arnold Schwarzenegger,
  26    Governor; James Tilton, Secretary of California Department of Corrections and
  27    Rehabilitation ("CDCR"); Kingston W. Prunty, Jr., Undersecretary, CDCR; Scott Kernan,
  28    Acting Director, Division of Adult Institutions; Marisela Montes, Chief Deputy Secretary,


                                                                    INJUNCTION, Case No. C-94-2307 CW
                                                                                             Ex. T-276
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   1   Adult Programs; George A. Sifuentes, Deputy Director, Office of Facilities Management;
   2   and Dr. Peter Farber-Szekrenyi, Director, Division of Correctional Health Care Services
   3   ("Defendants").
   4          Having considered the parties' pleadings and the arguments of counsel, and good
   5   cause existing therefor,
   6          THE COURT HEREBY FINDS AND ORDERS:
   7          In a series of orders c9mmencing in 1996 and culminating in 2002, this Court found
   8   defendants' treatment of prisoners with disabilities violates the Americans with Disabilities
   9   Act and Section 504 of the Rehabilitation Act. On January 3, 2001, defendants issued the
  10   amended Armstrong Remedial Plan, which sets forth their own policies and procedures to
  11   bring them into compliance with the ADA and Section 504. On March 21, 2001, this Court
  12   issued a Permanent Injunction ordering defendants to comply with the ADA and Section
  13   504 in eight specific areas previously litigated by the parties.
  14          Commencing in 1999 and continuing to the present, plaintiffs' counsel have engaged
  15   in extensive monitoring of CDCR institutions for compliance with the ADA, Section 504,
  16   the Permanent Injunction, and the Armstrong Remedial Plan.
  17          This monitoring effort has not yet brought defendants into compliance. While some
  18   individual prisons have improved their compliance, it has become increasingly clear that
  19   defendants are unable to meet their obligations. This inability to comply with the Court's
  20   Orders and with federal law causes significant harm to the plaintiff class.
  21          Through their Motion for Enforcement and Further Remedial Orders, Plaintiffs have
  22   demonstrated that defendants continue to violate the rights of prisoners with disabilities
  23   under the ADA and Rehabilitation Act in four significant areas.
  24          Inaccessible Housing
  25          Contrary to law, the Permanent Injunction, and the Armstrong Remedial Plan,
  26   defendants are systemically failing to provide safe, accessible housing to prisoners with
  27   mobility impairments, resulting in significant harm to the plaintiff class, including through
  28   increased risk of injury. Defendants lack an adequate number of wheelchair accessible


                                                          2     INJUNCTION, Case No. C-94-2307 CW
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   1   placements, toilets and showers to accommodate the needs of prisoners with mobility
   2   impairments who need to use a wheelchair either full-time or part-time. This shortage is
   3   particularly acute for prisoners with special housing needs such as protective custody,
   4   enhanced mental health care, administrative segregation, or high security levels.
   5           Defendants also repeatedly fail to place prisoners with serious mobility and vision
   6   impairments in safe housing. Defendants often force prisoners into upper bunks or upper
   7   tiers of the prison despite restrictions from medical staff on such placements.
   8           Defendants fail to transfer prisoners with severe disabilities to prisons designed to
   9   accommodate them in a timely fashion. As a result, such prisoners are denied needed
  10   accommodations too often and for too long.
  11           Defendants have failed to repair and maintain accessible showers and toilets in many
  12   prisons, especially California Institution for Men, San Quentin, and Kern Valley.
  13           Denial of sign language interpreters to prisoners who need them
  14           Contrary to law and the Armstrong Remedial Plan, defendants consistently and
  15   systemically deny sign language interpreters to deaf prisoners. Within designated prisons,
  16   the violations occur most frequently at deaf prisoner's medical and mental health
  17   appointments. Plaintiffs have also presented pervasive evidence of violations with regard to
  18   suicidal prisoners; in education, work, and other programming; and during classification
  19   hearings, harming deaf signers by forcing them to rely on ineffective and inadequate forms
  20   of communication such as lip reading and written notes. As such, deaf signers are unable to
  21   understand or comprehend significant due process proceedings and medical care provided to
  22   them.
  23           Confiscation of Medically Prescribed Assistive Devices
  24           Contrary to law and the Armstrong Remedial Plan, defendants routinely and
  25   systemically remove assistive devices such as walking canes, hearing aids, tapping canes,
  26   crutches, and wheelchairs from prisoners without any security justification and without
  27   consulting medical staff. The problem is severe and longstanding. Removal of assistive
  28   devices has been adopted as a policy at some institutions, while at others it is tolerated and


                                                          ~     INJUNCTION, Case No. C-94-2307 CW
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   1    continues sporadically, making it difficult or impossible for prisoners to ambulate or hear in
   2    prison and putting them at significant risk of injury.
   3           Late and Inadequate Disability Grievance Responses
   4           Contrary to law and the Armstrong Remedial Plan, defendants repeatedly and
   5    systemically fail to respond promptly to class members' grievances requesting
   6    accommodations. Some institutions respond chronically late - as often as 70 to 90 percent
   7    of the time - to disability grievances, thereby subjecting class members to extraordinarily
   8    long waits for hearing aids and other accommodations. Some institutions simply stop
   9    processing grievances or lack any staff person (medical appeals analyst) to process
  10    disability grievances or fail to retrieve the grievances from the box where prisoners are
  11    instructed to leave them. Through whichever failed mechanism, CDCR' s inadequate
  12    disability grievance system harms the plaintiff class by denying them their only means of
  13    seeking accommodation for their disabilities.
   14          Inadequate Disability Tracking
  15           Underlying all of these violations is defendants' failure to adequately track prisoners'
   16   disabilities and the accommodations they need. As this Court held on May 30, 2006, "[t]he
  17    current system for tracking prisoner ... disabilities is unreliable, noncomprehensive, and
   18   insufficient." This Court further stated that "[u]se of a tracking system to prevent such
   19   violations is required ... by the underlying law." Defendants' Armstrong and Clark
  20    Automated Tracking System has failed to identify and track CDCR prisoners' disabilities
  21    and the accommodations needed for those disabilities. The lack of an adequate tracking
  22    system has resulted in significant harm to the plaintiff class, including but not limited to
  23    denial of safe, accessible housing, prompt transfers to designated institutions, and sign
  24    language interpretation.
  25           IT IS HEREBY ORDERED that defendants, their agents, employees and
  26    successors in interest shall take the actions listed below, and use all means at their disposal
  27    to comply with the provisions set forth below, including obtaining staffing and funding on
  28    an emergency basis, if necessary. If defendants believe that any provision in state law


                                                           4                             Ex. T-279
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   1   makes compliance with any provision impossible, they shall immediately thereafter notify
   2   the Court and set forth their position about whether such law should be waived pursuant to
   3   18 U.S.C. Section 3626(a)(l)(B).
   4         The parties shall meet and confer as often as necessary to fulfill the provisions of this
   5   order and obtain as much agreement as possible on the means to achieve compliance
   6   therewith. The parties shall notify the Court in writing of any disputes about the
   7   implementation of these provisions and suggest appropriate methods of resolution.
   8          The Court shall schedule periodic status conferences at 60 day intervals to monitor
   9   the progress of compliance with this and other prior orders. Prior to such conferences, the
  10   parties shall file statements in a form to be determined through agreement of the parties
  11   describing defendants' progress on each issue, any perceived barriers to future compliance
  12   and suggested methods of overcoming those barriers.
  13          A. ENHANCEDSTAFFING
  14          Within 45 days of the date of this Order, defendants shall increase the staff of the
  15   CDCR Court Compliance Team so that it has at least one staff member at Correctional
  16   Counselor II level or higher for each prison designated to house prisoners with disabilities
  17   impacting placement (including designated reception centers and designated Security
  18   Housing Unit and condemned housing) and at least one position at Correctional Counselor
  19   II or higher position for every two non-designated prisons.
  20          The Court Compliance Team shall have sufficient command authority within the
  21   CDCR to direct compliance with the Armstrong Remedial Plan and the orders of this Court
  22   at all CDCR institutions.
  23          Within 45 days of the date of this Order, defendants shall appoint one full-time staff
  24   member at the Associate Warden level or higher as the ADA Coordinator at each institution
  25   designated to house prisoners with disabilities impacting placement (including designated
  26   reception centers and designated Security Housing Unit and condemned housing), to work
  27   only on ADA compliance matters, with a supervising correctional counselor as an assistant.
  28   \\\


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                                                                                      Ex. T-280
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   1          B. TRACKING SYSTEM
   2          Defendants shall develop, implement, and begin to use a state-wide, computerized,
   3   networked real-time tracking system to track prisoners with disabilities by May 30, 2007.
   4   This system shall be integrated with the BPH tracking system previously ordered by the
   5   Court. The tracking system shall include prisoners' disability designations and the
   6   disability accommodations they require, including but not limited to lower bunks, ground
   7   floor housing, assistive devices, and effective communication needs such as sign language
   8   interpreters, large print, and scribes.
   9          For prisoners whose disabilities impact placement (DPW, DPO, DPM, DPV, and
  10   DPH), as well as for prisoners who are DNM with housing restrictions, the tracking system
  11   shall include placement and classification factors, including but not limited to mental health
  12   placement needs, protective custody, administrative segregation, Security Housing Unit,
  13   security level, and developmental disability designation.
  14          The tracking system shall be updated continuously as new information is received
  15   about prisoners with disabilities.
  16          C. HOUSING
  17          Within 90 days of the date of this Order, defendants shall generate an inventory of
  18   housing placements available to DPV, DPW, DPM, and DPO prisoners and DNM prisoners
  19   with housing restrictions. The inventory must include classification factors for each
  20   placement, including but not limited to :inental health placement needs, protective custody,
  21   administrative segregation, Security Housing Unit, security level, and developmental
  22   disability designation. The inventory must also include information regarding the current
  23   state of repair of accessible features for each placement.
  24          The placement inventory shall be updated continuously as new information is
  25   received regarding placement factors and maintenance._
  26          Upon completion of the inventory, CDCR may no longer house DPW, DPO, and
  27   DPM prisoners at any placements without adequate accessible housing, including working
  28   accessible toilets and showers.


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   1          Starting immediately, defendants shall not house DPW, DPO, and DPM prisoners in
   2   the CIM dayrooms or Kem Valley State Prison until those locations have adequate
   3   accessible housing, including working accessible toilets and showers.
   4          D. ACCOUNTABILITY
   5          Within 120 days of the date of this Order, defendants, in cooperation with the Office
   6   of the Inspector General and the Receiver in Plata v. Schwarzenegger, shall develop a
   7   system for holding wardens and prison medical administrators accountable for compliance
   8   with the Armstrong Remedial Plan and the orders of this Court. This system shall track the
   9   record of each institution and the conduct of individual staff members who are not
  10   complying with these requirements. Defendants shall refer individuals with repeated
  11   instances of non-compliance to the Office of Internal Affairs for investigation and
  12   discipline, if appropriate.
  13          Within 60 days of the date of this Order, defendants, in consultation with plaintiffs'
  14   counsel, shall develop and implement a system of positive incentives to encourage
  15   individual employees and managers at the institutions to comply with the Armstrong
  16   Remedial Plan and the Orders of this Court.
  17          Within 60 days of the date of this Order, defendants shall amend post orders and duty
  18   statements of correctional staff as appropriate to include the Armstrong requirements for
  19   which they are responsible.
  20          E. TRAINING
  21          Within 60 days of the date of this Order, defendants, subject to the approval of
  22   plaintiffs' counsel, shall select and retain outside experts to provide training of health care
  23   staff and correctional counselors in effective communication issues.
  24          Within 60 days of the date of this Order, the parties shall jointly agree on outside
  25   experts and defendants shall retain them to provide training to all custody staff who work in
  26   administrative segregation units, the Security Housing Unit, or Receiving and Release on
  27   their obligations not to confiscate assistive devices ·and the reasons therefor.
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   .1          Defendants' employees may jointly provide training with the outside experts. The
   2    training of all appropriate staff shall be completed by September 1, 2007, and a regular
   3    schedule of ongoing and refresher training shall be established.
   4           F. GRIEVANCES
   5           Within 30 days of the date of this Order, defendants shall ensure that the Appeals
   6    Coordinator and Medical Appeals Analyst positions are filled at each institution.
   7    Defendants shall take all actions necessary to ensure that these positions do not remain
   8    vacant for more than one month.
   9           Within 60 days of the date of this Order, defendants shall provide sufficient
  10    additional staff time to timely process grievances whenever a prison's disability grievance
  11    responses are late more than 30% of the time within the last six months. The additional
  12    staffing shall remain in place until the grievance process is in substantial compliance. The
  13    parties shall meet and confer as soon as possible to establish an appropriate methodology to
  14    determine how to measure the timeliness of grievance responses and the definition of
  15    substantial compliance in this area, with any disputes to be resolved by the Court.
  16           G. SIGN LANGUAGE INTERPRETERS

  17           Within 120 days of the date of this Order, defendants shall establish as permanent
  18    civil service positions qualified sign language interpreters for each prison designated to
  19    house prisoners whose hearing disabilities impact their placement (DPH). Defendants shall
  20    employ, through whatever salary is necessary, sufficient qualified interpreters to serve the
  21    needs of the DPH prisoners housed at each institution. Defendants may seek relief from this
  22    provision at a particular institution when their video conferencing facilities are sufficient to
  23    provide all necessary sign language services at that institution.
  24           Within 30 days of the date of this Order, defendants shall conduct interviews of all
  25    DPH inmates in reception centers by a correctional colinsylor in the presence of a qualified
  26    sign language interpreter to determine the prisoner's preferred method of communication
  27    and record that information in the state-wide tracking system as well as the prisoner's
  28


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                                                                INJUNCTION. Case No. C-94-2307 CW
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   1   central and medical files. Defendants shall conduct such interviews with prisoners who are
   2   newly designated DPH within 30 days of the designation.
   3            ff.MISCELLANEOUS
   4            Defendants shall comply with the policies and procedures contained in their
   5   Armstrong ReJ.'!ledial Plan relevant to the issues outlined above, specifically Sections I (p.1 ),
   6   II.A-D (pp. 1-4), ILE (pp. 4-7), II.F (p. 7), IV.C-G (pp. 16-21), IV.I.22 (pp. 34-35), and
   7   IV.I.23 (pp. 36-41) of the Remedial Plan.
   8            The Court finds that the relief ordered herein is narrowly drawn, extends no further
   9   than necessary to correct the violation of federal rights, and is the least intrusive means
  10   necessary to correct the violation ofthe federal rights.
  11   IT IS SO ORDERED.
  12
  13
  14
       Dated:          JAN 1 S 2007                By:
                                                         Ch~~~illDIA              W~N
                                                          UNITED STATES DISTRICT JUDGE
  15
  16
  17
  18
  19
  20
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  25
  26
  27
  28


                                                           O
                                                                                          Ex. T-284
                                                                  INJUNCTION, Case No. C-94-2307 CW
Case 3:20-cv-00406-AJB-DDL           Document 281-2 Filed 04/25/23              PageID.8893           Page
                                          303 of 473


                              UN1TED STATES DISTRICT COURT

                                             FOR THE

                             NORTHERN DISTRICT OF CALIFORNIA




 ARMSTRONG, ET AL,                                     Case Number: CV94-02307 CW
                Plaintiff,
                                                       CERTIFICATE OF SERVICE
   V.

 DAVIS, ET AL et al,

 ______________
      Defendant.
                 ____:/


 I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
 Court, Northern District of California.

 That on January 18, 2007, I SERVED a true and correct copy(ies) of the attached, by placing said
 copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing
 said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
 receptacle located in the Clerk's office.


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 Berkeley, CA 94708



                                                                                          Ex. T-285
Case 3:20-cv-00406-AJB-DDL        Document 281-2 Filed 04/25/23        PageID.8894   Page
                                       304 of 473



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 Dated: January 18, 2007
                                        Richard W. Wieking, Clerk
                                        By: Sheilah Cahill, Deputy Clerk




                                            2



                                                                              Ex. T-286
Case 3:20-cv-00406-AJB-DDL   Document 281-2 Filed 04/25/23   PageID.8895   Page
                                  305 of 473




                    EXHIBIT U
                             [REDACTED]
                                                                   Ex. U-287
          Case 3:20-cv-00406-AJB-DDL                          Document 281-2 Filed 04/25/23                          PageID.8896              Page
                   George Bailey                                   306 of 473                                                     2/22/2023 8:12:07 AM PST
                   446 Alta Rd., Suite 5300
                   San Diego, CA 92158
                   619-6612789

PSYCHIATRIC EVALUATION - Completed by: Jason Balingit Psych NP on 12/21/2022 10:15:07 AM PST

         Patient:ESQUIVEL, CRISTAIN                                                   #:400446006 (22749556)                                           Class:2
            DOB:           (Age=27)                                                Sex:M                                                               Race:H
        Housing:GBDF-1-A-103-38B                                            Court Date:3/16/2023 9:00:00 AM                                             Type:
          Status:ACTIVE                                                  Booking Date:11/29/2022 5:25:43 AM PST                                    Proj. Rel:

Chief Complaint/Presenting Problem:

Psych Initial Note NP


ID: 27 y/o male pt booked on 11/29/22 for charges




CC: “Not good.”


Of note, patient is hard of hearing/deaf, and utilizes writing material to communicate. Patient agrees to proceed.


HISTORY OF PRESENT ILLNESS: Patient presents today calm, cooperative, appears fairly groomed dressed in jail attire, seen today for initial psychiatric
evaluation. He reports his mood is, “not good.” He reports having feeling of guilt. He reports his sleep is, “okay.” Denise any appetite disturbance. Denies any
thoughts of hurting himself or others. Denies any auditory hallucinations. He reports having visual hallucinations of shadows and ghosts. He reports having
stressors with his visual hallucinations. He reports he attempts to cope by reading. He reports having some restlessness and racing thoughts at times. He denies
any symptoms of mania. Denies any symptoms PTSD or OCD.




Psychiatric History:


Prior diagnosis/treatment: denies. History of mood disorder per techcare.


Prior Hospitalizations: History of hospitalization at CMH. Per CCBH, history of hospitalization at CMH, Grossmont hospital, Paradise Valley Hospital, and
Bayview hospital.


Prior suicide attempts or Self-injurious Behavior: Denies. Per history, self-harming behavior history.


Substance Abuse History:


Family Psychiatric History: Denies


Trauma: Denies




Medical and Surgical History: Denies any history of TBI or history of seizures.
             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                  Ex. U-288
          Case 3:20-cv-00406-AJB-DDL                           Document 281-2 Filed 04/25/23                   PageID.8897            Page
                                                                    307 of 473
Current medications: None


Allergies: Denies


Review of Systems: comprehensive review of system all negative unless noted above.


Social History:


Housing: Homeless


Work: Unemployed


Social Support: Family


MH hospitalization: no changes from hx review


Psychotherapy: Denies


Functional Assessment:


Family: Mother, Grandmother


Significant Other: Denies


Education:


Diet/Appetite: good


Sleep: good




RISK ASSESSMENT: RISK ELEVATION FROM BASELINE: Minimal. BASELINE: Low.




-RISK FACTORS: Gender, Little access to social support, No direct access to significant other




-PROTECTIVE FACTORS: Little access to means, No organized plan, No current substance misuse, Not intoxicated, Future oriented and hopeful, Age, No past
attempt, Intact thought process, No life threatening illness, not currently depressed.


DRUG ALLERGIES: Denies


Suicide/Violence Assessment:

Current Suicidal Ideation and Behavior:
              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                           Ex. U-289
denies    Case 3:20-cv-00406-AJB-DDL                          Document 281-2 Filed 04/25/23                          PageID.8898              Page
                                                                   308 of 473
Past Suicidal Ideation/Attempts (dates and methods):

Prior suicide attempts or Self-injurious Behavior: Denies. Per history, self-harming behavior history


Current Violent/Assaultive Ideas/Behavior:

denies


Past Violent/Assaultive Behavior:


Past Psychiatric History and Treatment:

Psychiatric History:


Prior diagnosis/treatment: denies. History of mood disorder per techcare.


Prior Hospitalizations: History of hospitalization at CMH. Per CCBH, history of hospitalization at CMH, Grossmont hospital, Paradise Valley Hospital, and
Bayview hospital.


Prior suicide attempts or Self-injurious Behavior: Denies. Per history, self-harming behavior history.


Substance Abuse History:


Family Psychiatric History: Denies


Trauma: Denies


Medical History:

Medical and Surgical History: Denies any history of TBI or history of seizures.


Current medications: None


Allergies: Denies


Review of Systems: comprehensive review of system all negative unless noted above.


Current Allergies

No Known Drug Allergy


Abuse History:

Trauma: Denies


Family Psychiatric History:

Family Psychiatric History: Denies


Legal History:


             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                  Ex. U-290
        Case 3:20-cv-00406-AJB-DDL
Developmental/Social History:                    Document 281-2 Filed 04/25/23      PageID.8899        Page
                                                      309 of 473
Social History:


Housing: Homeless


Work: Unemployed


Social Support: Family


MH hospitalization: no changes from hx review


Psychotherapy: Denies


Functional Assessment:


Family: Mother, Grandmother


Significant Other: Denies


Education:


Diet/Appetite: good


Sleep: good


Substance Use History:

Substance Abuse History:


Strengths and Assets and/or Deficiences:


Mental Status Examination:
Orientation:

       Unimpaired                               Person                      Place
       Time                                     Situation

Comments/Other:


Memory:

       Unimpaired                               Immediate Deficit           Short Term Deficit
       Long Term Deficit

Comments/Other:


Appearance:

       Well Groomed                             Mildly Unkempt              Disheveled
              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                 Ex. U-291
          Case 3:20-cv-00406-AJB-DDL     Document 281-2 Filed 04/25/23        PageID.8900       Page
Comments/Other:                               310 of 473


Demeanor:

        Spontaneous                    Cooperative                  Mistrustful
        Preoccupied                    Demanding                    Hostile

Comments/Other:


Psychomotor Activity:

        Normal                         Increased                    Decreased

Comments/Other:


Speech:

        Appropriate                    Coherent                     Incoherent
        Rapid                          Pressured                    Loud
        Soft                           Perseveration                Word Salad
        Mute

Comments/Other:


Mood:

        Euthymic                       Depressed                    Anxious
        Angry                          Irritable                    Elated

Comments/Other:


Affect:

        Appropriate                    Flat                         Blunted
        Expansive                      Euphoric                     Anxious
        Labile                         Irritable                    Angry

Comments/Other:


Thought Process:

        Appropriate                    Goal Directed                Tangential
        Circumstantial                 Flight of Ideas              Loosening of Associations

Comments/Other:


Thought Content:

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                      Ex. U-292
         Case 3:20-cv-00406-AJB-DDL
       Appropriate/No abnormalities noted                  Document 281-2 Filed 04/25/23     PageID.8901   Page
                                                                311 of 473
Comments/Other:


Delusions:

       Persecution                                       Grandiose

Comments/Other:


Hallucinations:

       Auditory                                          Visual                       Command

Comments/Other:

He reports having visual hallucinations of shadows and ghosts. He


Compulsions and Obsessions:

       Obsessions                                        Compulsions                  Phobias
       Hopelessness                                      Worthlessness                Loneliness
       Guilt                                             Self Deprecation

Comments/Other:


Insight:

       Good                                              Fair                         Poor

Comment:


Judgment:

       Good                                              Fair                         Poor

Comment:


Suicidal Ideation:

       Yes
       No

Comment:


Suicide Plan:

       Yes
       No

Comment:


               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                   Ex. U-293
HomicidalCase
         Ideation:3:20-cv-00406-AJB-DDL                    Document 281-2 Filed 04/25/23                           PageID.8902             Page
                                                                312 of 473
            Yes
            No

Comment:


Homicidal Plan:

            Yes
            No

Comment:


Impression:

Axis I:


Axis II:


Axis III:


Axis IV:


Axis V: GAF:


Recommendations:

A: ASSESSMENT


Patient presents to the clinic, calm, cooperative with psychotic symptoms and low mood. Patient has difficulty coping with his current symptoms. Educated
patient on medication options. Will start Zyprexa 10mg PO qHS to target his mood and cognitive symptoms. Discussed treatment plan and medication, and he
agrees. Educated on the risk benefits, and side effects of medication. Signature pad unavailable.




F29 Psychosis NOS


F39 Mood D/o unspecified


F19.20 Combination Drug Use Disorder




=====================================================================




P: INTERVENTION & PLAN
                  ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                               Ex. U-294
          Case 3:20-cv-00406-AJB-DDL                           Document 281-2 Filed 04/25/23                          PageID.8903                 Page
                                                                    313 of 473

1. Provided active listening, psychoeducation, and supportive therapy with direction.




2. Discussed with patient various diagnostic, treatment and medication issues, options explored and explained. Treatment plan discussed with the patient;
questions were answered. Patient expressed understanding and agrees with treatment recommendations.




3. Educated on meds: take meds as prescribed (names, dose, route, time, frequency, reason and to take routinely), potential length of time for a response,
potential complications as a result of an abrupt cessation once a certain dose has been reached for certain meds, the need to continue routine meds even if pt.
starts to feel better, and to report any questions/concerns.


-- Start Zyprexa 10mg PO qHS


-- Refused lab draw at this time.


Patient advised to discuss concerns with staff, should suicidal thoughts occur/worsen with medications, has any adverse reactions to medication, or sx
precipitously worsen.




4. Health maintenance (as needed) managed by medical.




5. Follow-Up: 4-weeks




Pt. aware he can request Psych SC sooner if needed


Drug Name                   Drug Strength              Quantity                 Start                      Stop                       Complete Sig
OLANZapine Oral             10                         1                        12/21/2022 8:00:00 PM      1/19/2023 11:59:59 PM Take 10 mg by mouth
                                                                                                                                      once in p.m. for 30 day(s).
                                                                                                                                      Dispense 30 tablet. 6
                                                                                                                                      Refill(s)

Discharge Needs:


Select Flags:

       Developmental Disability/Intellectual Disability
       Other Psychiatric Disorders
       Delirium and Dementia and Amnestic and Other Cognitive Disorders
       Substance Related Disorders
             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                   Ex. U-295
         CaseDisorders
       Psychotic 3:20-cv-00406-AJB-DDL       Document 281-2 Filed 04/25/23   PageID.8904   Page
                                                  314 of 473
       Mood Disorders
       Anxiety Disorders
       Adjustment Disorders
       Personality Disorders


FOLLOW UP:

       6 months
       3 months
       2 months
       1 month
       Other


Sick Call Completion
   Complete Scheduled Sick Call
Available Sick Calls:
   Create and Complete Sick Call
Sick Call Types:
   This visit does not require a sick call




             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                   Ex. U-296
           Case 3:20-cv-00406-AJB-DDL                         Document 281-2 Filed 04/25/23                              PageID.8905         Page
                    George Bailey                                  315 of 473                                                       2/22/2023 8:12:08 AM PST
                    446 Alta Rd., Suite 5300
                    San Diego, CA 92158
                    619-6612789

RN GATEKEEPER - Completed by: May Adraneda RN on 12/25/2022 4:26:52 PM PST

           Patient:ESQUIVEL, CRISTAIN                                                  #:400446006 (22749556)                                       Class:2
             DOB:          (Age=27)                                                  Sex:M                                                          Race:H
       Housing:GBDF-1-A-103-38B                                            Court Date:3/16/2023 9:00:00 AM                                           Type:
           Status:ACTIVE                                                Booking Date:11/29/2022 5:25:43 AM PST                                   Proj. Rel:

       RN Gatekeeper Designee


Date/Time of Evaluation:

Date: 12/25/2022 Time: 1620 PM

Reason for Evaluation:

       Charges                                               Sentence                                           Resistance during arrest
       Verbalized SI/HI                                      Actively self-harming                              Danger to self or others
       per Policy Risk Factors                               Columbia Suicide Severity Scale                    Others
                                                       Triggers


IP deaf, but able to communicate thru writing. Communicated that he wants to hurt himself by hanging .


Objective Findings Explain:


Risk: High
Plan (limited the plans):

       ISP Placement not indicated-refer to Classification

Explain:


       Placement in ISP – EOH

Explain:

Due to communicated SI


       Placement in ISP - Safety Cell

Explain:


       B and R-consult with Watch Commander for possible transport:

Explain:


              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                   Ex. U-297
           Case 3:20-cv-00406-AJB-DDL                       Document 281-2 Filed 04/25/23                           PageID.8906              Page
                    George Bailey                                316 of 473                                                      2/22/2023 8:12:09 AM PST
                    446 Alta Rd., Suite 5300
                    San Diego, CA 92158
                    619-6612789

ISP ASSESSMENT/FOLLOW-UP FOR MHC'S - Completed by: Leslee Buluran MHC on 12/26/2022 12:33:54

PM PST

           Patient:ESQUIVEL, CRISTAIN                                             #:400446006 (22749556)                                             Class:2
             DOB:          (Age=27)                                             Sex:M                                                                 Race:H
       Housing:GBDF-1-A-103-38B                                          Court Date:3/16/2023 9:00:00 AM                                              Type:
           Status:ACTIVE                                              Booking Date:11/29/2022 5:25:43 AM PST                                      Proj. Rel:

   Gatekeeping Assessment

   1st ISP Assessment

   2nd ISP Assessment
   Additional ISP Assessment

   ISP Follow Up

Date/Time of Assessment/Placement: 12/26/2022 1034

Reason for Assessment/Placement:

       Charges                                            Sentence                                           Resistance during arrest
       Actively self harming                              Verbalized SI/HI                                   Danger to self or others
       Other

Explain:

PT is 27 years old booked on 11/29/2022 and charged with




PT gestured he is deaf and have limited verbal communications. PT gestured he is able to communicate in writing.




RESON: PT was placed in EOH by RN GK on 12/25/2022. PT communicated via writing that he want to hurt himself by hanging.




PSYCH Hx:


Per JIMs, ISP hx on prior booking 09/04/2022, PT endorsed SI via writing. Last PSU 02/16/2019, no JBCT hx.




Per Cerner/ CCBH, extensive MH hx and hospitalizations. dx hx unspecified mood [affective] d/o; deaf no speaking, not elsewhere classified; schizoaffective
              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                 Ex. U-298
         Case 3:20-cv-00406-AJB-DDL
d/o, unspecified;                                              Document        281-2not due
                                                               ; unspecified psychosis   Filed     04/25/23
                                                                                            to a substance  or knownPageID.8907
                                                                                                                      physiological condition;Page
                                                                                                                                              paranoid
schizophrenia;                                                           317 of 473         ; schizoaffective d/o, depressive type;
                 ; major depressive d/o, recurrent, unspecified; schizophrenia. unspecified;                                                 ; schizoaffective,
bipolar type;                                                             . Co Adult Forensic Eval (12/2021), Co Emergency Psych Unit- EPU (2019, 2020- 5x,
08/2022), Co SD CO Psych Hospital Inpat (06/2019, 03/2020, 07/2020, 11/2020, 12/2020), Jane Westin Center (08/2020), Bayview Hospital (01/2019, 09/2019,
07/2020, 08/2020- x2, 10/2020, 11/2020, 08/2022.).




ASSESSMENT:


PT was moved to psych 2 room. Medical Deputy informed MHC that PT was deaf and has not verbally engaged with him. MHC introduced self and asked /
gestured to PT is he able to hear and speak, PT moved his head from left to right and motioned "writing." Medical Deputy was able to move PT to medical
examination room. MHC was able to provide PT with paper and a crayon. MHC again introduced self. MHC asked and wrote what happened. PT gestured
hanging. MHC asked how long he have been feeling like hurting himself. PT wrote "today and yesterday." MHC asked if he still feels like hurting himself and
PT nodded his head up and down. MHC asked/ wrote if he hurt himself in the past and PT nodded his head up and down and wrote "home." MHC asked/ wrote
what he have done in the past to make himself feel better and PT moved his head from left to right. MHC asked/ wrote what we can do now to help him feel
better and PT moved his head from left to right. MHC asked/wrote if he has any housing issues. PT moved his head from left to right.




CURRENT RISK DESIGNATION: High Risk.




PLAN: PT will be reassessed in 12-24 hours.


Mental Status Exam:
Appearance

   Well Groomed

   Moderately Groomed
   Disheveled/Unkempt

Explain:

PT was dressed in green safety attire.


Level of Consciousness

   Alert and Awake

   Drowsy

   Stupor
   Coma

Explain:

PT was able to sit independently and engage with MHC.

                ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                 Ex. U-299
       Case 3:20-cv-00406-AJB-DDL
Eye Contact                                                Document 281-2 Filed 04/25/23                 PageID.8908    Page
                                                                318 of 473
   Good

   Fair

   Poor
   None

Explain:

PT was able to maintain appropriate eye contact.


Attitude

          Cooperative                                    Guarded                                 Non-disclosing
          Hostile/belligerent                            Uncooperative

Explain:


Behavior

          Calm                                           Apprehensive                            Agitated
          Motor Impairment                               Tearful                                 Withdrawn

Explain:


Speech

          Clear                                          Slurred                                 Slow
          Pressured                                      Quiet                                   Rapid
          Selective Mute                                 Aphasic

Explain:

PT did not say words. PT did make sound like noises as he responded via writing and gesturing.


Conversation

          Spontaneous                                    Only in response to questions           Relevant
          Irrelevant                                     Non-cooperative/Evasive                 Threatening
          Distant

Explain:


Orientation

          Person                                         Place                                   Month
          Year                                           Situations                              None

Explain:

                  ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                  Ex. U-300
      Case 3:20-cv-00406-AJB-DDL                    Document 281-2 Filed 04/25/23       PageID.8909   Page
Memory                                                   319 of 473

          Immediate Intact                         Recent Intact               Remote Intact
          Refused

Explain:


Affect

          Appropriate                              Inappropriate               Labile
          Expansive                                Constricted                 Blunt
          Angry                                    Flat                        Congruent
          Incongruent

Explain:


Thought Process

          Intact                                   Concrete                    Abstract
          Thought Blocking                         Circumstantial              Disorganized
          Loose Association                        Tangential                  Flight of Idea
          Slow/Hesitant

Explain:


Thought Content

          Appropriate to situation                 Grandiose                   Obsessions
          Compulsions                              Paranoia                    Delusions
          Impoverished

Explain:


Impulse Control

   Good

   Fair
   Poor

Explain:

PT did not engage in any self harming behaviors.


Judgement

   Intact
   Concrete

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                Ex. U-301
           Case 3:20-cv-00406-AJB-DDL                      Document 281-2 Filed 04/25/23    PageID.8910        Page
Explain:
                                                                320 of 473

Insight

   Good Understanding
   Adequate

   Partial Recognition

   Poor

Explain:


Perceptual Symptoms

        Normal                                            Hallucinations Auditory     Hallucinations Visual
        Hallucinations Olfactory

Explain

PT denied any current perceptual symptoms.




Per BH Assessment and psych assessment dated 12/2022:


PT reported CAH and VH.


__________________________________________________________________________________________

First time in jail?

        Yes
        No



                  View this Patient's Charges in eJIMS:




Future orientation:

   Hopeful

   Hopeless

   Realistic
   Unrealistic

Explain


Motivation for Treatment

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                         Ex. U-302
         Case 3:20-cv-00406-AJB-DDL
   Excellent                                                Document 281-2 Filed 04/25/23                        PageID.8911             Page
                                                                 321 of 473
   Good

   Fair

   Poor

Explain:

PT was able to engage with MHC and PT s compliant with psych medications.


Depressive Symptoms

          Not Able to Assess                              None/Denied                                     Sleep Disturbance
          Eating Disturbance                              Crying Spells                                   Feelings of Hopelessness
          Feelings of Helplessness

Explain:

PT reported and guestured he sleeps about 5 hours every day. PT reports he eats all of his meals.


Support network:

          Significant Other                               Parents                                         Family
          Other                                           Refused

Explain

PT reported he has not spoken to his family and gestured towards his eat and mouth and he then motioned both of his hands and shoulder up.


Suicidal Thinking

   Denied/None

   Passive
   Active

   Intent
   Refused

Explain

PT motioned "hanging."


Homicidal Thinking

   Denied
   Passive

   Active

   Intent
   Refused


               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                              Ex. U-303
Explain
          Case 3:20-cv-00406-AJB-DDL                      Document 281-2 Filed 04/25/23   PageID.8912   Page
                                                               322 of 473
PT denied any HI.


History of ISP placement:

       Yes
       No


When/Within:

   1-30 days

   30-90 days

   3-6 months
   6+ months

Explain

PT was placed in ISP on 09/04/2022- PT endorced SI via writing.




Per prior ISP note dated on 09/04/2022:


EOH 02/16/2019; 06/06/2019; 09/04/2022




SC: 02/16/2019


History of in-custody suicide attempt:

       Yes
       No


When/Within:

   1-30 days

   30-90 days
   3-6 months

   6+ months

Explain


History of in-custody self-harm:

       Yes
       No


When/Within:
         ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                Ex. U-304
          Case 3:20-cv-00406-AJB-DDL
   1-30 days
                                                           Document 281-2 Filed 04/25/23   PageID.8913   Page
                                                                323 of 473
   30-90 days
   3-6 months

   6+ months

Explain

SC: 02/16/2019


PT was attempted to hurt himself- no othher information noted.


Most recent SI:

Previously Attempted Suicide

       Yes
       No


When/Within:

   1-5 years
   6-10 years

   11+ years

Explain

Per Cerner/ CCBH, hx of tying a zip tie around his neck.


Previous Self-Harm

       Yes
       No


When/Within:

   1-5 years
   6-10 years

   11+ years

Explain

PT has hx of banging his head and cutting.


Family/Close Friend Attempted or Completed Suicide:

       Yes
       No


When/Within:

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                 Ex. U-305
           Case 3:20-cv-00406-AJB-DDL
   1-5 years
                                         Document 281-2 Filed 04/25/23       PageID.8914   Page
                                              324 of 473
   6-10 years
   11+ years

Explain


Recent Losses:

         Family                         Friend                      Career
         Finances                       Home                        None reported


When/Within:

   1-5 years
   6-10 years

   11+ years

Explain


History of Sexual Abuse:

   Yes

   No
   Refused
   None reported

         As a Child                     As an Adult

Explain


History of Physical Abuse:

   Yes
   No

   Refused
   None reported

         As a Child                     As an Adult

Explain


History of Emotional Abuse:

   Yes

   No
   Refused

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                    Ex. U-306
         Case 3:20-cv-00406-AJB-DDL
   None reported                           Document 281-2 Filed 04/25/23        PageID.8915     Page
                                                325 of 473
         As a Child                       As an Adult

Explain


Concerns for Safety while incarcerated:

         Other inmates                    Staff                           None reported

Explain


Combat Veteran:

         Yes
         No


Symptoms of post-traumatic stress:

   Yes
   No
   Refused

   None reported

Explain:


__________________________________________________________________________________________




               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                          Ex. U-307
Explain
           Case 3:20-cv-00406-AJB-DDL                           Document 281-2 Filed 04/25/23                         PageID.8916              Page
                                                                     326 of 473

__________________________________________________________________________________________
Current Withdrawal Symptoms:

   Yes

   No

   On Withdrawal Protocol

Explain


Current Suicide Risk Acuity:

   Low

   High

Explain:

CUrrent risk level is high. PT contiunes to have SI thoughts with plan to hang himself. PT was not able to ID coping strategies and reported no current conatct
with support system.


Provisional Diagnosis:

Add Diagnosis Code Remove Selected




Plan:

         ISP placement not indicated, refer to classification
         Cleared from ISP to JPMU
         Remain in ISP with CTO in EOH
         Remain in ISP with CTO in SC
         Remain in ISP CTO with move to EOH
         Remain in ISP CTO with move to SC
         Additional provider to assess within 12 hours (Safety Cell)
         Additional provider to assess within 12 to 24 hours (EOH)
         Placement in ISP - EOH
         Placement in ISP - Safety Cell
         Consult with Psychiatry for Inpatient Admission
         B and R-consult with Watch Commander for transport to an inpatient community facility
         Medical Emergency Sendout

Explain:


Refer to Psychiatric Sick Call in:

              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                   Ex. U-308
       24Case
         hr   3:20-cv-00406-AJB-DDL        Document 281-2 Filed 04/25/23   PageID.8917   Page
                                                327 of 473
       72 hr
       1 week

Explain:


Refer to MD Sick Call in:

       24 hr
       72 hr
       1 week

Explain:


Discharge from ISP with Follow Up in:

       24hrs
       72hrs
       1 week
       2 weeks
       4 weeks
       6 weeks
       12 weeks
       Pre-Court Proceedings Assessment
       Post-Court Proceedings Assessment
       N/A (not clearing from ISP)

Court Proceedings Assessment Date:

Explain:




               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                 Ex. U-309
        Case 3:20-cv-00406-AJB-DDL                    Document 281-2 Filed 04/25/23   PageID.8918      Page
                George Bailey                              328 of 473                         2/22/2023 8:12:12 AM PST
                446 Alta Rd., Suite 5300
                San Diego, CA 92158
                619-6612789

Progress Notes -ESQUIVEL, CRISTAIN 400446006 (22749556)



Ana Marsters Mental Health Clinician POSTED ON 12/27/2022 8:44:29 AM PST                 Type: MENTAL HEALTH CLINICIAN

placed in EOH

Addendum:




            ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                              Ex. U-310
           Case 3:20-cv-00406-AJB-DDL                      Document 281-2 Filed 04/25/23                           PageID.8919             Page
                    George Bailey                               329 of 473                                                      2/22/2023 8:12:10 AM PST
                    446 Alta Rd., Suite 5300
                    San Diego, CA 92158
                    619-6612789

ISP ASSESSMENT/FOLLOW-UP FOR MHC'S - Completed by: Ana Marsters Mental Health Clinician on

12/27/2022 1:17:45 PM PST

           Patient:ESQUIVEL, CRISTAIN                                             #:400446006 (22749556)                                            Class:2
             DOB:          (Age=27)                                            Sex:M                                                                Race:H
       Housing:GBDF-1-A-103-38B                                         Court Date:3/16/2023 9:00:00 AM                                              Type:
           Status:ACTIVE                                             Booking Date:11/29/2022 5:25:43 AM PST                                     Proj. Rel:

   Gatekeeping Assessment

   1st ISP Assessment

   2nd ISP Assessment
   Additional ISP Assessment

   ISP Follow Up

Date/Time of Assessment/Placement: 12/27/2022 7:10 AM

Reason for Assessment/Placement:

       Charges                                            Sentence                                          Resistance during arrest
       Actively self harming                              Verbalized SI/HI                                  Danger to self or others
       Other

Explain:

REASON FOR REFERRAL: Pt communicated via writing to RN GK that he wanted to hurt himself via hanging.




Pt is a 27 year old male booked on 11/29/22 for




ASSESSMENT: Pt was evaluated cell side with deputy present. Pt is deaf and was willing to communicate via writing. Pt was provided with paper and a
pencil to communicate with this MHC. Pt sat up in his bed and smiled at this MHC. Pt reported via writing that his mood was, "good" and denied current SI/HI.
Pt also denied AH / CAH to harm himself. Pt reports medication was, "good" reported stable sleeping and eating patterns (empty food trays observed in his
cell) and has not been observed engaging in self harming bx. Pt is prescribed Zyprexa and per chart has been compliant with medication with no reported side
effects. Pt will be given a LOW risk designation and will be evaluated by QMHP in 12-24 hours.




PSYCH HX


CCBH extensive hx of hospitalizations- CMH, Sharp GRossmnt, Paradise Valley, Bayvieiw. outpatient tx at Jane Westin, Telecare IHOT, CRF MAST, PERT x8.
              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                               Ex. U-311
Per CCBH,Case
          pt has a3:20-cv-00406-AJB-DDL
                   hx being found with a noose tied aroundDocument
                                                          his neck 281-2        Filed 04/25/23    PageID.8920 . SIB-
                                                                                                                  Page
                                                                                                                     hx of banging
his head and per PERT eval, cuts were observed on his arms         330 of 473


Mental Status Exam:
Appearance

   Well Groomed
   Moderately Groomed

   Disheveled/Unkempt

Explain:

dressed in green safety garment


Level of Consciousness

   Alert and Awake

   Drowsy

   Stupor
   Coma

Explain:


Eye Contact

   Good

   Fair
   Poor
   None

Explain:


Attitude

          Cooperative                                   Guarded                             Non-disclosing
          Hostile/belligerent                           Uncooperative

Explain:


Behavior

          Calm                                          Apprehensive                        Agitated
          Motor Impairment                              Tearful                             Withdrawn

Explain:


Speech
                 ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                             Ex. U-312
           Case 3:20-cv-00406-AJB-DDL Slurred
         Clear
                                        Document 281-2 Filed 04/25/23
                                                                    Slow
                                                                         PageID.8921                           Page
                                              331 of 473
         Pressured                                      Quiet                           Rapid
         Selective Mute                                 Aphasic

Explain:

Pt is deaf and communicated via writing with a pencil


Conversation

         Spontaneous                                    Only in response to questions   Relevant
         Irrelevant                                     Non-cooperative/Evasive         Threatening
         Distant

Explain:

Able to read and write answers effectively


Orientation

         Person                                         Place                           Month
         Year                                           Situations                      None

Explain:


Memory

         Immediate Intact                               Recent Intact                   Remote Intact
         Refused

Explain:


Affect

         Appropriate                                    Inappropriate                   Labile
         Expansive                                      Constricted                     Blunt
         Angry                                          Flat                            Congruent
         Incongruent

Explain:


Thought Process

         Intact                                         Concrete                        Abstract
         Thought Blocking                               Circumstantial                  Disorganized
         Loose Association                              Tangential                      Flight of Idea
         Slow/Hesitant


                 ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                         Ex. U-313
Explain:
            Case 3:20-cv-00406-AJB-DDL                     Document 281-2 Filed 04/25/23    PageID.8922        Page
                                                                332 of 473

Thought Content

          Appropriate to situation                       Grandiose                    Obsessions
          Compulsions                                    Paranoia                     Delusions
          Impoverished

Explain:


Impulse Control

   Good
   Fair

   Poor

Explain:

pt has not engaged in self harming or aggressive bx while under observation in ISP


Judgement

   Intact
   Concrete

Explain:


Insight

   Good Understanding
   Adequate
   Partial Recognition

   Poor

Explain:


Perceptual Symptoms

          Normal                                         Hallucinations Auditory      Hallucinations Visual
          Hallucinations Olfactory

Explain

denied


__________________________________________________________________________________________

First time in jail?

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                         Ex. U-314
            Case 3:20-cv-00406-AJB-DDL
          Yes                                               Document 281-2 Filed 04/25/23               PageID.8923          Page
                                                                 333 of 473
          No



                   View this Patient's Charges in eJIMS:




Future orientation:

   Hopeful
   Hopeless

   Realistic

   Unrealistic

Explain


Motivation for Treatment

   Excellent
   Good
   Fair

   Poor

Explain:

Able to communicate with this MHC via writing. Per chart, pt has been compliant with medication


Depressive Symptoms

          Not Able to Assess                               None/Denied                            Sleep Disturbance
          Eating Disturbance                               Crying Spells                          Feelings of Hopelessness
          Feelings of Helplessness

Explain:

reports stable sleeping and eating patterns, denied current depression and anxiety sx


Support network:

          Significant Other                                Parents                                Family
          Other                                            Refused

Explain


Suicidal Thinking

   Denied/None


               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                      Ex. U-315
   PassiveCase 3:20-cv-00406-AJB-DDL                      Document 281-2 Filed 04/25/23   PageID.8924   Page
                                                               334 of 473
   Active

   Intent

   Refused

Explain


Homicidal Thinking

   Denied

   Passive

   Active
   Intent

   Refused

Explain


History of ISP placement:

       Yes
       No


When/Within:

   1-30 days
   30-90 days
   3-6 months

   6+ months

Explain

Per chart


PT was placed in ISP on 09/04/2022- PT endorced SI via writing.




EOH 02/16/2019; 06/06/2019; 09/04/2022




SC: 02/16/2019


History of in-custody suicide attempt:

       Yes
       No


             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                Ex. U-316
      Case 3:20-cv-00406-AJB-DDL                           Document 281-2 Filed 04/25/23                             PageID.8925   Page
When/Within:                                                    335 of 473
   1-30 days

   30-90 days

   3-6 months
   6+ months

Explain


History of in-custody self-harm:

       Yes
       No


When/Within:

   1-30 days
   30-90 days

   3-6 months
   6+ months

Explain

Per chart pt was placed in the SC on 2/16/2019 after attempting to hurt himself. No other information was provided


Most recent SI:

Previously Attempted Suicide

       Yes
       No


When/Within:

   1-5 years
   6-10 years

   11+ years

Explain

Per CCBH, hx of tying a noose around his neck


Previous Self-Harm

       Yes
       No


When/Within:


               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                           Ex. U-317
           Case 3:20-cv-00406-AJB-DDL
   1-5 years
                                                              Document 281-2 Filed 04/25/23         PageID.8926   Page
                                                                   336 of 473
   6-10 years
   11+ years

Explain

Per chart, hx of banging his head and cutting (per Techcare, pt is on razor restriction)


Family/Close Friend Attempted or Completed Suicide:

         Yes
         No


When/Within:

   1-5 years
   6-10 years

   11+ years

Explain


Recent Losses:

         Family                                             Friend                         Career
         Finances                                           Home                           None reported


When/Within:

   1-5 years
   6-10 years
   11+ years

Explain


History of Sexual Abuse:

   Yes
   No

   Refused

   None reported

         As a Child                                         As an Adult

Explain


History of Physical Abuse:

   Yes

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                           Ex. U-318
   No      Case 3:20-cv-00406-AJB-DDL      Document 281-2 Filed 04/25/23        PageID.8927     Page
                                                337 of 473
   Refused
   None reported

         As a Child                       As an Adult

Explain


History of Emotional Abuse:

   Yes
   No

   Refused

   None reported

         As a Child                       As an Adult

Explain


Concerns for Safety while incarcerated:

         Other inmates                    Staff                           None reported

Explain


Combat Veteran:

         Yes
         No


Symptoms of post-traumatic stress:

   Yes

   No
   Refused

   None reported

Explain:


__________________________________________________________________________________________




               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                          Ex. U-319
           Case 3:20-cv-00406-AJB-DDL                           Document 281-2 Filed 04/25/23                     PageID.8928             Page
                                                                     338 of 473




__________________________________________________________________________________________
Current Withdrawal Symptoms:

   Yes

   No
   On Withdrawal Protocol

Explain


Current Suicide Risk Acuity:

   Low

   High

Explain:

Pt denied current SI/HI, has been eating all meals, sleeping and has not been observed engaging in self harming bx. Pt is med compliant. Pt will be given a
LOW risk designation and will be evaluated by another QMHP in 12-24 hours


Provisional Diagnosis:

Add Diagnosis Code Remove Selected




Plan:

         ISP placement not indicated, refer to classification
         Cleared from ISP to JPMU
         Remain in ISP with CTO in EOH
         Remain in ISP with CTO in SC
         Remain in ISP CTO with move to EOH


              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                              Ex. U-320
         Casein ISP
       Remain   3:20-cv-00406-AJB-DDL
                    CTO with move to SC                      Document 281-2 Filed 04/25/23     PageID.8929   Page
                                                                  339 of 473
       Additional provider to assess within 12 hours (Safety Cell)
       Additional provider to assess within 12 to 24 hours (EOH)
       Placement in ISP - EOH
       Placement in ISP - Safety Cell
       Consult with Psychiatry for Inpatient Admission
       B and R-consult with Watch Commander for transport to an inpatient community facility
       Medical Emergency Sendout

Explain:


Refer to Psychiatric Sick Call in:

       24 hr
       72 hr
       1 week

Explain:


Refer to MD Sick Call in:

       24 hr
       72 hr
       1 week

Explain:


Discharge from ISP with Follow Up in:

       24hrs
       72hrs
       1 week
       2 weeks
       4 weeks
       6 weeks
       12 weeks
       Pre-Court Proceedings Assessment
       Post-Court Proceedings Assessment
       N/A (not clearing from ISP)

Court Proceedings Assessment Date:

Explain:




               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                     Ex. U-321
           Case 3:20-cv-00406-AJB-DDL                          Document 281-2 Filed 04/25/23                               PageID.8930             Page
                    George Bailey                                   340 of 473                                                            2/22/2023 8:12:10 AM PST
                    446 Alta Rd., Suite 5300
                    San Diego, CA 92158
                    619-6612789

ISP ASSESSMENT/FOLLOW-UP FOR MHC'S - Completed by: Ana Marsters Mental Health Clinician on

12/28/2022 7:29:41 AM PST

           Patient:ESQUIVEL, CRISTAIN                                                  #:400446006 (22749556)                                             Class:2
             DOB:          (Age=27)                                                 Sex:M                                                                 Race:H
        Housing:GBDF-1-A-103-38B                                             Court Date:3/16/2023 9:00:00 AM                                               Type:
           Status:ACTIVE                                                  Booking Date:11/29/2022 5:25:43 AM PST                                       Proj. Rel:

   Gatekeeping Assessment

   1st ISP Assessment

   2nd ISP Assessment
   Additional ISP Assessment

   ISP Follow Up

Date/Time of Assessment/Placement: 12/28/2022 0700

Reason for Assessment/Placement:

       Charges                                               Sentence                                              Resistance during arrest
       Actively self harming                                 Verbalized SI/HI                                      Danger to self or others
       Other

Explain:

REASON FOR REFERRAL: Pt communicated via writing to RN GK that he wanted to hurt himself via hanging.




Pt is a 27 year old male booked on 11/29/22 for




ASSESSMENT: Pt was evaluated cell side with deputy present. Pt was observed to be sleeping when MHC arrived and empty food trays were observed at the
foot of the bed. This assessment was conducted via writing since pt is deaf. Pt agreed to participate in the assessment. Pt wrote that he is doing, "good it's
fine" and denied AH, SI/HI. Pt reports medication is good (wrote, "good" and gave a thumbs up) and denied depression and anxiety sx. Pt reports he has been
sleeping well, denied any thoughts of hurting himself while in ISP and has been eating all his meals. Pt was asked if he was ready to return to housing and he
nodded his head to indicate, 'yes." Pt reports he is able to inform jail staff if he has any thoughts of hurting himself in the future.



              ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                          Ex. U-322
           Case 3:20-cv-00406-AJB-DDL                       Document 281-2 Filed 04/25/23                           PageID.8931             Page
                                                                      341 with
Pt is prescribed Zyprexa and per chart pt has been compliant with medication of 473
                                                                                no reported side effects.




PLAN: Pt will be given a LOW risk designation and cleared from ISP. Pt will continue to be followed by psychiatrist and will have ongoing follow up
appointments with QMHP. RN and Deputy notified




PSYCH HX




CCBH extensive hx of hospitalizations- CMH, Sharp Grossmnt, Paradise Valley, Bayvieiw. Outpatient tx at Jane Westin, Telecare IHOT, CRF MAST, PERT x8.
Per CCBH, pt has a hx being found with a noose tied around his neck                                                                     . SIB- hx of banging
his head and per PERT eval, cuts were observed on his arms


Mental Status Exam:
Appearance

   Well Groomed

   Moderately Groomed
   Disheveled/Unkempt

Explain:

dressed in green safety garment


Level of Consciousness

   Alert and Awake
   Drowsy

   Stupor
   Coma

Explain:


Eye Contact

   Good

   Fair
   Poor

   None

Explain:


Attitude    ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                Ex. U-323
Attitude Case 3:20-cv-00406-AJB-DDL           Document 281-2 Filed 04/25/23          PageID.8932    Page
                                                   342 of 473
         Cooperative                         Guarded                         Non-disclosing
         Hostile/belligerent                 Uncooperative

Explain:


Behavior

         Calm                                Apprehensive                    Agitated
         Motor Impairment                    Tearful                         Withdrawn

Explain:


Speech

         Clear                               Slurred                         Slow
         Pressured                           Quiet                           Rapid
         Selective Mute                      Aphasic

Explain:

pt is deaf and communicated via writing


Conversation

         Spontaneous                         Only in response to questions   Relevant
         Irrelevant                          Non-cooperative/Evasive         Threatening
         Distant

Explain:

Able to read and write answers effectively


Orientation

         Person                              Place                           Month
         Year                                Situations                      None

Explain:


Memory

         Immediate Intact                    Recent Intact                   Remote Intact
         Refused

Explain:


Affect

                 ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                              Ex. U-324
            Case 3:20-cv-00406-AJB-DDL
          Appropriate                                      Document 281-2
                                                         Inappropriate               Filed 04/25/23
                                                                                                  Labile PageID.8933    Page
                                                                       343 of 473
          Expansive                                      Constricted                             Blunt
          Angry                                          Flat                                    Congruent
          Incongruent

Explain:


Thought Process

          Intact                                         Concrete                                Abstract
          Thought Blocking                               Circumstantial                          Disorganized
          Loose Association                              Tangential                              Flight of Idea
          Slow/Hesitant

Explain:


Thought Content

          Appropriate to situation                       Grandiose                               Obsessions
          Compulsions                                    Paranoia                                Delusions
          Impoverished

Explain:


Impulse Control

   Good
   Fair
   Poor

Explain:

Pt has not engaged in self harming or aggressive bx while under observation in ISP


Judgement

   Intact

   Concrete

Explain:


Insight

   Good Understanding

   Adequate

   Partial Recognition
   Poor

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                  Ex. U-325
            Case 3:20-cv-00406-AJB-DDL                      Document 281-2 Filed 04/25/23        PageID.8934          Page
Explain:                                                         344 of 473

Perceptual Symptoms

          Normal                                           Hallucinations Auditory         Hallucinations Visual
          Hallucinations Olfactory

Explain

Denied and not observed RIS


__________________________________________________________________________________________

First time in jail?

          Yes
          No



                   View this Patient's Charges in eJIMS:




Future orientation:

   Hopeful
   Hopeless

   Realistic
   Unrealistic

Explain

Pt communicated that he is ready to take a shower, get clothes and return to housing.


Motivation for Treatment

   Excellent

   Good

   Fair
   Poor

Explain:

Pt has been cooperative during assessments and has been compliant with medication. Pt is


Depressive Symptoms

          Not Able to Assess                               None/Denied                     Sleep Disturbance
          Eating Disturbance                               Crying Spells                   Feelings of Hopelessness

                ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                               Ex. U-326
         Caseof3:20-cv-00406-AJB-DDL
       Feelings Helplessness                               Document 281-2 Filed 04/25/23   PageID.8935   Page
                                                                345 of 473
Explain:

Denied anxiety and depression sx, report stable sleeping and eating patterns


Support network:

       Significant Other                                  Parents                     Family
       Other                                              Refused

Explain


Suicidal Thinking

   Denied/None
   Passive

   Active
   Intent

   Refused

Explain


Homicidal Thinking

   Denied
   Passive

   Active
   Intent
   Refused

Explain


History of ISP placement:

       Yes
       No


When/Within:

   1-30 days
   30-90 days

   3-6 months

   6+ months

Explain

Per chart

             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                 Ex. U-327
          Case 3:20-cv-00406-AJB-DDL                      Document 281-2 Filed 04/25/23   PageID.8936   Page
                                                               346 of 473

PT was placed in ISP on 09/04/2022- PT endorced SI via writing.




EOH 02/16/2019; 06/06/2019; 09/04/2022




SC: 02/16/2019


History of in-custody suicide attempt:

       Yes
       No


When/Within:

   1-30 days
   30-90 days
   3-6 months

   6+ months

Explain


History of in-custody self-harm:

       Yes
       No


When/Within:

   1-30 days
   30-90 days

   3-6 months

   6+ months

Explain


             ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                Ex. U-328
          Case
Per chart pt       3:20-cv-00406-AJB-DDL
             was placed                                     Document
                        in the SC on 2/16/2019 after attempting              281-2
                                                                to hurt himself.           Filed 04/25/23
                                                                                 No other information was provided PageID.8937   Page
                                                                          347 of 473

Most recent SI:

Previously Attempted Suicide

       Yes
       No


When/Within:

   1-5 years
   6-10 years

   11+ years

Explain

Per CCBH, hx of tying a noose around his neck


Previous Self-Harm

       Yes
       No


When/Within:

   1-5 years
   6-10 years
   11+ years

Explain

Per chart, hx of banging his head and cutting (per Techcare, pt is on razor restriction)


Family/Close Friend Attempted or Completed Suicide:

       Yes
       No


When/Within:

   1-5 years

   6-10 years
   11+ years

Explain


Recent Losses:

       Family                                               Friend                                   Career

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                       Ex. U-329
           Case 3:20-cv-00406-AJB-DDL
         Finances                          Document 281-2
                                          Home                       Filed 04/25/23     PageID.8938
                                                                                  None reported        Page
                                                        348 of 473
When/Within:

   1-5 years

   6-10 years
   11+ years

Explain


History of Sexual Abuse:

   Yes

   No
   Refused

   None reported

         As a Child                       As an Adult

Explain


History of Physical Abuse:

   Yes

   No
   Refused
   None reported

         As a Child                       As an Adult

Explain


History of Emotional Abuse:

   Yes

   No

   Refused
   None reported

         As a Child                       As an Adult

Explain


Concerns for Safety while incarcerated:

         Other inmates                    Staff                                  None reported

Explain
               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                 Ex. U-330
           Case 3:20-cv-00406-AJB-DDL    Document 281-2 Filed 04/25/23        PageID.8939    Page
Combat Veteran:                               349 of 473
         Yes
         No


Symptoms of post-traumatic stress:

   Yes
   No

   Refused

   None reported

Explain:


__________________________________________________________________________________________




__________________________________________________________________________________________
Current Withdrawal Symptoms:

   Yes

   No

   On Withdrawal Protocol

Explain

               ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                       Ex. U-331
        Case 3:20-cv-00406-AJB-DDL                             Document 281-2 Filed 04/25/23                         PageID.8940              Page
Current Suicide Risk Acuity:                                        350 of 473

   Low

   High

Explain:

Pt denied current SI/HI/SIB. Pt has been observed sleeping and eating all meals and has not engaged in self harming or aggressive bx while under
observation in ISP. Pt has been compliant with medication and reports he is ready to return to housing. Pt was able to safety plan and agreed to notify jail
staff if he begins to have SI/HI. Pt will be given a LOW risk designation and cleared from ISP


Provisional Diagnosis:

Add Diagnosis Code Remove Selected




Plan:

        ISP placement not indicated, refer to classification
        Cleared from ISP to JPMU
        Remain in ISP with CTO in EOH
        Remain in ISP with CTO in SC
        Remain in ISP CTO with move to EOH
        Remain in ISP CTO with move to SC
        Additional provider to assess within 12 hours (Safety Cell)
        Additional provider to assess within 12 to 24 hours (EOH)
        Placement in ISP - EOH
        Placement in ISP - Safety Cell
        Consult with Psychiatry for Inpatient Admission
        B and R-consult with Watch Commander for transport to an inpatient community facility
        Medical Emergency Sendout

Explain:


Refer to Psychiatric Sick Call in:

        24 hr
        72 hr
        1 week

Explain:


Refer to MD Sick Call in:

        24 hr
        72 hr
                ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                                                                  Ex. U-332
         Case 3:20-cv-00406-AJB-DDL
       1 week                              Document 281-2 Filed 04/25/23   PageID.8941   Page
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Explain:


Discharge from ISP with Follow Up in:

       24hrs
       72hrs
       1 week
       2 weeks
       4 weeks
       6 weeks
       12 weeks
       Pre-Court Proceedings Assessment
       Post-Court Proceedings Assessment
       N/A (not clearing from ISP)

Court Proceedings Assessment Date:

Explain:




            ESQUIVEL, CRISTAIN 400446006 (22749556)
                                                                                 Ex. U-333
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                    EXHIBIT V
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    16                                  UNITED STATES DISTRICT COURT
    17                               SOUTHERN DISTRICT OF CALIFORNIA
    18 DARRYL DUNSMORE, ERNEST                                  Case No. 3:20-cv-00406-AJB-WVG
       ARCHULETA, ANTHONY EDWARDS,
    19 REANNA LEVY, JOSUE LOPEZ,                                DECLARATION OF DARRYL
       CHRISTOPHER NELSON,                                      LEE DUNSMORE IN SUPPORT
    20 CHRISTOPHER NORWOOD, and                                 OF PLAINTIFFS’ MOTIONS
       LAURA ZOERNER, on behalf of                              FOR PRELIMINARY
    21 themselves and all others similarly situated,            INJUNCTION AND
                   Plaintiffs,                                  PROVISIONAL CLASS
    22                                                          CERTIFICATION
            v.
    23 SAN DIEGO COUNTY SHERIFF’S                               Judge:     Hon. Anthony J. Battaglia
       DEPARTMENT, COUNTY OF SAN
    24 DIEGO, CORRECTIONAL                                      Trial Date: None Set
       HEALTHCARE PARTNERS, INC.,
    25 LIBERTY HEALTHCARE, INC., MID-
       AMERICA HEALTH, INC., LOGAN
    26 HAAK, M.D., INC., SAN DIEGO
       COUNTY PROBATION DEPARTMENT,
    27 and DOES 1 to 20, inclusive,
    28             Defendants.
         [3903205.1]                                                      Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF DARRYL LEE DUNSMORE IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                             PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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         [3903205.1]                                                      Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF DARRYL LEE DUNSMORE IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                             PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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        1                         DECLARATION OF DARRYL LEE DUNSMORE
        2                 I, Darryl Lee Dunsmore, declare:
        3                 1.    I have personal knowledge of the matters set forth herein, and if called
        4 as a witness, I could and would competently so testify.
        5                 2.    I am 54 years old. I have been incarcerated at the San Diego County
        6 Jail ("the Jail") multiple times over the past decade. Most recently, I was housed at
        7 the San Diego Central Jail facility on the third floor in cell 20 from December 13,
        8 2019 to April 21,202!. My booking number was BK19777041. I am currently
        9 Incarcerated in the California Department of Corrections and Rehabilitation
       10 ("CDCR") at California Health Care Facility ("CHCF") in Stockton, California.
       11                 3.    I have been incarcerated in the Jail at least four or five times since
       12 2002. I have returned to the Jail on out to court proceedings related to my original
       13   criminal sentence. I have been housed at the following facilities in the Jail: Central
       14 Jail, George Bailey Detention Facility, and South Bay Detention Facility.
       15                 4.    It is my understanding that I could be sent back to the Jail if I need to
       16 be present in court related to the criminal charges that resulted in me being sent to
       17 prison. I have two pending habeas petitions and an active appeal of a petition under
       18 SB 775. I also recently filed another motion for resentencing under SB 483. I
       19 anticipate returning to the Jail in the near future for resentencing or proceedings
       20 related to these and other petitions. I could also be sent back to the Jail if it were
       21   necessary for me to testify in this case about the problems I experienced in the Jail.
       22 In addition, I will parole from prison at some point in the future. When I parole, I
       23 will be sent back to San Diego County, which is the county in which I was
       24 convicted and where I lived prior to my arrest. While on parole, I could be arrested
       25 and placed in the Jail simply for allegedly violating the terms and conditions of my
       26 parole, whether or not the alleged violation constitutes a violation of a criminal law.
       27 I am deeply concerned that, if I am sent back to the Jail, I will experience problems
       28 similar to the problems I have experienced in the past.

            [3882338,1]                                        1                             "~-’~)--E~


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        1                 5.   I have physical disabilities. I have a rare and advanced form of arthritis
        2 known as Ankylosing Spondylitis ("AS"). I started to have back pain decades ago,
        3 which was an early sign of AS. I have sections of my spine fused together. I often
        4 experience inflammation, pain, and stiffness in other areas of the body, including the
        5 hands and feet. I use a wheelchair in CDCR. I also used a wheelchair while
        6 incarcerated at the Jail.
        7                 6.   My AS greatly affects the use of my hands. Over the years, I have
        8 slowly lost feeling in both of my hands, making it difficult to grip items. I require
        9 modified utensils to help me write and eat. These utensils - a pencil and spoon -
       10 have foam handles attached to them to help me with my grip. I also use a personal
       11   straw to help me drink. Because of my AS, I cannot tip my head back properly to
       12 drink things, so I require a straw when drinking. I have fastened shirts for myself
       13 that zipper off at the front, because that is the easiest way for me to take on and off
       14 my shirts. I did not use zippers at the Jail, but I created these ties at the front.
       15 Typically, at the Jail, I did not change my shirt frequently. It was hard to get
       16 assistance to change my shirts, so I kept one on me for multiple days or weeks at a
       17 time.
       18                 7.   To treat my AS, I receive injections of an experimental drug known as
       19 Enbrel. I receive an injection of Enbrel once every week in my upper left thigh.
       20 Enbrel has been effective in treating my AS and has allowed me to be more mobile
       21   than other patients with the condition. I also require regular physical activity to stay
       22 somewhat mobile. The longer I spend lying down, the more difficult it is for me to
       23 move days later.
       24                 8.   My disability waxes and wanes. There will be days where I am able to
       25 move around more than others. Sometimes, my AS flares up and I will be in such
       26 significant pain that I am paralyzed by it. In those hours or days of paralysis, I need
       27 assistance eating and performing other activities of daily living. Many outside
       28 observers do not understand how my disability presents itself differently depending

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        1   on the day. It has been difficult for me to receive consistent and adequate
        2 accommodations for my disability in the Jail due to this lack of understanding.
        3                 9.    I have mental health disabilities. I have depression and anxiety. In the
        4 past, I have been diagnosed as bipolar and schizophrenic by outside clinicians. I
        5 accessed mental health care services in the Jail.
        6                 10.   I also have an intellectual disability, that I believe may be associated
        7 with my arthritis. I struggle to process information and have to re-read things to
        8 fully comprehend them.
        9                 11.   I have a number of serious medical conditions besides those already
       10 described. I am a type II diabetic. I also suffer from dysphagia, which means I
       11   struggle to swallow things on my own. I use a Nestle Food Thickener to help me
       12 swallow certain liquids. I also suffer from Gastro-esophageal Reflux Disease
       13   ("GERD") and high blood pressure. I also have chronic immunosuppression
       14 because of the Enbrel rejections I receive.
       15                 12.   In my experience, the Jail is an unsafe and unfair place for incarcerated
       16 people with disabilities.
       17                 13.   On August 16, 2018, I booked into San Diego Central Jail. I came
       18 from CDCR and was there for resentencing of my original conviction. I was housed
       19 in a Medical Observation Bed ("MOB") because of my medical conditions. I
       20 booked into the Jail with the following assistive devices for my disability: a
       21   wheelchair, walker, a cane, a mobility vest, magnifying glass, and orthotic shoes. I
       22 had my modified spoon, straw, and pencil in my possession too. I also used waffle
       23   foams on my bed rail. The foams enabled me to grip the sides of the bed and sit
       24 upright. There are days where I sometimes cannot lift myself up on the bed.
       25 Attached hereto as Exhibit A is a true and correct copy from my medical file of an
       26 intake note indicating some of the assistive devices with which I arrived at the Jail.
       27                 14.   During the first few weeks of my time at the Jail, I was managing in the
       28 MOB unit. The MOB cells have a bed, a toilet, and a sink. There is also an

            [3882338.1]                                       3

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        1   adjustable table you can move up or down depending on your height. The sink and
        2 toilets have railings to help assist you, as they are low to the ground. There were

        3   three emergency call buttons in the cell. There was also a TV mounted up near the
        4   ceiling, although I had to rely on deputies to turn it on and off. When I requested to
        5   turn it on, deputies rarely did.
        6          15.    Because I was able to receive more assistance and attention for my
        7 physical and medical conditions in the medical unit, my symptoms from AS
        8 lessened. I was able to be somewhat more mobile and exercise out on the yard.
        9          16.    On September 12, 2018, the Jail suddenly confiscated my wheelchair
       10 and special spoon. The floor staff informed me that on September 4, 2018, the Jail
       11   had captured a video of me exercising out on the yard and walking around. They
       12 told me I was lying about my disability. Attached hereto as Exhibit B is a true and
       13   correct copy of a medical progress note indicating medical staff had received a
       14 verbal order from Dr. Berkman to discontinue my wheelchair and special utensils.
       15 As I explained, I am somewhat more mobile in my legs than I am in the use of my
       16 back and hands. My ability to perform daily activities can vary. I require exercise
       17 to treat my AS. It is a form of pain management, because the longer I am inactive,
       18 the worse my symptoms get. Since my diagnosis of AS, specialists have prescribed
       19 me exercise to treat my disability.
       20          17.    Staff discharged me from the MOB on September 12, 2018. When
       21   staff confiscated my assistive devices and informed me I would no longer receive
       22 care in the MOB, I panicked. I knew that I would not be able to function without
       23 these accommodations for my disability. I was distraught and angry. I began to
       24 decompensate at the thought of not being able to eat or move around properly
       25 without my special spoon and wheelchair. I told staff that I was suicidal upon
       26 learning of my discharge.
       27          18.    Staff transferred me to Enhanced Observation Housing ("EOH"). I

       28 stayed in an EOH cell for five or six days. EOH cells are solitary confinement cells




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        1   for incarcerated people at risk of self-harm or suicide. Clinical and custody staff are
        2 supposed to conduct routine welfare checks every 15 minutes. The Jail denied me
        3 my property and clothes. I covered myself with a safety garment. There was only a
        4 toilet and a thin mattress in the cell.
        5         19.    For multiple days, I slept on the floor on a thin mattress by the cell’s
        6 food port. I did not have my wheelchair and there were no grab bars installed by the
        7 toilet, making it very hard to use the restroom. I often made a mess in the cell when
        8 I tried to use it, sometimes urinating and defecating on the ground. Despite asking
        9 for my ADA cutlery on multiple occasions, staff refused to give them to me.
       10 Without my special utensils, I could not eat the food staff brought to me. Because I
       11   did not want to eat with my hands like an animal, I refused the food brought to me
       12 for those five or six days I was in the EOH. During that time, the room smelt like
       13 urine and was filled with trash and dirtied toilet paper. Attached hereto as Exhibit
       14 C is a true and correct copy of a September 16, 2018 clinical staff observation note
       15 during my EOH stay. I pleaded with staff as they passed by that I needed to be
       16 housed in an MOB cell and I needed my assistive devices. They were indifferent to
       17 my pleas.
       18         20.    Suddenly, the Jail discharged me from the EOH cell and transferred me
       19 back to CDCR on or around September 19, 2018.
       20         21.    My experience in the Jail in 2018 has affected the way I program in Jail
       21   and prison significantly. While incarcerated, I have always had to fight to receive
       22 help because no one has understood my disability. I feel like I have to hide my
       23 mobility because I am afraid that Jail and prison staffwill label me a liar and take
       24 away my assistive devices. Because medical and custody personnel do not
       25 understand my disability while incarcerated, I have to stay debilitated to prevent
       26 myself from being even more debilitated without my assistive devices.
       27
       28




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        1         22.   On December 13, 2019, I again returned to the Jail for resentencing. I
        2 resided there for over a year, until I transferred back to CDCR on April 21,2021. I
        3 was housed in an MOB cell.
        4         23.   I arrived at the Jail with the following assistive devices I used in state
        5 prison: my spoon, straw, and writing utensil, wheelchair, cane, orthotic shoes,
        6 mobility vest, and magnifying glass to help me see. Physicians within CDCR had
        7 prescribed me these assistive devices on a permanent basis. Attached hereto as
        8 Exhibit D is a true and correct copy from my medical file of a CDCR form listing
        9 the assistive devices prescribed to me, updated on December 5, 2019, shortly before
       10 I arrived at the Jail. I also arrived with a large amount of my legal property, which
       11   included paperwork related to my criminal and civil proceedings. Upon my arrival,
       12 the Jail immediately confiscated many of my assistive devices, including my spoon
       13 and straw, cane, shoes, vest, and magnifying glass. The Jail also confiscated my
       14 legal property and did not return it to me for several months.
       15         24.    Given that I have been incarcerated at the Jail multiple times, staff
       16 should have been aware of my disability-related accommodations upon my arrival.
       17 I did not receive my cane during the entirety of my stay at the Jail from December
       18 2019 until April 2021 and only received one when I returned to CDCR. The Jail
       19 later returned my ADA-accessible straw and spoon to me.
       20         25.    I also arrived back at the Jail with a grabber, which is a device the same
       21   length as a cane that has claws that open and close at the end. I used the grabber in
       22 CDCR to help pick items up, as my disability makes it difficult to bend down. The
       23 Jail confiscated my grabber upon arrival and never returned it to me.
       24         26.    At the time of my incarceration in December 2019, I received four
       25 shots of insulin to treat my diabetes. When I first arrived at the Jail, I received my
       26 four shots of insulin. The Jail began to taper me off insulin, giving me only one shot
       27 a day for the next few days. The Jail then discontinued my insulin altogether. They
       28 would only give me insulin if my numbers were over 250 mg/dL. Attached hereto




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        1   as Exhibit E is a true and correct copy of a nursing note from my medical file in
        2 which I asked staff about the change in my levels of insulin. The Jail would not
        3 relent. As a result of this sudden change in my insulin levels, I became very thirsty,
        4 started urinating frequently, and experienced extreme fatigue.
        5           27.   The Jail also refused to continue my medical diet to help treat my
        6 dysphagia. While in CDCR custody and during my previous incarcerations at the
        7 Jail, I was on a medical diet. This diet consisted of ground food and thickened
        8 liquids. Attached hereto as Exhibit F is a true and correct copy of a December 4,
        9 2018 medical classification document from my time in CDCR noting that I required
       10 a "chopped/ground" diet.
       11           28.   Because the food Jail staff gave to me was not considered a ground
       12 diet, I used my ADA spoon to try and cut up the food to make it easier to eat.
       13 Around early February 2020, I broke my ADA-accessible spoon while trying to
       14 grind and cut the meat included in my meal. I requested a new ADA spoon.
       15 Attached hereto as Exhibit G is a true and correct copy of an inmate request form I
       16 filed on February 8, 2020, noting that I had broken my ADA spoon and asking for a
       17 new one. While waiting for a new spoon, I had made a makeshift spoon by breaking
       18 the handle on my water pitcher and using a paper clip, homemade string, and tape to
       19 tie it all together. In March 2020, more than a month later, the Jail gave me a
       20 pediatric spoon to use, but it was too small for me to grip effectively. Attached
       21   hereto as Exhibit I-I is a true and correct copy of an MOB progress note in which
       22 RN Shiflet issued me a spoon on March 8, 2020. I requested a larger spoon on
       23   several occasions. Nursing staff could see that the pediatric spoon was useless.
       24 They took the spoon away and told me they would search for a better alternative.
       25           29.   In December 2020, almost a year after I had requested a replacement
       26 spoon, the Jail gave me back the very same pediatric spoon that did not work. I was
       27 shocked and frustrated that they gave me the same ineffective spoon. Attached
       28 hereto as Exhibit I is a true and correct copy of a December 31, 2020 document

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       1   from my medical file reflecting my discussion with nursing staff in which I
       2 explained that the pediatric spoon was too small for me and I was unable to use it.
       3 During the rest of my incarceration, I continued to use my homemade spoon to eat.
       4 Using this makeshift spoon put me at risk because I had created it using contraband
       5 materials and staff could have issued me a disciplinary infraction for keeping
       6 contraband items. However, I was desperate for a working utensil, and so I
       7 accepted the risk.
       8         30.   I also had issues receiving accessible writing utensils. Because of my
       9 AS, I struggle to grip a pencil normally, making writing very difficult. When I
      10 arrived at the Jail in 2019, I brought with me writing utensils with long handles,
      11 which allowed me to grip the length of the pencil. The Jail confiscated those
      12 utensils upon my arrival. I asked for longer writing utensils so that I could fit my
      13 therapeutic foam handles on the length of the pencil. Attached hereto as Exhibit J
      14 is a true and correct copy of a document from my medical file noting that I had filed
      15 a sick call slip on or around February 7, 2020 requesting a proper writing utensil
      16 because I could not use the small pencils.
      17         31.   The Jail refused to give me longer writing utensils for over a year and
      18 continued to make me use small and short pencils I could not grip. I ended up
      19 having to modify the Jail-issued pencils myself. I used my Nestle Food Thickener
      20 as a paste and lengthened a pencil to use it. About a year later, the Jail supplied me
      21 with a special writing device that I had never used before. It was made up of a small
      22 plastic tube (where the pencil could go through) and a string that I could wrap
      23 around my hand to allow me to write. I asked staffto help me learn how to use the
      24 device, but deputies and medical staff did not know how it worked either. Before
      25 anyone could give me instructions about how to use it, a deputy confiscated the
      26 device during a cell search and threw it away. I believe the deputy threw it out
      27 because he thought it was contraband.
      28




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       1         32.    During my incarceration at CHCF, I had a three tier locker to store my
       2 clothing, property and legal property. Because I am a wheelchair user with AS, I
       3   struggle to bend down and pick things up from the floor. The three tier locker
       4 allowed me to store my property so that I did not have to bend down. Upon my
       5 arrival to the Jail on December 13, 2019, I had to store my property on the ground
       6 because the cell was not equipped with any storage or shelving. I requested
       7 specialized shelving on or around February 10, 2020 in an inmate request form. I
       8 explained that it was difficult to bend down and pick things up. A true and correct
       9 copy of a document from my medical file noting this inmate request form is attached
      10 hereto as Exhibit K. The Jail did put an extra table in my cell, but it could not store
      11   all of my property and I had to place the rest on the ground.
      12         33.    In early March 2020, after bending over in my wheelchair to pick some
      13 of my property off the ground, I noticed a sharp pain in my groin area. After a few
      14 days, a protrusion formed around my belly button and there was consistent pain in
      15 the area. I first verbally reported the pain to medical staff who were passing by my
      16 cell. On March 11, 2020, I reported that I had a hernia to medical staff in a sick call
      17 slip. Medical staff had different opinions about whether or not I had a hernia.
      18 When I first saw a doctor, on or around March 26, 2020, he diagnosed me with a
      19 hernia. A few days later, on or around March 30, 2020, another doctor said that I
      20 did not have a hernia. The doctor gave me an abdominal binder to help with my
      21 pain. Attached hereto as Exhibit L are true and correct copies of progress notes
      22 from my medical records noting these interactions with medical staff.
      23         34.    I continued to experience pain in my groin and when peeing and a
      24   9rotrusion from my belly. The protrusion seemed to swell when I started coughing.
      25 On or around June 4, 2020, I put in a medical request stating that I continued to have
      26 difficulty peeing and I thought my hernia was worsening. Medical staff gave me a
      27 new abdominal binder but did not provide me with more treatment. Attached hereto
      28




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       1   as Exhibit M are true and correct copies of medical progress notes from my file
       2 confirming this.
       3         35.   There were many issues with the emergency call button system at the
       4 Jail, which put people incarcerated there at a serious risk of harm. There are three
       5 emergency call buttons in the Jail’s medical isolation cells   one next to the bed, one
       6 down by the toilet, and one on a cell wall near a speaker.
       7         36.     During my 2019 incarceration, I discovered that the only functioning
       8 call button was the one near the toilet, which the Jail had informed me was intended
       9 for emergency use only. At the time, I was cutting up my food to be able to eat it
      10 more easily. I started to choke on a large piece of food I had not cut properly. I
      11   could not breathe and I frantically pushed the call button by my bed and the one on
      12 the wall. I got no response. I pushed the one by the toilet and staff finally
      13 responded twenty or thirty minutes later. Luckily, by the time staff arrived I had
      14 stopped choking and managed to swallow the food. A nurse came into my cell and I
      15 explained the situation: that the call buttons did not work because no one responded
      16 to me when I pressed them. The nurse seemed upset with me. She said, "if you
      17 have that kind of problem, you’ll just go to the rubber room." The rubber room
      18 refers to a safety cell that people go to when on suicide watch. I believe the nurse
      19 was upset that I pushed the emergency call button but, by the time she came to see
      20 me, I was no longer choking. I think she mentioned the rubber room as a threat,
      21   saying that I should not push the call button unless it was a real emergency. From
      22 my experience at the Jail, if a person inconveniences staff enough, they will put you
      23 in the rubber room as punishment.
      24         37.    The Jail’s entire call button system malfunctioned on multiple other
      25 occasions. My cell tended to get extremely cold, which exacerbated my AS
      26 symptoms. In order to stay warm, I covered up the vents in my cell. There is a
      27 sensor that should go off when I cover the vents for an extended period of time. I
      28 knew this from prior incarcerations at the Jail. However, the sensor was faulty and




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       1 would go off at random intervals, even when the vent was not covered. I believe
       2 this meant the Jail’s entire alarm system had glitches.
       3                38.   I also had problems showering in the medical observation unit. In my
       4 cell, I had a single shower. I requested to use the shower in my cell on multiple
       5 occasions, but deputies refused to let me shower alone. When the COVID-19
       6 pandemic started, I became increasingly nervous about using a communal shower.
       7 I am immuno-compromised, which means that I was and continue to be at risk of
       8 becoming seriously ill or dying from COVID-19 or any other infection. I asked
       9 deputies in my unit to turn the water on for the shower in my cell so that I could
      10 shower safely, but they refused me. I was too scared to use communal showers for
      11   fear of becoming sick and dying. Because I could not shower with other people, I
      12 bird bathed in my cell. Bird bathing means to use the water from your cell’s sink to
      13   clean yourself. I cleaned myself this way for the sixteen or so months while I was in
      14 custody at the Jail.
      15                39.   The Jail consistently denied me proper access to legal research, its law
      16 library, and the courts.
      17                40.   I have been recognized as a pro per litigant by the California Court of
      18 Appeal’s Fourth Appellate District. I was also proceeding pro se on several federal
      19 habeas petitions while in the Jail. When you are designated as pro per, you have
      20 access in the Jail to the law library and a runner, who will deliver documents to the
      21   court for you. There are also copy and print out services available, where I can use
      22 pleading paper and legal-size envelopes. The Jail will not provide you with these
      23   services unless you are pro per.
      24                41.   I filed multiple cases in the Superior Court against the San Diego
      25   Sheriff s Department for their failure to accommodate my disability and medical
      26 conditions, as well as about my own criminal conviction. The Jail denied me pro
      27 per privileges, including access to legal research, the law library, and other
      28 resources. When I showed the Jail my court designations, they told me to speak

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       1   with the Office of Assigned Counsel ("OAC"). The OAC then referred me back to
       2 the court to get pro per access, creating a never-ending cycle.
       3         42.    The Jail also had a separate legal research process available where you
       4 could request different materials that amount to a certain number of pages.
       5 However, this process did not really allow me to perform case law research. I
       6 would have to know exactly what case or material I was looking for; I was unable to
       7 access a computer to do my own reading and research, which I could have done at
       8 the Jail’s law library.
       9         43.   Because the Jail denied me this access, I was unable to develop an
      10 accurate and sufficient record in court. I incurred multiple filing fees, and I believe
      11 the lack of access to legal research and resources contributed to the dismissal of
      12 several of my civil claims. Attached hereto as Exhibit N are true and correct copies
      13 of request forms I filed stating the Jail was obstructing my access to the courts and
      14 legal research.
      15         44.   The Jail also confiscated multiple boxes of my legal property when I
      16 first arrived in 2019. The Jail claimed that I had an excessive amount of paperwork,
      17 but that was not true. I had paperwork that was able to fit within six or seven cubic
      18 square feet and there remained plenty of room in my cell. When incarcerated
      19   9reviously, I never had an issue with legal property.
      20         45.   I continued to push to know where my legal property was by filing
      21   multiple grievances. A female Sergeant Sipperly told me that she had stored my
      22 paperwork in her office. I thought that was inappropriate and a confidentiality issue,
      23 as many of my legal documents involved complaints I had made against the Jail
      24 during my 2018 incarceration. After about two or three weeks, I received a small
      25 portion of my legal property back. I did not receive the rest of my property until
      26 about 90 days after I first arrived at the Jail. When I received the papers back, I
      27 discovered that several documents had disappeared.
      28




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       1                 46.    I lost many materials related to potential challenges for my criminal
       2 convictions and civil proceedings. One of the boxes that disappeared involved
       3 crucial discovery related to my original conviction. Several grievances I filed
       4 against the Jail and Stleriff’ s department, as well as complaints against the Citizen’s
       5 Law Enforcement Review Board ("CLERB") went missing.
       6                 47.   I have had many problems using the grievance process at the Jail. I
       7 estimate that I have filed over twenty to thirty grievances about the Jail’s failure to
       8 accommodate my disability and medical needs, as well as allow me access to my
       9 pro per privileges. The Jail did not respond to the majority of my grievances. I
      10 believe many deputies simply threw my grievances away and did not process them.
      11 Attached hereto as Exhibit O is a November 27, 2020 grievance I filed stating that
      12 the Jail was failing to provide a timely response or any response at all to my
      13 grievances.
      14                 48.   When staff do not understand people with disabilities, those people’s
      15 lives are not only endangered, but their livelihood is disrupted, just as mine was
      16 when Jail staff continually refused me my assistive devices that allow me to live my
      17 life to the fullest. I believe the Jail needs checks and balances to ensure people
      18 incarcerated there are treated humanely. I also believe the Jail’s grievance and legal
      19 access procedures need a significant overhaul. A system that does not allow people
      20 to air their grievances properly disempowers individuals, stops them from
      21 rehabilitating and educating themselves, and keeps them subject to mental and
      22 physical abuse.
      23 ///
      24 ///
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       1                 49.   I agreed to be a class representative in this case because I want to help
       2   improve the medical, dental, and mental health care at the Jail, ensure that
       3   incarcerated people with disabilities are accommodated and treated fairly, ensure
       4   access to rehabilitative programs, and help make the Jail safe and secure for all
       5 people. I have been cooperating fully with my counsel and am responding to all

       6 requests for information to the best of my ability and recollection, and will continue

       7 to do so in the future. My lawyers keep me updated on the progress of this case, and

       8 I will review all materials provided to me and provide my input to the best of my

       9   ability. When I have questions about the case, I will ask the attorneys for help to
      10 understand everything to the best of my ability.

      11                 I declare under penalty of perjury under the laws of California and the United
      12   States of America that the foregoing is true and correct, and that this declaration is
      13   executed at Stockton, California this "~ day of               bt~o~,t-   ,2022.
      14

      15
                                                             Darryl Lee Dunsmore
      16

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           [3882338,1]                                      14



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    16                                UNITED STATES DISTRICT COURT
    17                              SOUTHERN DISTRICT OF CALIFORNIA
    18 DARRYL DUNSMORE, ERNEST                                  Case No. 3:20-cv-00406-AJB-WVG
       ARCHULETA, ANTHONY EDWARDS,
    19 REANNA LEVY, JOSUE LOPEZ,                                DECLARATION OF ERNEST
       CHRISTOPHER NELSON,                                      ARCHULETA IN SUPPORT OF
    20 CHRISTOPHER NORWOOD, and                                 PLAINTIFFS’ MOTIONS FOR
       LAURA ZOERNER, on behalf of                              PRELIMINARY INJUNCTION
    21 themselves and all others similarly situated,            AND PROVISIONAL CLASS
                   Plaintiffs,                                  CERTIFICATION
    22
            v.                                                  Judge:     Hon. Anthony J. Battaglia
    23 SAN DIEGO COUNTY SHERIFF’S
       DEPARTMENT, COUNTY OF SAN                                Trial Date: None Set
    24 DIEGO, CORRECTIONAL
       HEALTHCARE PARTNERS, INC.,
    25 LIBERTY HEALTHCARE, INC., MID-
       AMERICA HEALTH, INC., LOGAN
    26 HAAK, M.D., INC., SAN DIEGO
       COUNTY PROBATION DEPARTMENT,
    27 and DOES 1 to 20, inclusive,
    28             Defendants.
         [3903205.1]                                                     Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF ERNEST ARCHULETA IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                            PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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         [3903205.1]                                                     Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF ERNEST ARCHULETA IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                            PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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       1                            DECLARATION OF ERNEST ARCHULETA
       2                 I, Ernest Archuleta, declare:
       3                 1.    I have personal knowledge of the matters set forth herein, and if called
       4 as a witness, I could and would competently so testify.
       5                 2.    I have been incarcerated at the San Diego County Jail ('the Jail") since
       6 July 6, 2019. I am housed at San Diego Central Jail in housing unit 7B, cell 8. My
       7 booking number is 19741878. I am 63 years old.
       8                 3.    I have been sentenced to state prison in the custody of the California
       9 Department of Corrections and Rehabilitation ("CDCR"). It is my understanding
     10 that I could be sent back to the Jail if I ever need to be present in court related to the
     11 criminal charges that resulted in me being sent to CDCR, which I am attempting to
     12 challenge. I could also be sent back to the Jail if it is necessary for me to testify in
     13 this case about the problems I experienced in the Jail. In addition, I also will parole
     14 from CDCR at some point in the future. When I parole, I will be sent back to San
     15 Diego County, which is the county in which I was convicted and where I lived prior
     16 to my arrest. When I am on parole, I can be arrested and housed in the Jail simply
     17 for allegedly violating the terms and conditions of my parole, whether or not the
     18 alleged violation constitutes a violation of a criminal law. I am concerned that, if I
     19 am sent back to the Jail, I will experience problems similar to the problems I have
     20 experienced in the past.
     21                  4.    I have physical disabilities. I have degenerative disc disease and severe
     22 osteoaiihritis in my left knee. My left leg is also shorter than my right. Because of
     23 these conditions, I need a wheelchair to travel longer distances.
     24                  5.    I experience chronic neck pain that affects my daily life; I am unable to
     25 tum my head to the left and I cannot sit upright for extended periods of time. The
     26 level of pain consistently stays at an 8 out of 10. I also have high blood pressure
     27 and take the medication Atenolol to control it.
      28
           [3867416.1]                                      1
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       1                 6.   I have depression and access mental health care services in the Jail. I
       2 take Trazadone and Remeron, which are both antidepressants. I also take Benadryl
       3 for allergies.
       4                 7.   The Jail has failed to provide me with adequate medical care. Before I
       5 entered the Jail, Dr. David J. Smith of the San Diego Comprehensive Pain
      6 Management Center had referred me for neck surgery. I arrived at the Jail in
       7 July 2019 wearing a neck brace. It is shown in the photo on my wrist band. About a
      8 month after arriving, I was placed alone in a cell on the medical floor due to
       9 vomiting and diarrhea. I was there about a week and when I returned to my regular
     10 cell my neck brace was missing. I requested it back but the doctors here ignored my
     11 requests. Not having the neck brace makes my neck pain worse.
     12                  8.   I informed medical staff during intake that I had a spinal injury
     13 requiring neck surgery. During that encounter, I signed a Release of Information
     14 ("ROI") form so medical staff could obtain records from Dr. Smith. Attached
     15 hereto as Exhibit A is a true and correct copy of notes from my encounter with
     16 medical staff during intake. On July 30, 2019, I filed a sick call request after
     17 receiving no additional information about my surgery. A true and correct copy of
     18 that sick call request and the response from Jail medical staff is attached hereto as
     19 Exhibit B. The response from Jail nursing staff was an instruction that I sign
     20 another ROI to obtain my outside medical records, even though I had already done
     21 that when booked into the Jail. To this day, the Jail has not provided me a referral to
     22 a neck surgeon or even obtained my outside records from my neck specialist.
     23 Attached hereto as Exhibit C is an August 12, 2019 CT Scan recognizing indicating
     24 I have "severe degenerative disc disease" in my spine. Despite this evaluation, the
     25 Jail has not referred me for surgery or outside treatment, and I suffer neck pain that
     26 affects my ability to perform activities of daily life like dressing myself. The Jail
     27 also has not provided me with physical therapy to manage my neck problems,
     28 despite my requests.
           [3867416.1]                                     2
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       1                 9.    I also have degenerative conditions affecting my knees. Before I
       2 entered the Jail, a specialist recommended that I have a knee replacement. Attached
       3 hereto as Exhibit D is an August 6, 2019 progress note from nursing staff
       4 confirming that I was "recommended for surgical repair" ofmy knee. As was the
       5 case with my neck surgery, the Jail has failed to refer me to a surgeon to operate on
       6 my knee. In my first month at the Jail and again later, a physician told me that the
       7 San Diego Sheriffs depmiment would not pay for my knee replacement because I
       8 was awaiting transfer to CDCR custody. As a result, I have constant pain in my
       9 knee and hip, affecting my ability to walk.
      10                 10.   On numerous occasions, the Jail has failed to refill my daily blood
      11 pressure medication, Atenolol, for several days. Several times, this cause my blood
      12 pressure to soar high and I became flushed and had to go the medical floor.            It is
     13 my understanding that the delays in receiving my medication happen because Jail
      14 medical staff forget to reorder the medication and do not have a backup supply
      15 available. Attached hereto as Exhibit E is a true and correct copy ofa June 3, 2020
      16 encounter with medical staff, in which medical staff noted that nurses could not find
      17 a supply of my blood pressure medication in the medication room. In May 2020,
      18 the Jail ran out ofmy medication for over a week. They did not reorder it until I
      19 filed a sick call slip asking for my blood pressure medication. Attached hereto as
      20 Exhibit F is a true and correct copy ofthe sick call slip I filed on May 28, 2020,
      21 asking for my meds. Nursing staff responded and said they had reordered my
      22 medication that same day. They did not offer me any backup supply ofthe
      23 medication. Not having that medication gives me blurred vision and bad headaches,
      24 making it hard for me to engage in activities of daily living. I worry that this will
      25 happen again.
      26                 11.   The Jail has discriminated against me based on my disabilities. For
      27 example, the severe osteoarthritis in my left knee and left hip means I must use a
      28 wheelchair for long-distance travel. Early in my incarceration, around July or
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       1 August 2019, I started using crutches that I requested and received from Jail medical
       2 staff. I used them to build up strength in my legs, hoping that I would eventually be
       3 able to walk on my own. It was my own form of physical therapy because the Jail
       4 was not providing me with any. The Jail did not let me keep both my wheelchair
       5 and crutches; they confiscated my crutches while I went to yard. On September 5,
       6 2019, I filed a sick call request asking for crutches. Attached hereto as Exhibit G is
       7 a true and correct copy of that sick call request slip and the Jail's response. In the
       8 response, Jail staff wrote that I had to choose between having crutches or a
       9 wheelchair, stating "if you would rather use crutches, we will ... replace the
     10 wheelchair with a pair of crutches if the doctor deems such are indicated." I decided
     11 to keep a wheelchair because without it, I would be at risk of falling and seriously
     12 injuring myself. I now use my wheelchair for physical therapy; I stand behind my
     13 wheelchair and lean on it for support when trying to walk.
     14                 12.   I have experienced other types of disability discrimination and
     15 retaliation and been denied equal access to jail programs. To review this declaration
     16 with my attorney, a deputy told me the elevator was broken so I was forced to climb
     17 a flight of stairs to get to an attorney visiting room. I was worried I would fall down
     18 the stairs, which has happened in the past. I was also worried this could be
     19 retaliation for being a named plaintiff. During the attorney visit, I observed other
     20 incarcerated wheelchair users who are not named plaintiffs in this case who came
     21 for attorney visits and used the elevator.
     22                 13.   On another occasion, deputies did not allow me to use my wheelchair
     23 to travel to a presentencing hearing. I was waiting in the court holding area at
     24 Central. A deputy took away my wheelchair and then tried to force me to walk to
     25 the hearing. Because I cannot walk long distances on my own, the hearing had to be
     26 postponed, delaying my criminal case.
     27                 14.   The Jail is not a safe place for people with disabilities like me. In
     28 August 2019, deputies forced me to walk up the stairs to attend a family visit, rather
          [3867416.1]                                       4
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       1 than use the elevators in my wheelchair. When trying to walk back down the stairs,
       2 I lost my balance, fell, and struck my head. I was in pain for a couple ofmonths
       3 after that.
       4                 15.   The Jail is not accessible to people with disabilities in other ways. The
       5 day room tables have no cut out spaces for wheel chair access. There are no grab
       6 bars on the toilet in my cell, making it harder to use the restroom. I am informed and
       7 believe that there are six ofus currently on my floor who use wheelchairs and only
       8 one ADA cell. But the wheelchair users are not currently placed in that cell.
       9                 16.   I have also had issues receiving adequate mental health care. I sought
     10 mental health treatment shortly after being booked into the Jail in July 2019. At that
     11 time, several close family members had recently died as well as several close
     12 friends. A mental health clinician saw me in August 2019. However, I was not able
     13 to speak with a psychiatrist until four months later on December 16, 2019. Attached
     14 hereto as Exhibit H is my initial encounter with a psychiatrist. During the
     15 appointment, I expressed thoughts ofharming myself. At that point, I was really
     16 struggling to manage my depression; I was dealing with serious charges and recent
     17 deaths in my family and among my friends. Two mental health staff members have
     18 apologized to me about the delays in my care, and explained that the Jail is severely
     19 understaffed.
     20                  17.   My mental health has declined since Dr. Smerud - the psychologist that
     21 I met with for wellness checks and counseling - retired in or around June or July,
     22 2021. Since then, I have not been able to consistently see a mental health staff
     23 member for counseling, which has best helped me managed my depression.
     24                  18.   When I have interacted with psychiatrists and mental health personnel,
     25 they usually visit me quickly, cell-side, where other incarcerated people can hear.
     26 Even more upsetting, typically a deputy is present for the entirety ofthe
     27 conversation. A deputy will stand between me and my provider. I do not trust
     28 custody staff with my personal information. The lack ofconfidentiality makes it
           [3867416.1l                                      5
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      1 very difficult to express my honest feelings with mental health staff, and to feel like
      2 I am making progress in managing my depression.
      3                 19.   I have been at the Jail for over two and a half years, but I have never
      4 been offered a dental cleaning or routine teeth examination.
      5                 20.   During my time at the Jail, I have never received an eye examination or
      6 prescription eye glasses. I need prescription eye glasses to read signs and navigate
      7 around the Jail. Although I have asked for prescription eye glasses several times, the
      8 only glasses made available to me are magnifying reading glasses that I purchased
      9 in the canteen.
     10                 21.   In my time at the Jail, there have been many times that I needed help
     11 but did not ask for it because there are too few deputies and they do not stop during
     12 their rounds to listen to me. Recently, I believe there has been only one deputy on
     13 our floor with 170 incarcerated people.
     14                 22.   Since Covid-19 began, I have been locked down most of the time. I get
     15 out of my cell only about an hour or two per week. Our "yard" is an enclosed space
     16 without sunlight. I have been allowed to go there only about once a month. This
     17 isolation and lack of exercise and fresh air have taken a toll on my mental health.
     18                 23.   I agreed to be a class representative in this case because I want to help
     19 improve the medical, dental, and mental health care at the Jail, ensure that
     20 incarcerated people with disabilities are accommodated and treated fairly, and help
     21 make the Jail safe and secure for all incarcerated people. I have been cooperating
     22 fully with my counsel and am responding to all requests for information to the best
     23 of my ability and recollection, and will continue to do so in the future. My lawyers
     24 keep me updated on the progress of this case, and I will review all materials
     25 Ill/I
     26 //Ill
     27 /Ill/
     28 /////
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       1 provided to me and provide my input to the best of my ability. When I have
       2 questions about the case, I will ask the attorneys for help to understand everything to
       3 the best of my ability.
       4                 I declare under penalty of pe1jury under the laws of California and the United
       5 States of America that the foregoing is true and correct, and that this declaration is
       6 executed at San Diego, California this _J_'day of March, 2022.
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    16                             UNITED STATES DISTRICT COURT
    17                           SOUTHERN DISTRICT OF CALIFORNIA
    18 DARRYL DUNSMORE, ERNEST                               Case No. 3:20-cv-00406-AJB-WVG
       ARCHULETA, ANTHONY EDWARDS,
    19 REANNA LEVY, JOSUE LOPEZ,                             DECLARATION OF JOSUE
       CHRISTOPHER NELSON,                                   LOPEZ IN SUPPORT OF
    20 CHRISTOPHER NORWOOD, and                              PLAINTIFFS’ MOTIONS FOR
       LAURA ZOERNER, on behalf of                           PRELIMINARY INJUNCTION
    21 themselves and all others similarly situated,         AND PROVISIONAL CLASS
                   Plaintiffs,                               CERTIFICATION
    22
            v.                                               Judge:     Hon. Anthony J. Battaglia
    23 SAN DIEGO COUNTY SHERIFF’S
       DEPARTMENT, COUNTY OF SAN                             Trial Date: None Set
    24 DIEGO, CORRECTIONAL
       HEALTHCARE PARTNERS, INC.,
    25 LIBERTY HEALTHCARE, INC., MID-
       AMERICA HEALTH, INC., LOGAN
    26 HAAK, M.D., INC., SAN DIEGO
       COUNTY PROBATION DEPARTMENT,
    27 and DOES 1 to 20, inclusive,
    28             Defendants.
         [3903205.1]                                                   Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF JOSUE LOPEZ IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                         PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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         [3903205.1]                                                   Case No. 3:20-cv-00406-AJB-WVG
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                         PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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               1                                DECLARATION OF JOSUE LOPEZ
               2                 I, Josue Lopez, declare:
               3                 1.    I have personal knowledge of the matters set forth herein, and if called
               4 as a witness, I could and would competently so testify.
               5                 2.    I was incarcerated in the San Diego County Jail (the “Jail”) from
               6 October 8, 2019 until May 12, 2021. During that time, I was awaiting trial. I was
               7 released on bail on May 12, 2021.
               8                 3.    From my experiences, the Jail is a very unsafe and inaccessible place
               9 for incarcerated people with disabilities. I am deaf and my primary method of
             10 communication is American Sign Language (“ASL”). I can rely on written notes in
             11 the absence of a sign language interpreter. I am not fluent in lip-reading in English,
             12 but I am able to understand some information. The Jail consistently refused to
             13 accommodate my hearing disability while I was incarcerated.
             14                  4.    I was booked into Vista Detention Facility (“Vista”) on or around
             15 October 8, 2019. Shortly after my arrival, I attended an initial mental health
             16 appointment during which custodial staff kept me handcuffed to a bar in the room
             17 which made it impossible for me to use my hands to sign effectively with the in-
             18 person interpreter about my mental health.
             19                  5.    At Vista, I could not keep in regular contact with my wife or attorney
             20 because the facility did not have any interpreting services or Video Relay services,
             21 and its Telecommunication Device for the Deaf (“TTY”) machine was not in
             22 working order. The Jail had a sign that said deaf people can access the TTY to
             23 communicate, but when I asked correctional staff about it, no one knew how to
             24 operate it. I tried to use it a few days after arriving at the Jail, but it did not work.
             25 Several times I complained to staff about its non-working condition as well as the
             26 lack of access to communication devices, but they ignored my repeated requests for
             27 help fixing the machine. Because of the lack of communication options, I
             28
                   [3737812.7]                                      1
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               1 sometimes asked fellow incarcerated people to make phone calls for me in order to
               2 relay important messages.
               3                 6.   I transferred to George Bailey Detention Center (“George Bailey”) on
               4 or around December 12, 2019. During the first few months of my time at the
               5 facility, the most effective point of contact I had with my wife was through short, in-
               6 person visits. But because the facilities were overcrowded, it was difficult to
               7 schedule visits. There was a TTY at George Bailey, but staff did not know how to
               8 operate it. When I tried to ask staff to use the TTY, they often refused to allow me
               9 to use it. Staff never once offered me access to the TTY. There was also a thirty-
             10 minute video conferencing method called Securus. During my time in the Jail, these
             11 video conferencing calls were expensive for me and my family. It was around $100
             12 a month to participate in frequent calls with my loved ones. These calls also had
             13 poor network connectivity, so it was hard to use this method. When the COVID-19
             14 pandemic began in March 2020, George Bailey suspended all in-person social
             15 visiting. They suspended in-person social visits from March 2020 until July 2020,
             16 and then again in November 2020 until May 2021. In December 2020, they
             17 suspended all video visits as well.
             18                  7.    When the Jail suspended social visits, I had to rely on just the TTY to
             19 communicate with my family. The TTY is a special device, similar to a typewriter,
             20 that allows speech-to-text communication. The TTY was not effective for
             21 communication; there was usually a poor signal which stopped all communication,
             22 and even when the signal worked, words often became garbled when two people
             23 spoke at the same time, messing up the translation. My conversations over the TTY
             24 took much longer than normal voice phone calls.
             25                  8.   Many deputies at George Bailey became visibly frustrated with me
             26 when I asked to use the TTY. Deputies frequently denied me access to the TTY
             27 when I requested it. They said they were “too busy” or “short-staffed” to take me to
             28 use it. They also delayed my request by stating they would help me “later” or they
                   [3737812.7]                                     2
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               1 “needed to ask the team” if I was allowed to use the TTY. When I finally did get to
               2 use the TTY, and it was slow to operate because of poor network connection, the
               3 deputies rushed me to end my call and did not allow me to finish my conversations
               4 with my loved ones or attorneys. To take one example, on March 16, 2021, I
               5 requested to use the TTY several times. I waited hours, and was not allowed to use
               6 the TTY to call my wife until 11:45 pm. I was unable to reach my wife because she
               7 was most likely asleep by the time I called her. I asked to use the TTY the next day
               8 and explained that I could not reach my wife due to the late hour that I called the
               9 night before. Staff originally accepted my request, but later came back and told me
             10 the TTY had been moved to a different area of the Jail, without my knowledge.
             11 Deputies did not escort me to the TTY’s new location and I was unable to call my
             12 wife for a second time.
             13                  9.   I tried to raise the issues of TTY access with staff on several occasions.
             14 For example, on October 3, 2020, I spoke with Sergeant Cortes-Garcia about the
             15 issue and he said he would help resolve it. For a few days after my conversation
             16 with the Sergeant, it was easier to access the TTY when I requested it from staff.
             17 However, after those few days, custodial staff went back to refusing or delaying my
             18 access. Deputies continued to be dismissive or outright rude to me when I asked to
             19 use the TTY, denying me contact with my family, friends, and legal counsel. I
             20 estimate that staff refused me access to the TTY at least 100 times, maybe more.
             21 Wait times varied each day, but I estimate the average amount of time I waited to
             22 use the TTY was two to three hours. It was hard to predict how long I would have
             23 to wait. The longest time I had to wait to use the TTY was three days. That
             24 happened at least four or five times. People who did not have hearing disabilities
             25 never had to wait as long as I did when they requested to use the phone. Sometimes
             26 my hearing friends told me that they would overhear the deputies talking badly of
             27 me when they discussed the phone schedule. My neighbors would say that the
             28 deputies complained about how much I asked to use the TTY.
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               1                 10.   There were also long delays to set up confidential videoconferencing
               2 calls with my defense attorney. For a significant period of time, George Bailey only
               3 had two laptops to use for court and attorney-client meetings, making it very
               4 difficult to schedule a call with my attorney.
               5                 11.   Throughout my time at Vista and George Bailey, I had problems
               6 securing a video call with my attorney that was confidential. Sometimes, deputies
               7 stood in the same room while I communicated with my attorney and a sign language
               8 interpreter over video. This was especially bad during court appointments. When I
               9 needed to have short but important confidential appointments with my attorney
             10 before a court hearing, deputies remained in the same room. When my attorney
             11 asked if deputies could leave the room, they said they could not. They also failed to
             12 accommodate my disability during many of these calls. Some deputies kept me
             13 handcuffed, which prevented me from signing and communicating effectively to the
             14 interpreter.
             15                  12.   The Jail has also failed to accommodate my disability in other ways.
             16 The Jail did not provide a sign language interpreter during interactions with nursing
             17 and medical staff, despite my requests. When I left the Jail to attend medical
             18 appointments at an outside hospital, I received an interpreter. But the Jail never
             19 provided me with an interpreter for routine medical contacts inside the facility.
             20 Instead, I had to rely on written notes to understand the complex medical issues and
             21 advice that the provider was trying to discuss with me. For the majority of these
             22 appointments, I did not understand what medical staff tried to communicated to me.
             23 Sometimes, the doctors did not write any information down for me. I could not read
             24 their lips because the majority of interactions occurred while staff wore masks. If a
             25 new nurse was assigned to me, they often failed to communicate effectively with me
             26 because they did not know, and apparently had no way of knowing, that I am deaf.
             27                  13.   Many of the deputies also did not know that I am deaf and rely on
             28 written notes and lip-reading in the absence of a sign language interpreter. As a
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               1 result, many of the deputies tried to communicate with me while wearing their
               2 masks. Whenever staff did communicate with me via written notes, the notes would
               3 be short and cryptic. Staff always seemed rushed and acted like they did not want to
               4 take the time to explain things to me.
               5                 14.   Custody staff usually involved other incarcerated people when there
               6 was reason to communicate with me. Custody staff would have other incarcerated
               7 people write down staff’s questions and responses for me to read. Custody staff
               8 often told another incarcerated person what to communicate to me and then the staff
               9 member would leave before I had an opportunity to respond. This process was
             10 ineffective because I often had follow-up questions I wanted to ask the deputy. This
             11 practice also placed me at a substantial risk of harm because other incarcerated
             12 people learned confidential information about me whenever I needed to
             13 communicate with Jail staff. I also could not trust that these people would write
             14 down accurate information. I was especially vulnerable to other people incarcerated
             15 in the Jail because of the nature of my charges, and was constantly fearful that
             16 having them participate in my communications with deputies put me at an extreme
             17 risk of being harmed. I had no ability to control whether the other incarcerated
             18 people who learned my confidential information from Jail staff would pass that
             19 information on to other incarcerated persons at the Jail.
             20                  15.   I have also experienced issues with the medical care treatment at the
             21 Jail, which put my life at a substantial risk of harm. Before I was arrested, I
             22 received a kidney transplant in November 2001. I take the following medications
             23 every day to ensure that my body does not reject the transplant: cyclosporine,
             24 mycophenolate and prednisone. When I first arrived at Vista in October 2019, the
             25 Jail failed to give me my medication for around four to five days. I also had issues
             26 with receiving my medication on a daily basis. I was supposed to take my
             27 medication in the mornings, but due to staffing shortages, I would sometimes
             28 receive my meds in the afternoon or evening. The Jail occasionally dealt with
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               1 inventory shortages; they did not have my medications in stock and there would be a
               2 delay in ordering them. This meant I sometimes went three days without taking my
               3 medications. Throughout the month of April 2020, I was in and out of the hospital
               4 because I had lost around fifteen to twenty pounds and I had a low sodium count.
               5 My body was shutting down and I was very sick. I was physically weak and thirsty
               6 all the time. I believe the decline in my health, including my weight loss, was due in
               7 part to the Jail’s failure to provide me with my life-sustaining medications in a
               8 timely manner.
               9                 16.   Medical staff at the Jail also ordered me to drink two liters of water per
             10 day. When I went to the outside hospital in April 2020, a kidney specialist at the
             11 hospital told me that I needed to be drinking even more water. When I returned to
             12 the Jail and told medical that I needed to drink more water, they denied me access to
             13 more water. I do not know why they limited me to two liters and ignored the
             14 specialist’s advice. I began to drink more water secretly, so that I could stay
             15 hydrated.
             16                  17.   On June 9, 2020 and April 26, 2021, my defense attorney argued in
             17 court about the Jail’s failure to provide adequate medical care treatment for my
             18 kidney transplant. The court transcripts are attached hereto as Exhibits A and B.
             19 The judge ordered that the Sheriff’s Department address my medication issues by
             20 ensuring they have a stockpile of medications on-site so that I receive them in a
             21 timely manner.
             22                  18.   There were other conditions that placed my safety and survival at risk
             23 in the Jail. For example, on February 13, 2021, myself and others in my housing
             24 unit asked for grievance forms. A deputy threatened us that something bad would
             25 happen if we filed grievances, saying, “whoever you want to write up, don’t.”
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             28 / / /
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               1                 19.   I want to help improve conditions for people with disabilities and
               2 severe medical conditions who are incarcerated within the San Diego County Jail
               3 system.
               4                 I declare under penalty of perjury under the laws of the United States of
               5 America that the foregoing is true and correct, and that this declaration is executed
                                                             10/19/2021
               6 at San Diego, California on _________________.
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                                                                      Josue Lopez
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    16                                 UNITED STATES DISTRICT COURT
    17                               SOUTHERN DISTRICT OF CALIFORNIA
    18 DARRYL DUNSMORE, ERNEST                                   Case No. 3:20-cv-00406-AJB-WVG
       ARCHULETA, ANTHONY EDWARDS,
    19 REANNA LEVY, JOSUE LOPEZ,                                 DECLARATION OF
       CHRISTOPHER NELSON,                                       CHRISTOPHER NELSON IN
    20 CHRISTOPHER NORWOOD, and                                  SUPPORT OF PLAINTIFFS’
       LAURA ZOERNER, on behalf of                               MOTIONS FOR PRELIMINARY
    21 themselves and all others similarly situated,             INJUNCTION AND
                   Plaintiffs,                                   PROVISIONAL CLASS
    22                                                           CERTIFICATION
            v.
    23 SAN DIEGO COUNTY SHERIFF’S                                Judge:     Hon. Anthony J. Battaglia
       DEPARTMENT, COUNTY OF SAN                                 Trial Date: None Set
    24 DIEGO, CORRECTIONAL
       HEALTHCARE PARTNERS, INC.,
    25 LIBERTY HEALTHCARE, INC., MID-
       AMERICA HEALTH, INC., LOGAN
    26 HAAK, M.D., INC., SAN DIEGO
       COUNTY PROBATION DEPARTMENT,
    27 and DOES 1 to 20, inclusive,
    28             Defendants.
         [3903205.1]                                                      Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF CHRISTOPHER NELSON IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                            PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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         [3903205.1]                                                      Case No. 3:20-cv-00406-AJB-WVG
                       DECLARATION OF CHRISTOPHER NELSON IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                            PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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      1                           DECLARATION OF CHRISTOPHER NELSON
      2                 I, Christopher Nelson, declare:
      3                 1.    I have personal knowledge of the matters set forth herein, and if called
      4                 as a witness, I could and would competently so testify.
      5                 2.    I have been incarcerated at the San Diego County Jail ("Jail") since
      6                 approximately March 2, 2021. I am currently housed in module 8C, which is
      7                 a medical dorm. I was previously housed in module 5A. My booking
      8                 number is 21107181. I am 45 years old.
      9                 3.    I have been incarcerated in the Jail approximately five times since
     10                 2012. I was detained at the Jail awaiting trial on the charges brought against
     11                 me until September 2021. I am currently waiting to transfer to the custody of
     12                 the California Department of Corrections and Rehabilitation ("CDCR"). It is
     13                 my understanding that I could be sent back to the Jail if I ever need to be
     14                 present in court related to my criminal case. I could also be sent back to the
     15                 Jail if it is necessary for me to testify in this case about the problems I
     16                 experienced in the Jail. In addition, I also will parole from prison at some
     17                 point in the future. When I parole, I will be sent back to San Diego County,
     18                 the county in which I was convicted and where I lived prior to my arrest.
     19                 When I am on parole, I can be arrested and returned to the Jail for allegedly
     20                 violating the te1ms and conditions of my parole, whether or not the alleged
     21                 violation constitutes a violation of a criminal law. I am concerned that, if I
     22                 am sent back to the Jail in the future, I will experience problems similar to the
     23                 problems I have been experiencing for months.
     24                 4.    I have stage four osteonecrosis in my hips and knees, which means my
     25                 bones are deteriorating. Attached hereto as Exhibit A is a true and correct
     26                 copy of excerpts from my Jail medical records showing that my osteonecrosis
     27                 diagnosis dates back as far as 2017. I have previously been prescribed
     28                 bilateral knee braces. I use a wheelchair at the Jail. I used to use a
          [3871883.1)                                       1
                                    DECLARATION OF CHRJSTOPHER NELSON
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      1                 wheelchair for long-distance travel only, but after suffering a spinal injury
      2                 prior to my incarceration, I now use a wheelchair for even short distances.
      3                 When I first came to the Jail in 2021, I could not climb stairs. I now have the
      4                 ability to walk up stairs with the support of a handrail, and I cannot sleep on a
      5                 top bunk.
      6                 5.    During a prior incarceration in CDCR, I had two hip replacement
      7                 surgeries. Before this most recent incarceration at the Jail, I took 10
      8                 milligrams of the pain medication Norco three times per day to alleviate
      9                 severe pain associated with my arthritis and hip surgeries. Attached hereto as
     10                 Exhibit B is a true and correct copy of an initial Jail booking screening form
     11                 confirming that I took this amount of pain medication for the two years prior
     12                 to my incarceration. On the night of my arrest, on or about March 1, 2021, I
     13                 was in a car crash and seriously injured my spine, which worsened my
     14                 already poor mobility. I was transported to Scripps Hospital before booking
     15                 into the Jail. Because of my medical conditions and recent injury, I could not
     16                 and still cannot stand or walk without experiencing significant pain.
     17                 6.    I have mental health disabilities. I was diagnosed with clinical
     18                 depression and anxiety in 2012, and access mental health care services in the
     19                 Jail. During my most recent CDCR incarceration, I was prescribed Zoloft and
     20                 Abilify. Currently at the Jail, I have prescriptions for Wellbutrin and Remron.
     21                 7.    In my experience, the Jail is an unsafe and unfair place for incarcerated
     22                 people with disabilities. During my first four to five months at the Jail, the
     23                 wheelchair the Jail gave me had very small wheels and lacked arm rests.
     24                 Because the chair had no arm rests and I was unable to grip the wheels, I was
     25                 forced to use my feet to push myself in the wheelchair. I have little strength
     26                 in my legs due to my hip condition and spinal injury, making it very painful
     27                 to use them. To avoid further pain, I often relied on other incarcerated people
     28                 to push me in my wheelchair. I felt very unsafe when I had to rely on other
          [3871883.1]                                       2
                                    DECLARATION OF CHRISTOPHER NELSON
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      1                 incarcerated people to push me in my wheelchair. It is hard to trust people
      2                 while in Jail and I am already vulnerable because of my physical disabilities
      3                 and medical conditions. I received a replacement wheelchair with arm rests
      4                 on or around July 2021 - four months after I first arrived at the Jail.
      5                 8.    The Jail has also failed to house me in cells that are accessible to me.
      6                 For the first several months of my incarceration, the Jail assigned me to Cell 9
      7                 in module 5A on the fifth floor at Central Jail. The cell was about 10 feet by
      8                 8 feet, and I shared it with two other incarcerated people. My wheelchair
      9                 took up a lot of space in the small cell and my cellmates frequently got angry
     10                 with me, complaining that it was in their way. A stool was bolted in front of
     11                 the desk in that cell. This meant my wheelchair could not fit in front of the
     12                 desk. Having access to a desk is important to me so that I can cope with the
     13                 stresses of incarceration by writing letters to my family. To use the desk, I
     14                 had to transfer from my wheelchair to the stool. Making the transfer was
     15                 difficult for me and put me at risk of falling. In July 2021, I fell while trying
     16                 to transfer and I hurt my wrist. Attached hereto as Exhibit C is a true and
     17                 correct copy of a medical evaluation a nurse conducted on my injured wrist.
     18                 9.    Because of my physical disabilities, it was difficult for me to clean my
     19                 cell. I had to rely on my cellmates to do my portion of the cleaning, which
     20                 created constant disagreements. It felt like I was walking on egg shells with
     21                 my cellmates and I was afraid they might hurt me. The Jail does not have a
     22                 program that hires other incarcerated people to assist people with disabilities
     23                 with tasks such as cleaning, carrying property, meals, or laundry. I know
     24                 CDCR has such a program and I have benefitted from it while in state
     25                 custody.
     26                 10.   I could not access the four telephones in module 5A from my
     27                 wheelchair because the telephone cord running between the phone and its
     28                 receiver was too short for me to bring the receiver to my ear while sitting in
          [3871883.1]                                       3
                                   DECLARATION OF CHRISTOPHER NELSON
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      1                 my wheelchair. Stools were also bolted to the ground in front of all
      2                 telephones in 5A, which prevented me from being close to the telephone in
      3                 my wheelchair. The seats for the tables in the dayroom, where people would
      4                 eat their meals and socialize, were also bolted down. There was no cut out
      5                 space for a person in a wheelchair to roll up to a table and participate in those
      6                 activities. To use the telephones and dayroom tables, I had to transfer from
      7                 my wheelchair to the bolted seats, which is difficult and painful, and placed
      8                 me at risk of falling.
      9                 11.   The shower in module 5A had no shower chair or stool for people with
     10                 mobility disabilities, like myself, to use. When I was first booked into the
     11                 Jail, I overheard another wheelchair user ask for a shower chair, but deputies
     12                 ignored him. Without a stool or shower chair, I had no choice but to stand in
     13                 the shower. I had to take very fast showers before the pain in my hips set in.
     14                 There was a grab bar in the shower but it was very slippery, and often filthy
     15                 with soap, water and anything others had washed off. It did not provide
     16                 enough support for me while I stood.
     17                 12.   On or around October 12, 2021, I moved to module 8C, where I
     18                 currently live. 8C is a medical dorm. Many other people with mobility
     19                 disabilities live in 8C. Although I am better able to move around in my cell in
     20                 8C, it is still difficult to use the dayroom tables during meals and recreation.
     21                 There are often ten to fifteen other people in my dorm who use wheelchairs,
     22                 and there is not enough cut out space for everyone with wheelchairs to eat at
     23                 the tables. Due to the lack of space, many wheelchair users have to roll up
     24                 and place their trays on stools that other people have sit on in the dayroom,
     25                 and then lean down to eat from those stools. Having to eat like this is
     26                 especially difficult for people like me who are in wheelchairs and also have
     27                 upper extremity disabilities. Because of the lack of table space, I often take
     28
          [3871883.1]                               4
                                    DECLARATION OF CHRISTOPHER NELSON
                                                                                       Ex. Y-413
Case
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      1          my food back to my cell, and place my tray on a bunk and eat there. As a
      2          result, I have less time to socialize with other people in my module.
      3          13.   Custody staff also do not accommodate me and my mobility disability.
      4          I require an extra mattress for my disability and medical conditions, including
      5          my spinal injury. I have a chrono from CDCR for the extra mattress.
      6         Attached hereto as Exhibit D is a true and correct copy of an April 2021
      7          notification the ADA coordinator at the Jail received from CDCR indicating I
      8         had a double mattress in their custody. When I booked into the Jail in March
      9         2021, staff initially gave me my extra mattress. But during the first two
     10         months of my incarceration, deputies conducted cell searches and took my
     11         extra mattress away on four or five separate occasions. Each time, I had to
     12         advocate to get my mattress back, pleading with deputies who often ignored
     13         me. Attached hereto as Exhibit E is a true and correct copy of a grievance
     14          form I filed on April 1, 2021 requesting, among other items, my extra
     15         mattress. I finally received the extra mattress on or around April 16, 2021.
     16          During the times that I am without an extra mattress, including those two
     17         weeks in April, I experience severe pain and discomfort that interferes with
     18         my sleep.
     19         14.    Deputies sometimes take away my wheelchair and use it to transport
     20         other incarcerated people who may need a temporary wheelchair. I estimate
     21         this has occurred approximately 5 or 6 imes. When I am without my
     22          wheelchair, it is hard for me to get anywhere in my housing unit.
     23         15.    On several occasions, I have gone to court in connection with my
     24         criminal case. Each time, Jail staff has begun my transfer to court at around
     25         4:00 a.m. Each trip involves several long waiting periods during which time I
     26         am stuck in my wheelchair for 3 to 4 hours at a time, without the ability to lay
     27         down. This exacerbates the stiffness and pain from my injuries. Instead of
     28               directly transferring me for the 5-10 minute court hearing, I have to endure a
          [3871883.1]                                     5
                                  DECLARATION OF CHRISTOPHER NELSON
                                                                                  Ex. Y-414
Case
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      1                 total of about 6-12 hours stuck in my wheelchair in holding cells every time I
      2                 go to court.
      3                 16.    I cannot safely access the exercise equipment at the Jail. The Jail only
      4                 provides dip bars, a rowing machine, and stationary bike (now removed), all
      5                 of which I cannot use because of my mobility issues. Lack of exercise makes
      6                 my physical condition and pain worse. I would use equipment like yoga
      7                 mats, exercise balls, or light weights if they were available. The Jail does not
      8                 provide any physical therapy, and I have gained approximately 45 pounds as a
      9                 result of the inability to exercise.
     10                 17.    Because of my mobility disability, I rely on the elevator to access
     11                 programs on other floors, including social visits, professional visits, and the
     12                 recreation area. The non-staff elevator in the Jail frequently breaks down and
     13                 I often have to wait until the staff elevator is available. On one occasion, the
     14                 elevator was broken so custody staff could not take me for a professional visit
     15                 with a detective with whom I had wished to speak. The detective also made
     16                 multiple calls that were not communicated to me. I learned about the
     17                 detective's attempt to communicate with me when I obtained discovery in
     18                 connection with my criminal case.
     19                 18.    The Jail's failure to fix electrical problems have caused problems for
     20                 me. For example, the phones did not work properly for several months. In
     21                 the housing units at Central Jail, the telephones are surrounded in a metal
     22                 case. If someone else was talking on another phone and hung it up, an
     23                 electrical shock would go through the phone and the metal case, shocking the
     24                 bare arms of other phone users who rested their arms on the metal case. I
     25                 have been repeatedly shocked when I rested my arm on the metal case
     26                 connected to the telephones. These shocks caused blister-like sores to form
     27                 on my arm, which became infected. Attached hereto as Exhibit F is a true
     28
          [3871883.1]                               6
                                    DECLARATION OF CHRISTOPHER NELSON
                                                                                      Ex. Y-415
Case
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      1         and correct copy of a nursing note from my file confirming the sores on my
      2         arms.
      3         19.     I have had difficulties receiving mental health care while incarcerated
      4         at the Jail. I experience depression and anxiety. I did not receive an initial
      5         psychiatric evaluation until almost two months after my arrival at the Jail. I
      6         also did not receive my psychiatric medication in a timely manner. Shortly
      7         after being booked into the Jail, my mental health worsened and I began to
      8         experience high levels of anxiety and depression. I submitted two sick call
      9         slips asking for mental health care in my first weeks at the Jail. In my second
     10         sick call slip, I wrote that I never received a response or attention from
     11         clinical staff. I began to feel very dejected. I thought I would never get help
     12         for my mental health. I fell into a deep depression. I felt like staff would
     13         only respond to me if I took drastic measures to show how badly I was
     14         feeling. On or around April 20, 2021, I started to yell out to each deputy
     15         passing by my cell, begging them to let me see mental health staff. This went
     16         on for about one and a half days. Finally, I received an initial mental health
     17         evaluation on April 22, 2021. Attached hereto as Exhibit G is a true and
     18         correct copy of that evaluation conducted by mental health counselor. I did
     19         not see a psychiatrist until May 10, 2021, more than three months after
     20         arriving at the Jail. After that May 10, 2021 meeting, the Jail started me on
     21         Wellbutrin. Attached hereto as Exhibit H is a true and correct copy of my
     22         initial psychiatric evaluation on May 10, 2021.
     23         20.     I have had problems receiving adequate medical care to treat my
     24         medical conditions, including my spinal injury. Before my arrest, I was in a
     25         car crash and taken to the emergency room at Scripps Hospital. Scripps
     26         medical staff discovered that I had a severely injured vertebrae, and
     27         contusions of the shoulder and hand. The treating physician prescribed me
     28               Norco to manage my pain. Attached hereto as Exhibit I are excerpts of my
          [3871883.1I                                 7
                                DECLARATION OF CHRISTOPHER NELSON
                                                                               Ex. Y-416
Case
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     1         treating records from Scripps showing this instruction. When I arrived at the
     2         Jail, instead of gradually adjusting my pain medications, medical staff
     3         discontinued my Norco prescription entirely and instead provided me 50
     4         milligrams of Tramadol two times a day for the first five days of my
     5         incarceration. The Tramedol did not effectively manage my pain. The Jail
     6         then discontinued my Tramadol and prescribed me 400 milligrams of
     7         Gabapentin to take two times a day for 90 days. At CDCR and in the
     8         community I had 1200 milligrams of Gabapentin three times a day. The Jail's
     9         provision of Gabapentin was much less, and did not adequately address the
    10         pain I felt from my injuries. In mid-April 2021, the Jail took the Gabapentin
    11         entirely away and prescribed me 50 milligrams of Pregabalin to take once per
    12         day. Attached hereto as Exhibit J is a true and correct copy of excerpts from
    13         my Jail medication administration record confirming these dosages. These
    14         abrupt changes in my pain regimen, prescribing me drastically less pain
    15         medication over a short period of time, gave me profound withdrawals and
    16         left me in excruciating pain. It was agony trying to heal from a serious spinal
    17          injury without proper pain management. Attached hereto as Exhibit K are
    18         true and correct copies of two sick call slip requests I filed about my need for
    19         better pain management in the months after my accident.
    20         21.    I was booked into the Jail with a shoulder injury and told booking staff
    21         about the shoulder injury, which was exacerbated from the automobile crash
    22          that occurred immediately prior to my incarceration. After booking, I
    23         submitted numerous requests for care for my shoulder, but the Jail frequently
    24         did not respond to my requests. After several months, the Jail gave me one
    25         cortisol shot but it relieved the pain in my shoulder for only several days.
    26         After that, I submitted more sick call requests, but Jail staff did not respond.
    27          During this time, it was very difficult for me to get in and out of my
    28               wheelchair. It was not until October 2021 until I was finally referred to a
         [3871883.1]                                    8
                               DECLARATION OF CHRISTOPHER NELSON
                                                                                 Ex. Y-417
Case
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     1                 specialist at the University of California - San Diego Hospital who confinned
     2                 that I had a torn rotator cuff. Jail medical staff have failed to provide me with
     3                 any follow-up treatment. The specialist prescribed a physical therapy
     4                 regimen that I cannot complete because Jail staff do not allow me to use
     5                 rubber bands and other accessories that the exercises require. My torn rotator
     6                 cuff also makes daily activities very difficult; I have trouble sleeping and
     7                 wiping myself after using the bathroom. Denying me treatment for this injury
     8                 does not take into account that I have a wheelchair, and rely on my arms and
     9                 upper body for mobility. I now struggle to safely transfer from my
    10                 wheelchair and I am at risk of falling in daily situations, like using the
    11                 bathroom or showering. I fear that the Jail's failure to treat this shoulder
    12                 injury will result in long-term damage.
    13                 22.   I have severe persistent respiratory distress (SPRD) and asthma, which
    14                 has continued to bother me during my incarceration. Prior to my
    15                 incarceration at the Jail, I have gone to the emergency room for issues related
    16                 to my respiratory illnesses on numerous occasions. Outside the Jail, I
    17                 regularly received nebulizer treatments. At the Jail, I have frequently had
    18                 respiratory difficulties and have submitted multiple sick call requests about
    19                 them. Attached as Exhibit L is an encounter note from September 2021 in
    20                 which medical staff noted my history of asthma and that I had been wheezing
    21                 for several days. The Jail has told me it is impossible for them to provide me
    22                 nebulizer treatment in my cell. I regularly require nebulizer treatments and
    23                 have to ask custody staff to get emergency treatment in the medical unit for
    24                 breathing problems. Custody staff in turn regularly tell me that they will
    25                 inform medical, but in actuality, they frequently either fail to do so or fail to
    26                 ensure that I am actually sent to medical for a nebulizer treatment. Whether I
    27                 actually make it to the medical floor and receive nebulizer treatments depends
    28
         [3871883.1]                              9
                                  DECLARATION OF CHRISTOPHER NELSON
                                                                                       Ex. Y-418
Case
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     1        on the temperament and identity of the deputy working in my housing unit at
     2        that time.
     3        23.   The Jail has also prevented me from speaking with my attorneys
     4        confidentially. Typically, custody staff are supposed to inform an
     5        incarcerated person if their attorney has requested a professional call back.
     6        These phone calls should not be monitored by custody staff. In theory, once
     7        someone learns about a professional call back request placed for them, they
     8        are allowed to leave their cell and make a return call to their attorneys. My
     9        attorney in my criminal case informed me that they placed over a dozen
    10        professional callback requests. However, custody staff never notified me that
    11        my criminal attorney placed any of these call requests for me. My attorneys
    12        in this case have informed me and I understand that they placed eight call
    13        back requests for me on October 21, October 25, October 28, November 15,
    14        November 17, November 22, November 29, and December 7, 2021. I never
    15        received notice of any of those calls.
    16        24.   Further, in September 2021, a deputy attempted to prevent me from
    17        speaking with my attorney during a professional visit. I previously had issues
    18        with this deputy because, earlier that day, I had opened my tray slot in my cell
    19        to let in fresh air. At the time, the vents in my three-person cell were not
    20        working and it was becoming difficult to breathe in such a tight space. It was
    21        incredibly humid and smelly. The deputy ordered me to close the tray slot,
    22        and I complained to him about it. We got into a verbal argument. I
    23        understand that this deputy falsely told my attorney that I did not want to visit
    24        with my attorney and that the deputy asked my attorney why he wanted to
    25        speak with me. My attorney also informed me that only after he demanded to
    26        see me was I allowed out of my cell to attend my professional visit. I believe
    27        this deputy delayed my visit with my attorney in retaliation for his
    28                disagreement with me opening my cell's tray slot.
         [3871883.1 I                                10
                                DECLARATION OF CHRISTOPHER NELSON
                                                                            Ex. Y-419
Case
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     1         25.    I have had many problems using the grievance process at the Jail. For
     2          example, on October 16, 2021, I filed a grievance about issues in the Jail
     3         related to ADA accommodations, mental health and medical care, and safety
     4         and security issues. The Jail never responded to my grievance. I usually do
     5         not receive any responses to my grievances. Similarly, when my grievances
     6         have been about a lack of medical or mental health care, the Jail typically
     7         does not respond.
     8         26.    In my experience, deputies are often reluctant to take grievances. One
     9         told me that they "need to let the sergeant sign this" before being able to
    10         accept and process a grievance. Nowhere on the grievance form does it say
    11         that a sergeant has to sign off on a grievance before the Jail can process it. A
    12         true and correct copy of a blank grievance form is attached hereto as Exhibit
    13         M. One deputy told me that he does not sign grievances.
    14         27.    During medical appointments, custody staff are always present and
    15         overhear my conversations about my medical issues. Sometimes when I talk
    16         to a medical professional, custody staff will chime in with their opinions and
    17         observations. In addition, custody staff sometimes openly discuss my
    18         medical issues in front of other incarcerated people. Custody staff will openly
    19         complain in front of other people in my housing unit about my medical and
    20         disability needs, and their obligation to accommodate them.
    21         28.    I agreed to be a class representative in this case because I want to help
    22         improve the medical, dental, and mental health care at the Jail, ensure that
    23         incarcerated people with disabilities are accommodated and treated fairly, and
    24         help make the Jail safe and secure for all incarcerated people. I have been
    25         cooperating fully with my counsel and am responding to all requests for
    26         information to the best of my ability and recollection, and will continue to do
    27         so in the future. My lawyers keep me updated on the progress of this case,
    28               and I will review all materials provided to me and provide my input to the
         [3871883.1]                                     11
                                 DECLARATION OF CHRISTOPHER NELSON
                                                                                Ex. Y-420
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      1                 best of my ability. When I have questions about the case, I will ask the
     2                  attorneys for help to understand everything to the best of my ability.
     3
     4                  I declare under penalty of perjury under the laws of California and the United
     5 States of America that the foregoing is true and correct, and that this declaration is
     6 executed at the San Diego County Central Jail in California this 9th day of March,
     7 2022.
     8                                                       ��
                                                           Christopher Nelson
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          (3871883.1]                                      12
                                   DECLARATION OF CHRISTOPHER NELSON
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                        EXHIBIT Z
                    [FILED UNDER SEAL]

                                                                    Ex. Z-422
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                  EXHIBIT AA
                                                                  Ex. AA-429
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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             WATCHDOG




            San Diego County will pay almost $8 million to man
            gravely injured in sheri��’s custody




            In February 2018, Frankie Greer had a seizure and fell from the top of three jail bunks, su�ering a serious brain injury.
             (Courtesy of Julia Yoo)



            But the settlement with Frankie Greer does not resolve a broader
            dispute over the release of internal sheriff’s records.

            BY KELLY DAVIS, JEFF MCDONALD

            MARCH 4, 2023 4:30 AM PT




                                                                                                                  Ex. AA-430
1 of 7                                                                                                                           3/8/2023, 11:13 AM
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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            The federal lawsuit that sparked a public fight over the San Diego sheriff’s refusal to
            release internal reports on jail deaths and other incidents has settled, with the county
            agreeing to pay almost $8 million to a man who was gravely injured in the Central
            Jail five years ago.


            The $7.75 million settlement with Frankie Greer — an Army veteran who was a
            musician and mechanical engineer before his injury — is the latest multimillion-
            dollar payout to a person who was injured or died while in the sheriff’s custody.


            The Board of Supervisors has now approved almost $50 million in payments for in-
            custody deaths and injuries in the past five years, according to a review by The San
            Diego Union-Tribune.


            Lawyers for San Diego County also are defending lawsuits filed by families of several
            other people who did not survive the local jail system.


            County supervisors approved the payout to Greer on Tuesday, one day before the
            federal court denied a motion to dismiss the case ahead of trial.




                                                                                                                 Ex. AA-431
2 of 7                                                                                                                         3/8/2023, 11:13 AM
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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            “The conduct of the Sheriff’s Department which led to this tragedy was the product of
            systemic failures in training and supervision for many years,” said Eugene Iredale,
            one of the attorneys who represented Greer.


            “While the department is now led by a new sheriff, its policies and practices appear to
            be business as usual, and require substantial and sustained change,” he said.



                                                                                                                 Ex. AA-432
3 of 7                                                                                                                         3/8/2023, 11:13 AM
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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            Greer was arrested in 2018 and placed on a top bunk after he was booked into jail,
            despite having a medically diagnosed seizure disorder.


            Deputies seized his medication and did not provide a suitable alternative, the lawsuit
            alleged. Later, he tumbled from his bed while experiencing a seizure and suffered a
            serious brain injury.


            Both Sheriff Kelly Martinez and Board of Supervisors chair Nora Vargas declined to
            comment on the Greer settlement.


            While the agreement closes the Greer litigation, it leaves unresolved an ongoing
            dispute over internal Sheriff’s Department records that plaintiffs’ lawyers, civilian
            overseers and others say should be released to the public.


            When she was running for sheriff last year, Martinez pledged to release reports from
            the Critical Incident Review Board, an internal department panel that examines cases
            of deputy misconduct and error.


            But Martinez reversed her position after she took office, and she decided against
            releasing the full findings. Instead, she began releasing brief summaries of critical
            incidents, usually just a few paragraphs along the lines of a department press release.


            The sheriff also declined to publish any summaries from findings issued prior to last
            year.


            The decision has not escaped the notice of families whose loved ones have died in San
            Diego County jails or of the Citizens’ Law Enforcement Review Board, which provides
            independent oversight of the Sheriff’s and Probation departments.


            The citizens’ panel has urged the sheriff to publish the board’s findings as a way of
            promoting transparency across the department — one of Martinez’s key promises

                                                                                                                 Ex. AA-433
4 of 7                                                                                                                         3/8/2023, 11:13 AM
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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            during her campaign.


            The California State Auditor also recommended that the department release critical-
            incident reports — one of many suggestions auditors put forward as a way to help
            reduce the number of in-custody deaths.


            State auditors found that 185 men and women died in Sheriff’s Department custody
            between 2006 and 2020. They said the mortality rate was so dire that only new
            legislation could resolve the systemic problems in San Diego County jails.


            A then-record 18 people died in sheriff’s custody in 2021 and another 20 last year. So
            far this year, two people have died in local jails.


            But Sheriff’s Department lawyers — as well as litigators who defend the county in
            civil lawsuits like the Greer case — say information contained in the Critical Incident
            Review Board findings is exempt from public inspection.


            “CIRB reports have always been treated as protected attorney-client communications
            and maintained in my office in the legal affairs section of the office of the sheriff,”
            Robert Faigin, the sheriff’s legal director, wrote in court papers.


            “In my role on the CIRB board, I provide legal advice, in my official capacity, as the
            chief legal adviser for the Sheriff’s Department, with the expectation that the
            communications are made in confidence and shall remain so,” Faigin told the court.


            But Greer’s legal team filed a sworn declaration from longtime CIRB member and
            former sheriff’s Cmdr. David Myers that contradicted Faigin.


            “I was never given instructions on how to maintain any material I received as part of
            the CIRB meetings,” wrote Myers, who also ran for sheriff last year but finished third
            in the June primary election.

                                                                                                                 Ex. AA-434
5 of 7                                                                                                                         3/8/2023, 11:13 AM
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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            “I was never given warnings not to share the documents or to keep them confidential
            or secret,” he said. “I was never told the documents were privileged.”


            Myers also questioned why Faigin was on the board because he advised the sheriff —
            not the department — and whether it was appropriate that the attorney appointed
            himself board chair.


            “Given that what was best for the sheriff is not necessarily best for department as a
            whole, I believed Mr. Faigin’s appointment as chair of the board presented a critical
            conflict of interest to CIRB’s overall purpose,” Myers wrote.


            He also said CIRB documentation was not routinely secured; he found older CIRB
            records loose in an office he moved into around 2014.


            “Anyone on the floor could have accessed the office because it was not locked,
            including janitorial and night staff,” the former sheriff’s commander said.


            Martinez declined to comment on the Myers testimony.


            “The sheriff has no response to the declaration as that will be decided by the courts,”
            Lt. Amber Baggs, the department spokesperson, said two days after the Greer
            settlement was approved by the Board of Supervisors.


            Faigin left the Sheriff’s Department last year and now serves as executive director of
            the Office of Independent Review in Orange County.


            San Diego County lost its effort to keep internal Sheriff’s Department reports out of
            the Greer lawsuit.


            Judge Jinsook Ohta allowed the Greer critical-incident report and numerous others
            into the court case, although they were sealed at the county’s request.

                                                                                                                 Ex. AA-435
6 of 7                                                                                                                         3/8/2023, 11:13 AM
San Diego County settles with Frankie Greer over jail injury - The San ...   https://www.sandiegouniontribune.com/news/watchdog/story/2023-03-0...
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            Julia Yoo, Iredale’s law partner who also represented Greer, said the settlement will
            not deter her from continuing to press the Sheriff’s Department to release the Critical
            Incident Review Board findings as a matter of routine.


            “While Mr. Greer’s case has resolved, we represent many impacted families and
            victims of civil-rights violations who deserve to know the truth,” she said.


            “We will obtain these documents on their behalf in those ongoing cases.”




                            Kelly Davis

                Twitter       Email




                            Je� McDonald

                Twitter       Email        Facebook




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             San Diego County Detention Facilities
           Inspection Report and Inmate Mental Health

 EXECUTIVE SUMMARY
 The 2018/2019 San Diego County Grand Jury (Grand Jury) inspected the San Diego County
 (County) detention facilities as mandated by California Penal Code 919(b). In general, the Grand
 Jury found that the facilities were clean and, from our observation, the staff appeared to be
 following established procedures. The Grand Jury saw no evidence of inmate mistreatment.
 Inmates had access to medical, dental, and mental health care at most locations. At some
 locations, access to care was only available based on the schedule of provider visits to that
 facility.

 This year the Grand Jury focused on mental health issues in jails including the issue of suicides.
 Both adult and juvenile facilities were inspected. The Grand Jury was impressed by the
 programs for rehabilitation and reentry for inmates returning to society. The Grand Jury
 recommends that further efforts be made to identify that part of the inmate population that
 would benefit from mental health treatment rather than incarceration.

 The Grand Jury also identified improvements that could be made to some of the older,
 outdated facilities.

 BACKGROUND
 All California Grand Juries are required to investigate the condition and management of their
 county’s detention facilities. The recent County endorsement of Stepping Up, a national
 initiative to reduce the number of people with mental illnesses in jail, has made the mental
 health of inmates a particular concern.

 METHODOLOGY
 The Grand Jury reviewed:
        • California Code of Regulations Title 15, “Minimum Standards for Local Detention
           Facilities”
        • Board of State and Community Corrections (BSCC) inspection reports for each facility
        • The San Diego County Sheriff’s Department Detention Services Manual of Policies
           and Procedures
        • Detention Facility Fact Sheets provided for each detention facility
        • Reports from national and local community mental health resources and relevant
           media accounts

 As required by law, the Grand Jury visited and inspected all seven County-operated adult
 detention centers:
        • East Mesa Detention and Reentry Facility (EMDF)

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            •   Facility 8 Detention Facility (F8DF)
            •   George Bailey Detention Facility (GBDF)
            •   Las Colinas Detention and Reentry Facility (LCDF)
            •   South Bay Detention Facility (SBDF)
            •   San Diego Central Jail (SDCJ)
            •   Vista Detention Facility (VDF)

 The Grand Jury visited and inspected all three juvenile facilities:
        • Kearny Mesa Juvenile Hall
        • East Mesa Juvenile Detention Facility
        • Urban Camp

 The Grand Jury interviewed:
        • Individual Sheriff’s personnel and community mental health authorities on specific
           correctional issues under investigation. Note: During inspections, we addressed
           questions to officers and staff regarding the operations of that facility. 1

 DISCUSSION
 Declining Inmate Numbers
 The Grand Jury’s inspections of the County detention facilities included escorted walk-throughs
 of the adult jails operated by the Sheriff’s Department, as well as juvenile facilities operated by
 the Probation Department. Both adult and juvenile facilities have been affected by passage of
 California Assembly Bill 109, (AB 109) the “California Public Safety Realignment Initiative,”
 which became effective in 2011.

 AB 109 diverted certain categories of felons to serve their sentences in county jails instead of
 state prisons, which means that inmates traditionally sentenced to state prison for most non-
 violent or non-sexual felonies are now housed in County jails. With the exception of the Central
 Jail, all of the adult institutions the Grand Jury visited are currently under their maximum
 capacity and the number of inmates is steadily decreasing. The reasons for this decline include
 the following voter-approved changes to California law:

                •   Proposition 36 made many non-violent drug offenders eligible for probation
                    rather than incarceration.
                •   Proposition 47 provides for the reclassification of many previously filed felonies,
                    which are now being charged as misdemeanors.
                •   Proposition 57 changed juvenile policies to emphasize rehabilitation over
                    placement at Juvenile Hall.



 1
     California Penal Code section 929 mandates that reports of the Civil Grand Jury not contain the name of any
      person or facts leading to the identity of any person who provides information to the Grand Jury.

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 Inmate Housing
 The San Diego County Sheriff’s Department uses a classification system to house inmates.2
 Classifications take into account such factors as age, gender, health, gang affiliation, criminal
 sophistication, the need for protective custody, and many other factors. This system results in
 inmates being assigned one of six different levels of security risk.

 San Diego Central Jail (built in 1998), Vista Detention Facility (built in 1978) and South Bay
 Detention Facility (built in 1982) are outdated jails originally intended for booking and housing
 misdemeanor offenders and inmates awaiting court proceedings. Felons doing sentences of
 one year or longer were sent to state prisons. Inmates were rarely incarcerated at county jails
 for more than one year. However, due to the mandates of AB 109, inmates with longer
 sentences are now housed in facilities never designed nor intended for long-term occupancy.

 Several County detention centers are located in Otay Mesa, adjacent to the U.S./Mexico
 border. These include the George Bailey Detention Center, Facility 8 and the East Mesa Reentry
 Facility. Another nearly identical adult facility, Rock Mountain, also at Otay Mesa, is projected
 to open soon, but the completion date continues to be delayed. The Sheriff’s plan is for Rock
 Mountain to replace South Bay Detention Facility.

 Facility 8 and George Bailey Detention Centers are nearly identical in design. However, George
 Bailey houses over 1,000 inmates of various types and classifications, and Facility 8 accepts only
 low- and medium- risk inmates, housing only 183 inmates at the time of Grand Jury inspection.
 Outside yards for recreation are available at these facilities. Inmates with mental health or
 serious medical issues are not sent to Facility 8.

 Most female inmates are housed at the Las Colinas Detention Facility. This is the newest County
 detention facility and is modeled after a college campus. Some females are booked into the
 Vista Detention Facility and, if detained, transported later to Las Colinas. Mental health services
 are available at Las Colinas and 32 beds are dedicated for “return to competency” treatment.

 Mental Health Concerns
 All California counties are required, by law, to provide psychiatric services during incarceration,
 and after parole from state prisons. Failure to provide needed mental health care has been
 ruled as constituting “cruel and unusual punishment.”3

 The Lanterman-Petris-Short Act (LPS), codified in the California Welfare and Institutions Code,
 allows for individuals to be placed, involuntarily, in a locked psychiatric unit if they are found
 gravely disabled or a danger to themselves or others. Sections 5150 and 5250 describe 72-hour
 and 14-day holds, respectively, that can be placed on individuals after assessment by a peace

 2
   San Diego Sheriff’s Department Detention Services Bureau Manual of Policies and Procedures (2018)
 (https://www.sdsheriff.net/documents/dsb-201503.pdf)
 3
   Supreme Court of the United States, Brown v. LaPlata, et al, (2011) 563 U.S. 493

                                                                                                         3
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 officer, registered nurse, medical doctor, or certain other categories of people. Inmates subject
 to this kind of hold may also be housed in the San Diego Central Jail Psychiatric Stabilization
 Unit (PSU). Inmates with less serious psychiatric problems may be housed in other detention
 facilities. Inmates with mental health needs are dispersed throughout the correctional system,
 depending on specific housing determinations. For example, a relatively stable inmate with
 depression may have a classification which only allows housing in a particular facility.

 San Diego Central Jail (SDCJ) is the largest mental health facility in the County. The sixth floor
 houses a PSU, with 180 beds dedicated to inmates with serious mental health needs. Thirty of
 those beds are reserved for “return to competency” treatment. Many inmates found mentally
 incompetent to stand trial are housed in the San Diego Central Jail. These inmates would
 normally be transported to state hospitals, but those institutions have limited availability and
 long waiting lists for admission.

 About 30% of the County’s approximately 6,000 inmates are on prescribed psychotropic
 medication. In 2017, Sheriff Bill Gore publicly stated, “On any given day about 2,000 county
 inmates are on some kind of psychotropic drug.”4 A relatively small percentage of those
 medicated are housed in psychiatric units. Other inmates have some access to treatment when
 requested, such as appointments when professionals are available. Realizing the need for
 change, on November 15, 2016, the San Diego County Board of Supervisors adopted a
 resolution to support the Stepping Up initiative, a nationwide effort to provide mental health
 services in lieu of incarceration.5

 Booking procedures at Central, Vista (VDF) and Las Colinas (LCDF) jails screen for mental health
 issues. Arrestees suffering psychiatric emergencies are transported to the County Psychiatric
 Hospital, just as those with serious medical conditions are transferred to local emergency
 rooms. Treatment programs for inmates with mental health issues are increasingly necessary in
 California as their percentage of the jail population has increased. 6

 Concurrent conditions of drug use and mental health issues, or “dual diagnosis,” present a
 difficulty for mental health professionals. Methamphetamine addiction, in particular,
 contributes to the number of inmates with psychiatric problems. Withdrawal from drugs can be
 fatal and requires qualified medical personnel on staff.7 The Grand Jury learned that psychiatric
 professionals are in such high demand that the County has a problem recruiting and retaining


 4
   Alvarez, J. A. (July 19, 2017). CountyNewsCenter. Retrieved from CountyNewsCenter.com.
 5
   Rise Haneberg,et al, “Reducing the Number of People with Mental Ilnesses in Jail” January 2017
    (https://stepuptogether.org/wp-content/uploads/2017/01/Reducing-the-Number-of-People-with-Mental-
    Illnesses-in-Jail_Six-Questions.pdf )
 6
   Stanford Justice Advocacy Project (2018) The Prevalence and Severity of Mental illness among California Prisoners
    on the Rise (https://law.stanford.edu/publications/the-prevalence-and-severity-of-mental-illness-among-
    california-prisoners-on-the-rise/)
 7
   Federal Bureau of Prisons (2018) Detoxification of Chemically Dependent Inmates
    (https://www.bop.gov/resources/pdfs/detoxification.pdf)
                                                                                                                  4
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 sufficient staff. Witnesses testified that the shortage of psychiatric professionals is a growing
 nationwide problem.

 A situation arises for inmates who have served their sentences but still remain gravely disabled
 and/or are a danger to themselves or others or were never restored to competency. These
 individuals may be found “non-restorable,” and a judge can order that they remain
 incarcerated. Because they no longer serve criminal sentences, different rules apply for their
 housing and hours, and their status requiring incarceration is also regularly reviewed by the
 court pursuant to California Penal Code 1370(c)(1). 8

 The County of Los Angeles faced a similar challenge caring for the mental health of a large
 number of inmates. Following a public outcry, the Los Angeles County Board of Supervisors
 recently voted to tear down its aging Men’s Central Jail holding over 4,000 inmates in favor of a
 Mental Health Treatment Center able to house over 3,800 patients, including inmates. The final
 design may not consist of one facility, but instead construction of several localized sites using
 those funds. The Los Angeles Department of Mental Health will staff the facility with a limited
 number of deputies providing security.9

 A number of programs are being introduced in San Diego County to intervene before mental
 illness results in incarceration. A Behavioral Health Court is available for diversion into
 counseling and psychiatric services, while offenders are placed on probation for various
 offenses. A new California law, codified in Penal Code sections 1001.35 and 1001.36, opens up
 pre-trial diversion for certain mentally ill defendants.10 The Sheriff also uses Programming for
 Reentry, Support and Stability (PROGRESS), for inmates already incarcerated who can be
 rehabilitated better in treatment programs than in jail. Inmates with mental health issues spend
 a longer time in jail than other inmates. The Stepping Up Initiative hopes to alleviate that
 situation.11 Reduced inmate population raises the question of how best to utilize facilities
 operating well below rated capacity. Major changes may be necessary to accommodate the
 increasing need for psychiatric care.

 The Reality of Suicide
 Suicide is a leading cause of death among inmates in local jails in the United States.12 San Diego
 County jails have been criticized many times over the past decade for their high suicide rates.13
 Disability Rights California (DRC), a non-profit agency that advocates for people with disabilities,

 8
   California Penal Code section 1370 et seq.
 9
   Lau, M., Los Angeles Times (February 13, 2019) County Oks Central Jail Tear Down
    (https://www.pressreader.com/)
 10
    Wahn, A.K., (2018) California’s New Mental Health Diversion Law (http://www.aleidalaw.com/californias-new-
    mental-health-diversion-law-criminal-offenders-receive-treatment/)
 11
    Rise Haneberg, et al, pg. 7,“Reducing the Number of People with Mental Ilnesses in Jail” January 2017 (Ibid)
 12
    Gallagher, M. (2018). Suicide in Prisons and Jails: A Growing Concern. O'Neill Institute for National and Global
    Health Law. (http://oneill.law.georgetown.edu/suicide-in-prisons-and-jails-a-growing-concern/ )
 13
    Hacket, A. (June 11, 2018) Pacific Standard “Is San Diego County Failing Its Most Vulnerable Inmate Population”
    (https://psmag.com/social-justice/is-san-diego-county-failing-its-most-vulnerable-inmate-population)
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 conducted an investigation of suicides in San Diego County jails and published a critical report
 in April of 2018. San Diego County jails have seen more than 120 deaths since 2007, including
 30 suicides.14 After a San Diego City Beat investigation15 determined the average mortality rate
 in local jails over six years was the highest among California’s 10 largest lockups, the Sheriffs’
 department put new measures in place to better identify and monitor suicidal inmates.16

 Four suicides occurred at San Diego County jails in 2018. On October 8, 2018 an inmate killed
 himself the same day he was booked into San Diego Central Jail. The Sheriff’s Department
 reported he used food to suffocate himself while he was being housed in a unit designed for
 suicidal inmates.17 On March 28, 2018 an inmate killed himself at South Bay Detention Facility
 (SBDF), using cloth from bedding strung through a vent cover in the inmate’s cell.

 The design defect with vent covers in the cells at SBDF, i.e., the ability to use them to support a
 ligature, was known prior to the March suicide, and a program to replace/modify the vent
 covers had begun but was stopped due to budgetary concerns. To date the Sherriff’s
 Department has not remedied the problem. The explanation provided to this Grand Jury was
 that the vent repair project was placed on hold due to the cost and a delay in renovation of
 Rock Mountain, which is expected to replace SBDF.18

 The aforementioned Rock Mountain Facility is a County detention facility, previously leased to a
 private detention company, but currently unoccupied and undergoing renovations. The Sheriff’s
 Department has reported that Rock Mountain will be opening soon, but the date has been
 delayed.

 Other Issues
 The Grand Jury was advised that the body scanner at the Central Jail used to screen for
 concealed drugs and weapons needs updated software. The software is available, but the
 County is prevented from acquiring it due to the terms of their maintenance contract for the
 body scanner.19 The Grand Jury recommends the Sheriff’s Department find a way to update the
 scanners.

 The designs of the Vista and South Bay detention facilities include little or no outside area
 where the sky is visible. At SDCJ the roof was previously used for inmate recreation, but now
 the recreation area is an enclosed concrete room with large windows high above the floor. The
 Grand Jury recommends inmates should not be housed in these older facilities for more than

 14
    Id. (Hacket, 2018)
 15
    City Beat (March 27, 2013) How Many Inmate Deaths is Too Many (Part One of Five Parts)
    (http://sdcitybeat.com/news-and-opinion/news/many-inmate-deaths-many/)
 16
    San Diego Union Tribune (September 16, 2018) Recent Inmate Death was Third Jail Suicide this Year.
    (https://www.sandiegouniontribune.com/news/public-safety/sd-me-jefferson-suicide-20180913-story.html)
 17
    Id. (San Diego Union Tribune)
 18
    California Penal Code section 929 requires that reports of the Civil Grand Jury not contain the name of any
    person or facts leading to the identity of any person who provides information to the Grand Jury.
 19
    Id.
                                                                                                                   6
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 one year at a time due to lack of adequate natural sunlight and/or outdoor recreation. This
 deficiency has been noted in prior San Diego County Grand Jury Reports (2017/2018, filed May
 29, 2018) and has yet to be adequately addressed. Older facilities could be used for booking,
 holding inmates incarcerated for shorter terms and for housing during specific rehabilitation
 programs.

 Rehabilitation and Reentry
 The Grand Jury wishes to commend the various efforts at rehabilitation and reentry that it
 observed during its visits. The San Diego County Sheriff’s Detention Services unit has instituted
 rehabilitation and reentry programming throughout the system. The East Mesa Reentry Center
 located at Otay Mesa is designated to serve inmates willing to participate in rehabilitative
 programs. These programs offer inmates incentives such as personal privileges, less restrictive
 housing, opportunities to work outdoors, and shortened sentences for good conduct. The
 reentry programs include drug rehabilitation and mental health counseling programs, academic
 classes, work within the facilities for a small wage, and vocational training for placement
 outside. At the Vista Detention Center, it is noted that The Veterans Moving Forward Program
 continues to be recognized for its rehabilitative value.

 The Central Production Plant, which handles most of the food preparation for both adult and
 juvenile detention facilities, is also located in Otay Mesa. The Central Production Plant contains
 food preparation and storage operations for thousands of inmate meals per week, a working
 print shop able to satisfy many of the County’s printing needs, laundry facilities, wood shops
 and bicycle repair. Some inmates work at Central Production, and inmates also do maintenance
 and janitorial work at other detention facilities, under supervision by Sheriff’s officers or civilian
 staff.

 Reentry programs are also available for Las Colinas inmates, with incentives to progress into
 much less restrictive housing, and ultimately, placements after release from jail. Many inmates
 are given the liberty to walk unescorted outdoors between buildings to get to the mess hall, to
 classrooms, or to vocational training areas. In general, the reentry programs available at both
 Las Colinas and East Mesa Reentry facility should reduce recidivism, particularly if the general
 economy has jobs for inmates upon release.

 Family Visitation
 Family visitation is an important tool of rehabilitation, especially for juveniles. Four County
 detention facilities (3 adult and 1 juvenile) with a combined total of approximately 3,000
 inmates are located in Otay Mesa. In addition, a state and federal prison, as well as
 immigration detention facilities are located in Otay Mesa.

 Visitation for families of inmates to Otay Mesa is difficult. The closest Metropolitan Transit
 System (MTS) bus line terminates 5.4 miles away. The nearest trolley station is over 10 miles
 away. Downtown San Diego is over 20 miles away.


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 The Grand Jury suggests that the County, in coordination with the San Diego Sheriffs’ and
 Probation Department, explore options for providing transportation alternatives for family
 visitation to the Otay Mesa detention facilities. Options for them to study could include utilizing
 the County’s iCommute program, small County buses, ride share transportation etc. Given the
 proximity of state and federal facilities, it may be beneficial to coordinate efforts with state and
 federal authorities.

 Juvenile Facilities and Services
 The juvenile facilities (Juvenile Hall, East Mesa Juvenile Detention Facility and Urban Camp) are
 operated by the San Diego County Probation Department (Probation). Juveniles are required to
 attend classes regularly and much of their day revolves around schooling, recreation and meals.
 The East Mesa Juvenile facility is only for boys. There were 112 juveniles housed there at the
 time of inspection by the Grand Jury. Forty boys were housed there for long terms, resulting
 from serious offenses, or were there awaiting court proceedings. Most juveniles are in custody
 for a much shorter time than adults. At the Kearny Mesa Juvenile Detention Center, the
 average stay in custody is only 18 to 21 days. The population of juveniles at that facility was 83
 boys and 42 girls, with separate housing units for each. There is a third separate program at the
 Kearny Mesa location called Urban Camp.

 In order to intervene before minors become involved in the justice system, San Diego County
 has begun to use the Youth in Custody Practice Model (YICPM) developed by Georgetown
 University. 20 Informed by research on “what works” in serving youth in custody, as well as
 professional standards and the field’s preeminent thinking on best practices, the Youth in
 Custody Practice Model (YICPM) initiative is designed to assist state and county juvenile
 correctional agencies and facility providers to implement a comprehensive and effective service
 delivery approach.21 The Crossover Youth Practice Model (CYPM) is also being used for youth
 coming out of foster care. As a result of these efforts and others, the juvenile system in San
 Diego County has undergone a transformation resulting in a significant reduction in the juvenile
 population in detention. The juvenile facilities were operating with approximately half the
 population the facilities were designed to hold.

 FINDINGS
 Finding 01: A preventable suicide risk exists at South Bay Detention Facility.

 Finding 02: The San Diego County Sheriff’s Department provides mental health treatment to an
 increasing number of inmates, some of whom could be better rehabilitated in other facilities.

 Finding 03: The older facilities were not designed for inmates serving long sentences and
 are outdated for current use.


 20
    Georgetown University, McCourt School of Public Policy, Center for Juvenile Justice Reform, 2019
 (https://cjjr.georgetown.edu/our-work/yicpm/)
 21
    Youth in Custody Practice Model, id.
                                                                                                            8
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 Finding 04: Several detention facilities, both adult and juvenile, are located at Otay Mesa, an
 isolated area which is difficult for families of inmates to visit.

 RECOMMENDATIONS
 The 2018/2019 San Diego County Grand Jury recommends that the San Diego County Sheriff’s
 Department:

 19-20:         As soon as possible replace or modify the vent covers at South
                Bay Detention Facility (using 24-hour emergency purchasing procedures) to
                prevent further loss of life.

 19-21:         Study and consider the decision made by the Los Angeles County Board of
                Supervisors to centralize mental health treatment of inmates.

 19-22:         Study and consider transportation options for family visitation to the Otay
                Mesa detention facilities.

 The 2018/2019 San Diego County Grand Jury recommends that the San Diego County
 Probation Department:

 19-23:         Study and consider transportation options for family visitation to the Otay
                Mesa detention facilities.

 REQUIREMENTS AND INSTRUCTIONS
 The California Penal Code §933(c) requires any public agency which the Grand Jury has
 reviewed, and about which it has issued a final report, to comment to the Presiding Judge of
 the Superior Court on the findings and recommendations pertaining to matters under the
 control of the agency. Such comment shall be made no later than 90 days after the Grand Jury
 publishes its report (filed with the Clerk of the Court); except that in the case of a report
 containing findings and recommendations pertaining to a department or agency headed by an
 elected County official (e.g. District Attorney, Sheriff, etc.), such comment shall be made within
 60 days to the Presiding Judge with an information copy sent to the Board of Supervisors.

 Furthermore, California Penal Code §933.05(a), (b), (c), details, as follows, the manner in which
 such comment(s) are to be made:
        (a) As to each grand jury finding, the responding person or entity shall indicate one of
                the following:
                        (1) The respondent agrees with the finding
                        (2) The respondent disagrees wholly or partially with the finding, in which
                                case the response shall specify the portion of the finding that is
                                disputed and shall include an explanation of the reasons therefor.
        (b) As to each grand jury recommendation, the responding person or entity shall report
                one of the following actions:
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                          (1) The recommendation has been implemented, with a summary
                                  regarding the implemented action.
                          (2) The recommendation has not yet been implemented, but will be
                                  implemented in the future, with a time frame for implementation.
                          (3) The recommendation requires further analysis, with an explanation
                                  and the scope and parameters of an analysis or study, and a time
                                  frame for the matter to be prepared for discussion by the officer
                                  or head of the agency or department being investigated or
                                  reviewed, including the governing body of the public agency when
                                  applicable. This time frame shall not exceed six months from the
                                  date of publication of the grand jury report.
                          (4) The recommendation will not be implemented because it is not
                                  warranted or is not reasonable, with an explanation therefor.
        (c) If a finding or recommendation of the grand jury addresses budgetary or personnel
                  matters of a county agency or department headed by an elected officer, both
                  the agency or department head and the Board of Supervisors shall respond if
                  requested by the grand jury, but the response of the Board of Supervisors shall
                  address only those budgetary or personnel matters over which it has some
                  decision making authority. The response of the elected agency or department
                  head shall address all aspects of the findings or recommendations affecting his
                  or her agency or department.

 Comments to the Presiding Judge of the Superior Court in compliance with the Penal Code
 §933.05 are required from the:

 Responding Agency                      Recommendations                                Date
 San Diego County Sheriff’s Dept.       19-20 through 19-22                            7/29/19

 San Diego County Probation Dept. 19-23                                                8/14/19




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U.S. Department of Justice
Office of Justice Programs
Bureau of Justice Statistics


                                                                                                                  March 2021, NCJ 252642

Survey of Prison Inmates, 2016




                                                                                                                                         Bureau of Justice Statistics · Statistical Tables
Disabilities Reported by Prisoners
Laura M. Maruschak, BJS Statistician
Jennifer Bronson, Ph.D., and Mariel Alper, Ph.D., former BJS Statisticians



N
         early 2 in 5 (38%) state and federal                   FIGURE 1
         prisoners had at least one disability in               Prevalence of disabilities among all state and
         2016 (figure 1, table 1). Statistics in this           federal prisoners, 2016
report are based on self-reported data collected
through face-to-face interviews with a national                        Any disabilitya
sample of state and federal prisoners age 18 or
older in the 2016 Survey of Prison Inmates (SPI).                           Cognitive
(See Methodology.) Disability types included                              Ambulatory
hearing, vision, cognitive, ambulatory, self-care,
and independent living.1                                                        Vision
                                                                Told had an attention
The most commonly reported type of disability                         deficit disorderb
among both state and federal prisoners                          Ever attended special
was cognitive disability (23%), followed by                         education classes
ambulatory (12%) and vision (11%) disabilities.2                  Told had a learning
                                                                            disabilityc
Among all prisoners, 24% reported that a doctor,
                                                                                          0   5   10   15     20 25   30    35   40
psychologist, or teacher had told them at some
                                                                                                            Percent
point in their life that they had an attention
deficit disorder. Nearly a quarter of all prisoners             Note: Prisoners could report more than one disability. See
                                                                table 1 for percentages and standard errors.
reported participating in special education                     aIncludes hearing, vision, cognitive, ambulatory, self-care, and
classes (24%).                                                  independent living.
                                                                bIncludes prisoners who reported they had ever been told by
1“Independent living” refers to the ability to navigate daily   a doctor, psychologist, or teacher that they had an attention
activities without assistance. Each disability type measured    deficit disorder, sometimes called ADD or ADHD.
is unique. See Definitions of disability types.                 cIncludes prisoners who reported they had ever been told
2“Cognitive disability” describes a variety of medical          by a doctor, psychologist, or teacher that they had a learning
                                                                disability, such as dyslexia or dyscalculia.
conditions affecting different mental tasks, such as
                                                                Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
problem-solving, reading comprehension, attention, and
remembering. A cognitive disability is not the same as a
mental disorder.




Highlights
Nearly 4 in 10 state prisoners (40%) and                      About a quarter of state prisoners reported a
  3 in 10 federal prisoners (29%) reported having                 cognitive disability (24%), and about a tenth
  a disability.                                                   reported an ambulatory (12%), a vision (12%), or
                                                                  a hearing (10%) disability.
Female state (50%) and federal (40%) prisoners
  were more likely than male state (39%) and                    Among federal prisoners, 14% reported a
  federal (28%) prisoners to report having                        cognitive disability, 10% reported an ambulatory
  a disability.                                                   disability, and 9% reported a vision disability.

Among both state and federal prisoners, white                 Twenty-six percent of state prisoners and 13% of
  prisoners were more likely than black and                       federal prisoners reported ever being told that
  Hispanic prisoners to report having any disability.             they had an attention deficit disorder.
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Other key findings
In both state and federal prisons, female prisoners were    More than half of state (57%) and federal (51%)
  more likely than male prisoners to report a cognitive,        prisoners ages 55 to 64 reported having a disability,
  ambulatory, or independent-living disability (tables 2        and 7 in 10 state (70%) and federal (68%) prisoners
  and 3).                                                       age 65 or older reported a disability.

Forty-four percent of white state prisoners reported        State and federal prisoners (38%) were about two and a
  a disability, compared to 37% of Hispanic and 33% of          half times more likely to report a disability than adults
  black state prisoners.                                        in the U.S. general population (15%) (table 4).

Black and Hispanic state prisoners were less likely than    Twenty-five percent of state prisoners and 14% of
  white state prisoners to report a hearing, cognitive,         federal prisoners reported having ever attended special
  ambulatory, or independent-living disability.                 education classes (table 5).

Black federal prisoners were less likely than white         State prisoners (15%) were nearly twice as likely
  federal prisoners to report a hearing, vision, cognitive,     as federal prisoners (8%) to report that a doctor,
  ambulatory, or independent-living disability, and             psychologist, or teacher had ever told them that they
  equally likely to report a self-care disability.              had a learning disability, such as dyslexia or dyscalculia.




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  Table 2. Disabilities among state prisoners, by demographic characteristics, 2016

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  Table 4. Disabilities among all state and federal prisoners and the U.S. general population age 18 or
  older, by age, 2016
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  attended special education classes, or were ever told they had a learning disability, 2016
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TabLE 1
Prevalence of disabilities among all state and federal
prisoners, 2016
                                             All state and federal prisoners
Disability                                       Percent Standard error
Any disabilitya                                   38.4%          0.65%
  Cognitive                                       22.8           0.44
  Ambulatory                                      11.5           0.42
  Vision                                          11.4           0.39
Told had an attention deficit disorderb           24.4%          0.51%
Ever attended special education classes           23.8%          0.47%
Told had a learning disabilityc                   14.1%          0.36%
Note: Prisoners could report more than one disability. See appendix
table 1 for prisoner estimates.
aIncludes hearing, vision, cognitive, ambulatory, self-care, and
independent living.
bIncludes prisoners who reported they had ever been told by a doctor,
psychologist, or teacher that they had an attention deficit disorder,
sometimes referred to as ADD or ADHD.
cIncludes prisoners who reported they had ever been told by a doctor,
psychologist, or teacher that they had a learning disability, such as
dyslexia or dyscalculia.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


TabLE 2
Disabilities among state prisoners, by demographic characteristics, 2016
Characteristic                       Any              Hearing           Vision      Cognitive      Ambulatory        Self-care     Independent living
  All state prisoners               39.7%              10.0%            11.7%        24.0%           11.8%             2.5%              6.2%
Sex
  Male*                             38.9%              10.0%            11.7%         23.0%           11.6%             2.5%              6.1%
  Female                            49.8 †              8.9             12.1          36.8 †          14.2 †            2.4               8.0 †
Race/ethnicity
  Whitea*                           44.4%              13.3%            11.3%         27.1%           12.6%             2.4%              7.1%
  Blacka                            33.4 †              5.6 †           11.1          19.6 †          10.0 †            1.8 †             4.8 †
  Hispanic                          36.9 †              9.3 †           12.1          21.9 †          10.6 †            2.6               5.6 †
  American Indian/
    Alaskan Nativea                 49.2               17.0             18.4 †        29.4            16.4              3.8               8.9
  Asian/Native Hawaiian/
    Other Pacific Islandera         35.4 †              7.7 †            7.7          23.9             8.0              2.3 !             2.1 † !
  Two or more racesa                48.7 †             14.1             13.6 †        31.6 †          16.5 †            4.1 †             9.3 †
Age
  18-24                             34.6%               4.2% †           9.4%         25.5% †          2.9% †           0.7% !            3.6%
  25-34*                            32.1                5.4              7.7          22.8             4.8              0.8               3.7
  35-44                             36.0 †              8.2 †            9.5 †        23.4             9.4 †            1.9 †             5.3 †
  45-54                             46.7 †             13.3 †           16.7 †        25.1 †          17.3 †            3.5 †             7.9 †
  55-64                             57.1 †             21.5 †           20.2 †        25.3            30.0 †            6.5 †            12.4 †
  65 or older                       69.7 †             35.4 †           24.0 †        26.8            45.8 †           11.8 †            19.8 †
Note: Prisoners could report more than one disability. See appendix table 1 for prisoner estimates. See appendix table 2 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
! Interpret with caution. Estimate is based on 10 or fewer sample cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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TabLE 3
Disabilities among federal prisoners, by demographic characteristics, 2016
Characteristic                        Any           Hearing          Vision           Cognitive     Ambulatory        Self-care    Independent living
  All federal prisoners              28.8%           6.4%            9.4%              13.7%          9.5%              1.7%             4.2%
Sex
  Male*                              28.1%           6.4%            9.3%              12.8%           9.2%             1.6%               4.0%
  Female                             40.2 †          6.5            10.4               26.9 †         14.3 †            2.6                6.8 †
Race/ethnicity
  Whitea*                            36.8%           9.5%            8.8%              19.4%          12.2%             1.7%               5.9%
  Blacka                             22.0 †          3.7 †           6.2 †             10.4 †          7.3 †            1.3                3.4 †
  Hispanic                           26.8 †          5.2 †          12.0 †             11.3 †          8.9              1.6                3.1 †
  American Indian/
    Alaskan Nativea                  47.0           20.7              6.2 !            29.2           13.2              6.9 !             15.3
  Asian/Native Hawaiian/
    Other Pacific Islandera          39.0           10.1 !           8.6 !             19.0            7.7 !            2.2 !              2.3 !
  Two or more racesa                 40.8           11.4            12.5               19.9           13.8              3.5                7.3
Age
  18-24                              26.7%           3.3% !          5.5%              17.5%           2.5% !           0.5% !             5.1% !
  25-34*                             22.7            3.4             7.4               13.6            3.5              1.0                2.5
  35-44                              22.5            3.6             6.8               12.0            6.3 †            1.1                2.7
  45-54                              33.9 †          8.1 †          12.3 †             14.0           14.0 †            2.1                4.5 †
  55-64                              50.5 †         17.9 †          16.9 †             16.2           25.2 †            4.6 †             11.8 †
  65 or older                        67.8 †         28.9 †          21.9 †             18.0           41.0 †            6.9 †             13.1 †
Note: Prisoners could report more than one disability. See appendix table 1 for prisoner estimates. See appendix table 3 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
! Interpret with caution. Estimate is based on 10 or fewer sample cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


TabLE 4
Disabilities among all state and federal prisoners and the U.S. general population age
18 or older, by age, 2016
                                                              Any disabilitya
                              All state and federal prisoners                 Adult U.S. general population*
                              Percent            Standard error               Percent            Standard error
  All                         38.4% †                 0.65%                    15.4%                 0.01%
Age
  18-34                       31.8% †               0.73%                      6.3%                 0.01%
     18-24                    34.1                  1.49                       6.2                     ...
     25-34                    31.1                  0.72                       6.5                     ...
  35-64                       41.5% †               0.73%                     13.1%                 0.01%
     35-44                    34.0                  0.85                       7.8                     ...
     45-54                    44.9                  1.11                      12.5                     ...
     55-64                    56.4                  1.49                      19.0                     ...
  65 or older                 69.5% †               2.45%                     35.2%                 0.01%
     65-74                    67.6 †                2.56                      25.3                  0.01
     75 or older              81.7 †                4.90                      49.5                  0.01
Note: More than one disability could be reported.
...Not available.
*Comparison group.
†Difference with the comparison group is significant at the 95% confidence level.
aIncludes hearing, vision, cognitive, ambulatory, self-care, and independent living.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016; and U.S. Census Bureau, American Community
Survey, 2016.




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TabLE 5
State and federal prisoners who were ever told they had an attention deficit disorder,
ever attended special education classes, or were ever told they had a learning
disability, 2016
                                                   State prisoners                    Federal prisoners*
Indicator of other disabilities               Percent       Standard error        Percent      Standard error
Told had an attention deficit disordera       26.1% †          0.55%               12.7%           1.13%
Ever attended special education classes       25.2 †           0.51                13.8            1.21
Told had a learning disabilityb               15.0 †           0.40                 7.7            0.68
Note: Prisoners could report multiple learning disabilities. See appendix table 1 for prisoner estimates.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
aIncludes prisoners who reported they had ever been told by a doctor, psychologist, or teacher that they had an
attention deficit disorder, sometimes called ADD or ADHD.
bIncludes prisoners who reported they had ever been told by a doctor, psychologist, or teacher that they had a
learning disability, such as dyslexia or dyscalculia.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



  Definitions of disability types
  Six questions were included on the 2016 Survey                             activities on your own, such as going to meal time,
  of Prison Inmates to measure any disability.                               going outside, working in or outside of this facility,
  These questions were modeled after those on the                            going to classes, or attending programs?
  American Community Survey, conducted by the U.S.                           Other disabilities and disorders examined in this
  Census Bureau.                                                             report include learning disabilities, such as dyslexia or
  Hearing—Are you deaf or do you have serious                                dyscalculia, attention deficit disorder (ADD) or attention
  difficulty hearing?                                                        deficit hyperactivity disorder (ADHD), and participation
  Vision—Are you blind or do you have serious difficulty                     in special education classes.
  seeing even when wearing glasses?                                          Attention deficit disorder (ADD or ADHD)—Has a
  Cognitive—Because of a physical, mental, or emotional                      doctor, psychologist, or teacher ever told you that you
  problem, do you have serious difficulty concentrating,                     have an attention deficit disorder, sometimes called
  remembering, or making decisions?                                          ADD or ADHD?

  Ambulatory—Do you have serious difficulty walking or                       Special education—Have you ever been enrolled in
  climbing stairs?                                                           special education classes, sometimes called SPED?

  Self-care—Do you have difficulty dressing or bathing?                      Learning disability—Has a doctor, psychologist, or
                                                                             teacher ever told you that you have a learning disability,
  Independent living—Because of a physical, mental,                          such as dyslexia or dyscalculia?
  or emotional problem, do you have difficulty doing




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  Change in disabilities among all state and federal prisoners, 2011-2012
  and 2016
  The 2016 Survey of Prison Inmates (SPI) had a different
                                                                      TabLE 6
  sampling frame from the 2011-12 National Inmate
                                                                      Prevalence of disabilities among all state and
  Survey (NIS), the previous survey that collected
                                                                      federal prisoners, by selected disabilities, 2011-2012
  data on disabilities from prisoners.3 To produce
                                                                      and 2016
  comparable data, BJS made two adjustments. First,
  because the 2011-12 NIS did not include prisoners                                          2011-2012*                     2016a
  in community-based correctional facilities, those                                                Standard                    Standard
                                                                      Disability         Percent error               Percent error
  prisoners were removed from the 2016 SPI sample
                                                                          Any             31.6%      1.40%           38.4% †     0.65%
  before analysis. Second, because the federal
                                                                      Hearing              6.2       0.61             9.5 †      0.32
  population in the 2011-12 NIS was not designed to                   Vision               7.1       0.69            11.5 †      0.39
  be self-representing but as part of a representative                Cognitive           19.5       1.13            22.8 †      0.45
  sample for all prisoners, the comparisons made                      Ambulatory          10.1       0.76            11.6        0.43
  between the years were for all prisoners, without                   Self-care            2.1       0.29             2.4        0.18
  separating out state and federal prisoners.                         Independent
  After these adjustments, a comparison between the                     living             7.5        0.71             6.0 †       0.26
  years showed an increase in the prevalence of prisoners             Note: Prisoners could report more than one disability. Based on
                                                                      the adjusted 2016 data, there was an estimated total of 1,403,600
  reporting any disability between 2011-12 (32%) and                  state and federal prisoners in 2016. There was an estimated total of
  2016 (38%) (table 6). The 2016 survey showed increased              1,441,800 state and federal prisoners in 2011-2012.
  reporting of hearing, vision, and cognitive disabilities.           *Comparison group.
                                                                      †Difference with comparison group is significant at the
  3Mode effects may impact the differences observed between           95% confidence level.
  2011-12 and 2016 percentages, as audio computer-assisted            aTo allow for comparison to 2011-2012, estimates for 2016 exclude
  self-interviewing was used to collect NIS data, while SPI           those held in community-based correctional facilities.
  data were collected through face-to-face interviews using           Source: Bureau of Justice Statistics, National Inmate Survey,
  computer-assisted personal interviewing. For detailed               2011-2012; and Survey of Prison Inmates, 2016.
  methodology for this data collection, see Sexual Victimization in
  Prisons and Jails Reported by Inmates, 2011-12 (NCJ 241399, BJS,
  May 2013).




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Methodology                                                          estimate depends on several factors, including the size
                                                                     of the estimate, the number of completed interviews,
Findings are based on self-reported data collected                   and the intracluster correlation of the outcome within
through face-to-face interviews with a national sample               prisons. When the sampling error around an estimate
of state and federal prisoners in the 2016 Survey of                 is taken into account, estimates that appear different
Prison Inmates (SPI), produced by the Bureau of                      may not be statistically different.
Justice Statistics. The 2016 SPI included confinement
and community-based facilities but excluded special                  One measure of the sampling error associated with
facilities such as those operated by or holding prisoners            an estimate is the standard error. The standard error
exclusively for the U.S. military, U.S. Immigration and              may vary from one estimate to the next. Standard
Customs Enforcement, the U.S. Marshals Service, and                  errors in this report were estimated using Taylor Series
correctional authorities in Indian country. Facilities               Linearization (TSL) to account for the complex design
in every state and the Federal Bureau of Prisons were                of the 2016 SPI and the 2011-12 National Inmate
eligible. The 2016 SPI was a stratified two-stage sample             Survey. The TSL method directly estimates variances
design in which prisons were selected in the first stage             through a linearized function by combining variance
and prisoners within sampled facilities were selected                estimates from stratum and primary sampling units
in the second stage. The SPI sample was selected                     used to sample prisoners.
from a universe of 2,001 unique prisons (1,808 state                 Readers may use the estimates and standard errors
and 193 federal). A total of 364 prisons (306 state                  of the estimates provided in this report to generate
and 58 federal) participated in the 2016 SPI out of                  a 95% confidence interval around the estimates as a
385 selected (324 state and 61 federal). The first-stage             measure of the margin of error. Typically, multiplying
response rate (i.e., the response rate among selected                the standard error by 1.96 and then adding or
prisons) was 98.4% (98.1% among state prisons and                    subtracting the result from the estimate produces the
100% among federal prisons).4                                        confidence interval. This interval expresses the range
A total of 24,848 prisoners (20,064 state and                        of values within which the true population parameter
4,784 federal) participated in the 2016 SPI, based on a              is expected to fall 95% of the time if the same sampling
sample of 37,058 prisoners (30,348 state and 6,710                   method is used to select different samples.
federal).5 The second-stage response rate (i.e., the                 For small samples and estimates close to 0%, the use
response rate among selected prisoners) was 70.0%                    of the standard error to construct the 95% confidence
(69.3% among state prisoners and 72.8% among federal                 interval may not be reliable. Therefore, caution should
prisoners).6                                                         be used when interpreting the estimates. Caution
                                                                     should also be used if constructing a 95% confidence
Standard errors and tests of significance                            interval, which would include zero in these cases,
When national estimates are derived from a sample, as                because the estimate may not be distinguishable
with the SPI, caution must be used when comparing                    from zero.
one estimate to another or when comparing estimates
over time. Although one estimate may be larger than                  The standard errors have been used to compare
another, estimates based on a sample rather than a                   selected groups of prisoners that have been defined by
complete enumeration of the population have some                     demographic characteristics. They have also been used
degree of sampling error. The sampling error of an                   to compare estimates of state and federal prisoners
                                                                     between 2011-12 and 2016. Differences in the estimates
4A total of 15 prisons (12 state and 3 federal) that were sampled
                                                                     for subgroups in tables 2, 3, 4, 5, and 6 in this report
were deemed ineligible for the 2016 SPI. For more information, see
Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS,
                                                                     have been tested and notated for significance at the
July 2019).                                                          95% level of confidence. Readers should reference the
5There were 10,661 sampled prisoners who were eligible for the       tables for testing on specific findings. Unless otherwise
survey but did not participate. Another 1,549 sampled prisoners      noted, findings described in this report as higher,
were deemed ineligible for the survey. For more information, see     lower, or different passed a test at the 0.5 level of
Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS,
July 2019).                                                          statistical significance (95% confidence level).
6For more detailed information on the 2016 SPI, see Methodology:
Survey of Prison Inmates, 2016 (NCJ 252210, BJS, July 2019).




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Characteristic                  State prisoners     Federal prisoners
  All prisoners                   1,248,300             173,400
Sex
  Male                            1,159,100              162,700
  Female                             89,200               10,700
Race/ethnicity
  White*                            391,800               35,900
  Black*                            415,500               55,000
  Hispanic                          254,700               63,500
  American Indian/
    Alaskan Native*                  17,600                2,800
  Asian/Native Hawaiian/
    Other Pacific Islander*          11,400                2,600
  Two or more races*                138,600               11,200
Age
  18-24                             128,500                8,200
  25-34                             400,800               48,900
  35-44                             328,800               59,700
  45-54                             231,000               37,300
  55-64                             120,900               14,400
  65 or older                        38,400                4,900
Note: Numbers are rounded to the nearest 100. Details may not sum to
totals due to rounding and missing data. Counts are weighted to totals
from the 2015 National Prisoner Statistics Program. See Methodology:
Survey of Prison Inmates, 2016 (NCJ 252210, BJS, July 2019).
*Excludes persons of Hispanic origin (e.g., “white” refers to
non-Hispanic whites and “black” refers to non-Hispanic blacks).
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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Characteristic                        Any            Hearing             Vision    Cognitive   Ambulatory     Self-care   Independent living
  All state prisoners                0.72%            0.35%              0.43%       0.49%       0.47%         0.20%            0.29%
Sex
  Male                               0.76%            0.37%              0.46%       0.51%        0.50%        0.21%            0.31%
  Female                             1.38             0.61               0.65        1.03         0.85         0.34             0.55
Race/ethnicity
  White                              0.96%            0.64%              0.69%       0.74%        0.63%        0.27%            0.45%
  Black                              0.93             0.35               0.49        0.68         0.56         0.20             0.32
  Hispanic                           1.31             0.60               0.86        0.86         0.79         0.36             0.49
  American Indian/
    Alaskan Native                   3.84             2.76               3.11        3.68         3.05         1.53             2.10
  Asian/Native Hawaiian/
    Other Pacific Islander           4.50             2.10               2.63        4.27         2.33         1.25             1.03
  Two or more races                  1.43             1.07               0.92        1.26         0.98         0.54             0.78
Age
  18-24                              1.57%            0.52%              0.91%       1.39%        0.46%        0.23%            0.52%
  25-34                              0.79             0.40               0.43        0.65         0.36         0.15             0.31
  35-44                              0.98             0.53               0.52        0.81         0.54         0.22             0.38
  45-54                              1.23             0.67               0.85        0.91         0.79         0.34             0.56
  55-64                              1.61             1.26               1.51        1.30         1.43         0.69             0.98
  65 or older                        2.72             2.26               2.02        2.10         3.05         1.83             1.96
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


Appe

Characteristic                       Any           Hearing              Vision    Cognitive    Ambulatory    Self-care    Independent living
  All federal prisoners             1.10%           0.53%               0.69%       0.81%        0.68%        0.25%             0.39%
Sex
  Male                              1.15%           0.56%               0.72%       0.84%        0.71%         0.26%            0.40%
  Female                            2.43            0.64                1.59        1.91         1.66          0.47             1.19
Race/ethnicity
  White                             1.72%           1.13%               0.92%       1.57%        1.46%         0.41%            0.83%
  Black                             1.24            0.46                0.90        0.78         0.91          0.35             0.56
  Hispanic                          1.80            0.68                1.17        1.31         0.83          0.41             0.52
  American Indian/
    Alaskan Native                  7.63            5.90                3.00        6.07         3.27          2.95             7.29
  Asian/Native Hawaiian/
    Other Pacific Islander          6.20            3.37                4.03        5.04         3.16          1.52             1.86
  Two or more races                 3.50            2.59                2.20        2.46         2.20          0.94             1.37
Age
  18-24                             3.81%           2.08%               1.67%       2.74%        1.07%         0.49%            2.32%
  25-34                             1.41            0.53                0.73        1.20         0.48          0.30             0.50
  35-44                             1.34            0.54                0.98        0.91         0.66          0.24             0.46
  45-54                             2.20            1.23                1.40        1.74         1.31          0.52             0.69
  55-64                             3.41            2.32                2.80        2.02         2.77          1.23             1.94
  65 or older                       3.57            3.33                4.13        3.25         5.19          2.45             3.23
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




Disabilities Reported by Prisoners | March 2021                                                                                         9

                                                                                                                      Ex. CC-458
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              The Bureau of Justice Statistics of the U.S. Department of Justice is the
              principal federal agency responsible for measuring crime, criminal
              victimization, criminal offenders, victims of crime, correlates of
              crime, and the operation of criminal and civil justice systems at
              the federal, state, tribal, and local levels. BJS collects, analyzes, and
              disseminates reliable statistics on crime and justice systems in the
              United States, supports improvements to state and local criminal
              justice information systems, and participates with national and
              international organizations to develop and recommend national
              standards for justice statistics. Doris J. James is the acting director.

              This report was written by Laura M. Maruschak, Jennifer Bronson,
              and Mariel Alper. Zhen Zeng, Tracy L. Snell, and Stephanie Mueller
              verified the report. Lauren G. Beatty was the BJS project manager
              for the 2016 Survey of Prison Inmates and provided statistical and
              methodological input and review.

              Eric Hendrixson and Jill Thomas edited the report. Carrie Epps-Carey
              produced the report.

              March 2021, NCJ 252642




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                  EXHIBIT DD
                                                                  Ex. DD-460
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    CALIFORNIA PUBLIC RECORDS ACT (CPRA) DOCUMENT REQUEST
                      Reference #S000396-040221
                   RE: Ms. Ellie Heywood CPRA for
                Americans with Disabilities Act Information

 Dear Ms. Heywood,

 The San Diego County Sheriff's Department is in receipt of your CPRA request dated
 and received on April 2, 2021. The Sheriff's Department responds to your requests as
 follows:

 Request 1: Any studies, reports, audits, or analyses related to the Jail’s compliance
 with state and federal disability laws, such as Title II of the Americans with Disabilities
 Act (“ADA”), 42 U.S.C. §§ 12101 et seq., Section 504 of the Rehabilitation Act of 1973
 (“Section 504”), as amended 29 U.S.C. § 794, and/or similar state disability rights laws.
 [Include in your response any materials older than January 1, 2016.]

 Response 1: The Sheriff's Department identifies the following documents responsive to
 your request.

    •   National Commission On Correctional Health Care (NCCHC) Technical
        Assistance Report
    •   Dr. Colleen Kelly's Review and Critique of the Disability Rights California's
        Report
    •   Lindsay Hayes' Report

 These documents are provided on the Sheriff's public website:
 https://www.sdsheriff.gov/bureaus/detention-services-bureau/preventing-jail-suicides

 ______________________________________________________________________

 Request 2: Any and all writings related to your county’s Sheriff’s Department’s ADA
 transition plan(s), required by 28 C.F.R. § 35.150(d), or, if your county and/or the
 Sheriff’s Department did not produce a transition plan specific to the Sheriff’s
 Department, any and all writings related to your county’s ADA transition plan.

 Response 2: The Sheriff's Department does not have any documents responsive to this
 request for a transition plan. Construction or renovations made for the Sheriff's
 Department's detention facilities are conducted in accordance with California's Building
 Standards Codes (Physical Access Regulations) as found in Title 24 of the California
 Code of Regulations (https://www.dor.ca.gov/Home/Title24), and are designed to
 comply with the requirements of the Americans with Disabilities Act (ADA) and State
 statutes.

 ______________________________________________________________________

 Request 3: Any and all writings related to the hiring or appointment of a person, to a
 position in your county’s government, responsible for overseeing your county’s Sheriff’s




                                                                               Ex. DD-461
